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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                   FOR THE DISTRICT OF ARIZONA
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 9       Shawn Jensen, et al.,                           No. CV-12-00601-PHX-ROS
10                     Plaintiffs,                       ORDER
11       v.
12       David Shinn, et al.,
13                     Defendants.
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15             Prisoners held in government custody have a basic right to health care and humane
16   conditions of confinement protected by the Eighth Amendment prohibiting cruel and
17   unusual punishment.1 These Eighth Amendment rights do not require the highest quality
18   of health care, the community standard of health care, or the most pleasant
19   accommodations possible. But the health care and conditions of confinement must reflect
20   basic common decency and a recognition of the dignity the government must accord all
21   human beings.        This suit was brought by prisoners in the custody of the Arizona
22   Department of Corrections, Rehabilitation, and Reentry (“ADCRR”), alleging systemic
23   violations in providing minimally sufficient health care and minimally humane conditions
24   in maximum custody units.
25             While this case involves an unusually large amount of evidence, there are only two
26   basic questions. Are Defendants violating the constitutional rights of Arizona’s prisoners
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      See Estelle v. Gamble, 429 U.S. 97, 103 (1976) (holding government has “obligation to
     provide medical care for those whom it is punishing by incarceration”).
 1   through the existing medical and mental health care system? And are Defendants violating
 2   the constitutional rights of a subset of Arizona’s prisoners by almost round-the-clock
 3   confinement in their cells? The answer is yes to both questions.
 4          Defendants have failed to provide, and continue to refuse to provide, a
 5   constitutionally adequate medical care and mental health care system for all prisoners.
 6   Defendants’ health care system is plainly grossly inadequate. Defendants have been aware
 7   of their failures for years and Defendants have refused to take necessary actions to remedy
 8   the failures. Defendants’ years of inaction, despite Court intervention and imposition of
 9   monetary sanctions, establish Defendants are acting with deliberate indifference to the
10   substantial risk of serious harm posed by the lack of adequate medical and mental health
11   care affecting all prisoners.
12          Further, Defendants keep thousands of prisoners in restrictive housing units where
13   they are not provided adequate nutrition, nor are they provided meaningful out-of-cell time
14   for exercise or social interaction. Defendants’ treatment of prisoners in restrictive housing
15   units results in the deprivation of basic human needs. For years, Defendants have known
16   of the deficiencies, highlighted by Court intervention and direction, and refused to take
17   meaningful remedial actions. Therefore, Defendants are acting with deliberate indifference
18   to the substantial risk of serious harm posed to prisoners in restrictive housing units.
19          Based on the 15-day bench trial that commenced on November 1, 2021, as well as
20   the parties post-trial briefing, the Court makes the following Findings of Fact and
21   Conclusions of Law. Fed. R. Civ. P. 52(a)(1).
22                                        BACKGROUND
23          There are over 4,300 docket entries in this case, reflecting a wide variety of motions,
24   hearings, and orders. A full recital of that background would be lengthy and would serve
25   little purpose. However, some background information is necessary to place in context the
26   events leading up to trial and to demonstrate Defendants’ recognition, for over a decade,
27   that they are systematically violating the constitutional rights of the prisoners.
28   I.     The Complaint and Class Certification


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 1          ADCRR operates ten prison complexes across Arizona. In 2012, a group of
 2   prisoners filed this class action, seeking only injunctive relief and challenging the provision
 3   of medical, dental, and mental health care throughout the prison system. Plaintiffs also
 4   challenged the conditions of confinement in “isolation units,” where prisoners are confined
 5   to their cells for 22 or more hours each day. Plaintiffs named as defendants the Director
 6   of Arizona’s prisons, currently David Shinn, and the Assistant Director of ADCRR’s
 7   Medical Services Contract Monitoring Bureau, currently Larry Gann.
 8          The complaint presented five claims for relief on behalf of what would subsequently
 9   be identified as a main class and one subclass. The class consisted of all prisoners at
10   ADCRR’s ten complexes. According to the complaint, Defendants were subjecting class
11   members to a substantial risk of serious harm and injury from constitutionally deficient
12   health care, dental care, and mental health care. The subclass consisted of all prisoners
13   confined in their cells for 22 hours or more per day. Defendants allegedly were subjecting
14   subclass members to a substantial risk of serious harm and injury from various policies,
15   including constitutionally inadequate out-of-cell time, social isolation, nutrition, and
16   mental health treatment.
17          The Court certified the class and subclass in March 2013. (Doc. 372). The Ninth
18   Circuit affirmed certification of the class and subclass. Parsons v. Ryan, 754 F.3d 657 (9th
19   Cir. 2014). In doing so the court held the prisoners’ claims had sufficient commonality
20   because the class and subclass were allegedly subjected to practices that could be addressed
21   “in one stroke.” Id. at 678. In particular, the Ninth Circuit reasoned this Court could
22   determine whether the “statewide [ADCRR] policies and practices to which all members
23   of the class are subjected, and [particular] statewide [ADCRR] policies and practices which
24   affect all members of the subclass” exposed the class and subclass to “substantial risk of
25   serious future harm to which the defendants are allegedly deliberately indifferent.” Id.
26   II.    Settlement and Stipulation
27          Before the mandate issued in the class certification appeal, the parties negotiated a
28   settlement agreement—the Stipulation—that was intended by the parties to eventually


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 1   resolve all claims. (Doc. 1185). The Stipulation contained 103 health care and 10
 2   maximum custody performance measures.2 With respect to health care, performance
 3   measures were to be assessed pursuant to a “Monitoring Guide” and reported monthly for
 4   each of the ten prison complexes. (Doc. 1185 at 3). Under the Stipulation, a performance
 5   measure, for health care or maximum custody, could terminate (i.e., free Defendants from
 6   monitoring and reporting) if Defendants achieved, and maintained, specified thresholds:
 7   75% compliance the first 12 months, 80% the second 12 months, and 85% thereafter. The
 8   Stipulation was accepted by the Court in February 2015. (Doc. 1458).
 9   III.   Stipulation Monitoring History
10          In an Order dated July 16, 2021, the Court provided a detailed recital of the history
11   of the monitoring and enforcement of the Stipulation for the five years from 2016 through
12   2021. (Doc. 3921). Rather than repeat the history, the Court incorporates the factual
13   findings contained in the July 16, 2021, Order.
14          In brief, between 2016 and July 2021, Plaintiffs filed twelve motions to enforce the
15   Stipulation, the Court held multiple evidentiary hearings and status conferences, the Court
16   issued dozens of Orders with specific directions mandating Defendants comply with the
17   Stipulation, the Court issued three Orders to Show Cause why Defendants should not be
18   held in contempt, the Court appointed two experts, and the Court held Defendants in
19   contempt twice, resulting in millions of dollars in fines, which were upheld on appeal. At
20   the end of the five-year period, the Court concluded Defendants had consistently refused
21   to perform the obligations under the Stipulation and had offered baseless legal and factual
22   theories for their failures. Imposition of substantial fines, and threats of even more, did not
23   prompt Defendants to make required efforts to perform as they agreed under the
24   Stipulation.
25          Accordingly, as of July 2021, the Court resolved that attempting to enforce the
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      As it happened, the Performance Measures were not comprehensive enough and under-
28   evaluated the alleged constitutional violations. Defendants used this to their advantage to
     both subvert the Stipulation and continue violating prisoners’ constitutional rights.

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 1   Stipulation had proven futile and rescission of the Stipulation was required.3 (Doc. 3921
 2   at 36-37). The Court vacated the settlement under Federal Rule of Civil Procedure 60(b)
 3   and set the matter for trial to begin November 1, 2021. (Doc. 3921).
 4   IV.      Trial Procedures
 5            The parties were given time after the Order vacating the Stipulation to engage in
 6   discovery and prepare for trial. (Docs. 4006, 4009, 4011, 4012, 4019, 4019, 4021). In
 7   early August 2021, Plaintiffs moved to present direct expert testimony by declaration to
 8   preserve trial time. On September 2, 2021, the Court granted the motion over Defendants’
 9   objection and directed both sides to present most of their experts’ direct testimony by way
10   of written declaration.4 Defendants, however, if necessary, were allowed to file a motion
11   seeking permission to present all their experts’ testimony in-court instead of through
12   written declarations. (Doc. 3952 at 3 n.1). Defendants chose not to file such a motion.
13            After considering the nature of the evidence for both parties, the Court directed the
14   parties to plan on 50 hours of trial time for each side, with the caveat that “adjustments, as
15   necessary” would be made to ensure “a fair trial to both parties.” (Doc. 3952 at 3). Neither
16   party objected to the 50-hour limit nor asked for additional time at the conclusion of the
17   trial.
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19     Of significance, the Stipulation substantially favored Defendants because it expressly
     provided by its terms that the Court was precluded from ordering Defendants “hire a
20   specific number or type of staff.” (Doc. 1185 at 14-15). This provision was addressed in
     one of Defendants’ appeals. The Ninth Circuit held the provision meant the Court could
21   issue a “general staffing order” but could not issue an order requiring a “specific number
     and type of personnel.” Parsons v. Ryan, 912 F.3d 486, 498 (9th Cir. 2018). This
22   interpretation made enforcement difficult, and eventually completely impossible, because
     any effective staffing plan would necessarily address the specific needs of specific
23   complexes. Further, the Court was consistently reminded Defendants placed great
     importance on this limitation and were unwilling to hire additional staff. As this Order
24   demonstrates, failure to maintain adequate staff has been the fundamental cause of
     Defendants’ unconstitutional actions.
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       A similar practice was used in another case involving challenges to prisoner healthcare.
     See Madrid v. Gomez, 889 F. Supp. 1146, 1158 n.5 (N.D. Cal. 1995) (“The direct testimony
26   of all experts was submitted by way of declaration, supplemented by two hours of live
     testimony. The parties were also permitted unlimited live cross examination and redirect
27   examination.”).
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 1          Trial commenced on November 1, 2021 and proceeded for fifteen non-consecutive
 2   days. The parties filed lengthy written testimony for each expert and they testified at trial.
 3   Beyond the experts, the Court also heard testimony from class and subclass members, the
 4   named defendants, deputy wardens in charge of isolation units, and others.5 Neither side
 5   had exhausted their allotted time on the last day of trial or asked the Court to continue the
 6   trial for additional days. The parties subsequently filed approximately 800 pages of
 7   proposed findings of fact and conclusions of law as well more than 350 pages of responses
 8   to the opposing side’s filing. (Docs. 4308, 4309, 4314, 4315).
 9   V.     Evidentiary Issues
10          Most of the evidentiary issues were raised and resolved during trial but a few are
11   pending.
12          A. Motion to Strike (Doc. 4219)
13          After trial, Defendants filed a motion seeking to strike “portions of Plaintiffs’
14   experts’ declarations.” (Doc. 4219). That motion is confusing. For example, Defendants
15   argue the written testimony of one of Plaintiffs’ experts was incorrectly presented such that
16   it must be excluded but then add, without explanation, that the expert’s “entire trial
17   testimony” should also be stricken. (Id. at 2). Defendants also claim there is hearsay within
18   the experts’ written testimony, that some offered legal conclusions, and maybe they offered
19   undisclosed opinions. Defendants’ motion is baseless because the motion was untimely
20   and, as such, Plaintiffs were unable to cure any alleged deficiencies.
21          Defendants’ motion was filed over a month after Defendants received the last
22   written testimony by one of Plaintiffs’ experts. Federal Rule of Evidence 103 requires
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      The Court heard from the following witnesses: Prisoners Kendall Johnson, Ronald Slavin,
24   Laura Redmond, Rahim Muhammad, Jason Johnson, and Dustin Brislan; Staffing Expert
     Robert Joy; Paralegal Jessica Carns; Deputy Wardens Travis Scott, Lori Stickley, and
25   Anthony Coleman; Mental Health Care Expert Pablo Stewart; Solitary Confinement Expert
     Craig Haney; former Centurion Regional Mental Health Care Director Dr. Stefanie Platt;
26   Corrections Expert Martin Horn; Medical Care Expert Dr. Todd Wilcox; Defendants
     ADCRR Director David Shinn and Assistant Director Larry Gann; ADCRR’s Mental
27   Health Director Dr. Bobbie Pennington-Stallcup; Yuma Site Director Dr. Elijah Jordan;
     Warden Jeffrey Van Winkle; ADCRR Medical Director Dr. Grant Phillips; Mental Health
28   Care Expert Dr. Joseph Penn; Medical Care Expert Dr. Owen Murray; and Centurion vice
     president Tom Dolan.

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 1   objections or motions to strike be “timely.” As a general matter, “[a]n objection is ‘timely’
 2   if it is made as soon as the opponent knows, or should know, that the objection is
 3   applicable.” Jerden v. Amstutz, 430 F.3d 1231, 1236-37 (9th Cir. 2005) (quotation marks
 4   and citation omitted). The Ninth Circuit has found an objection two days after a witness
 5   testified untimely. Id. In another case, the Ninth Circuit found untimely an objection “not
 6   raised until the end of the witness’s direct examination.” San Antonio Cmty. Hosp. v. S.
 7   California Dist. Council of Carpenters, 125 F.3d 1230, 1238 (9th Cir. 1997). Defendants’
 8   objections raised a month or more after they learned of the testimony are not timely. Thus,
 9   the objections will be denied.
10          What is more, by waiting until the conclusion of trial to bring their belated motion,
11   Defendants deprived Plaintiffs of an opportunity to cure the alleged flaws in the testimony.
12   The Ninth Circuit made clear it is improper to exclude testimony based on an untimely
13   objection when the proponents of the testimony lack an “opportunity to cure the objection.”
14   Jerden, 430 F.3d at 1238. Defendants’ motion to strike will be denied. However, the
15   Court’s findings of fact are not reliant on patently inadmissible evidence, whether
16   contained in written testimony or elsewhere.6
17          B. Motions to Admit Evidence (Docs. 4215, 4225)
18          Plaintiffs moved to admit numerous court filings by both sides, a report by a court-
19   appointed expert, and previous reports by experts. (Doc. 4215). Plaintiffs also moved to
20   admit a report from the “Arizona Auditor General” and an excerpt of a prisoner’s electronic
21   medical records. (Doc. 4225). Defendants objected to most of these exhibits but agreed
22   that one exhibit, the electronic medical records, can be admitted provided additional
23   information is included. (Doc. 4247).
24          It is unnecessary to consider the documents and objections in detail because the
25   Court has not materially relied on the documents at issue. Plaintiffs’ motion regarding
26   court filings will be denied as moot but the motion regarding medical records will be
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       It is self-evident that both the prisoners and Defendants cannot be considered completely
28   neutral witnesses because prisoners as well as Defendants and their staff are obviously
     interested in the outcome of this case.

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 1   granted, subject to Defendants’ request to include additional information.
 2          C. Joint Motion to Admit (Doc. 4224)7
 3          The parties have agreed to admit certain exhibits, admit with modifications other
 4   exhibits, and withdraw some exhibits. The stipulated motion will be granted and the
 5   exhibits admitted or withdrawn as agreed to by the parties.
 6          D. Admissibility of Expert Witnesses’ Testimony
 7          “Under Rule 702 of the Federal Rules of Evidence, [a] witness who is qualified as
 8   an expert by knowledge, skill, experience, training, or education may testify in the form of
 9   an opinion, provided the testimony meets certain criteria.” United States v. Gadson, 763
10   F.3d 1189, 1202 (9th Cir. 2014) (quotation marks and citation omitted). An expert witness
11   may rely on information, such as hearsay evidence, that would not be admissible on its
12   own. Fed. R. Evid. 703. The time to raise a challenge to an expert’s testimony is before
13   or occasionally during trial. “Failure to raise a Daubert challenge at trial causes a party to
14   waive the right to raise objections to the substance of expert testimony post-trial.” Skydive
15   Arizona, Inc. v. Quattrocchi, 673 F.3d 1105, 1113 (9th Cir. 2012). Here, the parties waived
16   any Daubert challenges to the opposing party’s expert witnesses. But even if they had not,
17   any such challenge would have failed.
18          Expert testimony is sufficiently “reliable if the knowledge underlying it has a
19   reliable basis in the knowledge and experience of [the relevant] discipline.” United States
20   v. Sandoval-Mendoza, 472 F.3d 645, 654 (9th Cir. 2006) (quotation marks and citation
21   omitted). The test for admissibility “is not the correctness of the expert’s conclusions but
22   the soundness of his methodology.” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010)
23   (quotation marks and citation omitted). Here, all the parties’ experts have relevant
24   knowledge and experience. The parties disagree regarding the soundness of some experts’
25   methodologies but those disputes, as well as the appropriate weight to assign to each
26   expert’s opinions, are addressed below. The Court has considered all the expert opinions
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       Plaintiffs motion to exclude evidence and testimony due to Defendants’ Rule 30(b)(6)
28   designee’s lack of knowledge is moot because no contrary testimony was offered during
     trial. (Doc. 4163).

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 1   as well as the manner and demeanor of every witness’s testimony in assessing credibility.
 2                                    LEGAL STANDARD
 3          The Eighth Amendment “imposes duties on [prison] officials, who must provide
 4   humane conditions of confinement; prison officials must ensure that inmates receive
 5   adequate food, clothing, shelter, and medical care, and must take reasonable measures to
 6   guarantee the safety of the inmates.” Farmer v. Brennan, 511 U.S. 825, 832 (1994).
 7   Prisons officials “violate[] the Eighth Amendment only when two requirement are met.”
 8   Id. at 834. “First, the deprivation alleged must be, objectively, sufficiently serious” such
 9   that it results “in the denial of the minimal civilized measure of life’s necessities.” Id.
10   Second, “a prison official must have a sufficiently culpable state of mind.” Id. That state
11   of mind is “deliberate indifference,” which requires a prison official “knows of and
12   disregards an excessive risk to inmate health or safety.” Id. at 837. A prison official’s
13   state of mind “is a question of fact subject to demonstration in the usual ways, including
14   inference from circumstantial evidence, and a factfinder may conclude that a prison official
15   knew of a substantial risk from the very fact that the risk was obvious.” Id. at 843.
16                                       HEALTH CARE
17   I.     Privatization and Current Contract
18          When this lawsuit was filed in March 2012, ADCRR8 provided health services
19   (medical and mental health care) directly to its prisoner population. But the Arizona State
20   Legislature enacted legislation requiring “the privatization of all correctional health
21   services, including all medical and dental services.” Arizona 2011 HB 2154. That
22   legislation took effect on July 1, 2012, when Wexford Health Services assumed
23   responsibility for all health services. On March 4, 2013, Corizon Health Incorporated took
24   over for Wexford. Centurion of Arizona became the third private health care contractor on
25   July 1, 2019. That contract is valued at approximately $216 million per year. (Doc. 4274
26   at 32). In June 2021, ADCRR extended its contract with Centurion for an additional fifteen
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      In 2019, the name was changed from “Arizona Department of Corrections” to “Arizona
     Department of Corrections, Rehabilitation, and Reentry.” (Doc. 4279 at 31).

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 1   months. (Doc. 4274 at 96). ADCRR is currently soliciting bids for the health care contract
 2   to begin in August 2022. (Doc. 4287 at 25).
 3          The current contract requires Centurion provide all health services at ADCRR’s ten
 4   complexes in the state. The table below reflects the prisoner population at each complex
 5   as of September 30, 2021, the date discovery closed. The table also reflects the number of
 6   “full time equivalents” or “FTEs” (i.e., employees working 40 hours per week) required by
 7   the contract and the number of filled FTE positions.9 These FTE numbers cover all
 8   Centurion staff at that location, meaning medical, dental, and mental health staff as well as
 9   administrative staff.
10                     Prison Population, Contract FTE, and Actual FTE
11                     Location Population Contract FTE Actual FTE
12                     Douglas        1,524              33.75        32.10
13                      Eyman         5,219          132.50           110.85
14                     Florence       2,534          152.00           96.76
15                     Perryville     3,318          136.75           109.35
16                      Phoenix        468               88.05        67.93
17                       Lewis        4,421          150.00           115.00
18                      Safford       1,035              34.75        36.85
19                      Tucson        4,420          180.50           141.75
20                     Winslow        1,481              31.00        37.10
21                       Yuma         3,374              86.50        104.25
22          These numbers show an obvious and crucial amount of understaffing at certain
23   locations. For example, Tucson has approximately 40 fewer FTEs than required by the
24   contract. Defendants claim understaffing is alleviated by employees working overtime or
25   by recruiting temporary employees. Even if this occurred, the current staffing levels fall
26   significantly beneath what Centurion and Defendants intended at the time they entered into
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      The population figures are as of September 30, 2021, while the staffing figures are as of
     August 2021.

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 1   the contract.
 2   II.    Differences Among Complexes
 3          The health services at the ten complexes are structured the same, subject to a few
 4   caveats. Each complex has a medical unit staffed with Centurion medical personnel. (Doc.
 5   4279 at 59). The medical units at every complex consist of exam rooms allowing for
 6   treatment of prisoners on something like an “out-patient” basis. That is, prisoners go to
 7   the medical unit, are seen by medical staff, and the prisoners then return to the housing
 8   units. Beyond the standard medical units, some complexes have intensive health units for
 9   prisoners with more significant medical needs. An inpatient care unit (also known as an
10   “inpatient component” or “IPC”) “is staffed 24/7 with a registered nurse” and is where
11   prisoners requiring a high level of care are housed. (Doc. 4279 at 61). A special needs
12   unit (“SNU”) provides a lower level of care and may be staffed “on an LPN level.” (Doc.
13   4279 at 61). The typical care in SNUs consists of care for prisoners who require assistance
14   with activities of daily living, or who have mobility or memory issues that preclude their
15   placement in the general population. (Id. at 61). In addition, seven of the complexes are
16   considered “corridor facilities” because they are located near larger population centers
17   where higher levels of off-site medical care are available. (Id. at 60). Finally, four
18   complexes have “mental health units” where prisoners with intensive mental health needs
19   are housed. The table below depicts the medical and mental health capabilities of each
20   complex. (Doc. 4279 at 60-64); (Doc. 4172 at 40-41). Of the ten complexes, nine are for
21   male prisoners and one, Perryville, is for female prisoners.
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 1                    Medical and Mental Health Capabilities of Complexes
 2                                                            Mental
                         Complex IPC SNU Corridor Health
 3                                                             Units
 4                          Douglas         No   No        No         No
 5                          Eyman           No   No        Yes        Yes
 6                          Florence    Yes      Yes       Yes        No
 7                         Perryville   Yes      Yes       Yes        Yes
 8                          Phoenix         No   No        Yes        Yes
 9                           Lewis      Yes      No        Yes        No
10                          Safford         No   No        No         No
11                          Tucson      Yes      Yes       Yes        Yes
12                         Winslow          No   No        No         No
13                           Yuma           No   No        Yes        No
14
15          Based on the facilities and capabilities of each complex, male prisoners may be

16   transferred between complexes depending on their needs. If a prisoner housed at Winslow

17   were to develop a serious medical condition, it is unlikely Winslow would be capable of

18   treating that condition. The prisoner might initially be transferred to a “corridor” facility

19   to be closer to off-site medical resources. If the prisoner was transferred to a “corridor”

20   facility without an IPC or SNU, but the prisoner deteriorated, the prisoner may need to be

21   transferred again to a facility with an IPC or SNU. Similarly, if a prisoner at Yuma needed

22   intensive mental health treatment, that prisoner would need to be transferred to a mental

23   health unit at a different location.

24          The different capabilities and facilities between complexes provide significant

25   support for examining the ADCRR medical and mental health care system as a whole,

26   instead of on a complex-by-complex basis. For example, in order for a particular prisoner

27   to receive adequate or critical care, transportation among complexes is often necessary,

28   because of the health care diversification in facilities and the overall medical care provided



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 1   at ADCRR. A prisoner may become seriously injured or develop a serious medical or
 2   mental health care condition at any time. If that prisoner is male, he may be assessed at
 3   one complex, transferred to almost any other complex, and then transferred again if needed,
 4   depending on bed availability and proximity to relevant specialists. Insufficient care
 5   provided at the IPC in Lewis may, suddenly, be a matter of life or death to a prisoner
 6   previously housed at Douglas who develops a need for a high level of care.
 7   III.   Process to Obtain Care
 8          When a prisoner submits a “health needs request” (“HNR”) form, the response
 9   typically informs the prisoner he is scheduled to be seen on the “nurse line,” meaning he
10   will be seen and evaluated by an RN. Alternatively, if the HNR requested mental health
11   services, he will be seen by mental health staff. (Doc. 4276 at 70-71).
12          A. Overview of Medical Care
13          When an RN sees a prisoner on the nurse line, the RN uses “protocols embedded in
14   Nursing Encounter Tools (NETS).” (Doc. 4138 ¶ 163). The NETS are “templates for care
15   that are supposed to guide the nurse’s exam and assessment of the patient, and help the
16   nurse formulate a plan of care, including whether to send the patient to a PCP [primary
17   care provider].” (Doc. 4138 ¶ 163). As set forth in Defendants’ policies, after examining
18   the prisoner, the RN will determine “[i]f the situation requires that the inmate be seen by
19   another discipline.” (Ex. 1305 at 155). If the RN concludes additional care is needed,
20   policy requires the RN “immediately initiate a referral to the appropriate area.” (Ex. 1305
21   at 155) (emphasis added). Significantly, this first evaluation by an RN always occurs
22   regardless of the seriousness of a prisoner’s asserted symptoms and regardless of how many
23   times the prisoner has previously been seen by an RN for the very same issue. (Doc. 4138
24   at 72 ¶ 171).
25          If the RN determines the prisoner’s situation requires evaluation by a higher-level
26   professional, the RN will arrange for the prisoner to see what the parties refer to as a
27   “provider.” As used by the parties, “provider” means a nurse practitioner, physician
28   assistant, or physician. A provider may order further testing or prescribe medication. A


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 1   provider may also determine specialist care is needed. In that situation, the provider is
 2   required to send a referral to Centurion’s Utilization Management department. (Doc. 4275
 3   at 13). That department, however, does not examine or evaluate the prisoner but based on
 4   the medical records, it “look[s] at the clinical indication to make sure [the referral is]
 5   appropriate,” which takes time. (Doc. 4279 at 84). If the referral is approved, the
 6   information is passed to one of Centurion’s “clinical coordinators” who will arrange a
 7   specialist appointment for the prisoner. (Doc. 4279 at 84). If Centurion denies the referral,
 8   the Utilization Management department often states the provider should pursue an
 9   “alternative treatment plan.” (Doc. 4138 ¶ 400).
10          The many prisoners who have chronic conditions are enrolled in ADCRR’s Chronic
11   Care Clinics. (Doc. 4206 ¶ 201). A policy defines a chronic condition as “an illness or
12   condition that affects an individual’s well-being for an extended interval, and generally is
13   not curable, but can be managed to provide optimum functioning within any limitations the
14   condition imposes on the individual.”       (Ex. 1305 at 151).     Prisoners’ chronic care
15   conditions are monitored by chronic care appointments no less than every 180 days, unless
16   a provider documents a longer time frame is appropriate. (Doc. 1185-1 at 27). These
17   appointments are not on the “nurse line.” Rather, they are supposed to be with a provider
18   although the overall records do not make clear whether that occurs. (Doc. 4287 at 59-60).
19          Defendants created a medical classification system to identify the housing needs for
20   individual patients. The designations range from M-1 through M-5 with M-1 being the
21   lowest needs patient and M-5 being the highest needs patient. (Doc. 4279 at 65).10
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       The scores are:
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     M-1: Maximum sustained physical capacity consistent with age; no special requirements.
24   M-2: Sustained physical capacity consistent with age; stable physical illness or chronic
     condition, no special requirements.
25
     M-3: Restricted physical capacity; requires special housing or reasonable accommodations.
26   M-4: Limited physical capacity and stamina; severe physical illness or chronic condition;
     requires housing in a corridor institution.
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     M-5: Severely limited physical capacity and stamina; requires assistance with Activities
28   of Daily Living (ADLS); requires housing in Inpatient Component or Assisted Living area.
     (Doc. 4138 ¶ 484).

                                                - 14 -
 1   Defendants introduced testimony that as of trial there are approximately 22,000 prisoners
 2   classified as M-1 and M-2, 2,000 prisoners classified as M-3, between 400 and 500
 3   classified as M-4, and approximately 20 classified as M-5. (Doc. 4279 at 65-66). Those
 4   numbers, however, are clearly approximations as their sum is less than the total number of
 5   prisoners in the ten complexes.
 6          B. Overview of Mental Health Care
 7          Defendants created a standardized scoring system for classifying prisoners
 8   according to their mental health needs. MH-1 reflects the lowest level of need, and MH-5
 9   reflects the highest.11 (Ex. 3025 (Mental Health Technical Manual “MHTM” Ch. 3 § 5.0)).
10   11
        The scores are the following:
11   MH-1: Prisoners who have no history of mental health issues or receiving mental health
     treatment.
12
     MH-2: Prisoners who have received mental health treatment in the past but do not currently
13   have any mental health needs and have demonstrated behavioral and psychological stability
     for at least six months.
14   MH-3: Outpatient Treatment. Patients who have current mental health needs that require
     outpatient treatment. There are five sub-codes to MH-3.
15
     MH-3A: Patients in acute distress who may require substantial intervention in order to
16   remain stable. All patients classified as seriously mentally ill (“SMI”) are to be classified
     as MH-3A (unless admitted to a residential treatment or inpatient treatment program, and
17   then classified as MH-4 or MH-5). Any patient under a Psychiatric Medication Review
     Board (“PMRB”) order for involuntary administration of psychiatric medication are to be
18   classified as MH-3A (unless admitted to a residential treatment or inpatient treatment
     program, and then classified as MH-4 or MH-5).
19   MH-3B: Patients who are generally stable but need regular interventions because they are
     receiving psychiatric and psychological services.
20
     MH-3C: Patients who are stable, have adequate coping skills, and are able to manage their
21   mental health symptoms through medication only, and who need infrequent intervention.
     MH-3D: Patients who were recently taken off psychotropic medications and need follow-
22   up for six months thereafter to ensure stability over time.
23   MH-3E: Patients who recently arrived to ADCRR custody and are generally stable but may
     benefit from regular contacts with mental health clinicians, or patients participating only
24   in outpatient group psychotherapy.
25   MH-4: Residential Treatment. Patients who are admitted to a residential mental health
     program.
26   MH-5: Inpatient Treatment. Patients who are admitted to the inpatient mental health
     treatment programs licensed by the Arizona Department of Health Services.
27   (Ex. 3025 at 27-32).
28


                                                - 15 -
 1   These scores are assigned during “mental health intake assessments” which occur during
 2   prisoners’ initial processing upon entering the system. (Doc. 4276 at 43).
 3          Prisoners assigned a score of MH-3 or above are considered “on the mental health
 4   caseload,” and must be housed at facilities with mental health staff. Prisoners assigned
 5   scores of MH-1 or MH-2 are eligible to be housed at Douglas, Safford, or Winslow, which
 6   each have a single staff person each to address any mental health needs that may arise.
 7          In addition to learning of mental health needs through the HNR process, mental
 8   health staff may learn of a prisoner in need of services through the prisoner’s friends or
 9   families, or through prison officials who observe the prisoner. (Doc. 4276 at 71). In theory,
10   the system provides that if mental health services are requested through the HNR process,
11   an “urgent concern” will result in the prisoner being seen the same day the HNR is
12   processed. (Doc. 4276 at 70). If the HNR presents a “clinical mental health need,” the
13   prisoner is seen within five days. And if there is a “psychiatric concern” that is deemed
14   “non-urgent,” the prisoner is seen within 14 days. The record does not establish who is
15   responsible for categorizing the mental health HNRs.
16                                      MEDICAL CARE
17          It is undisputed the class members suffer from a wide variety of serious medical
18   needs. In fact, Bureau of Justice Statistics data show people who are “incarcerated tend to
19   be less healthy, to have more chronic illnesses including substance use disorder, and to
20   have additional stressors in their lives than people who live in the general community.”
21   (Doc. 4138 ¶ 252). Dr. Elijah Jordan, the Site Medical Director for the Yuma Complex,
22   testified prisoners often present unusual, and very serious, medical conditions.          He
23   explained working in correctional health care “afforded [him] the opportunity to see a lot
24   of things that [he] read about and saw going through medical school that [he] was not able
25   to see during medical school as well as residency, because [he is] able to – [he] take[s] care
26   of patients that do not regularly go to the doctor. So these guys, when you do get a chance
27   to evaluate and see them, they are really bad off.” (Doc. 4277 at 56.) And Defendants
28   readily admit approximately two-thirds of class members are prescribed medications, and


                                                 - 16 -
 1   approximately one quarter receive medication for mental health conditions. (Doc. 4275 at
 2   16, 18). As a general matter, the class consists of thousands of individuals with significant
 3   and very serious health needs requiring a high level of care to adequately manage and treat.
 4   I.     Overview of Expert Testimony
 5          The parties presented competing experts to address the overall adequacy of the
 6   medical care system. Dr. Todd Wilcox testified for Plaintiffs and Dr. Owen Murray
 7   testified for Defendants. Dr. Wilcox’s testimony was persuasive and credible. Dr.
 8   Murray’s overall opinions were generally unpersuasive though portions of his testimony
 9   confirmed the medical care system is grossly insufficient.
10          A. Dr. Wilcox
11          Dr. Wilcox earned a bachelor’s degree in biological psychology from Duke
12   University in 1988 and a medical degree from Vanderbilt University School of Medicine
13   in 1992. (Doc. 4138, Ex. A). After graduating from medical school, Dr. Wilcox completed
14   a residency in orthopedic surgery. (Doc. 4270 at 82). During that residency, Dr. Wilcox
15   began working as a staff physician for the Salt Lake County jail. In 1996, he became the
16   medical director for the Salt Lake County Jail System, where he remains today. He has
17   also performed other work, including serving as the Medical Director for the Maricopa
18   County Jail System. He is board certified in Urgent Care Medicine and board certified by
19   the American Academy of HIV Medicine. And he holds an advanced certification from
20   the National Commission on Correctional Healthcare as a Certified Correctional Health
21   Professional Administrator and Correctional Health Physician.
22          Dr. Wilcox has 27 years of experience in correctional health care and is well-
23   qualified to provide expert opinions on the quality of Defendants’ health care delivery.
24   (Doc. 4138 ¶¶ 2, 4). He has served as Plaintiffs’ expert since 2013, shortly after the lawsuit
25   was filed. (Id. ¶ 6). Defendants did not file a pretrial motion contesting Dr. Wilcox as an
26   expert witness, and he is qualified to offer expert opinions on the adequacy of the medical
27   care provided.
28          Dr. Wilcox was requested to “evaluate the adequacy of the current medical care


                                                 - 17 -
 1   delivery system in the ADCRR.” (Id. ¶ 18). His current opinion is based on his experience
 2   serving in this case since 2013, having submitted multiple reports and declarations
 3   regarding the delivery of healthcare in the Arizona state prisons which document that since
 4   2012 ADCRR’s healthcare delivery system has been seriously deficient. In preparing for
 5   his testimony, he thoroughly reviewed many documents including the written policies and
 6   procedures of ADCRR as well as the Department Orders and Medical Service Technical
 7   Manual. He examined medical records for 120 patients. He visited all four IPCs and
 8   interviewed a number of patients in IPCs, special needs units, and other housing units.
 9            Dr. Wilcox explained why he did not review a completely random sample of
10   prisoners:
11                   I did not review a random sample of all patients in ADCRR
                     custody. This is because when evaluating a healthcare delivery
12                   system, it is generally not as helpful to examine care for healthy
                     people as it is to look at the treatment of sick patients,
13                   particularly those with complex or chronic conditions that
                     require coordination, communication, and judgment. Healthy
14                   patients or those with minimal needs can more readily get their
                     needs met even from systems that offer poor clinical care and
15                   lack basic organizational structures; examining their records
                     tells us little. It is the complex patients who test the capacity
16                   of staff and systems alike.12
17
     (Doc. 4138 at ¶ 25). However, Dr. Wilcox’s tour of various locations and discussions with
18
     prisoners at those locations meant he did not dictate the exact prisoners he would review:
19
                     I had no control over who was housed in those units. We tried
20                   to speak to everybody in those units who was willing to speak
                     to us. So we got as big of a sample as we could with regards
21                   to those random patients who were housed in those units and
                     then we went back and looked at their charts.
22
23   (Doc. 4270 at 12).
24            Overall, Dr. Wilcox attempted to evaluate the care provided to prisoners by looking
25   to prisoners “at the sicker end of the spectrum.” (Doc. 4270 at 11). He explained why this
26   approach was useful:
27
                     I also wanted to identify patients who are high-end utilizers of
28
     12
          Dr. Wilcox elaborated on this point in his live testimony.

                                                   - 18 -
 1                 the health care system. And the reason that those patients are
                   important is because when you are doing a systems evaluation,
 2                 what you really want to evaluate are patients who put a little
                   strain on the system. They have a lot of transactions in their
 3                 health care. It’s not particularly informative about a system if
                   you have a patient that has a one-time episodic visit for a
 4                 sprained ankle and then they’re never seen again. That doesn’t
                   give you very much data. But what does give you data is
 5                 patients that have frequent and ongoing interactions with the
                   healthcare system because you’re able to see the coordination
 6                 nation of care, you’re able to see all the different elements of
                   the system operating to care for that patient.
 7
 8   (Doc. 4270 at 11). Dr. Wilcox has used this methodology to evaluate care in other cases
 9   and other experts use similar methodology. (Doc. 4270 at 15).
10          In his written testimony, Dr. Wilcox stated ADCRR’s health care system provides
11   “grossly inadequate healthcare.” (Doc. 4138 at ¶ 28). The entire health care system
12   “continues to harm many patients and continues to place all at substantial risk of serious
13   harm.” (Id.). And “ADCRR has provided dangerously substandard care for years, both
14   before and during the pandemic, continuing to the present day.” (Id. at ¶ 27). He testified
15   this problem stems from a variety of factors but the most fundamental being the lack of
16   appropriate qualified staffing. “By design, healthcare decisions in the [ADCRR system]
17   are pushed down to the lowest possible level – nurses who are practicing poorly and far
18   outside the scope of their licenses.” (Id. ¶ 28). In Dr. Wilcox’s view,
19                 There is a clear pattern of failure by nurses to complete an
                   adequate nursing assessment, take patient reports seriously,
20                 recognize dangerous symptoms, and elevate concerns to
                   providers. Too often, nurses simply send patients back to their
21                 housing unit and tell them to submit another written sick call
                   request if symptoms worsen.
22
23   (Doc. 4138 at ¶ 28).
24          ADCRR’s system also results in care for complex issues being “scattered
25   throughout the system so no one provider or physician is ultimately responsible for the
26   patient, resulting in serious deficits in care.” (Doc. 4138 at ¶ 29). In addition, the system
27   lacks “the foundation of any credible healthcare practice: differential diagnosis.” (Doc.
28   4138 at ¶ 30). Medical staff fail “to identify, test, and otherwise evaluate the underlying


                                                - 19 -
 1   cause of the symptom.” (Id.). Staff order testing “without a diagnostic strategy” and they
 2   “fail to follow up on significantly abnormal results.” (Id.).
 3          In his written testimony Dr. Wilcox identified the cause of the system’s failures:
 4
                   [ADCRR’s] problems appear to the result of a combination of
 5                 factors, including inadequate staffing, inadequate physician-
                   level attention to problems, and poor attitude of medical staff,13
 6                 which probably is itself related to inadequate staffing and
                   demanding workloads. In addition, the electronic health record
 7                 in use within the ADCRR is poorly designed and greatly
                   impairs the clinician’s capacity to synthesize a comprehensive
 8                 picture of a patient’s healthcare.

 9   (Id. ¶ 31).
10          During his in-court testimony, Dr. Wilcox summed up his opinion of the medical
11   care system in a simple and stark way:
12
                   My opinion is that the system as it exists is terrible. There are
13                 so many blocks to care, barriers to care. There’s so many areas
                   where the care can get snagged up and not flow appropriately,
14                 and the end result of that is that some patients within the
                   healthcare system, in fact many patients who have higher end
15                 needs, end up getting terrible care.

16   (Doc. 4270 at 20). To ensure it had understood, the Court asked Dr. Wilcox to clarify. Dr.
17   Wilcox repeated prisoners “end up getting terrible care.” (Doc. 4270 at 20).
18          B. Dr. Murray
19          Dr. Murray earned a bachelor’s degree in biology from Boston College in 1983 and
20   a doctor of osteopathy degree from Chicago College of Osteopathic Medicine in 1988.
21   (Doc. 4206, Ex. 1). After medical school, Dr. Murray completed a residency in family
22   practice. From 1991 to 1994, Dr. Murray worked as medical director at various locations
23   in the Illinois Department of Corrections. From 1995 to the present, he has worked at the
24   University of Texas Medical Branch. (Doc. 4285 at 104). At present, he is Vice President
25   of Offender Health Services and oversees the provision of health care in the Texas
26
27   13
       Dr. Wilcox testified “[p]roviders’ notes suggest over and over that patients are lying and
     malingering.” (Doc. 4271 at 79). In Dr. Wilcox’s opinion, this was evidence of “bias
28   against patients” which often “interferes with the providers’ capacity to recognize serious
     medical conditions.”

                                                 - 20 -
 1   Department of Criminal Justice and the Texas Juvenile Justice Department. (Doc. 4206
 2   ¶¶ 3-4).
 3          Dr. Murray understood he was to evaluate the “overall health care system” for
 4   prisoners in ADCRR custody and determine whether there are “systemic deficiencies
 5   which render the delivery of health care services below the community standard of care.”14
 6   (Id. ¶ 10). He performed site visits at all ten complexes and focused his review on the
 7   following components of medical care: (1) staffing, (2) access to care, (3) diagnostic
 8   services, (4) records and facilities, (5) pharmacy services, and (6) quality monitoring. (Id.
 9   ¶¶ 15, 17). Dr. Murray reviewed charts for 80 prisoners, focusing on prisoners with at least
10   two documented chronic care diagnoses. Dr. Murry evaluated those charts based on the
11   quality of chronic care documentation, quality of chronic care, and quality of episodic care.
12   (Id. ¶ 207). Dr. Murray’s overall conclusion was that:
13                 ADCRR is delivering care that meets or exceeds the
                   community standard. While I have identified some areas for
14                 improvement, most notably with eOMIS [the electronic
                   medical records system], PM [performance measure]
15                 reporting, and the mortality review process, I did not find any
                   systemic deficiencies with the provision of health care to
16                 ADCRR inmates. Even in the areas where I have noted
                   opportunities for improvement, it is clear that ADCRR
17                 recognizes the issues and has been working towards improving
                   them.
18
19   (Id. ¶ 1082). Thus, Dr. Murray believes the medical care provided to class members is the
20   same or better than what members of the public receive from their medical providers. As
21   set forth below, this opinion is contradicted by the evidence produced at trial.
22   II.    Staffing is Significantly Below Contract Levels
23          The core issue is that staffing levels are so inadequate that the provision of
24   constitutionally mandated care is impossible. Dr. Wilcox testified “staffing is the root of
25   the ADCRR’s healthcare deficiencies” (Doc. 4138 ¶ 160), which opinion was established
26
     14
        The relevant standard is the Eighth Amendment, not the community standard of care.
27   Balla v. Idaho, 29 F.4th 1019, 1026 (9th Cir. 2022) (noting Eighth Amendment liability
     must be predicated on something “beyond malpractice”). However, “[t]he community
28   standard of care outside of the prison context is highly relevant in determining what care
     is medically acceptable and unacceptable.” Id. (quotation marks and citation omitted).

                                                - 21 -
 1   by the evidence at trial. The current staffing levels illustrate ADCRR does not have the
 2   ability to address the varied and often complex needs of Arizona’s prisoners.
 3          The contract between ADCRR and Centurion requires 1052.75 full-time staff
 4   members (“FTEs”) to provide health care, mental health care, dental care, and perform all
 5   related administrative tasks. (Doc. 4287 at 17). Plaintiffs contend, and the evidence
 6   establishes, the contractually allotted staffing for each complex is definitely too low and,
 7   because of current vacancies, each facility is profoundly understaffed. In fact, the evidence
 8   establishes Centurion admitted staffing at the contractual level would be insufficient, even
 9   if such staffing levels could be obtained.
10          Although ADCRR claimed that 1052.75 FTEs were necessary at some point,
11   Defendants failed to explain how they arrived at this number. Defendant Gann stated in
12   his Rule 30(b)(6) deposition “the [staffing] model has been in place for a number of years,
13   and it [is] not something that is negotiated by us ongoing.” (Doc. 4146-1 at 221). In other
14   words, the staffing model was already in place at the time Centurion began providing
15   services. Defendant Gann also testified Centurion has been encouraged “to present an
16   alternative [staffing] plan if they so desire.” (Doc. 4146-1 at 228). But at trial, Defendant
17   Gann incredibly contradicted his deposition testimony and claimed ADCRR relies on
18   Centurion to report how many health care staff are needed. (Doc. 4275 at 89). The
19   evidence establishes the staffing numbers were set by ADCRR, and it has refused to require
20   increased staffing.
21          Centurion Vice President Tom Dolan testified that, in July 2019, Centurion
22   performed its own staffing evaluation to determine the number and type of health care staff
23   necessary to perform adequately under the contract and determined Centurion would need
24   to increase the FTEs by 161.5 for a total of 1214.25 FTEs. (Ex. 2166). This was
25   specifically communicated to ADCRR officials. (Doc. 4287 at 29). But ADCRR “was not
26   open to amending the contract to add additional FTEs,” despite the insufficiency noted by
27   Centurion. (Doc. 4287 at 30). Of greater significance, Centurion has never even fulfilled
28   the staffing level required by contract. (Doc. 4274 at 99). The current situation falls well


                                                  - 22 -
 1   below the already-insufficient contract level.
 2          The Court looks to the staffing levels of the most crucial personnel. The following
 3   positions are responsible for providing direct patient care: Assistant Director of Nursing,
 4   Director of Nursing, Licensed Practical Nurse/Medical Assistant, Medical Assistant,
 5   Medical Director, Midlevel Practitioner (nurse practitioners or physician’s assistants),
 6   Nursing Assistant/Patient Care Technician, Registered Nurse, and Staff Physician. Using
 7   these positions, the tables at Appendix 1 set forth the contract level, the hired level, and the
 8   variance between the contract and hired levels as of August 2021. (Ex. 2167).
 9          All told, there were 465.45 FTEs providing direct care as compared with the 601.75
10   FTEs required by the contract. The current staffing figures do not include overtime
11   performed by current staff or temporary staffing. A Centurion employee claims use of
12   overtime and temporary employees has allowed Centurion to work 90% of the hours
13   contemplated by the contract. (Doc. 4287 at 17). But that does not indicate 90% of the
14   hours contemplated by the contract for direct patient care were performed.
15          As established by the tables at Appendix 1, seven out of ten facilities are
16   understaffed, and some are severely understaffed. The numbers at Tucson, for example,
17   are striking. Tucson houses 4,420 prisoners. According to the Centurion contract, to
18   provide medical care to that population, 40 licensed practical nurses are required but there
19   are only 24.30. The contract requires 36 registered nurses but there are only 18.30. The
20   contract requires 2 staff physicians but there is only 0.75. To be clear, there is not a single
21   full-time physician to cover the 4,420 prisoners housed at Tucson. And even if there were
22   the 2 staff physicians contemplated by the contract, the physician to prisoner ratio would
23   be severely inadequate. Another court noted a physician to prisoner ratio of 1:1,166 was
24   far too large. Madrid v. Gomez, 889 F. Supp. 1146, 1201 (N.D. Cal. 1995). Even if Tucson
25   were “fully staffed” according to the contract, the physician to prisoner ratio would be
26   1:2,210.
27          Overall, there are 10 medical directors, 47.15 midlevel providers (who may only
28   work under the direction of a physician), and 5.5 staff physicians for the entire prisoner


                                                  - 23 -
 1   population of over 27,000. Three complexes do not require a staff physician at all
 2   (Douglas, Safford, and Winslow), two more do not have their staff physician positions
 3   filled (Lewis and Phoenix), and two more have their staff physician allocations
 4   understaffed by 50% (Florence and Tucson). These numbers, and the tables at Appendix
 5   1, demonstrate the contract staffing levels require the vast majority of medical care be
 6   provided by nurses, nursing assistants, and medical assistants. Given these undisputed
 7   actual staffing numbers, Defendants’ position that there is no cause for concern—and they
 8   are providing care that meets or exceeds the community standard—is incredible.
 9          Defendants argue this overview does not account for the various site medical
10   directors. Those positions are filled by physicians and Defendants claim they increase the
11   number of physicians providing direct patient care. First, the increase is insignificant and
12   trial testimony established the medical directors are ill-equipped to provide anything close
13   to full time direct patient care. Dr. Jordan, the site medical director at Yuma, testified he
14   spends between 40 and 50% of his time providing patient care, “because [he is] involved.”
15   (Doc. 4277 at 59-60). Dr. Jordan also confirmed he has acted as the site medical director
16   for the Winslow complex in addition to his duties at the Yuma complex on more than one
17   occasion for at least one month. But Dr. Jordan never provided direct patient care at
18   Winslow. (Id. at 70-71). Dr. Wilcox also stated that, during his tours of various locations,
19   he had learned “site medical directors did not do very much clinical work and they
20   substituted in for vacations.” (Doc. 4271 at 74).
21          Even if medical directors were not required, at times, to cover multiple locations, it
22   is inconceivable that each site medical director could provide anything close to full-time
23   direct patient care while supervising a staff of 20-100 and performing administrative
24   responsibilities. As such, based on this record, any participation by the site medical
25   directors in providing direct patient care is marginal and, therefore, inadequate.
26          Defendants effectively concede the current staffing levels are insufficient. In
27   addressing whether the current staffing levels are adequate, Dr. Murray’s opinion was
28   based on information from “facility leadership teams” in terms of the hypothetical staffing


                                                - 24 -
 1   contemplated by the contract, not actual staff. They told Dr. Murray if “their vacancies
 2   were filled, the current workload would be manageable with the current number of
 3   healthcare positions.” (Doc. 4206 ¶ 197). Because Centurion has never filled all its
 4   vacancies, it is completely unclear how the teams know full staffing would be sufficient.
 5   But, more importantly, these comments by “facility leadership teams” effectively admitted
 6   the current staffing levels are not sufficient. Moreover, the evidence establishes the
 7   contract staffing levels would not be sufficient, even if they could be obtained. Facilities
 8   currently considered “overstaffed” according to the contract level are unable to meet basic
 9   thresholds for providing care.
10          The Yuma complex illustrates the contract staffing levels are insufficient. Yuma is
11   overstaffed by seventeen positions (nearly thirteen of which are nursing assistants, medical
12   assistants, or LPNs). Despite being “overstaffed” as contemplated by the contract, Yuma
13   was unable to perform numerous health care performance measures during the
14   Stipulation’s operative period. (Doc. 4277 at 75-76). From January 2021 through July
15   2021, Yuma was substantially noncompliant with PM 37, which requires a prisoner to be
16   seen within 24 hours of submitting an HNR, and PM 44, which requires the prison to review
17   a prisoner’s hospital discharge instructions within 24 hours of their return from the hospital.
18   In other words, even with Yuma substantially “overstaffed,” it was unable to see prisoners
19   within 24 hours or review discharge instructions within 24 hours, both tasks a well-staffed
20   facility should be able to accomplish. It was these types of critical failures that ultimately
21   destined the Stipulation to fail and mandated its rescission. (Id. at 78-83). In addition,
22   Yuma is one of the only complexes where Defendants claimed use of the eConsults service,
23   where prison providers can reach out virtually to specialists, explain a prisoner’s symptoms
24   and testing results, and seek specialized advice on how to proceed with a patient. (Id. at
25   60:8-21). While this may have been helpful, Yuma’s performance in obtaining specialty
26   consultations remained substantially noncompliant. (Id. at 75-76).
27          Significantly, Defendants offered no evidence the contract staffing levels, if
28   achieved, would be sufficient. They did not offer a statistical analysis demonstrating the


                                                 - 25 -
 1   staffing allocation contemplated by the contract would be appropriate to meet prisoners’
 2   needs. Instead, Defendants relied, almost exclusively, on their National Commission on
 3   Correctional Health Care (“NCCHC”) accreditation.            NCCHC accredits correctional
 4   facilities for compliance with NCCHC’s standards regarding medical and mental health
 5   care. (Doc. 4172 ¶¶ 59-61; Doc. 4279 at 101; Doc. 4270 at 110-111). Correctional
 6   facilities initiate the accreditation process and the institution seeking accreditation pays an
 7   initial fee, as well as an annual fee to maintain accreditation. (Doc. 4289 at 133-134).
 8   NCCHC will accredit a facility if it finds that a facility meets all “essential” NCCHC
 9   standards and 85% of all “important” NCCHC standards. (Doc. 4270 at 114:6-15; Doc.
10   4275 at 61:24-70:11).
11          ADCRR is fully accredited. But the evidence established that accreditation is of
12   very little value when determining actual performance of the ADCRR system. Dr. Wilcox
13   testified “NCCHC has never and does not now purport to assess the adequacy of staffing
14   levels as part of its accreditation process. In fact, the NCCHC has always declined to offer
15   any guidance on staffing other than to provide an umbrella statement that “‘[t]he
16   responsible health authority (RHA) ensures sufficient numbers and types of health care
17   staff to care for the inmate population.’” (NCCHC Standards for Health Services in Prison,
18   2018, pg 61); (Doc. 4138 ¶ 158 n. 7). This was corroborated by Defendant Gann who
19   testified NCCHC will not provide a benchmark for staffing because every facility is
20   different. (Doc. 4275 at 33). Further, while Defendants claim NCCHC surveyors are
21   neutral and objective, the evidence established Centurion and Corizon are far from neutral
22   because they are prominent NCCHC sponsors. (Doc. 4283 at 5).
23          The Court finds Dr. Wilcox’s opinion that none of the NCCHC essential standards
24   incorporate a substantive review of the health care administered by ADCRR is credible.
25   Rather, these standards are exactly what Dr. Wilcox said they are—standards to ensure
26   some policies and procedures are in place to create a health care delivery system. (Doc.
27   4138 at page 66 n.7). And those systems do, in fact, exist, so it is not surprising ADCRR
28   was and remains accredited. But it has never been Plaintiffs’ claim that Defendants do not


                                                 - 26 -
 1   have policies or procedures to provide health care. Rather, Plaintiffs have always claimed
 2   the system was providing constitutionally inadequate health care.
 3          If there were any remaining doubt about the utility of NCCHC accreditation, it is
 4   dispelled by looking at Defendants’ PM compliance from 2018-2021. As the Court
 5   detailed in its July 16, 2021 Order, pervasive noncompliance with the Stipulation’s
 6   performance measures justified rescission of the Stipulation. Indeed, just one example,
 7   PM 44 at Eyman—requiring prisoners returning from a hospital stay shall have the
 8   hospital’s treatment recommendations reviewed and acted upon within 24 hours—has been
 9   noncompliant for years. Given that performance, it is implausible all ten complexes could
10   be 100% compliant with each “essential” NCCHC standard if those standards were based
11   on a qualitative assessment of the actual care provided to prisoners.
12          Ultimately, the evidence demonstrates current staffing is woefully insufficient. In
13   addition, as Dr. Wilcox stated “[t]hese staffing problems persist and recur because neither
14   the ADCRR nor Centurion adequately analyze, monitor, or take responsibility for
15   addressing them.” (Doc. 4138 at ¶ 160). Based on the testimony and evidence, the only
16   reasonable conclusion is the current staffing level is inadequate, and even if all positions
17   contemplated by the contract were filled, it is more probable than not the staffing would be
18   insufficient. The Court need not decide the number of staff that would be necessary. It is
19   enough to know that even Centurion has admitted the contract staffing level, which has
20   never been achieved, is insufficient. The next issue is the impact that lack of staff has on
21   the care provided to prisoners.
22   III.   Intersection of Inadequate Staffing and Nursing
23          The staffing levels contemplated by the contract tilt sharply toward support staff—
24   licensed practical nurses, medical assistants, nursing assistants, and patient care
25   technicians—and away from providers who can write orders and prescribe medication. All
26   positions are not created equal. Several witnesses attempted to put the staffing numbers
27   into context, and Dr. Wilcox’s testimony was the most thorough and persuasive.
28          Dr. Wilcox explained the process by which prisoners seek care. The ADCRR


                                                - 27 -
 1   system requires every prisoner seeking medical care to be evaluated by a nurse who then
 2   uses the nursing encounter tools (“NETS”) to formulate a plan of care, including whether
 3   to send the prisoner to a provider—nurse practitioner, physician’s assistant, or physician.
 4   (Doc. 4138 ¶ 163).
 5          Dr. Wilcox’s undisputed characterization of ADCRR’s health care hierarchy is that
 6   nurses are tasked with triaging prisoners but quite often prisoners do not obtain care beyond
 7   that provided by a nurse. And of greater significance, this system requires nurses to
 8   diagnose and treat far beyond their capabilities. Nurses are expected to work closely with
 9   higher-level providers, but given the relatively few higher-level providers on staff, that is
10   simply not possible. In Dr. Wilcox’s expert opinion, “the poor quality of clinical decision-
11   making demonstrated by nurses and providers in the ADCRR harms patients and places
12   them at an unreasonable and substantial risk of serious harm.” (Doc. 4138 ¶ 17). During
13   his in-court testimony, Dr. Wilcox elaborated on this point and pointed out the strangeness
14   of ADCRR using nurses in this manner.
15          Dr. Wilcox was asked if he was “aware of any other health care settings where the
16   nurse serves as final decider when someone seeks to access their doctor.” He responded
17                 No. Considering that it’s not really legal, you wouldn’t expect
                   to find any others. But, you know, can you imagine in the
18                 community if you schedule an appointment with your doctor
                   and you’re met in the lobby by the nurse who does a little
19                 assessment on you and then turns you around and sends you
                   home and you’re not allowed to see your doctor? That just
20                 doesn’t exist in the scope of healthcare anywhere.”
21
     (Doc. 4270 at 74). ADCRR’s decision to structure their system in this manner is, in Dr.
22
     Wilcox’s credible opinion, an extreme outlier.
23
            Dr. Murray attempted to counter Dr. Wilcox’s opinion by stating “[t]he nurses and
24
     providers I interviewed felt comfortable with the supervision available, and I believe the
25
     ratio of providers to nurses in the ADCRR system allows for adequate supervision.” But
26
     Dr. Murray does not identify a single provider who explained how supervision is adequate
27
     to protect prisoners. And with 5.5 staff physicians for the entire prison population of more
28
     than 27,000, the evidence does not support a finding that the ratio is sufficient for adequate

                                                 - 28 -
 1   supervision.
 2          In essence, it is Defendants’ position that access to any care, no matter how poor,
 3   satisfies their constitutional obligations. In Defendants’ view, prisoners have access to
 4   nurses, and those nurses can in theory escalate matters to higher level providers when
 5   appropriate. But the evidence shows that they do not do so. And in practice, it is never
 6   enough to provide prisoners with serious medical needs access to health care staff who lack
 7   the training and authority to address their needs. Access to health care necessarily involves
 8   access to health care performed by competent staff. The staffing levels detailed above
 9   make clear it would be impossible for nurses to meaningfully consult with or refer many
10   prisoners to providers because there are simply not enough higher-level providers available
11   to see them.
12          As credibly stated by Dr. Wilcox, “in a well-functioning system, a high percentage
13   of patients should pass through the triage process to see a provider, who can then diagnose
14   their condition and prescribe appropriate treatment.” (Doc. 4138 ¶ 162). Instead, ADCRR
15   relies almost exclusively on nurses to “function outside the scope of their licenses and act
16   as providers.” (Doc. 4138 ¶ 169). The basic staffing levels allow for nothing else.15 The
17   staffing levels require the vast majority of prisoners who submit HNRs to be seen by nurses,
18   and nurses only. And even the nurse lines are cancelled due to lack of staffing. Defendant
19   Gann admitted the nurse line was cancelled in Tucson more than twenty times in January
20   and February of 2021 due to insufficient staffing. (Doc. 4275 at 100:25-101:3).
21          Dr. Wilcox opines the inadequacy of ADCRR’s system, including the overreliance
22   on nurses, is borne out by reviewing the numerous mortality reviews.16 Those reviews—
23   15
        For example, at the Tucson complex there are 18.3 registered nurses, 7.00 midlevel
24   practitioners and 0.75 staff physicians. There are 4,420 prisoners at that complex who
     submit 200-300 HNRs per day. (Doc. 4206 at 7). It is not remotely possible for each
25   prisoner who submits an HNR to be seen by a midlevel practitioner or staff physician. The
     ADCRR system documented a total of 300,000 HNRs across all complexes in 2020. (Doc.
26   4275 at 145). The staffing levels systemwide mean only the tiniest fraction of those HNRs
     could possibly result in a visit with a midlevel practitioner or staff physician.
27   16
        Dr. Wilcox examined 94 mortality reviews of the 322 prisoners who died between
     January 1, 2019, and September 26, 2021. Dr. Wilcox “focused primarily on more recent
28   deaths to gain the most accurate picture of the current state of affairs in the ADCRR
     healthcare system.” (Doc. 4167 at ¶ 21).

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 1   which Defendants did not controvert—document a lack of timely access to appropriate care
 2   by the appropriately skilled professionals and they reflect numerous preventable deaths.
 3          A. Joseph Assyd17
 4          Joseph Assyd died on April 12, 2020, at the age of 64. On March 13, 2020, he
 5   became unresponsive due to hypoglycemia. A nurse measured his glucose at a very low
 6   level of 40, and Assyd reported abdominal pain, nausea, vomiting, and diarrhea. He was
 7   provided “glucose gel 3 times over the next hour.” While he had “a fever of 102.3,
 8   hypoglycemia, and abdominal pain,” he was transferred from the Lewis complex to the
 9   Tucson complex. Assyd was not seen by a provider on March 13. It was not until March
10   27, 2020, that he saw a provider for complaints of “generalized weakness and pneumonia.”
11   He had an altered mental state and was transferred to the hospital. Assyd tested positive
12   for Covid-19 on April 7, 2020, developed sepsis, and died on April 12, 2020.
13          The mortality review reflected Assyd’s vital signs were not properly documented
14   on March 13, 2020, and, consequently, his assessment on that date did not prompt a referral
15   to a provider. In addition, there was no “clear cut documentation” why he was transferred
16   between facilities. Despite this, the mortality review found no issues with the care. Instead,
17   officials merely made “recommendations” that transfers between facilities be accompanied
18   by an explanation why the transfer was occurring and that referrals to providers “must be
19   authorized timely based on level of urgency.” (Ex. 155). In other words, the nurse
20   responsible for the assessment on March 13, 2020, should have concluded Assyd needed
21   to be seen by a higher-level provider.
22          B. Kenneth Barker
23          Kenneth Barker died on October 5, 2019, at the age of 68. He was housed in the
24   Tucson complex. He was seen by a nurse on May 29, 2019, because of “foot pain with
25   difficulty walking.” There is no indication his feet were examined at that time, but he was
26   referred to a provider. Before that provider visit, he was seen again by a nurse on June 10,
27
     17
       The Court uses the full names of prisoners who died in ADCRR custody as their deaths
28   are reported publicly. For prisoners who remain in custody, the Court will use their initials
     unless the prisoner testified at trial.

                                                 - 30 -
 1   2019, for foot pain. Barker was told a provider visit had been scheduled but his feet were
 2   not examined.
 3            On July 8, 2019, for the third time, he was seen by a nurse because of foot pain.
 4   This time, his right foot was examined. He was seen by a nurse for the fourth and fifth
 5   time on July 27 and August 6, with a note on August 6 as “unremarkable.” Finally, at his
 6   sixth visit on August 21, 2019, a nurse examined his left foot and determined there was a
 7   2.5 cm ulcer on the bottom of his left foot. He was referred a second time to a provider,
 8   but the examination did not occur until September 3, 2019, when the wound on his foot
 9   had become necrotic and he exhibited edema on his lower left leg between the knee and
10   ankle.
11            Barker was sent to the hospital, where it was determined the ulcer may have been
12   caused by several months of wearing ill-fitting shoes. Despite aggressive treatment,
13   including amputation of his lower left leg, Barker died on October 5, 2019. His mortality
14   review noted Barker should have been escalated to a provider in a “more timely manner”
15   after two HNRs were submitted by him for the same complaint. (Ex. 159). The mortality
16   review noted “[p]reventative measures not taken” and the diagnosis was “not timely.” The
17   mortality review recommended “[a]ll diabetic patients when seen for chronic care must
18   have a visual assessment [of] the feet.” The treatment of Barker illustrates the system relies
19   on nurses to assess patients, even when the patient makes repeated complaints for the same
20   issue.
21            C. Cardinel Barnes
22            Cardinel Barnes died on April 6, 2021, at the age of 37. He was housed in the
23   Eyman complex. He had a chronic care visit on March 17, 2021 for asthma. The following
24   week, on March 24, 2021, he saw a nurse for shortness of breath and an upper respiratory
25   infection. He told the nurse he had three asthma attacks the previous day, his inhaler was
26   not working, and he was so short of breath that it had taken him 30 minutes to get dressed.
27   The nurse did not refer him to a provider. Instead, the nurse instructed him to call ICS18 if
28   18
        Incident Command System, the health services’ emergency response system. (Ex. 1305
     at 30).

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 1   he had another asthma attack and his inhalers were not working. Barnes collapsed and
 2   became unresponsive on April 6, 2021. CPR was performed, but it was unsuccessful. The
 3   autopsy found evidence of valley fever. The mortality review questioned whether “the
 4   patient [should] have been referred to a provider for the complaints on shortness of breath
 5   and diffuse pain,” but concluded “[t]he evaluation and recommendations by nursing were
 6   appropriate given the clinical presentation.” (Ex. 160). Barnes is another example of a
 7   prisoner being unable to access a provider and instead being subjected to cursory treatment
 8   by a nurse.
 9          D. Andrew Barnhart
10          Andrew Barnhart died on July 17, 2020, at the age of 72. He was housed in the
11   Eyman complex. During the two years preceding his death, he lost over thirty pounds and
12   had a body mass index of 15, demonstrating he was extremely underweight. A June 3,
13   2020, chest x-ray showed “near complete opacification [increased density] of the right
14   upper [lung] lobe.” Barnhart underwent a CT scan on June 26, 2020, which revealed a
15   14x10x12 cm mass. At that time, his blood pressure was 86/64, which was ignored. He
16   was transported to the hospital on July 8, 2020 to evaluate abdominal and back pain with
17   hypotension. He was taken into emergency surgery to address a perforated gastric ulcer,
18   and a lung mass was discovered. Barnhart developed post-surgical complications and died.
19   (Ex. 161). The mortality review stated the CT scan on June 26, 2020, presented “an
20   opportunity for additional questioning, a blood pressure recheck, and elevation to the
21   provider” regarding his blood pressure. But the record does not establish that the results
22   of the CT scan and the low blood pressure were reviewed by anyone, which may or may
23   not have resulted in a different outcome but certainly the lack of review presented a
24   substantial risk of serious harm.
25          E. James Edwards
26          James Edwards died on January 1, 2020, at the age of 29. He was housed in the
27   Eyman complex. He submitted his first HNR for leg and stomach pain on October 7, 2019
28   but did not see a nurse until November 8, 2019 and then a second time on November 17,


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 1   2019. It was noted he had a mass on his collar bone and an elevated heart rate. He was
 2   referred to a provider who did not see him until November 23, 2019. He complained of
 3   severe hip pain and the only diagnosis was mild osteoarthritis in his hip.
 4          Twenty-four days later, on December 17, 2019, Edwards was seen by a provider
 5   after an ICS was activated for “shoulder pain,” but the provider determined his shoulder
 6   was “normal.” Another ICS followed on December 20, 2019, because Edwards felt
 7   “weakness and discomfort” and he was also “unable to keep water down.” He was seen
 8   by a nurse who instructed “to drink more water in slow sips.” Ten days later, Edwards
 9   became unresponsive and was transferred to the hospital where he died of valley fever.
10   The mortality review accurately concluded nurses failed to recognize signs or symptoms,
11   delayed access to care, and failed to follow clinical guidelines. (Ex. 229).
12          F. Gabriel Figueroa
13          Gabriel Figueroa died on December 11, 2020, at the age of 55. He was housed in
14   the Tucson complex. He suffered from Hepatitis C and a variety of other conditions. He
15   had a chronic care visit on November 27, 2020, and two days later, on November 29, he
16   saw an RN because an LPN said he “did not sound good.” Figueroa reported a cough that
17   started the previous day, shortness of breath, and lethargy. His oxygen saturation was low
18   at 92%. The nurse advised him to submit an HNR or initiate an ICS if he continued to
19   experience shortness of breath. An ICS was initiated the next day when his oxygen
20   saturation was recorded as 62%. He was transported to the hospital, where he died on
21   December 11, 2020. His cause of death was listed as Covid-19 pneumonia.
22          The mortality review concluded the nurse who examined Figueroa on November 29
23   should have referred him to a provider “to determine the next steps” to determine the source
24   of his illness (Ex. 241). This reflects another instance where a nurse did not accurately
25   assess the prisoner’s needs and prevented him from seeing a provider.
26          G. Bruce Manthey
27          Bruce Manthey died on December 31, 2019, at the age of 71. He was housed in the
28   Tucson complex. He suffered from several preexisting conditions. An ICS was called on


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 1   November 29, 2019, because Manthey was experiencing painful edema bilaterally.
 2   Medical staff provided medication and advised him to keep his feet clean. Several days
 3   later, he saw health care staff to address a left shoulder abscess, but there was no mention
 4   of edema. Thirteen days later, Manthey had a nurse visit on December 12, 2019 for
 5   bilateral edema that began when he stood up in the morning. The record does not specify
 6   a diagnosis or treatment and the December 18, 2019 provider note does not mention edema
 7   or skin lesions. Another ICS was initiated on December 23, 2019, because Manthey could
 8   not sit in his wheelchair because of pain from his bilateral edema, which had grown to over
 9   6mm of swelling. He was in pain, and open wounds on both feet were “draining foul
10   discharge.” No beds were available in the IPC unit, and he was sent to the emergency
11   room. Manthey became septic, was admitted to the ICU, and he died on December 31,
12   2019 due to multiorgan failure secondary to sepsis. The mortality review set forth the
13   obvious: Manthey’s symptoms were not addressed according to the standard of care, and
14   the documentation in his medical record did not reflect Manthey’s actual condition. In
15   particular, Manthey’s “condition should have been elevated by nursing . . . due to obvious
16   symptoms (edema, odor, drainage) of something wrong.” There is no explanation how
17   nurses could have missed these “obvious symptoms.” (Ex. 327). This care illustrates the
18   dangers of setting up the system such that nurses are the first, and often only, medical
19   professional available to prisoners.
20          H. Jose Miranda
21          Jose Miranda died on August 4, 2019, at the age of 76. He had been housed in the
22   Tucson complex infirmary or SNU since 2015. On July 25, 2019, after he returned from
23   an off-site medical appointment, he was observed sitting up straight but seemed stiff on
24   one side, flaccid on the other, and was not speaking. Despite these issues, staff did not
25   send Miranda to a provider. The next day, he continued to have right side stiffness. He
26   opened his eyes, but he was aphasic, had a weak left grip, and a minimal response to
27   ammonia inhalant. He was sent to the hospital for stroke evaluation and died. The
28   mortality review noted that when nursing evaluated him following his return from his


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 1   appointment on July 25, 2019, “his altered mental status and vital signs should have
 2   triggered the patient to be evaluated to the attention of a provider.” (Ex. 344). This reflects
 3   yet another example of nurses missing obvious signs that merited referral to a higher-level
 4   provider.
 5          I. Gilbert Molina
 6          Gilbert Molina died on February 15, 2021, at the age of 73. He was housed in the
 7   Eyman complex. On January 11, 2021, he fell and was evaluated by nursing. At that time,
 8   Molina reported “10/10 pain.” The nurse did not immediately contact a provider for
 9   diagnosis. Instead, an appointment was set and occurred two days later. The provider
10   ordered x-rays, but not expedited and they occurred five days later. The x-rays revealed a
11   fractured femur. Molina underwent surgery, but he contracted Covid-19, developed
12   complications, and subsequently died. The mortality review noted “[a]n elderly patient
13   with severe pain after a fall should be escalated to a higher level of care immediately.” In
14   addition, the x-rays should have been ordered “stat” not “routine.” (Ex. 346). From the
15   records, it appears the nurse was insufficiently trained and skilled to treat the condition
16   Molina presented with on January 11.
17          J. David Neville
18          David Neville died on July 22, 2019, at the age of 59. He was housed in the Tucson
19   complex. He had a history of squamous cell carcinoma at the base of his tongue for which
20   he had received chemotherapy and radiation. In February 2017, a PET scan showed
21   “lymph nodes suspicious for recurrence” of cancer. At that time, Neville complained of
22   neck and throat pain. In October 2018, during a chronic care visit, he complained of
23   “unrelenting pain in [his] throat.” He was treated with pain medication for a short time,
24   but the medication was discontinued because the pain “was not a result of cancer.” Neville
25   continued to have difficulty swallowing.
26          Neville hung himself on July 22, 2019.          The mortality review noted it was
27   “undetermined” if the death could have been prevented or delayed. The review also stated
28   Neville submitted several HNRs due to unrelenting pain but “[n]ursing staff [did] not


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 1   appreciate the level and severity of pain symptoms and therefore no referrals [were] made
 2   to the health care practitioner.” (Ex. 355). This reflects another example of nurses being
 3   insufficiently trained and skilled to fully diagnose and treat the presented condition.
 4          K. Pedro Rojas
 5          Pedro Rojas died on June 26, 2019, at the age of 51. He was housed in the Florence
 6   complex. On May 6, 2015, he reported he had been suffering from hemorrhoids and rectal
 7   bleeding for over a year. Results of three hemoccult tests ordered by a nurse were all
 8   positive for occult (hidden) blood, but there was no follow-up ordered. Rojas continued to
 9   complain of diarrhea and abdominal pain for years with no diagnosis. On April 19, 2017,
10   hemoccult tests were repeated and, again, all were positive for blood. He was diagnosed
11   with severe anemia and sent to the hospital.
12          At the hospital, a colonoscopy showed prominent hemorrhoids and a large
13   fungating, nearly obstructing tumor of the colon. “Chemo radiation” was recommended.
14   Rojas was transferred to Florence, and on May 17, 2017, he was seen by an oncologist.
15   The record does not indicate the result of that examination but Rojas continued to complain
16   of weakness. He was sent to the ER again and, upon his release, he was transferred to
17   Lewis. He had been scheduled for radiation on June 21, 2017, but the appointment was
18   overlooked. As of June 2017, his “abdominal pain continued to worsen” and he had to be
19   sent to the hospital repeatedly “for blood transfusions for anemia due to blood loss from
20   rectal bleed.” Chemotherapy was finally started on August 7, 2017. He had additional
21   hospitalizations for sepsis, pneumonia, and pyelonephritis, and underwent surgery in
22   October 2017. At that time, he was noted to have Stage 4 cancer.
23          In April 2019, Rojas completed chemotherapy and radiation treatments and
24   underwent a biopsy of a lung nodule, which showed necrotic adenocarcinoma consistent
25   with metastasis. In May 2019, he developed a small bowel obstruction, and he was
26   admitted to the infirmary on June 14, 2019.         On June 21, 2019, Rojas developed
27   hypotension and died. The mortality review noted that Rojas should have been referred to
28   a health care practitioner in a timely manner after the initial positive hemoccult tests in


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 1   2015 and there were “significant delays from diagnosis to eventual treatment in addition to
 2   delays during treatment of the patient’s cancer.”
 3          ADCRR and Centurion officials recognize the failures in Rojas’ care. The mortality
 4   review notes that prisoner health care had “improved dramatically” in recent years and
 5   Rojas’ death “most likely would not have taken place in the current health care delivery
 6   climate.” It is unclear to what “current health care delivery climate” Defendants refer to
 7   as Rojas’ case is relatively recent. (Ex. 398).
 8          L. Kamaka Solo
 9          Kamaka Solo died on September 15, 2019, at the age of 58. He was housed in the
10   Tucson complex. On June 8, 2019, Solo began complaining of constipation. Solo’s
11   complaints worsened throughout June, and he complained of gastric distress, bloating, gas,
12   abdominal pain, cramping, and continued constipation. He was seen by nurses and given
13   laxatives. He returned in July 2019, complaining that “even drinking water causes pain,”
14   he was unable to eliminate despite trying and straining for hours, and he was unable to eat
15   or sleep. He was referred to a provider, who did not see him until July 9, 2019. The
16   provider ordered x-rays, which were deemed “normal.” Again, on July 19, 2019, Solo
17   returned with constipation, gas, bloating, constant pain due to abdominal cramps and
18   inability to sleep or eat. As required, he was seen first by a nurse on July 20 and, after a
19   referral, a provider saw him on July 25, who gave Solo medication for gas and heartburn
20   as well as a laxative.
21          On August 1, 2019, Solo requested to see a specialist for unresolved pain. He stated,
22   “I am in constant, excruciating pain, and all the treatment I have received so far has been
23   totally ineffective.” A nurse saw him and did nothing. On August 3, he submitted an HNR,
24   which stated “[t]he pain is unbelievable, definitely a ‘10’. Could I please have an enema?
25   I need help.” Nursing diagnosed “constipation” and gave him “nothing.”
26          On August 12, 2019, Solo submitted an HNR stating “[n]o human being deserves
27   to endure the pain I am in 24 hours a day. Can you help me?” That resulted in a provider
28   appointment on August 13, 2019. The provider repeated the x-ray order and ordered a


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 1   liquid diet but no diagnosis. Rather, on August 15, 2019, nursing again gave him a laxative.
 2   On August 18, 2019, an ICS was called due to Solo’s chest pain. A hemoccult was ordered
 3   then cancelled, and a helicobacter pylori test was ordered. That same day, a nurse noted
 4   Solo’s pain was “increasing” and he was sent to the IPC for observation.
 5          While in the IPC, a provider requested a gallbladder ultrasound, but it was not
 6   authorized until September 3, 2019, and was never done. Solo was returned to his normal
 7   housing unit. On August 20, 2019, Solo reported to a provider that he had not eaten for 2
 8   weeks. The provider once again gave a laxative and pain reliever.
 9          Over the following days, ICS emergencies were called because of vomiting and
10   extreme pain. Solo’s heartrate was irregular, and an EKG was done and read with “sinus
11   rhythm with occasional PVC, L anterior fascicular block and nonspecific T wave
12   abnormalities.” But Solo was sent back to his cell. On August 26, 2019, Solo was seen by
13   nursing, who noted that Solo was “very uncomfortable, grimacing and moaning.” On
14   August 27, 2019, another ICS was called for chest pain, Solo’s blood pressure was 96/64,
15   and he was witnessed seizing and throwing up bile. Solo was finally sent to a hospital.
16          The emergency department performed a CT scan which revealed a large pancreatic
17   mass and multiple hepatic lesions, likely metastatic. On September 10, 2019, Solo suffered
18   a stroke while in the hospital. Solo was sent back to the prison on September 14, 2019 and
19   died on September 15, 2019.
20          Solo’s mortality review noted his “symptoms were worked up routinely and a
21   diagnosis was attempted (as being H. pylori and constipation).” However, “[a]larming
22   symptoms were missed and/or not elevated, and pain was not addressed adequately.” The
23   review recommended nursing staff “be provided education regarding multiple HNR[s] for
24   the same complaint to be elevated to the practitioner.”
25          From June 2019 through September 2019, Solo complained of unremitting and
26   extreme pain. The response by nursing staff, on multiple occasions, was to do nothing.
27   And even when elevated to a provider, diagnostic tests were ordered but not performed and
28   Solo was given effectively no treatment for his pain. (Ex. 422).


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 1          M. Macario Vela
 2          Macario Vela died on April 21, 2019, at the age of 43. He was housed in the Lewis
 3   complex. On April 6, 2019, Vela was seen by a nurse for pain in his left breast radiating
 4   to his back at the base of neck on the left side. The nurse identified a palpable lump in
 5   Vela’s left shoulder. On April 10, 2019, Vela was scheduled to a see a provider, but the
 6   record states “refused.” On April 14, 2019, he returned to a nurse complaining of
 7   increasing back pain in lumbar spine and radiating into left leg, stated he had not eaten in
 8   3 days, and was walking stiffly. The nurse provided ice and “analgesic balm.”
 9          Vela was seen by nursing again on April 15, 2019, and after an abnormal urine dip,
10   a urine drug screen was returned positive for opiates. At that visit, Vela had a temperature
11   of 103 degrees. Vela was given fluids for some period but declined additional fluids and
12   refused to see the provider. On April 20, 2019, an ICS was called for a suspected overdose
13   and Vela died the next day.
14          Vela’s autopsy revealed staphylococcus aureus sepsis due to chronic intravascular
15   drug use. His mortality review noted failure to recognize symptoms or signs and patient
16   non-adherence as contributing factors of Vela’s death. But the review also noted Vela did
17   not receive a timely diagnosis or treatment. Diagnosis could have potentially been made
18   on the first visit given Vela’s complaints, and the subsequent visits should have alerted the
19   nurses that Vela was very ill. The mortality review noted poor documentation, there was
20   no record of labs on April 15, 2019, and failure to closely monitor in that there was growing
21   evidence of possible endocarditis. (Ex. 442). Vela may have refused to see a provider
22   which is a complication, but given his symptoms, nurses should have been able to
23   determine he was at very significant risk.
24          N. Michael Voden
25          Michael Voden died on June 16, 2019, at the age of 77. He was housed in the
26   Florence complex. On intake on August 14, 2015, it was noted Voden had a history of
27   hypertension and COPD. A heart murmur was detected and described as aortic valve
28   dysfunction. On October 10, 2018, an ICS was initiated because Voden had “chest pain


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 1   10/10.” Voden reported recurrent chest pain for two months with recurrent nausea. An
 2   EKG showed abnormalities and ischemia or subendocardial injury but no review by a
 3   provider. Voden was given antacids.
 4          On December 28, 2018, a second ICS was initialed for “man down,” and Voden
 5   reported generally feeling unwell and chest discomfort, but there was no record of calling
 6   a health care provider. On January 30, 2019, Voden reported chest pain with tightness and
 7   difficulty breathing to a nurse and a provider diagnosed COPD exacerbation, GERD, and
 8   pleuritic chest pain. On March 5, 2019, Voden had complained to a provider of a
 9   progressive leg edema for three years, and bilateral edema was noted, but the provider said
10   it was due to sitting in a wheelchair. Voden’s continued shortness of breath was attributed
11   to COPD. On March 21, 2019, a third ICS was initiated for shortness of breath, crackles
12   were heard in Voden’s chest, and Voden had lowered pulse oxygen levels. Nursing staff
13   noted shortness of breath on a subsequent appointment, and on March 26, 2019, a provider
14   diagnosed possible congestive heart failure.
15          On April 14, 2019, Voden was seen by nursing for respiratory symptoms and edema
16   and was instructed to “increase fluid intake.” He was referred to a provider, who described
17   him as frail but in no acute distress. The provider recommended that Voden “drink plenty
18   of water,” with no follow-up appointment. On April 18, 2019, a fourth ICS was initiated
19   after prison staff witnessed Voden exhibiting labored breathing and nursing staff advised
20   him to “hydrate and . . . be seen on nursing line.” On April 20, Voden was seen on the
21   nursing line and “diagnosed” with “poor air exchange secondary to Asthma.” On April 29,
22   2019, the provider noted Voden had a “4+ edema” in his left leg with a loud murmur along
23   with lung wheezes and assessed poorly controlled COPD and poor compliance with
24   medication. On May 7, 2019, Voden reported “life threatening emergency respiratory,
25   circulatory function” and requested to be seen by a provider outside of ADCRR. Nursing
26   evaluated Voden and determined he had “fluid weeping from his [lower extremities] along
27   with difficulty breathing and a 25 lb. wt. gain.” Nursing referred him to a provider.
28          Voden was seen several times throughout May, and at the end of May, a cardiology


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 1   consult was requested. On June 5, 2019, Voden’s condition had seriously deteriorated, and
 2   he was diagnosed with heart failure and pleural effusions, possible aortic stenosis, cellulitis
 3   of legs, and COPD, and was sent to the hospital. At the hospital, Voden was diagnosed
 4   with severe non-rheumatic aortic stenosis and deemed a poor candidate for surgery. He
 5   was also diagnosed with a number of other conditions, including acute renal failure. Voden
 6   died in the hospital on June 16, 2019, after he suffered cardiac arrest.
 7          Voden’s mortality review noted a pattern of nursing staff acting beyond their
 8   expertise and failing to recognize when referral to a provider was necessary. Nursing
 9   should have contacted a provider in October 2018 based on Voden’s complaints of chest
10   pains. Nursing should have contacted a provider on December 28, 2018, when Voden
11   again complained of chest pain. The initial diagnosis of congestive heart failure in March
12   2019 should have been accompanied by other diagnostic tests, such as an echocardiogram,
13   and further follow-up. The recommendation by nursing on April 14 to increase fluid intake
14   very likely was inappropriate because of the serious edema. The provider’s exam on April
15   15, 2019, was inadequate in that the provider failed to note the “significance” of the
16   murmur accompanied by significant edema. Inexplicably, the provider also recommended
17   that Voden increase his fluid intake. During the remainder of April and May 2019, medical
18   staff repeatedly failed to properly diagnose Voden’s condition. Overall, Voden’s death
19   was possibly avoidable. (Ex. 445).
20          Voden’s case presents a situation where nursing staff ineffectively repeatedly
21   attempted to treat him without referring him to a provider. In doing so, nursing staff missed
22   obvious signs of other conditions and gave wrong treatment advice.
23          O. Conclusions Derived from Mortality Reviews
24          The mortality reviews illustrate the harm that routinely befalls prisoners because
25   they do not receive timely and adequate health care. The common theme is nurses
26   repeatedly are unable to properly diagnose health care issues and fail to refer prisoners to
27   a provider. Despite these reviews, Defendants still maintain nurses act reasonably in
28   evaluating prisoners. Dr. Wendy Orm, the statewide medical director, testified during her


                                                 - 41 -
 1   Rule 30(b)(6) deposition that she is satisfied nurses appropriately assess patients and
 2   believes they accurately determine whether and when to refer patients to a provider for
 3   care. (Doc. 4148 at 46). Dr. Orm admitted, however, her opinion was not supported by
 4   any attempt on her part to validate nurses’ assessments or prisoners’ treatment. (Doc. 4148
 5   at 47-49). Dr. Wilcox accurately found “Dr. Orm’s failure to have conducted any quality
 6   assurance studies on the accuracy and appropriateness of the nursing assessments and on
 7   the limited throughput of patients to providers is an abrogation of her basic duties.” (Doc.
 8   4138 ¶ 146).
 9          The reality that nurses do not, in fact, accurately assess prisoners and then refer them
10   to providers is further supported by evidence from the Yuma complex. That facility
11   conducted self-audits to determine whether nurses were selecting the correct NET
12   assessment tool when evaluating a prisoner on the nurse’s line. The numbers for selecting
13   the correct assessment tool were as follows. At the La Paz Unit, the correct tool was
14   selected between 0 and 20% of the time from May through August 2021. (Ex. 825 at 25);
15   (Ex. 835 at 14); (Ex. 855 at 12); (Ex. 914 at 12). At other units, the correct tool was selected
16   43% and 58% of the time in September 2021. (Ex. 914 at 10); (Ex. 914 at 11).
17          This undisputed evidence shows nurses routinely selected the wrong NET when
18   evaluating a prisoner. That does not necessarily establish the nurses reached inappropriate
19   diagnoses. But if, as the evidence established, nurses are not using the diagnostic templates
20   properly, it is likely the nurses are not properly assessing conditions.
21          ADCRR’s response to the mortality reviews shows deliberate indifference of the
22   deficient practice of placing nurses as the gatekeeper for diagnosis and treatment. Dr.
23   Wilcox explained:
24                  It is clear, through my analysis of mortality reviews authored
                    in the last two years, that there are still significant deficiencies
25                  in the process. I did not find the mortality reviews, on the
                    whole, to be honest, thorough, or effective. They minimized
26                  the harm caused by healthcare staff, lacked the requisite
                    specificity, failed to identify clear errors in care, failed to offer
27                  effective recommendations, and evidenced no staff
                    accountability, even after identification of serious errors that
28                  led to a patient’s death.



                                                   - 42 -
 1   (Doc. 4138 ¶ 131). These reviews do not simply evaluate each prisoner’s final interaction
 2   with ADCRR’s health care. The reviews show systemic failures as well as ADCRR’s
 3   failure to “identify and address the core cause of many of these problems: nurses practicing
 4   outside the scope of practice, insufficient physician-level oversight, and failure to refer the
 5   patient to someone qualified to diagnose and treat them.” (Doc. 4138 at 56). Dr. Wilcox
 6   believes “the response and the write up for the mortality reviews are tepid, and I think they
 7   are very blunted and not really directive in any way to try to implement change that would
 8   prevent a case like this from happening again.” (Doc. 4269 at 91). The mortality reviews
 9   demonstrate that, despite ten years of litigation, ADCRR has never created and then
10   implemented a policy to identify systemic issues identified in mortality reviews and has
11   not taken steps to remedy them.
12          Dr. Orm testified during her deposition if ADCRR identifies an “actionable”
13   recommendation in a mortality review, then staff will develop a corrective action plan
14   (“CAP”). But there was no evidence Defendants developed even one CAP through
15   reviewing mortality reviews. Of significance, Dr. Murray agreed with the assessments of
16   prisoners’ care in the mortality reviews. (Doc. 4286 at 83). As part of his analysis, he also
17   asked Defendants for data to evaluate whether recommendations in the mortality reviews
18   were ever implemented but received none. (Doc. 4286 at 84). Dr. Murray was forced to
19   admit “there remains some room for improvement in terms of consistently identifying and
20   articulating actionable findings.” (Doc. 4206 ¶ 1040). That is an understatement. The
21   same failures arise in mortality reviews over and over and over—nurses not recognizing
22   conditions, nurses not referring prisoners to providers, and diagnostic testing not being
23   ordered or promptly obtained and reviewed—and yet not a single CAP was documented or
24   identified. This constitutes systemic conscious disregard of the risk prisoners face.
25          The deaths outlined above, some very recent, were not aberrations or corrective
26   action would have been implemented. No such evidence was introduced because it does
27   not exist. Defendants’ failure to take any action in response to such obvious deficiencies
28   up to the date of trial is evidence Defendants are content to continue using nurses


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 1   inappropriately and failing to require medically appropriate follow-up treatment.
 2          Using nurses as the first line, and often last line, for providing care is medically
 3   unacceptable. While using nurses in this way is driven by a lack of higher-level staffing,
 4   that does not excuse Defendants from adopting a system that leads to preventable deaths.
 5   Dr. Wilcox states—and Defendants do not contest—ADCRR’s high ratio of physicians to
 6   mid-level providers is an extreme outlier among health care systems. Dr. Wilcox was
 7   unaware of any “healthcare systems that provide primary care to patients on a large scale
 8   where the physicians are overwhelmingly outnumbered by the mid-level providers.” (Doc.
 9   4167 at ¶ 224). In Dr. Wilcox’s credible opinion, large systems do not have ratios similar
10   to what ADCRR has because “large systems inevitably have numerous patients who
11   require complex care beyond the scope of mid-level providers.” (Doc. 4167 at ¶ 224).
12   Indeed, ADCRR recognizes this deficiency by indicating the ratio of mid-level providers
13   to physicians set forth in their pending Request for Proposal is 2:1. (Doc. 4206 ¶ 1071). It
14   is obvious the present system of often allowing prisoners access only to nurses puts
15   prisoners at a substantial risk of serious harm.
16   IV.    Mismanagement of Complex Cases
17          Another failure that stems from lack of staffing is ADCRR’s failure to employ a
18   differential diagnosis approach. Symptoms are treated without developing a “diagnostic
19   strategy” or attempting to test for the underlying cause. Recurring complaints by prisoners
20   are often treated as “new” issues at each appointment without taking account of previous
21   diagnoses and history. (Doc. 4138 ¶ 30). And Dr. Wilcox found “care for complex patients
22   is scattered throughout the system so no one provider or physician is ultimately responsible
23   for the patient[.]” (Doc. 4138 ¶ 29). Because it is impossible for providers with demanding
24   caseloads (due to insufficient staffing) to assess prisoners’ history and symptoms,
25   practitioners miss “with alarming frequency” serious and urgent medical symptoms. (Doc.
26   4138 ¶¶ 29, 31). “That impossibility translates directly into inadequate care” for all
27   prisoners but particularly for those with severe illness. (Doc. 4138 ¶ 29).
28          This leads to failures or delays in diagnosing serious conditions. What is entirely


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 1   absent from nearly every patient interaction is an objective approach to their symptoms.
 2   The absence of differential diagnoses is particularly problematic because prisoners often
 3   do not see the same health care provider. On top of this multi-provider problem, the
 4   electronic health records system used does not provide health care providers with
 5   information in an easily usable format to facilitate evaluation allowing an effective course
 6   of treatment. (Doc. 4138 ¶ 31). The lack of differential diagnoses and progression through
 7   ruling out ailments is pervasive and is shown through the treatment provided to many
 8   prisoners. Dr. Wilcox reviewed the following prisoners’ care and made extensive findings.
 9   Defendants did not dispute any of them. Given Dr. Wilcox’s ten years of experience in
10   this litigation, his expertise and credibility, and Defendants’ failure to address Dr. Wilcox’s
11   opinions, the Court adopts Dr. Wilcox’s views that the care provided to the following
12   individuals was grossly inadequate.
13          A. Kendall Johnson
14          Johnson began her incarceration in 2015. In September 2017, Johnson submitted
15   an HNR complaining her feet and legs had been numb for weeks. (Doc. 4138 ¶ 100). A
16   nurse practitioner assessed her and indicated Johnson should be evaluated to rule out
17   multiple sclerosis vs. idiopathic neuropathy.        (Doc. 4270 at 24:18-25).      The nurse
18   practitioner, however, did not document Johnson’s history or order any diagnostic tests.
19   (Doc. 4270 at 25:13-26:3). Johnson continued to submit HNRs for the next two years and
20   reported her symptoms were getting worse. (Doc. 4138 ¶ 104; Ex. 931 at 1-2). In response,
21   she saw nurses, a NP, and starting in September 2018 a physician, all of whom failed to do
22   proper physical exams or necessary imaging. (Doc. 4138 ¶ 105).
23          Again, in May 2019, Johnson told a physician she would stumble and fall to the
24   ground and was unable to catch herself. No MRI was ordered, and the physician concluded
25   she did not have MS, which, in Dr. Wilcox’s view, was obviously incorrect. (Doc. 4138
26   ¶ 106). In July 2019, Johnson saw a physician again and recounted an ICS in June when
27   her knees locked up. The physician described her gait with “flopping feet almost as if foot
28   drop” and concluded she was likely suffering from “conversion disorder,” which, in


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 1
     essence, means she is delusional. It is an “extraordinarily rare condition . . . where
 2
     somebody believes that they have a disease and they act like they have a disease, but they
 3
     don’t really have the disease.” (Doc. 4270 at 26).
 4
            Adding to the absurdity, in October 2019, a nurse’s encounter note reflected
 5
     inconsistently “steady and even gait” and “IM [inmate] gait was unstable, IM was holding
 6
     onto anything she could while she was walking in.” (Doc. 4138 ¶ 108). Two months later
 7
     a physician ordered a diagnostic MRI after documenting that Johnson “walks almost as if
 8
     you would see in a Frankenstein movie. Very awkward and needs her hands for balance.”
 9
     (Doc. 4138 ¶ 109). Three months later, Johnson received the MRI on January 23, 2020,
10
     which “strongly supported a diagnosis of MS.” (Doc. 4138 ¶ 110).
11
            Johnson did not see a neurologist until two months later, who recommended
12
     additional diagnostic imaging and lab tests and requested that Johnson return in one month.
13
     She did not return to the neurologist until November 2020, when she was finally diagnosed
14
     with MS. The neurologist recommended a follow up the following month, which did not
15
     occur. Rather, Johnson returned to the neurologist at the end of January 2021, who noted
16
     “mobility had progressively declined,” requiring her to use a wheelchair, as well as urinary
17
     incontinence, and that she had not been given an MS medication. (Doc. 4138 ¶ 111). The
18
     specialist recommended she be sent to an MS center to develop a treatment plan. Her
19
     physician submitted a request to refer Johnson to an MS clinic, noting her “debilitating
20
     muscle spasms,” but the referral was cancelled because Johnson was prescribed MS
21
     medication to be received in the prison. Johnson did not start the medication, Ocrevus,
22
     until May 28, 2021. (Doc. 4138 ¶ 108). Had that medication been started earlier, Johnson
23
     “might have staved off her more severe symptoms for months or even years.” (Doc. 4138
24
     ¶ 113).
25
            Dr. Wilcox met with Johnson on August 31, 2021. He found her “profoundly
26
     disabled” and is unable to feed or wash herself, walk, write, and her vision is failing. She
27
     is entirely dependent on others to assist her with virtually every activity of daily living. Dr.
28
     Wilcox criticized the treating providers who indicated Johnson’s symptoms were not


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 1   suggestive of MS and he opined they were classic MS symptoms. (Doc. 4138 at ¶¶ 100-
 2   108). He noted Defendants have Johnson classified as an M3 although she is unable to
 3   walk, feed, or care for herself. (Doc. 4138 ¶ 488). It is likely had Johnson received
 4   continuity of care by seeing a consistent provider with more ready access to her medical
 5   history, her repeated complaints would have resulted in a timely diagnosis and treatment,
 6   which would have “staved off her more severe symptoms for months or even years.” (Doc.
 7   4138 ¶ 113).
 8          Johnson’s testimony at trial was profoundly disturbing. She confirmed she is unable
 9   to perform any activities of daily living for herself. She cannot walk, brush her teeth, or
10   wash herself. (Doc. 4256 at 11:19-12:4). She must wear diapers, her vision is impaired,
11   and she can no longer read. (Doc. 4256 at 12:5-10). She testified she paid other prisoners
12   to assist her with self-care activities by ordering things for them from the prison store until
13   three days before her testimony when a medical employee first began to assist her. (Doc.
14   4256 at 12:11-13:11).      Johnson explained she passes time in her housing unit by
15   “count[ing] the ceiling tiles” because she does not go outside. (Doc. 4256 at 13:12-23).
16          Defendants defend their treatment of Johnson by claiming “ADCRR and Centurion
17   were not, and are not, deliberately indifferent to Johnson’s medical needs. To the contrary,
18   they are actively and successfully treating Johnson’s multiple sclerosis.” (Doc. 4309
19   ¶ 236). According to Defendants, any delay in diagnosing Johnson was merely negligent.
20          Johnson’s treatment was far from negligent. It was—and may continue to be—a
21   paradigmatic example of the most callous and inhumane indifference. Defendants do not
22   address Johnson’s years of attempts without success to seek treatment for her progressing
23   illness. Instead of securing necessary diagnostic treatment, health care staff ignored
24   Johnson’s obvious and progressing symptoms, including neglecting her needs up to the day
25   of her pretrial deposition. Only after Johnson testified at her pretrial deposition that she
26   had to pay other prisoners to help her did prison staff begin providing her assistance with
27   her activities of daily living. To conclude that Johnson’s treatment has been appalling
28   substantially understates the pain and indifference she has suffered. And in the face of


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 1   unspeakable hardship, her testimony was clear and compelling. She could explain with
 2   precision the evolution of her disease, her futile attempts to receive treatment, and the
 3   permanent suffering she endures. Defendants’ failure to rebut this testimony or to attempt
 4   to explain why it is an aberration is a clear admission of significant irresponsibility. If
 5   medical staff had tested differential diagnoses to evaluate the cause of her symptoms,
 6   Johnson’s current situation likely would be different.
 7           B. Prisoner A.D.
 8           Last year before trial, in February 2021, A.D., a 44-year-old male, began
 9   complaining of severe neck pain. Verbal orders for an EKG, x-ray, and Toradol were noted
10   along with prednisone, diazepam, capsaicin cream, and ibuprofen. (Doc. 4138 ¶¶ 116-
11   117).   Dr. Wilcox testified a combination of prednisone, ibuprofen, and Toradol is
12   dangerous in that it could lead to a gastric ulcer or rupture. (Doc. 4138 ¶ 117). Although
13   A.D. reported his pain at a 20 on a scale of 10, a provider, contacted by a nurse, denied the
14   request for diazepam and Toradol and suggested an ice pack and ibuprofen, which he
15   received. (Doc. 4138 ¶ 118). The next day, A.D. was back and seen by a different nurse
16   who determined no referral to a provider or follow-up was needed. (Doc. 4138 ¶ 118). Six
17   days later, an ICS was called for pain and A.D. was scheduled to a see a provider. The
18   following day, A.D. was seen by a nurse practitioner, but she complained that he initiated
19   an ICS “inappropriately.” (Doc. 4138 ¶ 119). The nurse practitioner did not perform a
20   neurological exam, did not test reflexes, and did not do an assessment for clonus—a
21   neurological condition causing involuntary muscle contractions—despite A.D.’s claims of
22   limited mobility and twinges of pain to the low back. (Doc. 4138 ¶ 119). On March 4,
23   2021, a rheumatoid panel was ordered, and the results showed acute inflammation, which
24   strongly suggested infection. The nurse practitioner noted the inflammation but failed to
25   note it was a sign of infection. Additional labs and studies should have been ordered after
26   the test results were received, but the nurse practitioner noted only “[follow-up] in 1-2
27   wks.” (Doc. 4138 ¶ 120).
28           On March 16, 2021, A.D. was transferred from Florence to Eyman. Over the next


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 1   two days, three ICSs were called for severe pain that affected his mobility. He was given
 2   two Toradol shots and had to be transported via wheelchair or gurney. (Doc. 4138 ¶ 121).
 3   On March 19, 2021, a nurse practitioner documented A.D.’s deterioration and increasing
 4   neurological dysfunction, including bladder incontinence and inability to ambulate for two
 5   weeks.      That nurse practitioner sent A.D. by ambulance to a community hospital
 6   emergency room. (Doc. 4138 ¶ 122). At the hospital, A.D. was diagnosed with an epidural
 7   abscess, which was growing and compressing his spinal cord, causing all of his symptoms.
 8   A.D. had surgery and remained in the hospital for two months. (Doc. 4138 ¶ 123).
 9            During the lengthy time the abscess had been allowed to grow, A.D.’s spinal cord
10   was compressed and the nerves began to die. (Doc. 4138 ¶ 123). This resulted in long-
11   term disability. As of September 2021, the close of discovery for trial, A.D. struggled to
12   walk, even using a walker. He probably will never regain normal functioning and will be
13   “substantially impaired the rest of his life.” (Doc. 4138 ¶ 124). In Dr. Wilcox’s unrebutted
14   opinion, A.D.’s condition was preventable. If Defendants had diagnosed and treated A.D.
15   competently, his disability could have been prevented. Instead, “all [A.D.’s] providers
16   failed him.” (Doc. 4138 ¶ 125). It is more likely than not that the failure to test differential
17   diagnoses to understand what was happening with A.D. led to avoidable permanent
18   injuries.
19            C. Jesse Boldrey
20            As of 2013, Boldrey weighed 190 pounds. At a chronic care appointment in 2015,
21   he complained of weight loss and weighed only 146 pounds. The only treatment was to
22   provide him a “wasting diet” and liquid supplements. (Doc. 4138 ¶ 33). In 2017, he
23   complained of weight loss again and his records revealed that he had lost another 20 pounds
24   (down to 126 pounds), despite eating all his meals. Boldrey told a doctor he feared he had
25   cancer. Despite obvious warning signs for cancer, the physician ordered simple imaging,
26   stool blood testing, and told him to stop smoking. (Doc. 4138 ¶ 33).
27            On June 18, 2018, Boldrey again complained of weight loss, but after a chest x-ray
28   and HIV test, the nurse practitioner signed off on his case, continued his wasting diet and


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 1   ordered liquid nutritional supplements, and scheduled no follow-up. (Doc. 4138 ¶ 34). In
 2   December 2018, Boldrey had another chronic care appointment. The records from that
 3   appointment do not mention weight loss. (Doc. 4138 ¶ 35). In February 2019, Boldrey
 4   submitted an HNR complaining of vomiting, nausea, and bloody bowel movements.
 5   Boldrey complained he had lost 10 pounds in a week. When examined, his weight was
 6   down to 110 pounds. The nurse practitioner sent Boldrey to the hospital. (Doc. 4138 ¶ 36).
 7          At the hospital Boldrey was diagnosed with a bleeding duodenal ulcer. The hospital
 8   obtained CT scan images of Boldrey’s abdomen, which showed “scattered nodular
 9   opacities in the bilateral lungs concerning for metastatic disease.” This was a “new and
10   very serious finding” that demanded follow-up. (Doc. 4138 ¶ 36). When Boldrey returned
11   to prison, a nurse practitioner noted the CT findings but failed to schedule a further consult
12   or follow-up. (Doc. 4138 ¶ 37). And a few weeks later, a doctor discharged Boldrey to
13   return to general population. Inexplicably, the doctor made a note that Boldrey was “doing
14   well.” The doctor made no mention of the abnormal lung findings. (Doc. 4138 ¶ 38).
15          In May 2019, Boldrey twice complained of a very sore throat. In response to the
16   first complaint, the nurse noted his throat was red and neck glands were palpable. The
17   nurse obtained a verbal order for an antibiotic from a nurse practitioner. The provider did
18   not examine Boldrey and prescribing an antibiotic was wrong. (Doc. 4138 ¶ 39). At the
19   second May visit, Boldrey complained of difficulty swallowing. The nurse noted the lung
20   nodules documented in Boldrey’s chart and referred him to the provider line on an urgent
21   basis. (Doc. 4138 ¶ 40). On May 29, 2019, the doctor examined Boldrey and stated he
22   suspected cancer. (Doc. 4138 ¶¶ 40-41).
23          A nurse attempted to schedule a CT of the chest, but the request was denied because
24   “A CT of the chest was performed on 5/23/19,” which was wrong. No CT had been ordered
25   or given on 5/23/19. (Doc. 4138 ¶ 42). Likely the reviewing committee had mixed up
26   patients. Despite that denial, somehow Boldrey was given CT scans on May 31 of his
27   brain, abdomen, and neck. The provider who reviewed the results on June 19, 2019, noted
28   probable metastatic disease. The provider noted Boldrey would be scheduled for the


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 1   earliest possible visit to review the CT results and develop a treatment plan. (Doc. 4138
 2   ¶ 43). That visit did not happen. Instead, Boldrey and his obviously ominous diagnosis
 3   were ignored.
 4          Boldrey was not seen until almost three months later when he complained that his
 5   throat hurt so badly he could not eat. (Doc. 4138 ¶ 44). At that appointment, Boldrey
 6   weighed 100 pounds. Despite the scan results in his file and the loss of 90 pounds from
 7   his original weight, the nurse practitioner instructed Boldrey to “eat slow and cut food into
 8   small pieces.” (Doc. 4138 ¶ 45). The nurse practitioner did request a consult with an ear,
 9   nose, and throat specialist because there was a possibility of “neck injury, chronic
10   pharyngitis/mass or tumor.” (Doc. 4138 ¶ 45). There was no mention of the CT scan
11   results. (Doc. 4138 ¶ 45).
12          On October 28, 2019, Boldrey was seen by a physician’s assistant. The records
13   from this encounter indicate the notes were completed in a “cut and paste” manner that
14   made no sense. (Doc. 4138 ¶ 46). In one section the PA noted Boldrey allegedly denied
15   weight loss, another section noted Boldrey had “significant weight loss,” and yet another
16   section reflected a box indicating “No” regarding “Recent weight/loss/cachexia.” (Doc.
17   4138 ¶ 46). As Dr. Wilcox noted, this level of sloppiness in charting indicates “providers
18   are just cycling patients through these visits as fast as possible with no intent to deliver
19   thorough care.” (Doc. 4138 ¶ 46). The lack of adequate staffing affects every interaction
20   with every prisoner.
21          The ENT appointment requested on September 10, 2019, did not occur until
22   November 5, 2019.        At that appointment the ENT diagnosed Boldrey with an
23   otopharyngeal mass suspicious for cancer, and recommended a CT scan, biopsy, and
24   endoscopy. Due to Centurion’s policy of not informing prisoners about recommended
25   treatment and possible hospitalization for unidentified “security reasons,” Boldrey was not
26   informed of this diagnosis and was unaware of the recommended treatment. On his return
27   to prison, Boldrey inaccurately told a nurse his complaint was throat pain and unintentional
28   weight loss, not the throat and chest cancer he had just been diagnosed with. (Doc. 4138


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 1   ¶ 47).
 2            Boldrey was not seen again until November 25, 2019, when an ICS was called for
 3   coughing up blood. At that time, Boldrey’s oxygen saturation was 77% and an ambulance
 4   was called. (Doc. 4138 ¶ 48). At the hospital, Boldrey was diagnosed with malnutrition,
 5   lung cancer, cervical lymphadenopathy, hypertension, anemia, and aortic aneurysm. The
 6   hospital recommended a referral to oncology for palliative care. (Doc. 4138 ¶ 49). Boldrey
 7   returned to prison on December 19, 2019. Upon his arrival, a nurse noted that the liquid
 8   nutrition would need to be held “until appropriate tubing is available.” (Doc. 4138 ¶ 50).
 9   But strangely, a nurse practitioner significantly decreased the recommended pain
10   management. The next day, the physician decided to put Boldrey back on ibuprofen four
11   times a day without protection for his stomach, even though Boldrey previously had a life-
12   threatening GI bleed from NSAIDs. At this time, Boldrey weighed 96 pounds. (Doc. 4138
13   ¶ 51).
14            Despite his inability to swallow because of the mass in this throat, Boldrey was
15   prescribed pills (Tylenol #3) for pain. He was also started on another NSAID, Toradol.
16   Thus, he was on ibuprofen and Toradol or “double NSAIDS.” (Doc. 4138 ¶ 52). Because
17   he could no longer swallow, Boldrey needed intravenous feeding. A patient receiving
18   intravenous feeding needs weekly electrolytes testing. That testing was not done, leaving
19   Boldrey subject to dangerous swings in electrolytes. (Doc. 4138 ¶ 52).
20            On December 25, 2019, a physician’s assistant indicated Boldrey needed oncology
21   and ENT consults for possible radiation therapy and again recommended palliative care.
22   Centurion cancelled these referrals because Boldrey was designated “Do Not Resuscitate.”
23   (Doc. 4138 ¶ 53). This denial requires emphasis. A physician’s assistant recommended a
24   palliative care consult, but Centurion cancelled that referral because Boldrey had
25   determined he did not wish to be resuscitated in the event he died. A “Do Not Resuscitate”
26   directive has nothing to do with the need for palliative care. In other words, refusing
27   extraordinary measures in the event of death is not a request to die suffering, in excruciating
28   pain. In short, Centurion “cancelled palliative care for an end-stage cancer patient.” (Doc.


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 1   4138 ¶ 53). The cruelty of Centurion’s behavior is hard to fathom. As Dr. Wilcox testified,
 2                 Mr. Boldrey’s end of life care does not conform to any standard
                   of care for palliative or hospice care. His cachetic body was
 3                 racked with pain, and he wasted away with no reasonable
                   assistance from medical science in the form of comfort or
 4                 compassionate pain control. . . . [And it was] shocking to see
                   how neglected he was in his end days when he was too weak
 5                 to advocate for himself.
 6
     (Doc. 4167 at ¶ 57).
 7
            As of January 2020, Boldrey was still alive, but obviously wasting away. He
 8
     continued to receive grotesquely inadequate pain medication.            (Doc. 4138 ¶ 54).
 9
     Eventually, on March 16, 2020, medical providers finally ordered IV morphine. (Doc.
10
     4138 ¶ 55). That morphine arrived the following day, but the records show it was
11
     administered inadequately. Boldrey was supposed to receive doses four times per day. For
12
     the six days prior to his death, he received those four doses on only one day. On one day,
13
     he received only one dose. (Doc. 4138 ¶ 56). On March 22, 2020, Boldrey reported his
14
     pain was 9/10 and that he had “pain all over.” Boldrey died on March 23, 2020. (Doc.
15
     4138 ¶ 57). The mortality review determined the obvious: Boldrey’s death could have
16
     either been prevented or delayed. (Doc. 4138 ¶ 58).
17
            Unquestionably, Boldrey did not suffer from simple medical malpractice. Basic
18
     testing of differential diagnoses would have resulted in a much earlier determination of the
19
     cause for his complaints. A functioning health care delivery system would never suffer the
20
     magnitude of breakdowns reflected in Boldrey’s seven-year odyssey of incompetence,
21
     cruelty, and eventual death.
22
            D. Walter Nusz
23
            Nusz, who had long-standing Hepatitis C, died on April 30, 2020 at the age of 60.
24
     (Doc. 4138 ¶ 60). On September 21, 2019, he had a lab test showing a fibrosis score of F-
25
     3, indicating severe liver scarring. (Doc. 4138 ¶ 61). This should have prompted medical
26
     providers to give Nusz liver ultrasounds and beta blockers, a pre-primary prophylaxis for
27
     upper GI bleeds, but Nusz was never given a liver ultrasound or beta blockers. (Doc. 4138
28
     ¶ 61). Nusz also had a known platelet count of less than 150,00 per microliter, which

                                                - 53 -
 1   should have resulted in routine screening and surveillance for possible esophageal varices
 2   via an upper endoscopy at least once per year and to have any varices banded, which would
 3   prevent an upper gastrointestinal bleeding episode. Nusz was not given these screenings.
 4   (Doc. 4138 ¶ 61).
 5          Nusz had complained of low back pain. (Doc. 4138 ¶ 73). The nurse practitioner
 6   overseeing his care managed those complaints with high doses of indomethacin, an
 7   NSAID. This medication “is one of the highest risk non-steroidals with respect to causing
 8   gastrointestinal bleeding.” (Doc. 4138 ¶ 62). Given Nusz’s underlying conditions, this
 9   medication “was the worst possible choice.” (Doc. 4138 ¶ 64).
10          Between August 17, 2020 and January 15, 2021, Nusz’s hematocrit level dropped
11   from 46.3 to 38.2. This lab result suggested Nusz was bleeding internally after starting
12   indomethacin. Nothing was done to address the lab result. (Doc. 4138 ¶ 62). Blood
13   pressure readings also indicated his blood pressure was below the historical baseline, but
14   the providers did not make any note of the issue. (Doc. 4138 ¶ 63). Although Nusz’s pain
15   increased after he was prescribed indomethacin, the nurse practitioner tripled the dose on
16   March 23, 2021, without seeing him in person. (Doc. 4138 ¶ 64).
17          In the 42 days before his death, Nusz submitted five HNRs reporting severe pain,
18   difficulty breathing, bleeding, an inability to eat, an inability to use the restroom, and an
19   inability to walk. In a HNR dated March 24, 2021, Nusz complained he was in significant
20   pain. He stated “This isn’t a joke. It’s my life [you’re] playing with . . . Hurry before I
21   die?? Hurry please.” (Doc. 4138 ¶ 65). While Nusz recognized his condition was
22   significantly worsening, all the health providers did not. Nusz was seen by at least six
23   different registered nurses, who noted Nusz’s troubling symptoms, but none referred him
24   to a provider, and none identified the high dose of indomethacin was causing his symptoms.
25   (Doc. 4138 ¶¶ 67-71). Nusz died on April 23, 2021, one month after the indomethacin was
26   tripled, from a massive gastrointestinal bleed exacerbated by inappropriate indomethacin
27   dosing in a patient with multiple contraindications. (Doc. 4138 ¶ 71).
28          Clearly Nusz’s providers failed to monitor his fibrosis, failed to prescribe


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 1   preventative medications to minimize the chance of an esophageal bleed, failed to perform
 2   preventive upper endoscopies to identify and treat dilated blood vessels in the esophagus,
 3   failed to perform blood tests to monitor his coagulation state to see that his ability to clot
 4   was significantly impaired, worsened Nusz’s conditions by prescribing him a
 5   contraindicated does of indomethacin, failed to notice the change in Nusz’s lab results (his
 6   blood ammonia level was 350 (normal is 15-45) and his ability to clot was 2.06, (normal
 7   is less than 1.1)), and did not take action when Nusz repeatedly reported significant changes
 8   in his condition. (Doc. 4138 ¶¶ 72-74). Finally, despite the fact that Nusz’s care was
 9   plainly outside a nurse practitioner’s scope of practice, there was no physician level
10   oversight. (Doc. 4138 ¶ 74).
11          The mortality review could not determine if Nusz’s death was avoidable. In Dr.
12   Wilcox’s credible opinion, that was “absurd.” Medical providers gave Nusz a medication
13   “absolutely contraindicated for people with serious liver disease.” Then, when that
14   medication caused significant problems, they increased his dose until his completely
15   predictable death resulted. (Doc. 4138 ¶ 75). Again, this is not a situation where a prisoner
16   had a single interaction with a single provider who did not accurately assess the situation.
17   Instead, Nusz had months of contact, with numerous providers, all of whom failed to
18   identify an obvious problem. The lack of meaningful attempts to diagnose Nusz’s ongoing
19   complaints led to his death. Even a marginally functioning health system would not have
20   caused so many providers to get so much so wrong.
21          E. Timothy Ashing
22          Ashing, a 30 year-old, submitted an HNR on August 5, 2020, complaining of a
23   “super sensitive” lump on his left testicle that had been there for two months. The nurse
24   who evaluated him used the “musculoskeletal NET assessment” which, obviously, “has
25   nothing to do with the genitourinary system.” (Doc. 4138 ¶ 76). Ashing complained of
26   testicular pain, but the nurse engaged only in assessing his handgrip, posture, and whether
27   his gait was symmetrical. She told Ashing to “go easy” on workouts and report if his
28   symptoms worsened. The notes inconsistently indicated that no follow-up was needed and


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 1   that he would be referred to the provider line. He was not referred. (Doc. 4138 ¶¶ 76-78).
 2         On October 3, 2020, Ashing submitted a HNR stating his left testicle was swollen
 3   and he reported severe abdominal pain. He was seen by a nurse a few days later who
 4   referred him to Dr. Hines. Upon examination, Dr. Hines documented a 3 cm x 2 cm mass
 5   on Ashing’s left testicle with tenderness to palpation and swelling. The doctor entered an
 6   order for an ultrasound but delayed an entire week to enter the lab orders. (Doc. 4138
 7   ¶ 79). On October 23, 2020, an ultrasound was completed. The notes for that indicated a
 8   2.6 cm left intratesticular mass “highly concerning for testicular malignancy. Recommend
 9   an urgent urology consultation.” (Doc. 4138 ¶ 80). Dr. Hines reviewed the ultrasound
10   report but noted she would discuss the issue with Ashing “at his next chronic care visit.”
11   (Doc. 4138 ¶ 81). Dr. Hines’ lack of urgency is “astound[ing]” and “unethical.” (Doc.
12   4138 ¶ 81). Dr. Hines only ordered a urology consult on an urgent basis. (Doc. 4138 ¶ 82).
13         Ashing saw a urologist via telemedicine on November 25, 2020, who recommended
14   a radical orchiectomy STAT. Dr. Hines then waited three weeks, until December 13, 2020,
15   to order the orchiectomy on a routine basis. That order was cancelled on January 22, 2021,
16   because the urologist was no longer available. (Doc. 4138 ¶ 82). On February 16, 2021,
17   Ashing saw another urologist. That “visit was essentially worthless” because Centurion
18   did not provide the urologist with the previous ultrasound results or labs. Thus, the new
19   urologist recommended the tests be repeated. (Doc. 4138 ¶ 83).
20         After some delay, additional labs and another ultrasound were completed on March
21   16, 2021. A nurse practitioner reviewed a lab result and noted Ashing’s Beta HCG level
22   of 81065 mIU/ml was “normal.” In truth, the normal range for a male is <6.51 mIU/ml.
23   Thus, the test actually showed Ashing’s result was “astronomically elevated” and
24   “massively abnormal.” (Doc. 4138 ¶ 85). In Dr. Wilcox’s view, the nurse practitioner’s
25   determination the result was “normal” establishes “she did not understand anything about
26   the patient or the disease she was managing.”19 (Doc. 4138 ¶ 85). The result suggested
27
28   19
       Dr. Wilcox also described the nurse’s “determination that this is resolved is absolutely
     incorrect.” (Doc. 4271 at 47-48).

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 1   advanced testicular tumor burden. The nurse practitioner, again showing she did not
 2   understand, submitted a request for another “possible” urology consult. (Doc. 4138 ¶ 85).
 3          The consult request was cancelled on March 30, 2021, when the urologist, who had
 4   now obtained the test results, told Centurion that Ashing needed urgent surgery. Ashing
 5   had a radical orchiectomy on April 8, 2021, but Centurion did not send Ashing back to the
 6   surgeon for post-surgical follow-up. (Doc. 4138 ¶¶ 86-87). In May 2021, Ashing was seen
 7   with obvious signs of gastrointestinal bleeding. (Doc. 4138 ¶¶ 89-90). On May 26, he
 8   submitted a request saying his stomach was painful and his stools were “dark almost
 9   black.” (Doc. 4138 ¶ 90). He was seen by a nurse who ordered an x-ray at some
10   unspecified time in the future. (Doc. 4138 ¶ 90). On May 29, Ashing submitted another
11   request stating he “puked up black bio 3 times so far today and my stools are liquid black.”
12   (Doc. 4138 ¶ 91). He was seen by a different nurse who documented black stools, dark
13   brown or black vomit, abdominal pain, and elevated heart rate. The nurse noted Ashing
14   looked “very pale, almost jaundiced” but the obvious signs of internal bleeding failed to
15   prompt additional treatment. Rather, the nurse sent Ashing back to his housing with fecal
16   occult blood tests and a container for vomit. (Doc. 4138 ¶ 91). Ashing returned the same
17   day with the vomit container which had “watery vomit with what appeared to be coagulated
18   blood in it.” (Doc. 4138 ¶ 92). Given the obvious indications of internal bleeding, Ashing
19   should have been sent to a hospital immediately. Instead, a follow-up nursing appointment
20   was made for the next day. (Doc. 4138 ¶ 92).
21          The follow-up appointment did not happen on May 30. On May 31, 2021, an ICS
22   was called. The nurse reported Ashing was vomiting, had watery stools “black in color”
23   and Ashing looked “more yellow today than yesterday.” (Doc. 4138 ¶ 93). The nurse
24   called a provider, who ordered that Ashing be sent to the emergency room. (Doc. 4138
25   ¶ 93). At the hospital, Ashing was diagnosed with a widely metastatic tumor and metastasis
26   to the stomach, causing gastrointestinal bleeding. Just a few months before trial, on June
27   10, 2021, Ashing died after internal bleeding could not be controlled. (Doc. 4138 ¶ 94).
28          The mortality review found Ashing’s death was preventable, there were repeated


                                                - 57 -
 1   failures to recognize symptoms, a delay in access to care, and failure to follow-up/identify
 2   abnormal test results. (Doc. 4138 ¶ 96). The repeated failures and delays in treating
 3   Ashing’s cancer “cost him his life.” (Doc. 4138 ¶ 96). As explained by Dr. Wilcox, when
 4   caught early, testicular cancer “is one of the most curable cancers” and has a success rate
 5   of 99% (Doc. 4138 ¶ 96; Doc. 4269 at 78:5-9). The repeated failure to diagnose the obvious
 6   would not happen in a functioning health care system.
 7          F. Summary
 8          Defendants believe the treatment and outcomes for Johnson, A.D., Boldrey, Nusz,
 9   and Ashing are simply isolated occurrences that do not establish a pattern or practice of
10   providing deficient health care. But the overwhelming evidence shows these cases indicate
11   the opposite. Given the number of encounters each of these individuals had with the
12   medical system, including many different personnel, it is impossible to conclude their
13   treatment represented isolated occurrences. Rather, these outcomes show that if a prisoner
14   develops a serious health condition while in ADCRR custody, he or she is at substantial
15   risk of grievous harm or death due to medical personnel’s inability to accurately assess and
16   diagnose such conditions.
17          A prisoner such as Johnson may present with ongoing and consistent complaints
18   that need expertise to accurately assess and diagnose. Instead, the complaints may be
19   ignored until they are too serious not to require intensive intervention, often when it is too
20   late. Or a prisoner may present with recurrent complaints of pain that, if properly
21   diagnosed, could be remedied with no long-term effects. But such a prisoner may end up
22   like A.D., suffering from lifelong disabilities because multiple providers failed to diagnose
23   him accurately. A prisoner facing death might be in obvious need of pain medication.
24   Instead of providing relief, that prisoner may be treated like Boldrey, ignored and left to
25   waste away in extended horrifying pain. A prisoner might obtain inappropriate medication
26   to treat a condition, such as Nusz did. When that medication causes obvious, life-
27   threatening side-effects, providers might increase the dosage, ensuring death. Or a young
28   prisoner may present with complaints of testicular pain, as Ashing did. Staff might then


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 1   inexplicably assess his grip strength and, even if some treatment is provided, they will
 2   ignore obvious signs of painful distress that merit emergency action. No legitimate humane
 3   system would operate in this manner.
 4   V.     Defendants’ Challenges to Dr. Wilcox’s Opinions Fail
 5          Defendants attempt to undermine Dr. Wilcox’s conclusions regarding systemic
 6   failures by challenging his methodology. Defendants complain Dr. Wilcox did not perform
 7   a random sampling and review of care provided to prisoners.20 As previously explained,
 8   Dr. Wilcox’s methodology, while not random, was appropriate and consistent with the
 9   practice by other experts. Again, as Dr. Wilcox noted, healthy patients are not an indicator
10   of a system’s capabilities. “It is the complex patients who test the capacity of staff and
11   systems alike.” (Doc. 4167 ¶ 25). If the issue is whether prisoners are provided adequate
12   medical care, it makes sense to look to prisoners with serious needs and, in particular, those
13   who suffer adverse outcomes, not those prisoners who have no contact with the medical
14   system.
15          Defendants further attempted to counter Dr. Wilcox’s opinions through their own
16   expert, Dr. Murray. To assess the quality of care provided to all prisoners, Dr. Murray
17   relied on Healthcare Effectiveness Data and Information Set (“HEDIS”) metrics, which
18   were developed by the National Committee for Quality Assurance (“NCQA”). Dr. Murray
19   reviewed data from eOMIS utilizing the HEDIS parameters so he could evaluate the quality
20   of health care across the ADCRR system and make comparisons between ADCRR and
21   other health care systems. (Doc. 4206 ¶ 998). Dr. Murray selected the HEDIS metrics
22   regarding only blood pressure control and diabetic care for review because, in his view,
23   they represent two of the largest patient populations in both correctional and non-
24   correctional settings. (Doc. 4286 at 31:6-32:13, Doc. 4286 at 123:21-124:4). Dr. Murray
25   determined ADCRR’s performance on HEDIS measurements for diabetes and
26
     20
        During cross-examination, Dr. Wilcox was asked “how many examples of delays in
27   obtaining specialty care do you need to see in a system of 28,000 patients for you to make
     the determination that it’s systemic?” Dr. Wilcox responded “Well, I don’t know that
28   there’s an actual magic answer for that, but you certainly see patterns with regards to those
     delays in the medical records that I reviewed.” (Doc. 4271 at 27).

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 1   hypertension are higher than those provided by private health plans. (Doc. 4206 ¶ 1077).
 2   Dr. Murray concludes these scores are “reflective of a health system operating efficiently
 3   and focused on best care for the patients.” (Doc. 4206 ¶ 1077). In other words, Dr. Murray
 4   concludes allegedly adequate testing and treatment of diabetes and hypertension, once
 5   those conditions have been accurately diagnosed, establish the entire prison health care
 6   system is operating effectively.
 7          There are two problems with Dr. Murray’s method and conclusion. First there is no
 8   reliable evidence that selecting only these two criteria—treatment of hypertension and
 9   diabetes—establishes the overall capabilities of a health care system like ADCRR’s. The
10   second is more fundamental. Dr. Murray’s assessment assumes ADCRR adequately
11   diagnoses and tracks the prisoners who suffer from hypertension and diabetes. And
12   Defendants offered no evidence to confirm this unique theory. Dr. Murray necessarily only
13   looks to data on prisoners who have previously been diagnosed with diabetes and
14   hypertension. There was no evidence showing this data represents the entire population of
15   prisoners actually suffering from these ailments and of course there could be prisoners with
16   undiagnosed hypertension or diabetes. Certainly Defendants could have attempted to
17   prove they had identified all such prisoners. But Defendants did not do so. In fact, given
18   the level of care provided to prisoners discussed previously, it is overwhelmingly likely
19   Dr. Murray’s data does not include the entire relevant population. Dr. Wilcox specifically
20   addressed this possibility during his testimony, indicating
21
                   My concern with the chronic care list and how they’re derived
22                 and managed is that I found in my review of the medical
                   records that there frequently were . . . critical diagnoses
23                 missing from the master problem list, which is most likely how
                   they’re generating the reports for the chronic care list.
24
25   (Doc. 4272 at 83:19-24). Further, every witness who testified, including Dr. Murray,
26   agrees ADCRR’s electronic health record system, eOMIS, is fatally limited and flawed.
27   The inadequacy of eOMIS is yet another reason to conclude ADCRR’s records do not
28   accurately represent all relevant prisoners or accurately represent prisoner health care


                                                - 60 -
 1   provided.
 2          If that were not enough, Dr. Murray’s own opinions about care provided to prisoners
 3   establish HEDIS scores are not a valid basis for assessing ADCRR’s system. In an attempt
 4   to “validate” his HEDIS findings, Dr. Murray performed a random review of medical
 5   records of ten prisoners with at least two chronic condition diagnoses at all complexes
 6   except for Phoenix and Florence.        Prisoners’ charts were evaluated for quality of
 7   documentation, quality of chronic care, and quality of episodic care. A consultant reviewed
 8   the charts using the scale set forth in Appendix 2.21
 9          Dr. Murray created this unproven scale himself for evaluation of only ADCRR’s
10   health care system. Under this eccentric evaluation method, even “excellent” charts could
11   reveal a lack of preventative health care and very good charts may show delayed treatment.
12   Of greater concern are the charts considered “good, fair, or poor.” In particular, the
13   explanations for charts that were labeled “good” establish “good” was often profoundly
14   insufficient. The following are several examples of chronic care considered “good” by Dr.
15   Murray’s consultant.
16          Patient 1 in Tucson is an 81-year-old male who suffers from multiple chronic
17   conditions including hypertension, diabetes, coronary artery disease, peripheral arterial
18   disease, and other serious conditions. The chart review reflects “chronic care visits
19   sometimes addressed all of the patient’s problems and sometimes did not.” (Doc. 4206
20   ¶¶ 214-217). Further, his chart revealed a “notable lack of detailed foot exams . . . with
21   (later) documented severe peripheral arterial disease.” (Doc. 4206 ¶ 221). There are no
22   notes of an exam of the prisoner’s feet, although there is a note that he “has pedal pulses
23   [pulse found on top of a patient’s foot],” which Dr. Murray describes as “interesting.”
24   (Doc. 4206 ¶ 221). The Court interprets the chart as documenting a finding of pedal pulses
25   when the health care provider did not actually perform an exam. Dr. Murray muses that
26   “one could wonder if earlier foot exams would have identified an issue” before Patient 1
27   developed gangrene and lost a toe to amputation. (Doc. 4206 ¶ 221). The summary of
28   21
       Dr. Murray did not independently review the patient’s medical records prior to preparing
     his expert report.

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 1   Patient 1’s chronic care noted “a lag in treatment of some problems and a lapse in treatment
 2   of various issues.” (Doc. 4206 ¶ 224). This is not “good” health care. Rather, this
 3   affirmatively documents health care that presents a substantial risk of serious harm to this
 4   patient. The failure to conduct foot exams for a patient such as this creates a possibility of
 5   a seriously adverse outcome.
 6          Patient 4 in Yuma is a 78-year-old male with multiple chronic conditions. (Doc.
 7   4206 ¶ 363). In 2015, the provider documented Patient 4 had been experiencing chest pains
 8   monthly. (Doc. 4206 ¶ 366). But despite an abnormal EKG, nothing shows follow-up on
 9   “a very great pre-test probability of having heart disease.” (Doc. 4206 ¶ 366). Also in
10   2015, the provider noted Patient 4 needed colon cancer screening because of a positive
11   fecal occult blood test and low hemoglobin readings but no follow-up ever occurred. (Doc.
12   4206 ¶ 367). This is not “good” health care because it overlooks obvious, potentially
13   serious, conditions that might lead to death. In reviewing Dr. Murray’s scale as applied to
14   this prisoner, the failure to follow-up on potential heart disease or abnormal colon cancer
15   screenings would “markedly increase” the risk of harm, indicating the score of “good” is
16   inaccurate.
17          Patient 2 in Douglas is a 44-year-old man with hypertension and a prior history of
18   lymphoma. (Doc. 4206 ¶ 459). Patient 2 was seen by a nurse practitioner in September
19   2020 to address persistent headaches following a head injury; the nurse practitioner noted
20   his blood pressure was 135/95 and prescribed a low-dose calcium channel blocker to
21   address his blood pressure without lowering his already-low heart rate. The medication
22   prescribed, however, was “inappropriate” and “should be avoided” if there is a concern
23   about bradycardia. (Doc. 4206 ¶¶ 461, 464). Hypertension was officially added to Patient
24   2’s problem list a few weeks later, but an EKG was not ordered for another year. (Doc.
25   4206 ¶ 461). This is not “good” health care but merely another example of care that creates
26   a substantial risk of serious harm.
27          Patient 3 in Winslow is a 55-year-old male with multiple chronic conditions
28   including cirrhosis and thrombocytopenia (low platelet count). (Doc. 4206 ¶ 619). While


                                                 - 62 -
 1   housed at Eyman, staff refrained from ordering NSAIDs, which are contraindicated for
 2   Patient 3. (Doc. 4206 ¶ 624). But when he was transferred to Winslow, Patient 3 was
 3   prescribed NSAIDs, despite the notations acknowledging cirrhosis, low platelets, and
 4   “needing to add [chronic kidney disease] as a diagnosis.” (Doc. 4206 ¶ 624). Patient 3
 5   soon developed gastrointestinal bleeding, fecal tests were positive for bleeding, but no
 6   rectal exam was performed. (Doc. 4206 ¶ 625). Obviously this is not “good” health care.
 7   Patient 3 is at substantial risk of serious harm.
 8          Patient 7 in Perryville is a 59-year-old female with diabetes, hypertension, and
 9   alcoholic cirrhosis.   (Doc. 4206 ¶ 757).           A July 2020 ultrasound showed “coarse
10   echotexture” of her liver, splenomegaly, and a slightly dilated inferior vena cava. She had
11   emergency nurse visits for abdominal pain in 2020. (Doc. 4206 ¶ 759). The consultant
12   notes that Patient 7 has “an elevated risk of esophageal variceal bleeding,” but “she has not
13   been referred to a gastroenterologist.” (Doc. 4206 ¶ 762). This is not “good” health care
14   but an example of a health care system that is affirmatively ignoring conditions that present
15   a substantial risk of serious harm.
16          Patient 4 in Safford is a 42-year-old male with several chronic conditions. He is
17   Hepatitis C positive but there is no “management plan [] for HCV.” (Doc. 4206 ¶ 824).
18   He “should be considered to have significant, active liver disease with fibrosis, if not
19   cirrhosis,” (Doc. 4206 ¶ 824), but that was not noted as a problem, and he was prescribed
20   contraindicated NSAIDs. (Doc. 4206 ¶ 824). This is not “good” health care but another
21   prisoner who is at risk of serious harm.
22          Patient 4 in Eyman is an 81-year-old male with multiple chronic conditions. (Doc.
23   4206 ¶ 915). He was diagnosed with rheumatoid arthritis during his incarceration. (Doc.
24   4206 ¶ 918). The consultant states Patient 4 should be referred to a rheumatologist and
25   concludes his “RA has not been well-managed.” (Doc. 4206 ¶ 923). This is not “good”
26   health care. Instead, the system has consigned Patient 4 to live with pain and limitations
27   that could, with treatment, be alleviated.
28          These examples from 7 out of 8 complexes reviewed do not “validate” Dr. Murray’s


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 1   HEDIS findings or his conclusion that the chart reviews establish a functioning system.
 2   Rather, these examples show that “good” scores reflect patients in ill-health and receiving
 3   deficient chronic care treatment.
 4          There are additional takeaways from these chart reviews. 54 of the 79 prisoners
 5   reviewed received scores of Good, Fair, or Poor—67% of the total.22 By Dr. Murray’s own
 6   scoring system, a rating of Good presents highly questionable care, as outlined above. And
 7   scores of Fair or Poor present care involving obvious substantial risks of serious harm.
 8          Analyzing Dr. Murray’s chart reviews does not reveal a functioning health care
 9   system. It reveals a system with an electronic records system that everyone agrees is
10   abysmal and must be replaced, a system that does not allow referral of patients who exhibit
11   serious symptoms to providers, and a system that administers contraindicated and
12   potentially deadly medications.      Accepting Dr. Murray’s belief that his sample was
13   representative of ADCRR health care as a whole, the only possible conclusion is the system
14   puts prisoners at a substantial risk of harm.
15          In addition to inadvertently establishing the risk of harm to prisoners through the
16   chart review evaluation he chose to conduct, Dr. Murray did not evaluate the core
17   deficiencies Dr. Wilcox identified, including those related to medication administration,
18   specialty care, hospitalizations, discharge after hospitalizations, sick call, nursing care, and
19   access to providers. Dr. Murray testified:
20                 Question: So, Doctor, you didn’t do a similar evaluation or
                   study or what you can call -- what you -- what Dr. Baillargeon23
21                 called critically important analysis on a number of other
                   components of the healthcare system, such as medication
22                 administration; correct?
23                 Dr. Murray: Not a direct study, no.
24
     22
        The Court also discovered several errors in Dr. Murray’s chart reviews. Tucson only
25   listed nine patients instead of ten (Doc. 4206 ¶¶ 214-315); Patient 5 in Tucson received a
     rating of Poor for chronic health care, but the score of 2 did not match the rating (Doc.
26   4206 ¶ 272); and Patient 10 in Winslow was determined to be not-applicable because he
     did not have any chronic care diagnoses, which is puzzling because the criteria for review
27   of a patient was active chronic care diagnoses. (Doc. 4206 ¶¶ 700-701).
     23
        Dr. Jacques Baillargeon is an epidemiologist at the University of Texas Medical Branch
28   with whom Dr. Murray works and consulted when developing his opinions for this case.
     (Doc. 4286 at 53).

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 1                Question: You didn’t do one on specialty care either?
 2                Dr. Murray: Other than what we came across in the medical
                  records, but not a special -- not a special study on that, no.
 3
                  Question: And you didn’t do one on hospitalizations?
 4
                  Dr. Murray: No.
 5
                  Question: Or discharge after hospitalizations?
 6
                  Dr. Murray: Not a special study, no.
 7
                  Question: Sick call?
 8
                  Dr. Murray: We did not do a special study on sick call.
 9
                  Question: You didn’t do a study about patients who didn’t get
10                to see a provider?
11                Dr. Murray: We didn’t do a special study on that, no.
12                Question: Utilization review, you didn’t do that either?
13                Dr. Murray: Not a special study, no.
14                Question: Language interpretation?
15                Dr. Murray: Not a special study, no.
16                Question: Emergency care?
17                Dr. Murray: Not a special study.
18                Question: Nursing care?
19                Dr. Murray: Not a -- not a specific study, no.
20                Question: Radiology?
21                Dr. Murray: No, not a specific study.
22                Question: Preventive care?
23                Dr. Murray: Not a specific study.
24   (Doc. 4286 at 65:21-66:21). Dr. Murray use of HEDIS scores and his chart reviews have
25   not established a well-functioning health care system at ADCRR.         And of crucial
26   importance, by offering and relying on Dr. Murray as their sole witness to establish a
27   functioning health care system, Defendants effectively demonstrate satisfaction with the
28   existing, completely highly inadequate system.


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 1          Dr. Murray’s view that the health care system is operating appropriately is further
 2   undercut by the scores for Defendants’ Performance Measures on fundamental components
 3   of any functioning health care system. These scores were monitored and reported by
 4   Defendants and are therefore undisputed evidence of random samples drawn from the
 5   complexes during 2021. The following scores reflect the success percentage for the
 6   monitored files at each complex.
 7          Performance Measure 50 required urgent specialty consultations and urgent
 8   specialty diagnostic services be scheduled and completed within 30 calendar days of the
 9   consultation being requested by the provider. (Doc. 1185-1, Ex. B at 11). The table below
10   reflects failures across the system but establishes some locations where “urgent” specialty
11   consultations repeatedly did not occur within 30 days. The highlighted numbers are those
12   that were less than the 85% performance required under the Stipulation.
13                                  Performance Measure 50
14                  Jan.       Feb.     March     April    May               June       July
                    2021       2021      2021     2021     2021              2021       2021
15
      Douglas        85        100         100            100      100         100      100
16
      Eyman          58         76          69            82       86          90       100
17
      Florence       69         83          74            81       79          85        93
18
      Lewis          65         70          64            88       77          87        88
19
      Perryville     85         90          81            95       89          89        97
20
      Phoenix        75        100         100            100      100         100      100
21
      Safford        100       100          80            100      100         100      100
22
      Tucson         59         93          89            92       97          95       100
23
      Winslow        100        86         100            100      100         100      100
24
      Yuma           57         88          84            77       77          97        58
25
     (Ex. 1263).
26
            Performance Measure 51 required routine specialty consultations be scheduled and
27
     completed within 60 calendar days of the consultation being requested by the provider.
28
     (Doc. 1185-1, Ex. B at 11). The table below establishes prisoners were waiting at least two

                                                 - 66 -
 1   months to obtain even routine consultations.
 2                                  Performance Measure 51
 3                  Jan.       Feb.     March    April     May             June       July
                    2021       2021      2021    2021      2021            2021       2021
 4
      Douglas        86         97         95             100   100        100        100
 5
      Eyman          76         68         92             92     98         96         90
 6
      Florence       63         90         87             93     88         96         95
 7
      Lewis          60         82         83             84     83         92         93
 8
      Perryville     81         76         72             83     86         89         88
 9
      Phoenix        84         100        88             100   100         95        100
10
      Safford        87         97         97             93    100         97        100
11
      Tucson         80         83         85             90     94         95         93
12
      Winslow        97         90         90             96     77         97         79
13
      Yuma           72         86         86             80     88         88         86
14
     (Ex. 1264).
15
           Performance Measure 44 required prisoners returning from the hospital have the
16
     hospital’s treatment recommendations reviewed and acted upon by a medical provider
17
     within 24 hours. (Doc. 1185-1, Ex. B at 11). The failures on this measure reflected below
18
     are inexplicable if the system was properly functioning. This Performance Measure
19
     involved some of the sickest prisoners in the system. As illustrated by Eyman, at times,
20
     there was only approximately a 50% chance a prisoner’s discharge recommendations
21
     would even be reviewed, much less acted on, within 24 hours.
22
                                    Performance Measure 44
23
                    Jan.       Feb.     March    April     May             June       July
24                  2021       2021      2021    2021      2021            2021       2021

25    Douglas        100        86         100            100    75        100        100
26    Eyman          52         56         69             78     56         68         57
27    Florence       88         66         71             61     87         53         71
28    Lewis          81         88         66             72     71         76         76


                                                 - 67 -
 1
      Perryville      82         79         88            95      81          92           82
 2
      Phoenix         50         50        100            100     100        100            0
 3
      Safford        100        100        N/A            100     100        100           100
 4
      Tucson          74         60         59            67      65          34           66
 5
      Winslow         55        100        100            83      100        100           100
 6
      Yuma            40         80         38            80      85          65           70
 7
            (Ex. 1259).
 8
            Performance Measure 13 required chronic care and psychotropic medication
 9
     renewals be completed such that there was no interruption or lapse in medication. (Doc.
10
     1185-1, Ex. B at 8). The numbers reflected below establish Perryville, Tucson, and Yuma,
11
     in particular, were simply unable to provide medication refills in a timely manner.
12
                                    Performance Measure 13
13
                    Jan.       Feb.     March    April     May              June       July
14                  2021       2021      2021    2021      2021             2021       2021
15    Douglas         97        100        100            100     93          96           96
16    Eyman           86         84         84            80      92          88           92
17    Florence        88         65         77            86      88          88           75
18    Lewis           69         95         93            99      86          91           77
19    Perryville      84         82         86            79      74          73           86
20    Phoenix         94         91         91            97      98          95           100
21    Safford         90         90        100            90      100         97           100
22    Tucson          90         94         94            82      67          70           79
23    Winslow        100        100        100            100     93         100           100
24    Yuma            64         74         78            74      68          76           96
25   (Ex. 1256).
26          Performance Measure 37 required prisoners be seen by an RN within 24 hours after
27   an HNR is received (or immediately if identified with an emergent need, or on the same
28   day if identified as having an urgent need). (Doc. 1185-1, Ex. B at 8). The numbers below


                                                 - 68 -
 1   establish prisoners experienced significant delays in being seen by a nurse. Given that
 2   nurses are treated as a mandatory first step in obtaining care, any delay in seeing a nurse
 3   will necessarily result in a significant delay in seeing a higher-level provider.
 4                                    Performance Measure 37
 5                   Jan.        Feb.     March    April     May               June      July
                     2021        2021      2021    2021      2021              2021      2021
 6
      Douglas         85         100         100            100     100         100       100
 7
      Eyman           58          76         69             87       86         90        100
 8
      Florence        69          83         74             81       79         85         93
 9
      Lewis           65          70         64             88       77         87         88
10
      Perryville      85          90         81             95       89         89         97
11
      Phoenix         75         100         100            100     100         100       100
12
      Safford         100        100         80             100     100         100       100
13
      Tucson          59          93         89             92       97         95        100
14
      Winslow         100         86         100            100     100         100       100
15
      Yuma            57          88         84             77       77         97         58
16
17   (Ex. 1258).

18          Dr. Murray did not address any of Defendants’ own Performance Measure scores

19   or explain why they do not undermine his claims of a functioning health care system.

20   VI.    Medical Care Conclusion

21          There is patently insufficient, and more often than not incompetent, health care

22   staffing to adequately meet prisoners’ needs. The majority of medical care staff do not

23   have necessary training or licensure to provide the type of care that is necessary to provide

24   constitutionally adequate care. This is a completely ineffective and toxic combination.

25   The patterns of delay and indifference are pervasive in ADCRR’s own mortality reviews.

26   Defendants have refused to remediate these practices to comply with their constitutional

27   obligations.

28


                                                   - 69 -
 1                                MENTAL HEALTH CARE
 2          In addition to serious medical care needs, it is undisputed Arizona’s prisoners suffer
 3   from serious mental health needs. Defendants’ records reflect 8,548 prisoners on the
 4   “mental health caseload,” meaning they have scores of MH-3 or above and require ongoing
 5   treatment for an active mental health diagnosis. (Ex. 3326). This large population
 6   undoubtedly is difficult to manage. However, Defendants’ failure to hire sufficient
 7   competent staff means prisoners with serious mental health needs are ignored.
 8          As with medical care, the parties presented competing experts on the issue of mental
 9   health care. Again, Plaintiffs’ expert was far more credible. He testified “it’s hard for me
10   to adequately express how significantly ill the individuals that I encountered are. They
11   were among the most mentally ill individuals that I have seen throughout my 40 years of
12   being a psychiatrist.” (Doc. 4260 at 36:2-6). The evidence at trial established Defendants’
13   system for the provision of mental health care creates a substantial risk of harm created by
14   their refusal to hire adequate staff to provide necessary mental health care.
15   I.     Overview of Expert Testimony
16          A. Dr. Stewart
17          Plaintiffs’ expert was Dr. Pablo Stewart. He earned a bachelor’s degree in chemistry
18   from the U.S. Naval Academy in 1973 and, after serving in the U.S. Marine Corps for five
19   years, earned a medical degree from the University of California, San Francisco in 1982.
20   (Doc. 4109 ¶ 2). After graduating from medical school, Dr. Stewart received the Mead-
21   Johnson American Psychiatric Association Fellowship and became board-certified in
22   psychiatry. (Doc. 4109 ¶ 2). Dr. Stewart currently serves as a clinical professor and
23   psychiatrist at the Burns School of Medicine at the University of Hawai’i. (Doc. 4109 ¶
24   1). He serves as an attending psychiatrist at the Oahu Community Correctional Center and
25   supervises psychiatry residents. (Doc. 4109 ¶ 1). Dr. Stewart has served as Plaintiffs’
26   mental health care expert in this case since 2013.
27          In preparing for his trial testimony, Dr. Stewart reviewed current ADCRR and
28   Centurion policies, procedures, and practices; reviewed numerous documents and class


                                                - 70 -
 1   members’ medical charts; and conducted on-site inspections and class member interviews
 2   in September 2021 at Eyman, Perryville, Phoenix, and Tucson. During those inspections,
 3   he visited housing units where people classified SMI are incarcerated, units designated for
 4   people with mental health needs (regardless of classification), mental health watch units,
 5   isolation units including maximum custody and detention units, and interviewed class
 6   members incarcerated in these units. (Doc. 4109 ¶ 8). Dr. Stewart also followed up with
 7   the people he originally evaluated in 2013. (Doc. 4260 at 16). All documents Dr. Stewart
 8   reviewed are listed in Exhibit 4 to his written declaration. (Id. ¶ 15; see Doc. 4109-1, Ex.
 9   4).
10          B. Dr. Penn
11          Dr. Joseph V. Penn testified for Defendants as their mental health care expert
12   witness. He earned a bachelor’s degree in biology from the University of the Incarnate
13   Word in San Antonio, Texas in 1987. (Doc. 4172-1, Ex. 1). He earned his medical degree
14   from the University of Texas Medical Branch in 1992. (Doc. 4172 ¶ 9). After graduating
15   from medical school, Dr. Penn completed a fellowship in Forensic Psychiatry from Yale
16   University. (Doc. 4172 ¶ 9). Since 2008, Dr. Penn has served as the Director of Mental
17   Health Services for UTMB Correctional Managed Care. (Doc. 4172 ¶ 12). Dr. Penn has
18   served as Defendants’ mental health care expert in this case since 2013. (Doc. 4172 ¶ 2).
19          Dr. Penn did not interview any class members.24 Instead, he generated a random
20   selection of charts from prisoners at ADCRR’s facilities that house prisoners with a MH
21   score of MH-3 or higher: Eyman (15 prisoners); Florence (15 prisoners); Lewis (15
22   prisoners); Perryville (30 prisoners); Phoenix (15 prisoners); Tucson (15 prisoners); and
23   Yuma (15 prisoners). (Doc. 4172 ¶ 48; see Doc. 4174, Ex. 4). Dr. Penn also conducted
24   tours of facilities that house prisoners on the mental health caseload: Phoenix, Eyman,
25   Lewis, Perryville, Yuma, and Tucson. Dr. Penn met with each facility’s health care
26
     24
        Dr. Penn stated he “was not allowed to actually interview or evaluate any inmate[.]”
27   (Doc. 4289 at 28:1-2). This is untrue. Upon cross-examination Dr. Penn explained
     Defendants’ counsel told him he “was prohibited from speaking to inmates because they
28   said the plaintiffs didn’t want me talking to inmates unless they were present.” (Doc. 4283
     at 11:21-24). Dr. Penn chose not to speak to the prisoners in the presence of their counsel.

                                                - 71 -
 1   leadership. (Doc. 4172 ¶ 52). All documents Dr. Penn reviewed are listed in Exhibits 2
 2   and 3 to his written declaration. (Id. ¶ 47; see Doc. 4174-1, Exs. 2-3).
 3   II.    Staffing is Chronically Insufficient
 4          As with medical care, Plaintiffs’ primary claim regarding mental health care is
 5   inadequate staffing. Therefore, the Court evaluated whether sufficient mental health care
 6   staff are employed to address Arizona’s prisoners’ serious mental health needs. As stated,
 7   the contract between ADCRR and Centurion requires 1052.75 FTEs. (Doc. 4287 at 17:11-
 8   12). This overall staffing allocation includes health care, mental health care, dental care,
 9   and administrative staff. Plaintiffs contend the mental health care staffing reflected in the
10   contract is too low and, because of current vacancies, many complexes are substantially
11   understaffed. Defendants contend current staffing levels, even though they are markedly
12   beneath the levels contemplated by the contract, are sufficient to meet their constitutional
13   obligations.25
14          Centurion provides the following mental health care staff positions: Behavioral
15   Health Technician; Behavioral Specialist; Mental Health Lead; Mental Health Clerk;
16   Mental Health Midlevel (NP/PA); Mental Health Registered Nurse; Psychiatrist;
17   Psychologist; and Psychology Associate. The tables at Appendix 3 represent the number
18   of mental health care staff required by the contract, the number of hired staff, and the
19   difference between those two numbers. These figures are as of August 2021. (Ex. 2167).
20          As of August 2021, only 149.55 mental health care staff were hired in contrast with
21   199.00 required under the contract with Centurion, reflecting only 75% of positions are
22   filled. Every location is understaffed except for Winslow and Safford, which each have
23   only one psychology associate. Similar to medical care, Defendants have structured the
24   system to have the vast majority of care provided by lower-level individuals. Thus, the
25   majority of individuals providing mental health care are behavioral health technicians,
26   nurses, or psychological associates.
27
28   25
       Defendants concede the staffing levels are too low and below contract requirements, but
     they argue they cover the deficiencies with overtime.

                                                - 72 -
 1          Based on the contract staffing level, at some point in time Defendants decided
 2   199.00 mental health positions were actually necessary to provide adequate care to the
 3   prisoner population. That staffing level has never been achieved. (Doc. 4264 at 99:17-
 4   24). But the critical issue is not the contract staffing level. Rather, the issue is whether
 5   the actual staffing numbers, which are far below the contract staffing level, present a
 6   substantial risk of serious harm to prisoners. Dr. Stewart testified the number of filled
 7   positions “is abysmally low.”     (Doc. 4109 ¶ 20).      In contrast, Dr. Penn concludes
 8   “ADCRR’s contracted mental health services vendor, Centurion, has adequate numbers
 9   and types of mental health staffing.” (Doc. 4172 ¶ 66). The Court first analyzes Dr. Penn’s
10   position.
11          Dr. Penn testified there is adequate staffing to meet the prisoner population’s needs.
12   But his opinion is not based on an accurate and careful analysis of the population’s needs.
13   Instead, Dr. Penn claimed it would be inappropriate to require a specific staffing formula
14   because doing so would deprive the system of “flexibility.” (Doc. 4289 at 40:16-22). He
15   claims “staffing levels should be assessed for a particular system based upon a clinical
16   determination that adequate mental health services may be, or are, provided by a particular
17   number of various types of professional staff.” (Doc. 4172 ¶ 65). In Dr. Penn’s opinion,
18   NCCHC’s allegedly straightforward staffing standard makes “perfect sense”—the health
19   care system or facility must merely have adequate staff to provide the services required or
20   needed. (Doc. 4289 at 41:9-17). This theory is simplistic. When applied to ADCRR, it
21   makes no sense.
22          According to Dr. Penn, because ADCRR created a specific staffing requirement of
23   approximately 199 FTEs, that number should automatically be accepted as adequate
24   without challenge. That is circular logic. Dr. Penn never testified to explain how ADCRR
25   developed its staffing allocation or why that arbitrary number was deemed sufficient to
26   “provide the services required or needed.” Based on the evidence, it is nothing more than
27   a number pulled out of thin air. This conclusion again encapsulates in one stroke the
28   absurdity of ADCRR’s reliance on NCCHC certification to establish the system is


                                                - 73 -
 1   functioning well. Under Dr. Penn’s theory, if ADCRR decided that one mental health staff
 2   position was needed for the entire prisoner population, then that decision could not by
 3   challenged. But ADCRR’s unexplained, unsupported, and unreliable opinion regarding
 4   the adequacy of staffing for the entire prison mental health care system is contrary to the
 5   evidence.
 6          ADCRR failed to present evidence demonstrating that its contract staffing allocation
 7   was based on an actual reliable assessment of the need for services. In fact, many
 8   witnesses, including those from ADCRR, testified that more mental health care staff
 9   beyond the contract staffing level are needed to provide adequate mental health care. Dr.
10   Stefanie Platt, Centurion’s former regional mental health director for ADCRR, testified she
11   raised this concern to her superiors.
12            Question: And if even 100 percent of the contracted positions were filled,
              was there still more patient need than the staffing plan could meet?
13
              Dr. Platt: In my opinion, yes.
14
              Question: Did you raise your concerns about this, about the adequacy of
15            the contract, with anybody?
16            Dr. Platt: Yes.
17            Question: With whom?
18            Dr. Platt: Dr. Carr, Mr. Dolan.
19   (Doc. 4264 at 100:2-10). Dr. Antonio Carr is Centurion’s Statewide Psychiatric Director
20   and Tom Dolan is Centurion’s Vice-President of Operations in Arizona. Dr. Platt further
21   testified mental health staff at the “vast majority” of complexes, including Eyman, Phoenix,
22   Lewis, Florence, Perryville, and Tucson, told her of their concerns about caseloads being
23   too high. (Doc. 4264 at 105:4-96). During his Rule 30(b)(6) deposition Dr. Carr confirmed
24   staff repeatedly told him additional staff were needed. (Doc. 4146-1 at 47:16-19 (testifying
25   that “it’s not uncommon for a mental health nurse or psychology associate to say, ‘Hey,
26   Carr, I think we need more staff’”). This was corroborated by Dr. Pennington-Stallcup,
27   ADCRR’s Mental Health Program Director.
28          During Dr. Pennington-Stallcup’s cross-examination, Plaintiffs introduced an


                                                - 74 -
 1   August 27, 2020 email Dr. Pennington-Stallcup sent to Defendant Gann, wherein she
 2   expressed concerns about vacancies in mental health care provider positions. The staffing
 3   numbers reflected in Appendix 4 were referenced in the email.
 4          Based on these numbers, Dr. Pennington-Stallcup noted there are “significant
 5   vacancies in clinical mental health staff who are primarily responsible for providing []
 6   behavioral health contacts.” (Doc. 4276 at 93:25-94:3). Later in another email to Dr. Platt
 7   on November 9, 2020, Dr. Pennington-Stallcup wrote, “I’m really concerned about the
 8   vacancies at Florence and Eyman given the high-need and high-risk patient populations.”
 9   (Doc. 4276 at 95:15-19).
10          During her direct testimony, however, Dr. Pennington-Stallcup retreated from her
11   original concerns about staffing, stating she was no longer concerned. (Doc. 4276 at 90:2-
12   8). She attempted to explain by testifying that she performed a “new analysis” based on
13   allocated staffing. Without explanation, she claimed during trial if all the positions were
14   filled, mental health caseloads would be manageable. (Doc. 4276 at 100:21-24). This
15   “new analysis” is incredible and nonsensical.
16          Comparing clinical mental health staffing levels from August 2020 until August
17   2021 shows the “significant vacancies” that originally concerned Dr. Pennington-Stallcup
18   have not meaningfully changed, and some are worse. More importantly, Dr. Pennington-
19   Stallcup never explained why it would be reasonable to rely on staffing levels that have
20   never been achieved. Accordingly, Dr. Pennington-Stallcup’s new opinion is unreliable
21   and not supported by evidence. In contrast, Dr. Stewart’s opinion which is based on
22   analysis of the substantial evidence before the Court that “systemic deficiencies in the
23   provision of mental health care are rooted, in whole or in part, in ADCRR’s chronically
24   inadequate health care staffing,” is credible. (Doc. 4109 ¶ 32).
25   III.   Inadequate Staffing and Failure to Provide Adequate Mental Health Care
26          The lack of mental health staff negatively impacts the ability to provide adequate
27   mental health care. The staffing allocation reflects only seven allocated psychiatrist
28   positions for the entire ADCRR population, and the evidence reflects only two of them


                                                - 75 -
 1   physically work on-site. (Ex. 1531 May 2021 Staffing Report, Native Format at “All Staff”
 2   tab showing “Psychiatrist TH” [Tele-Health] at Eyman, Florence, Lewis, Perryville,
 3   Tucson, and Yuma, and two “Psychiatrists” (without the TH qualifier) at Phoenix and
 4   Yuma complexes). Dr. Stewart specifically referenced Eyman’s two psychologists and
 5   stated he does not “see how one or two psychologists could even begin to address the needs
 6   at that [facility].” (Doc. 4260 at 21). The number of psychologists on staff varies from 0
 7   (Douglas, Safford, Winslow, and Yuma), to 0.9 (Florence), to 1.75 (Perryville), to 2
 8   (Eyman, Lewis), to 2.5 (Phoenix), to 3.9 (Tucson).
 9          In addition to midlevel providers, psychology associates act as providers. But there
10   are 14 psychology associates (out of 59) who are listed as not being licensed, including 4
11   at Eyman, 2 at Florence, 3 at Lewis, 1 at Perryville, 2 at Phoenix, and 2 at Yuma. Dr.
12   Stewart explains that he observed a “disturbing pattern” of “mental health staff without
13   pharmacological training serv[ing] as de facto gatekeepers of patients’ access to psychiatric
14   prescribers.”   (Doc. 4109 ¶ 22).      Without sufficient mental health providers with
15   appropriate training, the outcome is the inability to provide varying levels of support for
16   mental health conditions.
17          A. Inpatient Treatment Units and Inadequate Treatment at Existing Units
18          Defendants have inpatient units for prisoners with the most serious and intensive
19   mental health needs. Dr. Stewart’s opinion is the current system reflects a lack of inpatient
20   intensive mental health care.     For example, ADCRR provides inpatient psychiatric
21   treatment for prisoners with severe mental illness at the Phoenix complex. A review in
22   September 2021 just before trial reflected only one-third of the beds at that complex were
23   in use. (Doc. 4109 ¶ 46). Dr. Pennington-Stallcup testified the inpatient treatment units
24   are operating below capacity because, allegedly, there are not enough “patients in the
25   system who need those beds.” (Doc. 4277 at 34:15-20). During trial, however, the
26   evidence showed prisoners needing significant inpatient treatment who were denied such
27   treatment.
28          Dr. Pennington-Stallcup was specifically asked about a prisoner housed in Eyman,


                                                - 76 -
 1   a non-mental health treatment unit. On October 15, 2020, a mental health provider
 2   indicated that the prisoner “appears to need more mental health resources than are available
 3   at this location. He is a good candidate for a referral to the [residential treatment unit].”
 4   (Doc. 4277 at 34:14-35:3). (Ex. 2401). While not entirely clear, it does not appear he was
 5   ever transferred to an inpatient facility. It was clear, however, that approximately one year
 6   later in 2021 this prisoner was housed in the same unit he had been housed in as of October
 7   2020. And Dr. Stewart identified other prisoners that needed inpatient level care but were
 8   not being housed in such facilities or their transfer to an inpatient facility had been delayed.
 9   The explanation that follows of those prisoners’ diagnoses as well as Dr. Stewart’s opinion
10   illustrates that Defendants have failed to provide inpatient treatment for those who
11   seriously needed it.
12          T.A. is designated as seriously mentally ill and has a history of self-harm. Dr.
13   Stewart interviewed him when conducting a tour of the Eyman complex in September
14   2021. T.A. was on continuous watch and was laying on the floor. Dr. Stewart noted he
15   was “extremely disheveled and reported experiencing command hallucinations” telling
16   him to hurt himself. In June and July 2021, T.A. had repeatedly cut or otherwise harmed
17   himself with ICS responses being called on a regular basis. On one day, July 18, three ICS
18   were called for self-harm. On July 26, 2021, T.A. was found hanging with both feet off
19   the ground. After he was discovered, he was placed on suicide watch. The assessment and
20   diagnosis sections of the notes were blank. (Doc. 4109 ¶ 51). Dr. Stewart reliably testified
21   T.A. needed to be “urgently transferred to an inpatient hospital setting.” (Doc. 4109 at ¶
22   51).
23          D.V. was on suicide watch at the Eyman complex on September 8, 2021, when Dr.
24   Stewart encountered him. D.V. informed Dr. Stewart he previously took the mood
25   stabilizer Trileptal, but it was discontinued because staff told him “inmates abuse it.” (Doc.
26   4162 at ¶ 52). D.V. has a history of cutting himself, with one incident requiring he be sent
27   to an outside hospital because he lost a significant amount of blood. Dr. Stewart was so
28   alarmed by D.V. that he requested Plaintiffs’ counsel notify ADCRR and Centurion


                                                  - 77 -
 1   immediately that D.V. required transfer to an inpatient mental health care. (Doc. 4109 ¶
 2   52). Dr. Stewart’s urgent recommendation was ignored and the following week D.V. cut
 3   himself again. A psych associate prepared a treatment plan the next day that failed to
 4   address possible medication modification, or transfer to inpatient mental health care. (Doc.
 5   4109 ¶ 53). Dr. Stewart credibly concluded the complexity of D.V.’s case exceeds the
 6   skills of a psych associate and D.V. needed to be transferred to a higher level of care.
 7          M.S. is a 32-year-old prisoner at Eyman who Dr. Stewart interviewed. He has
 8   repeatedly hurt himself while on suicide watch. M.S. has had numerous hospitalizations
 9   for self-harming behaviors, including “cutting open his abdominal cavity” and “attempting
10   to cut his own throat.” His current diagnosis is Schizoaffective Disorder, bipolar type. His
11   most recent hospitalization was “on September 4, 2021 [two months before trial], after
12   cutting a 7-inch long by one-inch-deep laceration to his right arm, swallowing three razor
13   blades, and inserting three spork handles into his abdominal scar – all while on continuous
14   watch at Kasson.” (Doc. 4109 ¶ 54) (emphasis in original). The psychiatry midlevel staff
15   member determined M.S. “does not respond to medications and continues to self-harm
16   regardless of therapy and medication interventions.” (Doc. 4109 ¶ 54). Absent from the
17   record is any indication he was evaluated for inpatient care. Dr. Stewart credibly concluded
18   M.S. needed inpatient care.
19          Finally, Dr. Stewart encountered K.C., a prisoner at Perryville on mental health
20   watch. K.C. reported hearing voices instructing her to kill herself, and her medical record
21   reflected multiple past diagnoses. ICS was initiated five times between September 3, 2021
22   and September 10, 2021 for bizarre behavior, including defecating and urinating on the
23   floor. She was eventually transferred to inpatient treatment just before trial on September
24   16, 2021 but follow-up with a psychiatric provider was not scheduled for 30 days. (Doc.
25   4109-1 at 46). Dr. Stewart notes her persistent psychotic and mood symptoms were
26   wrongly managed.
27          It is clear from the evidence these prisoners should have been placed in inpatient
28   units or, for K.C., placed much earlier. There is no basis to conclude the inpatient units are


                                                 - 78 -
 1   at only 36% capacity because there are not enough seriously mentally ill prisoners. What
 2   is more, though inpatient facilities are meant for the most challenging prisoners, those
 3   facilities also suffer from lack of sufficient staff, as illustrated by a prisoner named I.C.
 4   The following email to former ADCRR Interim Division Director of Health Services
 5   Richard Pratt and ADCRR Monitoring Bureau employee Vanessa Headstream on February
 6   12, 2020, documents an appalling situation where ADCRR’s own staff recognized urgent
 7   attention was needed for I.C. but the only trained mental health staff was “out of town.”
 8                 This mental health patient at Phoenix has been self harming by
                   banging his head for the past several days resulting in multiple
 9                 ICS events and the use of OC spray. Mental health appears to
                   be at a loss on how to deal with this inmate.
10
                   In an email sent today the Regional Director of Mental Health
11                 basically said to continue using OC spray as needed while the
                   on site mental health team comes up with a treatment plan. We
12                 are told that Dr. Carr [the Regional Director of Psychiatry] has
                   been consulted by phone but there is minimal documentation
13                 in the medical record to support any significant involvement
                   by a psychiatrist. This inmate now has wounds on the back of
14                 his head and on his forehead from the head banging. There are
                   staples holding the wound edges together on the back of his
15                 head but the forehead wound remains open as the two previous
                   attempts to staple his frontal wound have failed because of the
16                 continuous head banging.
17                 We just received a copy of an I/R [incident report] completed
                   by security staff from last evening indicating that the mental
18                 health RN was encouraging the inmate to bang his head so that
                   the restraint chair could be used. At the time of this
19                 nurse/patient encounter, the patient was NOT participating in
                   head banging but began banging his head after the nurse told
20                 him to do so . . . . which resulted in a Use of Force event. This
                   entire event was captured on video.
21
                   The FHA [Facility Health Administrator] and mental health
22                 apparently had a meeting this morning about this patient
                   without having any input from Complex Operations. The FHA
23                 reported at the Warden Tracker meeting this afternoon that:
24                   • the patient has allegedly lost 30 pounds since December
25                   • Mental health staff and nursing staff are verbally reporting
                       that the condition of this patient “is deteriorating” from his
26                     normal baseline standards
27                   • When asked at the Tracker meeting this afternoon why this
                       situation has not (apparently) been escalated to a
28                     psychiatric emergency with a Psychiatrist coming to
                       Phoenix to complete a comprehensive examination and

                                                 - 79 -
 1                     evaluation of this patient, the FHA responded that Dr. Carr
                       would be coming on February 24 to assess the patient.
 2
                   Apparently Dr. Carr is out of town. When the Warden asked
 3                 the FHA if there is another Psychiatrist in the system who can
                   come to Phoenix to assess the patient, she did not know.
 4
                   The Warden and I share the concern that this particular issue is
 5                 a true psychiatric emergency and that the response from the
                   Centurion mental health leaders at the Regional level is
 6                 inadequate. Warden Weiss is escalating this concern through
                   his chain of command and I am doing likewise.
 7
 8   (Doc. 4109 ¶ 191). Dr. Stewart expressed understandable outrage at I.C.’s treatment at the
 9   Phoenix complex, ADCRR’s inpatient treatment facility for the most acutely mentally ill
10   prisoners. I.C. needed emergency care but a psychiatrist was “out of town” until twelve
11   days later. Dr. Carr’s response to this “true psychiatric emergency” was revelatory in its
12   confirmation of systemic deficiencies.
13                 This unfortunate situation is a symptom of a larger problem.
14                 Numerous elements impede timely intervention, quality of
                   care, implementation of a comprehensive treatment plan and
15                 psychiatric stability.
16                 Our inpatient unit needs a larger investment from Psychiatry,
                   Nursing, Mental Health, ADC and Medical.
17
                   As you know our inpatient unit is licensed by DHS. It is
18                 imperative we model our clinical program according to clinical
                   guidelines and license rules/regulations.
19
                   [I.C.] is the immediate focus. However, barriers to care,
20                 collaboration, education, training and communication need to
                   be addressed in order to implement a solid care plan.
21
22   (Doc. 4109 ¶ 195).
23          Dr. Penn did not address I.C.’s treatment. Rather he concluded “I found no evidence
24   that ADCRR or Centurion engaged in a planned or purposeful effort to effect inappropriate
25   uses of force on any of the above individuals identified as having mental illness.” (Doc.
26   4172 ¶ 275). This means either Dr. Penn did not have knowledge of I.C.’s treatment,
27   including the email, or if he was aware of it, his opinion reflects a profound lack of concern.
28   And Defendants have not addressed the email or Dr. Carr’s assessment of inadequate


                                                 - 80 -
 1   mental health care.26
 2          The inadequate mental health staffing has led to prisoners who require inpatient
 3   levels of care not receiving such care. As Dr. Stewart testified, many prisoners in obvious
 4   need of competent intensive treatment are kept in other units that are ill-equipped to treat
 5   their conditions. The inadequate staffing of inpatient facilities creates a substantial risk of
 6   serious harm to prisoners.
 7          B. Inadequate Treatment for Suicidal Prisoners
 8          Inadequate mental health care staffing is demonstrated in the records of prisoners
 9   who died by suicide in recent years. Dr. Stewart provided a review of some of the twenty-
10   three prisoners who died by suicide from 2019 until the close of discovery for trial in
11   September 2021. What follows are some of them.
12                     1. Reuben Neal
13          Neal died by suicide on August 27, 2020 at the age of 29. He had five visits with
14   mental health staff in the months leading up to his death. On July 8, 2020, he had an eight-
15   minute encounter with a midlevel provider where he was prescribed subtherapeutic levels
16   of two medications to address his anxiety and insomnia. (Doc. 4109-1 at 103). He had
17   another encounter with a midlevel provider on July 16, 2020. That encounter lasted ten
18   minutes. Neal expressed his anxiety was causing a “racing heart” and he felt “backed up
19   against a wall.” He also reported feeling all alone. His medication was not adjusted,
20   despite his obvious and urgent need. His follow-up was kept to every 90 days or as needed.
21          Neal had a visit with a psych associate on July 22, 2020. He reported having a lot
22   of issues, but they were not addressed, and no follow-up plan was documented. His visit
23   on August 17, 2020 lasted five minutes. While the clinician inquired about suicidal
24   ideation, no therapy occurred. His final visit, on August 19, 2020, lasted ten minutes. The
25   notes reflect it was a superficial visit where nothing of substance was discussed. (Doc.
26
27   26
        At times, Defendants attempted to tout telepsychiatry as an augment to the apparent
     inadequate number of psychiatrists on-site. But telepsychiatry was, for unknown reasons,
28   not available for I.C.’s situation. If telepsychiatry could not help a situation as dire as this,
     there is no evidence that telepsychiatry is a viable alternative to on-site personnel.

                                                  - 81 -
 1   4109-1 at 104). Neal died by suicide eight days later.
 2          The psychological autopsy noted Neal had been transferred to a higher custody level
 3   unit eight days before his suicide. That transfer increased his anxiety level and negatively
 4   affected his sleep and concentration. Dr. Stewart concludes Neal received “exceedingly
 5   poor counseling care and psychiatric care in the weeks leading up to this death.” (Doc.
 6   4109-1 at 103). In particular, Neal had encounters with staff who were not qualified to
 7   accurately assess his needs. Neal needed “more frequent and thorough assessments” by
 8   higher level staff. (Doc. 4109-1 at 103).
 9                     2. Eric Haag
10          Haag died by suicide on September 13, 2020 at the age of 25. (Doc. 4109-1 at 105).
11   The records from Haag’s initial psychiatric evaluation when he entered prison in 2016
12   establish that evaluation was effectively useless given how carelessly it was conducted.
13   The history indicated Haag admitted he had taken medications for paranoid schizophrenia,
14   but he attributed the voices he heard not to schizophrenia but to “drugs.” But the initial
15   evaluation stated he had no history of drug abuse and no history of psychiatric
16   hospitalization. Later records establish Haag began abusing drugs at age nine and had a
17   history of psychiatric hospitalization.
18          The records immediately prior to Haag’s death establish he was not on medication
19   for schizophrenia. On July 11, 2020, Haag had a five-minute visit with a psych associate
20   and reported being under a lot of stress at his prison job and requested to have his
21   medication restarted. (Id.). It appears that was ignored. On July 20, 2020, a midlevel
22   prescribing provider reported that Haag was experiencing irritability as well as depressive
23   and anxiety symptoms. There is no indication this provider knew of Haag’s earlier request
24   to restart medication. On August 12, 2020, Haag had his last mental health visit prior to
25   his suicide, which consisted of a three-minute visit with a psych associate who noted that
26   Haag allegedly was not willing to engage. Assuming that was correct, the psych associate
27   stated Haag was not at risk for self-harm. There is no explanation how that assessment
28   was possible due to Haag’s alleged unwillingness to engage.


                                                 - 82 -
 1          Haag had a complicated mental health history and due to the abbreviated and the
 2   brief nature of the mental health visits attributable to staffing issues, Haag was not provided
 3   adequate care. Those brief visits combined with the lack of coordination between the
 4   counselor and midlevel provider, and incomplete initial psychiatric assessment and
 5   inconsistent medical records, contributed to Haag’s suicide.
 6                     3. Tracie Otero
 7          Otero died by suicide on September 22, 2020 at the age of 47. (Doc. 4109-1 at 107).
 8   As of July 2020, Otero was in severe pain, which staff attributed to fibromyalgia. On July
 9   31, 2020, Otero had an encounter with an unlicensed psych associate. That encounter
10   confirmed Otero was suicidal based on the amount of pain she was in. On August 6, 2020,
11   an unlicensed psych associate documented a flat affect, low appetite, and that Otero
12   reported she was “tired and in pain.” Otero ended the session due to pain. On August 21,
13   2020, an unlicensed psych associate documented Otero was refusing medications and
14   struggling with anxiety. Otero again ended the session due to pain. On September 14,
15   2020, Otero had her last visit with any mental health staff prior to her suicide. That visit
16   with an unlicensed psych associate lasted three minutes before Otero ended the session due
17   to pain. The psych associate said Otero “does not appear to be a danger to self or others at
18   this time.” But no explanation was given on how the psych associate, after a three-minute
19   visit that was terminated due to extreme pain, came to that conclusion. In Dr. Stewart’s
20   view, a more experienced clinician would have recognized the extent of Otero’s pain put
21   her at risk for self-harm.
22          Otero was extremely undermedicated for her pain leading up to her death, leaving
23   her in unremitting pain. Otero’s risk of suicide due to pain was missed because of the
24   inexperience of the unlicensed and unsupervised clinicians as well as the abbreviated
25   nature of the visits. Sufficiently qualified staff able to spend the requisite amount of time
26   with Otero would have recognized the gravity of her situation.
27                     4. Austin Georgatos
28          Georgatos died by suicide on January 28, 2021 at the age of 20. (Doc. 4162-1 at


                                                 - 83 -
 1   110). Similar to Haag, Georgatos also experienced an initial incompetent assessment upon
 2   arriving at prison. On January 14, 2021, Georgatos arrived from jail and had an initial
 3   mental health assessment. That assessment lasted five minutes and determined Georgatos
 4   had been on medications for anxiety and depression in jail, but those medications, without
 5   explanation, had been discontinued two weeks prior. The assessment also documented
 6   Georgatos’ history of methamphetamine use and both sexual and physical abuse in
 7   childhood. He was wrongly assessed to have “no emergent [mental health] issues” and no
 8   subsequent mental health appointments were scheduled. (Doc. 4109-1 at 110).
 9          On January 25, 2021, he submitted an HNR stating “I need to see psych doctor about
10   the voices I am hearing in my head. They returned since I stopped taking medications.”
11   But Georgatos was never seen by health care staff. Instead, he committed suicide three
12   days later. The mortality review determined the death was possibly avoidable, with a
13   failure to recognize symptoms or signs and delay in access to care as contributing causes
14   of the suicide. Dr. Stewart opined Georgatos suicide was preventable. The inadequate
15   intake screening was far too brief, likely as a result of inadequate staffing. In addition,
16   inadequate follow-up based on the reports at intake and the significant delay in care after
17   reporting severe psychiatric symptoms contributed to Georgatos’ death.
18                    5. Jason Rothlisberger
19          Rothlisberger died by suicide on April 15, 2021 at the age of 45. His final week of
20   life demonstrated he was at grave risk of self-harm. (Doc. 4109-1 at 113). On April 7,
21   2021, Rothlisberger attended a “sick call” where he reported depression, anxiety, and not
22   sleeping for days. He also reported thoughts of harming others as well as concerns about
23   his own safety. That same day an ICS was initiated after Rothlisberger’s sister called and
24   reported concerns that he may end his life. When asked, Rothlisberger admitted he had
25   placed a rope around his neck to get the attention of staff due to fear for his life and said
26   his anxiety was “10/10” as well as suicidal and homicidal ideations.
27          Between April 8, 2021, and April 12, 2021, Rothlisberger was placed on 10-minute
28   and 30-minute watches. He continued to report concerns regarding his own safety but also


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 1   started reporting auditory hallucinations. At one point, Rothlisberger told the “mental
 2   health team” he was “genuinely terrified” of remaining in the suicide watch pod because
 3   “they were raping, torturing, and killing sex offenders at 3 or 4 in the morning.”
 4   Inconsistently, the very next day, April 12, 2021, Rothlisberger allegedly “did not endorse
 5   significant psychiatric symptoms to the mental health worker.” At some point between
 6   April 12 and April 15, Rothlisberger was discharged from crisis watch and there was no
 7   record this occurred or why.
 8          The mortality review determined contributing factors to Rothlisberger’s suicide
 9   included failure to recognize symptoms or signs and failure to follow clinical guidelines.
10   In addition, there were no suicide risk assessments conducted upon placement or removal
11   from crisis watch and no crisis treatment plan developed within one day of placement into
12   crisis watch.    In fact, the records established Rothlisberger’s “mental status was
13   significantly worse at the time of discontinuing [the] watch than when it was started.”
14   Rothlisberger did not receive an appropriate referral to a prescribing psychiatrist. In Dr.
15   Stewart’s opinion, because of “significant red flag symptoms” of psychosis, this suicide
16   was avoidable.
17                    6. Failures Discovered in Psychological Autopsies
18          Dr. Stewart expressed significant concerns regarding the care leading up to these
19   suicides but his concerns were unrebutted by Defendants at trial. The Court asked Dr. Penn
20   about whether he had examined the mortality reviews of prisoners who died by suicide and
21   whether he had opinions about those prisoners’ treatment. (Doc. 4283 at 46:5-17). He said
22   he had reviewed some of them. (Id.). But Dr. Penn only pointed to his declaration where
23   he found that ADCRR performs mortality reviews, which he concluded establishes an
24   effective mental health care delivery system. He testified, “I noted, when rare suicides
25   occur, psychological autopsies and administrative suicide reviews are conducted,
26   morbidity and mortality reviews are completed. . . and I think that’s the important take
27   home point, is that all of the ADCRR facilities were found to be 100 percent compliant
28   with the essential standard of NCCHC suicide prevention and intervention.” (Doc. 4283


                                               - 85 -
 1   at 47:7-10, 47:19-23). Again, Dr. Penn, without credible explanation, appears to be relying
 2   entirely on the existence of certain ADCRR policies and the NCCHC policies. The
 3   NCCHC standard determines only whether ADCRR performs mortality reviews or has
 4   some suicide prevention policies. It is undisputed ADCRR performs reviews and has
 5   prevention policies. But the existence of those reviews and policies does not establish the
 6   reviews or policies are effective, thorough, or competent. And the evidence establishes
 7   they are not.
 8          When the Court asked Dr. Penn about his evaluations of the psychological autopsies
 9   he said, “I definitely remember reviewing all of the morbidity and mortality reviews, but
10   as far as writing a specific analysis of each and every single adverse patient outcome, I
11   don’t recall writing something separate.” (Doc. 4283 at 48:22-49). What is more, Dr. Penn
12   failed to take a single note during his chart and record reviews. Rather, he kept all the
13   information “in [his] head.” (Doc. 4283 at 45:15-18). It was obvious from his testimony
14   that Dr. Penn did not retain sufficient information or conclusions about particular prisoners
15   to discuss them in helpful detail. Rather, Dr. Penn simply concluded all treatment was
16   appropriate. In effect, the Court has only Dr. Stewart’s reliable testimony where he
17   concluded the care was inadequate.
18          C.       Overburdened Staff Have Not Met the Demand Required
19                   1.   Prisoners Receive Either No Treatment Plans or Inadequate Ones
                          and Experience Long Term Symptoms Due to Insufficient
20
                          Treatment
21
            The overwhelming evidence demonstrates the lack of mental health staffing—both
22
     in terms of overall staffing and insufficient higher-level staff—demonstrates inadequate
23
     care. This results in prisoners receiving ineffective treatment leaving prisoners to remain
24
     potentially, and unnecessarily, profoundly symptomatic for extended periods of time.
25
     (Doc. 4260 at 54).     This is established through instances of prisoners who remain
26
     symptomatic despite the availability of other treatment options. Thus, prisoners often have
27
     treatment options worthy of exploration but, due to staffing, they cannot be explored and
28
     implemented. Dr. Stewart highlighted a few of these prisoners.

                                                - 86 -
 1          A.C. is presently housed at the inpatient facility in the Phoenix complex. Dr.
 2   Stewart interviewed A.C. and assessed him as “extremely manic and agitated . . . yelling
 3   at the custody staff and running around his cell naked.” (Doc. 4109 ¶ 115). A.C. had
 4   bruises on the left side of his torso where custody staff had fired a paint ball gun at him
 5   during a psychotic episode. He is prescribed Risperdal Consta, 37.5 mg every two weeks.
 6   Dr. Stewart noted it “takes up to ten weeks for this long-acting antipsychotic medication to
 7   reach therapeutic levels.” Dr. Stewart explained it is not appropriate to “attempt to stabilize
 8   a highly agitated and psychotic patient using long-acting injectable antipsychotic
 9   medication.” As a result, A.C. remains out of control and “is not receiving anything close
10   to inpatient level of care.” (Doc. 4109 ¶ 117).
11          D.W. is housed at Eyman. D.W. reported “persistent auditory hallucinations . . .
12   command[ing] him to hurt himself and others.” (Doc. 4109 ¶ 118). His medical records
13   reflected he has been prescribed the same 15 mg dose of Abilify for sixteen months despite
14   his ongoing auditory hallucinations commanding him to hurt himself and others. D.W. has
15   not been referred to a psychiatrist for medication adjustment or any other treatment. Dr.
16   Stewart noted 15 mg of Abilify is a “low dose” and a higher dose likely would be effective.
17          J.R. is housed at Eyman. When Dr. Stewart visited J.R., he was “overtly psychotic
18   with very loose associations, disorganized and rambling speech, responding to internal
19   stimuli and thought blocking.” (Doc. 4109 ¶ 114). J.R. was not currently prescribed or
20   taking a single medication despite a diagnosis of schizophrenia. In Dr. Stewart’s opinion,
21   J.R. represents “the ultimate example of deliberate indifference.          That is, the staff
22   acknowledge that [J.R.] is psychotic but are not doing anything to address it.” (Doc. 4109
23   ¶ 114).
24          The appalling evidence regarding Rahim Muhammad’s treatment is the strongest
25   example of how prisoners receive inadequate treatment and, as a result, remain profoundly
26   symptomatic for extended periods of time.            Muhammad has been diagnosed with
27   schizophrenia and schizoaffective disorder and has been placed on suicide and self-harm
28   watch “dozens” of times.       (Doc. 4109 ¶ 181).      Dr. Stewart noted Muhammad was


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 1   repeatedly on suicide watch and had chemical agents used against him on July 5, 2021
 2   (twice), July 7, 2021, July 8, 2021, July 9, 2021, July 12, 2021, and July 13, 2021 (twice).
 3   (Doc. 4109 ¶ 181). The Court observed some of these uses of force against Muhammad,
 4   and they were nothing short of shocking. It is clear Muhammad was profoundly mentally
 5   ill and Defendants only solution to his self-harming was to use chemical agents against
 6   him.
 7          Moreover, Deputy Warden Van Winkle testified that even though Muhammad was
 8   housed in Florence-Kasson—a mental health unit—he approached mental health staff and
 9   told them Muhammad needed “more care than what we’re able to provide here.” (Doc.
10   4279 at 34). Muhammad remained at Florence-Kasson for seven months while exhibiting
11   profoundly dangerous and symptomatic behavior. And because of the severity of his
12   illness, Dr. Stewart planned to interview him just prior to trial during his September 23,
13   2021 tour, but found that Muhammad had been transferred to a different facility “earlier
14   that very same morning.” (Doc. 4109 ¶ 181).
15          Dr. Penn did not meaningfully address these prisoners’ care. (Doc. 4172 ¶ 270).
16   Dr. Penn offered only that Dr. Stewart’s view of these prisoners was wrong because
17   “psychotherapy and psychotropic medications require treatment compliance, initiative,
18   time, and effort from the patient.” (Doc. 4172 ¶ 270). But Dr. Penn offered no analysis of
19   how his opinion applies to the unique illnesses for each of these prisoners. In short, Dr.
20   Penn’s opinion has no merit.
21                 2.     Drive-By Mental Health Encounters
22          Another consequence of insufficient staff is that mental health encounters are
23   extremely short in duration, remarkably so. This issue was repeatedly litigated during the
24   life of the Stipulation, without resolution. Defendants insisted extremely short encounters
25   were sufficient while Plaintiffs claimed encounters were so short that they could not
26   possibly have been efficacious. Eventually, because Defendants proved unreasonable, the
27   Court imposed minimum durations for visits, subject to exceptions if a mental health
28   clinician concluded visits of short duration were acceptable. (Doc. 3861 at 12). Defendants


                                                - 88 -
 1   refused to comply with that Court Order, which required another Order clarifying that
 2   durations shorter than the presumptive minimum were required to be assessed by a
 3   psychiatrist. (Doc. 3861 at 13). Defendants failed again to comply and ironically admitted
 4   they lacked sufficient qualified staff to conduct reviews of short-duration visits. (Doc.
 5   3907 at 6; Doc. 3921 at 16-17).
 6          At trial, Dr. Stewart testified that “[i]t is simply not possible to assess a patient and
 7   determine their risk of self-harm or suicide in an encounter lasting five, three, or two
 8   minutes. Such an assessment requires more than literally ‘seeing’ a patient; it first requires
 9   establishing a therapeutic relationship.” (Doc. 4109 ¶ 60).27 Dr. Penn insisted a mere one-
10   minute encounter could be sufficient to determine if a prisoner was at risk of self-harm or
11   suicide.
12                 Question: Could it be one minute?
13                 Dr. Penn: Yes, possibly.
14                 Question: To determine that the person was no longer a risk of
                   harm to themselves or others?
15
                   Dr. Penn: Yes, certainly, if the mental health staff member
16                 knows the inmate, has reviewed the chart, has spoken to staff,
                   and is a qualified mental health professional, yes.
17
18   (Doc. 4283 at 100:12-18).
19          Dr. Penn went further, claiming a prohibition on extremely short visits would be
20   counterproductive. In his view, “setting minimum required durations for mental health
21   care encounters can hamper the clinician’s ability to provide mental health care.” (Doc.
22   4172 ¶ 139). Dr. Penn, however, spoke entirely in generalities and did not point to a single
23   actual encounter and then explain why it nonetheless was enough. Moreover, the history
24   of this issue involves repeated Court Orders expressing hesitation at imposing minimums
25
26   27
       Dr. Stewart also explained that when mental health care providers attempt to speak with
     prisoners at their cell fronts, the lack of confidentiality inhibited communication. And
27   many prisoners refused to be moved to the cage where confidential encounters were held
     because “they were very psychotic and paranoid and they were afraid that if they were to
28   be taken out of their cells, that they would be at risk of being attacked by others.” (Doc.
     4260 at 45).

                                                 - 89 -
 1   and always including a simple uncomplicated procedure whereby a qualified individual
 2   could assess if a short encounter was appropriate. Finally, Dr. Penn’s opinion that the
 3   extremely short encounters were sufficient is not credible for the simple reason that Dr.
 4   Pennington-Stallcup conceded such encounters were never sufficient in any circumstance.
 5                 Question: But a one-minute encounter would never be
                   sufficient to determine that a patient is not at risk of self-harm;
 6                 correct?
 7                 Dr. Pennington-Stallcup: Correct.
 8   (Doc. 4276 at 125: 9-11).
 9          The current prevalence of conducting extremely short duration mental health
10   encounters is established by the numerous performance measures while the Stipulation was
11   in effect. These performance measures required prisoners be “seen” at identified intervals.
12   For example, Performance Measure 80 required a prisoner with a mental health score of
13   MH-3A “be seen a minimum of every 30 days by a mental health clinician.” As stated,
14   “seen” was finally interpreted to require an encounter meeting minimum duration
15   requirements, subject to the exception for short encounters later deemed clinically
16   appropriate by a qualified individual.        The table below reflects Defendants were
17   consistently unable to meet the duration requirements for April through July 2021.
18           Performance Measures for Mental Health Durational Requirements
19                Performance            April May        June    July
                              Complex
                    Measure              2021 2021        2021    2021
20
                         80           Lewis       88%      86%        24%      43%
21
                         80           Tucson      99%      87%        17%      42%
22
                         85           Eyman       95%      97%        25%      73%
23
                         85          Florence     83%      100%       50%      100%
24
                         85           Lewis       97%      97%        24%      69%
25
                         85         Perryville    92%      83%        0%       68%
26
                         85           Tucson      98%      100%       6%       69%
27
                         85           Yuma        97%      100%       5%       85%
28


                                                 - 90 -
 1
                             91          Phoenix      100%      100%   80%   100%
 2
                             94          Eyman         94%      100%   82%   91%
 3
                             94          Florence      93%      100%   80%   93%
 4
                             94          Tucson       100%      96%    80%   87%
 5
     (Exs. 1729-1732).
 6
                   3.        Inconsistent Distribution of Medications
 7
           It is undisputed that psychotropic medications require a sophisticated medication
 8
     distribution system. Many medications require timed distribution or must be taken with
 9
     meals. Dr. Stewart testified the “failure to provide timely and consistent delivery and
10
     administration of psychotropic medication places patients at substantial risk of serious
11
     harm, including pain and suffering, withdrawal symptoms, or deterioration.” (Doc. 4109
12
     ¶ 136). Defendants’ own evidence consistently demonstrates their staffing failures result
13
     in prisoners not receiving timely and consistent delivery of psychotropic medications.
14
           Performance Measure 13 required chronic care and psychotropic medication
15
     renewals be completed such that there was no interruption or lapse in medication. (Doc.
16
     1185-1, Ex. B at 8). The performance numbers found below show that, for most of 2021,
17
     Perryville and Yuma in particular were unable to provide medication refills in a timely
18
     manner.
19
                                       Performance Measure 13
20
                    Jan.          Feb.     March    April     May            June      July
21                  2021          2021      2021    2021      2021           2021      2021
22    Douglas           97         100         100             100     93     96        96
23    Eyman             86         84            84            80      92     88        92
24    Florence          88         65            77            86      88     88        75
25    Lewis             69         95            93            99      86     91        77
26    Perryville        84         82            86            79      74     73        86
27    Phoenix           94         91            91            97      98     95       100
28    Safford           90         90          100             90      100    97       100


                                                      - 91 -
 1
      Tucson          90          94             94            82    67        70          79
 2
      Winslow         100        100         100               100   93       100         100
 3
      Yuma            64          74             78            74    68        76          96
 4
 5   (Ex. 1256).

 6          Of significance, the failure to deliver medication when needed was well-known

 7   throughout the system, yet Defendants failed to prevent it. The Continuous Quality

 8   Improvement meeting minutes across multiple facilities document interruptions and delays

 9   in delivering medications to patients. And Dr. Stewart noted meeting minutes showed

10   delays at Eyman, Perryville, and Tucson in March 2021. (Doc. 4109 ¶ 138). Similar issues

11   also arose at the Phoenix inpatient complex in January and June 2021. (Ex. 905 at 13395

12   (Phoenix Complex January 2021: prisoners were erroneously given their medications at

13   4:00 p.m. and again at 8:00 p.m. “due to several breakdowns in communications . . . .”));

14   (Ex. 831 at 61889 (Phoenix Complex June 2021: “Medication errors were noted and

15   discussed with individual staff.”). For many years, the lack of staffing has meant prisoners

16   do not receive medication when they need them to achieve or maintain mental health.

17   IV.    Defendants’ Challenges to Dr. Stewart’s Methodology and Opinions Fail

18          Dr. Stewart’s opinions focused on the most seriously mentally ill prisoners. Dr.

19   Stewart explained he “wanted to focus [his] attention on the more seriously mentally ill . .

20   . [because] one of the best measures of [] evaluating a system’s ability to care for mentally

21   ill inmates is to look at the more serious mentally ill cases.” (Doc. 4260 at 17). Dr. Penn

22   claimed this approach was unscientific and argued a random approach was preferable. Dr.

23   Penn purported to conduct a “rigorous and representative analysis” but in essence his

24   analysis supports Plaintiffs’ position.28

25          Dr. Penn testified he reviewed, with the assistance of four practicing correctional

26   psychiatrists, 120 randomly selected charts in addition to the 155 charts Dr. Stewart

27   28
        It is difficult to overstate Dr. Penn’s lack of credibility. He was evasive when asked
     direct, simple questions. He failed to take a single note during his medical records review.
28   (Doc. 4283 at 21:16-19). His ignorance of fundamental aspects of Defendants’ health care
     system was obvious and his testimony contradicted the undisputed evidence at trial.

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 1   reviewed. Dr. Penn instructed each consultant to determine whether “access to care” was
 2   provided for each of the prisoners reviewed.29 Dr. Penn did not provide an entirely
 3   coherent explanation of “access to care.” At one point, Dr. Penn said “access to care”
 4   required consultants determine if the prisoner was given “timely, appropriate” care that
 5   “met the standard of care.” (Doc. 4289 at 33:18-21). Later, Dr. Penn redefined it such that
 6   a prisoner who had missed medications may or may not be labeled as having “access to
 7   care.” (Doc. 4283 at 29:20-22). This method for defining “access to care” is far from
 8   objective, and much less scientific. Dr. Penn’s methodology is further flawed because his
 9   “access to care” standard does not carefully analyze if the care was medically acceptable.30
10   In essence, it was ambiguous, inconsistent and of no value.31
11          Altogether, Dr. Penn and his consultants reviewed a total of 275 prisoner records,
12   consisting of 120 randomly selected prisoners and all of the 155 records reviewed by Dr.
13   Stewart. Defendants argue that of the 120 randomly selected prisoners, only 5% did not
14   have “access to care.” And because Defendants adopted Dr. Penn’s random selection, they
15
     29
        Dr. Penn’s consultants were not, however, provided copies of mortality reviews for
16   prisoners who died by suicide. (Doc. 4283 at 30).
     30
17      For example, one prisoner who was placed on suicide watch for two weeks was
     designated as having “access to care” despite having never been seen by a psychiatric
18   clinician during that time. Another patient’s care was reviewed and the consultant noted
     “concern patient is not on meds and has diagnosis of schizophrenia or bipolar.” (Doc. 4283
19   at 65). Dr. Penn did not share his consultant’s “concern.” The Court asked Dr. Penn, “But
     I am wondering in your report is there anything to indicate how you came about deciding
20   that despite what the concerns were from your reviewer the treatment that this patient
     received was appropriate?” Dr. Penn only responded that because the patient continued to
21   be seen, despite receiving no treatment, his care was acceptable. The table of various
     patients found at Appendix 5 shows those classified as not having access to care and those
22   marked as having access but the accompanying notes for those patients demonstrate
     otherwise.
23   31
         During trial, Defendants attempted to address a patient, M.L., that Dr. Stewart
     highlighted in his declaration. (Doc. 4109 ¶ 35). M.L. told Dr. Stewart he experienced
24   severe anxiety, depression, and auditory hallucinations, submitted multiple HNRs about
     his symptoms, but did not receive a response. (Doc. 4109 ¶ 35). Dr. Stewart reviewed his
25   medical records and noted M.L. submitted an HNR on August 28, 2021, requesting to see
     someone about getting his medication changed, but did not see a midlevel provider until
26   September 8, 2021. (Doc. 4109 ¶ 35). During trial, Defendants sought admission of
     Exhibit 5315(a) for the purpose of demonstrating that M.L. was seen by a behavioral health
27   technician on August 30, 2021. (Doc. 4261 at 65-70). But as Plaintiffs noted, “There is
     absolutely no reason why a patient would tell a behavioral health tech, who has no training
28   and no ability to help him, that he had put in an HNR the day earlier asking to see a
     psychiatrist about his medications.” (Doc. 4261 at 69-70).

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 1   argue the Court should extrapolate that 5% to the entire prisoner population. Thus, they
 2   contend 5% of the mentally ill prisoner population without access to care is adequate.
 3          This conclusion is erroneous. Even if only 5% of mentally ill prisoners do not have
 4   access to care, that is unconstitutional. But Dr. Penn’s methodology is deeply flawed. In
 5   addition to the prisoners who were deemed not to have access to care at all, six additional
 6   prisoners’ charts were reviewed and, despite being characterized as having “access to
 7   care,” they died by suicide (Patients 12, 13, 52, 115, 120, and 228). Others went weeks or
 8   many months without seeing a provider (Patients 86, 95, and 272). And of significance,
 9   combining Dr. Penn’s random selection with the charts reviewed by Dr. Stewart results in
10   a total of 275 prisoners. Of those, 38—13.8%—did not have access to care as determined
11   by Dr. Penn’s consultants. For another 26 prisoners the consultants determined they had
12   “access to care,” but also found deficient treatment, sometimes with fatal consequences.
13   Ultimately, 64 out of 275—23.3%—of the records reflect either an outright denial of access
14   to care or serious deficiencies in mental health care administration.
15          A more fundamental flaw with Dr. Penn’s analysis is that, in his opinion, the only
16   outcome that should qualify as “bad” is “death.”32 And with death as the relevant threshold,
17   Dr. Penn identified only one case where he had concerns about the care, where a prisoner
18   submitted a request for mental health treatment, was not seen, and then committed suicide.
19   Even there, however, Dr. Penn ultimately concluded the prisoner “was afforded appropriate
20   mental health care.” (Doc. 4285 at 61). As for the other 275 records reviewed, Dr. Penn
21   saw no cause for concern:
22                 Question: Other than this particular patient [who committed
                   suicide], did you find any issues with respect to any of the other
23                 275 records that you reviewed?
24                 Dr. Penn: No, I did not find any gross deviations in standard
                   of care or any access to care or continuity of care that fell below
25
26
     32
        Dr. Penn testified “I reviewed all of these charts, I didn’t find any of these patients to be
27   -- to have death or morbidity or mortality resulting, so there wasn’t a bad outcome with
     these patients.” (Doc. 4283 at 61:11-14). Thus, Dr. Penn believes death is the appropriate
28   metric for a “bad outcome.” This establishes a callous indifference to the prisoners whose
     charts did reflect inadequate mental health treatment but did not die.

                                                  - 94 -
 1                the standard of care.
 2                The Court: So when you -- I don’t have the testimony in front
                  of me, but you said there was only one patient where you found
 3                that the standard of care had not been up to what it should have
                  been; is this the one patient?
 4
                  Dr. Penn: Yes, Your Honor.
 5
 6   (Doc. 4285 at 63:23-64:7).
 7         Dr. Penn’s opinion that only a single prisoner received possibly deficient mental
 8   health care is appalling and overwhelmingly contradicted by the evidence at trial. Again,
 9   Dr. Penn’s handpicked consultants reviewed 275 files. (Doc. 4283 at 75) (stating Dr. Penn
10   chose the consultants). When testifying about the consultants’ findings, Dr. Penn stated:
11                I think the question was, was access to care provided, and [the
                  consultants] opined no based on the document review. And
12                you are right, it was 38 out of the 275 charts.
13
     (Doc. 4238 at 73). Thus, 13.8% of the prisoners reviewed by Dr. Penn’s consultants did
14
     not have access to care. Dr. Penn then attempted to claim that lack of access to care was
15
     of no concern because only one prisoner suffered the “bad” outcome of “death.” It is
16
     unclear whether Dr. Penn truly believed that not a single prisoner other than the one he
17
     discussed received deficient care or whether Dr. Penn believed he was hired to convey that
18
     unsupported opinion. But, either way, that obstinance—and indifference—was devastating
19
     to his credibility and renders his opinions unworthy of any weight.
20
     V.    Mental Health Care Conclusion
21
           Excessively inadequate staffing pervades Defendants’ lack of adequate mental
22
     health care treatment. Every single complex is understaffed, except for two complexes
23
     which have only a single individual to address prisoners’ needs. Again, the consequences
24
     of this understaffing are dire, as reflected in the mortality reviews and psychological
25
     autopsies of prisoners who died by suicide. In Dr. Stewart’s opinion,
26
27         the chronic shortage of mental health staff, delays in providing or the outright
           failure to provide mental health treatment, the inadequacies in the provision
28         of psychiatric medications, and the other deficiencies identified in this report


                                                - 95 -
 1           are systemic problems, and incarcerated people who need mental health care
 2           have already experienced, and will experience, a serious risk of injury to their
             health if these problems are not addressed.
 3
     (Doc. 4260 at 18-19). And Defendants own evidence confirmed Dr. Stewart’s opinion.
 4
                  SYSTEMIC PRACTICES THAT IMPEDE HEALTH CARE
 5
             There are two overarching aspects of ADCRR’s provision of medical and mental
 6
     health care that merit separate discussion. First, ADCRR’s health record system is difficult
 7
     to the point of being impossible to use. As such, it is a significant impediment to
 8
     constitutionally adequate care. Second, ADCRR’s failure to provide reliable language
 9
     interpretation services is another significant impediment to care.
10
     I.      eOMIS Prevents Adequate Care
11
             It is undisputed that Defendants’ electronic health record system (“eOMIS”) is very
12
     inefficient. Defendants’ expert, Dr. Murray, testified eOMIS “does not have the work flow
13
     efficiencies, logistical safeguards, and data reporting capabilities necessary to produce
14
     ADCRR’s best care. Without exception, the facility management teams at every complex
15
     indicated that a new EHR or modernized eOMIS would drastically increase their ability to
16
     see more patients.” (Doc. 4206 ¶ 1080).
17
             Dr. Wilcox testified in detail how eOMIS’ limitations prevents staff from seeing
18
     data in any usable format. eOMIS does not allow staff to view testing results or encounter
19
     notes over time. Rather, providers must manually review each lab result and provider note.
20
     Dr. Wilcox further testified lab results are reported alphabetically, but not by category.
21
     Similar inefficiencies exist for medication administration and x-rays. As a result, staff are
22
     not able to efficiently review a patient’s history, creating a significant barrier to appropriate
23
     care.
24
             This was demonstrated during trial.        During Dr. Wilcox’s cross-examination,
25
     counsel for Defendants struggled to maneuver through a patient’s medical record to find
26
     the information they were seeking. To expect this from physicians who are expected to
27
     see 18-20 patients per day is unreasonable.
28
             Dr. Murray elaborated about the problems when treating complex patients. “[T]he

                                                  - 96 -
 1   more complex the patient, the more fragmented the documentation in eOMIS and the more
 2   challenging to follow their care plan. At times, it was difficult to discern what happened
 3   in that patient’s care, and what was supposed to have happened.” (Doc. 4206 ¶ 990). He
 4   continued, “[t]his fragmentation issue is due to using an EHR that does not support the
 5   flow of patient care, does not push desired behavior and care, does not contribute to ideal
 6   decision-making, and does not allow a rapid review of a patient’s history and health care
 7   needs.     In short, this EHR does not allow for the care of complex patients in a
 8   comprehensive way and has become an impediment to the timely and efficient care of these
 9   patients.” (Doc. 4206 at ¶ 990).
10            Thus, it is undisputed the very foundation of the health care delivery system—the
11   medical records—“does not allow” for “comprehensive” care. In terms of the relevant
12   issue for this case, eOMIS substantially contributes to a substantial risk of serious harm.
13   II.      Defendants Do Not Provide Adequate Language Interpretation Services
14            Plaintiffs allege Defendants have a policy or practice of failing to provide adequate
15   language interpretation services to prisoners receiving medical or mental health care.
16   Plaintiffs’ experts stated “[c]ommunication with patients is essential to providing adequate
17   medical care.” (Doc. 4138 ¶ 442). And “[e]ffective communication is a fundamental
18   component of providing therapeutic [mental health] care” and mental health care
19   encounters without effective interpreter services are “largely meaningless and superficial.”
20   (Doc. 4109 ¶ 89). Dr. Wilcox explained that, ideally, both medical and mental health care
21   staff “who have been evaluated and determined to be qualified to conduct healthcare
22   encounters in the patient’s language would conduct the healthcare encounter in that
23   language.” (Doc. 4138 ¶ 443). Another option would be the use of “qualified interpreters
24   with experience with medical terminology.” (Doc. 4138 ¶ 443). It is not appropriate,
25   however, to use other prisoners as interpreters because the prisoner patient “may not be
26   comfortable disclosing sensitive, potentially embarrassing medical information” to the
27   prisoner acting as a translator. (Doc. 4138 ¶ 449). It is also inappropriate to use custody
28   staff as interpreters because prisoners may “self-censor or alter communications with the


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 1   provider” to prevent custody staff from learning sensitive information. (Doc. 4109 ¶ 91).
 2             Defendants do not dispute that language interpretation services, in general, are a
 3   crucial aspect of minimally sufficient medical and mental health care. Dr. Pennington-
 4   Stallcup, agreed that “effective mental health diagnosis and treatment” requires “the
 5   clinician and the patient . . . be able to communicate.” (Doc. 4277 at 21:1-5). But
 6   Defendants claim the “various policies and practices” already in place are sufficient. (Doc.
 7   4315 at 50). But the evidence establishes those policies and practices are far from
 8   sufficient. Prisoners are routinely denied language interpretation services, necessarily
 9   resulting in the deprivation of appropriate medical and mental health care. The absence of
10   interpretation services creates a substantial risk of serious harm.
11             The main policies Defendants cite as establishing adequate interpretation services
12   are found in the MSTM. The MSTM requires, during the initial intake process, every
13   prisoner be provided a handout, in both English and Spanish, that “outlines how they are
14   to access health care.” (Ex. 1305 at 122). Similar handouts must be provided whenever a
15   prisoner is transferred to a new complex. In addition, the MSTM requires the posting of
16   signs in the intake area of each complex explaining how to access health care. (Ex. 1305
17   at 122, 145). Per this policy, the information need only be in Spanish and English, meaning
18   the information would be useless to prisoners who speak other languages. (Ex. 1305 at
19   123).33
20             In addition to those requirements, during the intake process each prisoner meets
21   “with nursing providers, dental, [and] mental health.” (Doc. 4231-1 at 97:2-3). During
22   those meetings, the prisoner’s primary language is identified and entered into the electronic
23   medical record. (Doc. 4231-1 at 97:3-7). The medical record system is programmed so
24   that, in the future, staff must always answer a question regarding the prisoner’s language
25   abilities before inputting any new information. The language question is a “hard stop,”
26   meaning the staff inputting information “cannot proceed any further until they answer the
27   question of whether a patient needs interpreter services or not.” (Doc. 4231-1 at 97:5-12).
28   33
       There was no evidence presented whether the handout and signage policies are followed
     in practice. The Court will assume they are.

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 1   The initial evaluation of language ability completed at intake is not governed by any written
 2   policies or procedures. (Ex. 1976 at 2-3 No. 3). Rather, determining the need for
 3   interpreter services apparently is left to the discretion of the intake personnel.
 4          When a prisoner who is not fluent in English is seen by medical or mental health
 5   care staff, interpretation services are supposed to be available through a “telephone or any
 6   platform that has audio including a computer screen if [there is a] need [for] sign language
 7   interpretation and a visual communication cue.”          (Doc. 4231-1 at 100:6-10).      This
 8   translation service is referred to as the “LanguageLine.” Centurion “prefer[s]” that its staff
 9   use the LanguageLine even when the staff speaks the same language as the prisoner.
10   However, that is not required, and staff may proceed without using the LanguageLine for
11   any language the staff are “comfortable” using. It is very common for staff to do so. (Doc.
12   4231 at 101:21-102:3; Doc. 4277 at 68). Centurion does not have policies regarding
13   assessing the language proficiency of its staff. (Doc. 4231-1 at 102:24-103:6). Centurion
14   does not document or know if a staff member can, in fact, converse sufficiently in the
15   language the staff member purports to speak and understand. (Doc. 4231-1 at 103:5-7).
16          In practice, the current policies and practices are ineffective and allow insufficient
17   communication between prisoners and health care staff. First, the absence of any formal
18   assessment process regarding prisoners’ interpretation needs creates a situation where staff
19   have no way of knowing “whether and how much a patient actually understands” when
20   being told information in English. (Doc. 4138 ¶ 454). This may lead to staff concluding a
21   prisoner understands when, in fact, he does not. An unknown language barrier may also
22   lead to “misdiagnosis [and] failure to follow treatment plans.” (Doc. 4138 ¶ 454). If,
23   during intake, a prisoner is not assessed as needing interpretation services, no notation is
24   made in the electronic medical record and future encounters likely will occur in English,
25   whether or not the prisoner can understand.
26          The evidence establishes the lack of any assessment leads to prisoners being
27   incorrectly identified as not needing an interpreter.         Dr. Wilcox spoke with two
28   monolingual Spanish speakers at Tucson who were labeled in their health records as not


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 1   needing interpretation services. Based on his discussion with them, it was “clear” these
 2   two prisoners could not have any “meaningful healthcare encounter in English.” (Doc.
 3   4138 ¶ 448). In fact, other portions of those prisoners’ medical records made clear they
 4   needed interpretation services. (Doc. 4138 ¶ 448). According to these prisoners, they have
 5   not been provided interpreters for medical services and one of the prisoners stated a fellow
 6   prisoner had to act as an interpreter. (Doc. 4138 ¶ 449).
 7           Even when the need for interpreter services is known, Defendants and Centurion
 8   may not provide one. A medical record for one prisoner showed staff had to use “google
 9   translation for interpretation of questions and responses.” (Ex. 928 at 1). In addition, Dr.
10   Stewart, Plaintiffs’ expert on mental health care discussed in detail later, reviewed medical
11   records of numerous hearing-impaired prisoners and concluded “they had gone months –
12   if not years – unable to communicate meaningfully with health care staff.” (Doc. 4109 ¶
13   100).
14           The language difficulties for deaf prisoners are especially pronounced. Dr. Stewart
15   referenced a “written exchange” between a psych associate and a deaf prisoner when that
16   prisoner was placed on suicide watch after the death of his brother. Interpretation services
17   should have been provided. Instead, the written exchange consisted of simple questions
18   by the psych associate and responses by the prisoner. (The handwritten document makes
19   clear who wrote which portion. For ease of reading, the prisoner’s responses are bolded).
20                 Homicidal? Kill Others? No
21                 Hallucination No
22                 Eating ok ok
23                 Sleeping ok ok
24                 Feeling anxious no
25                 Depressed no
26   (Doc. 4109 ¶ 101). In Dr. Stewart’s opinion, this “is an awkward, stilted, and slow way to
27   communicate, and does not provide an appropriate or adequate medium to engage the
28   patient in discussion of sensitive and important mental health matters.” (Doc. 4109 ¶ 102).


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 1   That is an understatement. It is hard to believe Defendants think it was appropriate to
 2   determine the mental status of a prisoner on suicide watch by passing him a note asking if
 3   he felt “Homicidal? Kill Others?” and then accepting his monosyllabic answer.
 4          Dr. Stewart also spoke with several monolingual Spanish speakers who had been
 5   classified as seriously mentally ill. Those prisoners recounted significant difficulties in
 6   communicating with mental health providers, including complaints about being unable to
 7   convey difficulties with their medications. (Doc. 4109 ¶¶ 105-106). One prisoner did not
 8   respond to Dr. Stewart’s questioning in English but, when Dr. Stewart switched to Spanish,
 9   the prisoner “lifted his head off his bunk and look[ed]” at Dr. Stewart. (Doc. 4109 ¶ 109).
10   That prisoner’s medical records indicated he does not need interpretation services but there
11   is a plausible basis to conclude that is inaccurate. (Doc. 4109 ¶ 111)).
12          Reliance on LanguageLine may, in theory, suffice.             However, the actual
13   implementation of LanguageLine establishes it does not solve the interpretation problems.
14   LanguageLine is not available in every location and, at times, there are no interpreters
15   available even when staff attempt to use LanguageLine. For example, when Dr. Wilcox
16   visited the IPC at Tucson, he attempted to speak with two monolingual Spanish speakers.
17   Dr. Wilcox asked to use the LanguageLine, but it could not be used where the patients were
18   located. (Doc. 4138 ¶ 462). The only location where it was available was in an office,
19   away from the prisoners. That office did not have an exam table and “would not have been
20   appropriate for a healthcare encounter.” (Doc. 4138 ¶ 462). Medical records also establish
21   instances of the LanguageLine being ineffective because of “poor reception” or no
22   interpreter being available when requested. (Doc. 4138 ¶ 466).
23          While Defendants seem to concede the need for interpretation services, they
24   presented opinions from Dr. Penn, Defendants’ expert on mental health care discussed in
25   detail later. Dr. Penn suggested the status quo is sufficient. But Dr. Penn’s testimony was
26   so flawed on this topic that the Court cannot credit any of his opinions. At the outset, Dr.
27   Penn began by misidentifying the issue. According to Dr. Penn, the “requisite standard of
28   care within a correctional setting” does not mandate “use of certified translators for all


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 1   healthcare interactions and/or for group psychotherapy.” (Doc. 4172 ¶ 171). Dr. Penn did
 2   not explain, however, why he was evaluating whether “certified translators” were
 3   necessary. Neither of Plaintiffs’ experts opined “certified translators” were necessary or
 4   even possible. Rather, the issue is whether the current practice of having no interpreter
 5   services when needed is appropriate. Dr. Penn’s initial opinion regarding the standard of
 6   care, even if accepted, is meaningless.
 7          Next, Dr. Penn testified the correct “standard of care in the community and in
 8   correctional health care is for staff to assess their own level of comfort and proficiency
 9   before determining whether a separate translator/interpreter or translator service is
10   required.” (Doc. 4172 ¶ 174). This opinion makes no sense. Whether a staff member can
11   communicate effectively in another language depends on an assessment by the prisoner,
12   not the staff member. That is, a staff member may believe he has native speaker fluency
13   while true native speakers cannot understand a word he says. The standard of care cannot
14   plausibly be based on the staff’s own subjective evaluation of their language skills.34
15          Dr. Penn further attempts to explain away the absence of effective interpretation
16   policies and practices by opining the standard of care is that “use of an interpreter is
17   dependent upon the nature and extent of the encounter.” (Doc. 4172 ¶ 175). He gives the
18   example that a blood pressure measurement may not require an interpreter but “[a]n
19   interpreter would be necessary . . . where there are discussions regarding advance
20   directives.” (Doc. 4172 ¶ 175). At trial, Dr. Penn was asked to identify other types of
21   encounters when an interpreter “would be necessary.” Dr. Penn refused to do so:
22                 Question: And so what about individual health care
                   counseling?
23
                   Dr. Penn: I would say it would depend.
24
25
     34
        Dr. Penn also testified it would be “unreasonable” to require interpreters because “in
26   emergency situations, time is simply not available to have translators/interpreters and other
     services available.” (Doc. 4172 ¶ 176). Plaintiffs’ experts did not state the standard of
27   care requires interpreters in “emergency situations.” No one is faulting Defendants for not
     having interpreters available, at all hours, for every emergency. Dr. Penn’s testimony that
28   adequate interpreters need not be provided whenever possible because some emergencies
     might occur when they are not available defies logic.

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 1                 Question: Mental health groups?
 2                 Dr. Penn: Again, it would depend.
 3                 Question: Suicide watch checks?
 4                 Dr. Penn: Again, it would depend.
 5                 Question: Chronic care encounters?
 6                 Dr. Penn: Same answer, it would depend.
 7                 Question: Appointments with health care or mental health
                   providers?
 8
                   Dr. Penn: It would depend.
 9
     (Doc. 4283 at 108:19-109:3). Dr. Penn explained he could not provide definitive answers
10
     whether an interpreter would be needed for these encounters because “[s]ome individuals
11
     are more fluent.” (Doc. 4283 at 110:5-6). But Dr. Penn’s testimony is nonsensical
12
     considering he testified an interpreter “would be necessary” for discussing advance
13
     directives without then stating that did not apply if the prisoner was fluent in English. The
14
     reason his testimony did not include an exception for prisoners fluent in English is because
15
     the relevant prisoner is one who is not fluent in English. Dr. Penn’s invocation of the
16
     various degrees of fluency to avoid determining when interpreters should be provided was
17
     a way for him to avoid conceding the obvious: all but the simplest of health care encounters
18
     require an interpreter.
19
            Finally, Dr. Penn testified that Dr. Stewart reported “he interviewed monolingual
20
     Spanish speakers” but Dr. Penn’s review of their records “evidences [those prisoners’]
21
     ability to communicate in English.” (Doc. 4172 ¶ 184). To reach this conclusion Dr. Penn
22
     explained:
23
                   I base this -- and I am not questioning Dr. Stewart or his
24                 Spanish proficiency. My first language was Spanish also. But
                   I reviewed the Health Needs Request from inmates, and many
25                 of them were able to write in English.
26
     (Doc. 4283 at 114:14-15). When pressed on this point at trial, Dr. Penn’s testimony became
27
     absurd.
28
            Dr. Penn was presented with a HNR written in Spanish and asked if that was written


                                                - 103 -
 1   by the prisoner. Dr. Penn stated he is “not a handwriting expert” and, therefore, he could
 2   not tell if the prisoner identified in the HNR actually wrote that HNR. (Doc. 4283 at
 3   115:17-19). Thus, Dr. Penn acknowledged his “opinion” based on reviewing HNRs may
 4   not reflect the named prisoners’ fluency in English because the HNRs may have been
 5   drafted by someone else. In addition, one of the prisoners identified by Dr. Stewart as a
 6   monolingual Spanish speaker submitted an HNR in Spanish that, when translated, stated
 7   in relevant part “If you do not understand Spanish, please tell me and I will find a way to
 8   send this in English.” (Doc. 4283 at 118:1-3). After reviewing that HNR, Dr. Penn stated
 9                 So the patient is saying, I can find a way to get it translated to
                   English. So as we sit here today, without reviewing the chart
10                 and without talking to the patient, I wouldn’t be able to answer
                   if the patient is fluent in English or not.
11
12   (Doc. 4283 at 118).
13   When pressed on how he had testified earlier that this patient could communicate in
14   English, Dr. Penn stated
15                 So again, I would need to review the patient’s record in its
                   entirety and perhaps interview the patient to be able to
16                 determine that.
17
     (Doc. 4283 at 119). In other words, Dr. Penn contradicted his earlier testimony that this
18
     prisoner could communicate in English. Instead, Dr. Penn stated he would need to review
19
     the prisoner’s record and interview him before determining whether the prisoner can
20
     communicate in English. And in any event, Dr. Penn’s testimony that this prisoner was
21
     able to write in English cannot withstand the slightest scrutiny. The prisoner submitted the
22
     HNR in Spanish and included a statement that he would “find a way” to send it in English,
23
     if necessary. It is not plausible the prisoner would try to “find a way” to submit his HNR
24
     in English if his own language abilities meant he could have submitted in English.
25
            In general, Dr. Penn’s testimony on the topic of language interpretation was
26
     unreliable and incredible. Dr. Penn’s opinion—the status quo of interpretation services is
27
     sufficient—is rejected.    The only credible evidence before the Court demonstrates
28
     Defendants’ language interpretation policies and practices often lead to “largely

                                                - 104 -
 1   meaningless and superficial” health care encounters. And inability to communicate one’s
 2   medical and mental condition creates a substantial risk of serious harm.
 3                          LEGAL STANDARD FOR HEALTH CARE
 4          Eighth Amendment claims involving medical or mental health care requires a
 5   prisoner prove an “objective prong” as well as a state-of-mind element, or “subjective
 6   prong.” See Disability Rts. Montana, Inc. v. Batista, 930 F.3d 1090, 1098-1099 (9th Cir.
 7   2019). For systemic challenges of policies and practices, “[t]he first, objective, prong
 8   requires that the plaintiff show that the conditions of the prison pose a substantial risk of
 9   serious harm.” Id. If the prison conditions present such a risk, “[t]he second, subjective,
10   prong requires that the plaintiff[s] show that a prison official was deliberately indifferent
11   by being aware of the facts from which the inference could be drawn that a substantial risk
12   of serious harm exists, and also draw[ing] the inference.” Id.
13          The “objective prong” involving a “substantial risk of serious harm” requires
14   prisoners establish they might suffer “further significant injury” or experience the
15   “unnecessary and wanton infliction of pain.” Id. The “subjective prong” requires prisoners
16   establish prison officials “knowingly and unreasonably disregarded” the risk of harm.
17   Farmer, 511 U.S. at 846. Put differently, prison officials must know “about the risk to
18   which prisoners were exposed” but then “deliberately choose to maintain the harmful
19   policies” or practices. Batista, 930 F.3d at 1099. The subjective prong can be met when
20   “prison officials deny, delay or intentionally interfere with medical treatment, or it may be
21   shown by the way in which prison physicians provide medical care.” Colwell v. Bannister,
22   763 F.3d 1060, 1066 (9th Cir. 2014) (quoting Hutchinson v. United States, 838 F.2d 390,
23   394 (9th Cir.1988)).
24                          CONDITIONS IMPOSED ON THE CLASS
25          In its Order certifying the class, the Court identified the following six medical care
26   practices that allegedly exposed Plaintiffs to a substantial risk of serious harm in violation
27   of the Eighth Amendment:
28                 (i)      Insufficient health care staffing;


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 1                 (ii)    Failure to provide timely access to health care;
 2                 (iii)   Failure to provide timely emergency treatment;
                   (iv)    Failure to provide necessary medication and medical
 3                         devices;
                   (v)     Failure to provide for chronic diseases and protection
 4
                           from infectious disease; and
 5                 (vi)    Failure to provide timely access to medically necessary
                           specialty care.
 6
 7          The mental health care practices that allegedly subjected Plaintiffs to a substantial

 8   risk of serious harm in violation of the Eighth Amendment were:

 9                 (i)     Failure to provide mentally ill prisoners medically
                           necessary mental health treatment (i.e., psychotropic
10                         medication, therapy, and inpatient treatment) and;
11                 (ii)    Failure to provide suicidal and self-harming prisoners
                           basic mental health care.
12
            The challenged practices significantly overlap. For example, “insufficient health
13
     care staffing” relates to and affects “failure to provide timely access to health care.” That
14
     is, insufficient health care staffing results in the failure to provide timely access to care.
15
     As set forth above, inadequate staffing has resulted in a cascade of failures including other
16
     discrete practices, including inadequate access to necessary medication and inadequate
17
     access to specialty care. Similarly, the mental health care practices of failing “to provide
18
     mentally ill prisoners medically necessary mental health treatment” overlaps with failing
19
     “to provide suicidal and self-harming prisoners basic mental health care.” Accordingly,
20
     some of the practices will be considered together to demonstrate Plaintiffs are being
21
     subjected to a substantial risk of harm.
22
     I. ADCRR does not have sufficient health care staffing to provide prisoners with
23   timely access to health care, including emergency treatment, medication, treatment
     for chronic disease, and specialty care.35
24
25
     35
        This does not address some of the originally identified practices nor does it address
26   particular health care conditions. For example, Plaintiffs did not establish Defendants
     failed to protect them from “infectious diseases” or that Defendants failed to provide access
27   to “medical devices.” And while Plaintiffs presented evidence regarding specific health
     care conditions like Hepatitis C or Medically Assisted Therapy, this case is not about
28   particular diseases. Rather the focus must be on the overall provision of health and mental
     health care and whether there is a substantial risk of serious harm.

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 1           Long ago, the Ninth Circuit established the basic requirements for a constitutionally
 2   sufficient correctional health care system. It must “provide a system of ready access to
 3   adequate medical care.” Hoptowit v. Ray, 682 F.2d 1237, 1253 (9th Cir. 1982) (citation
 4   omitted), overruled in part on other grounds by Sandin v. Conner, 515 U.S. 472 (1995).
 5   Prisoners must be able “to make their medical problems known to the medical staff.” Id.
 6   And that staff must be competent because “[a]ccess to the medical staff has no meaning if
 7   the medical staff is not competent to deal with the prisoners’ problems.” Id. This requires
 8   staff be competent enough “to examine prisoners and diagnose illnesses” and then “treat
 9   medical problems or to refer prisoners to others who can.” Id.
10           The evidence demonstrates Defendants operate a system lacking sufficient numbers
11   of qualified medical staff to provide prisoners with “ready access to adequate medical
12   care.” Id. As discussed above, access to care necessarily requires access to competent
13   health care. The standard of care in the community is higher than the constitutional
14   minimum.      But the “[a]ccepted standards of care and practice within the medical
15   community are highly relevant in determining what care is medically acceptable and
16   unacceptable.” Edmo v. Corizon, Inc., 935 F.3d 757, 786 (9th Cir. 2019).                 The
17   overwhelming evidence establishes the health care available to prisoners is well below the
18   constitutional minimum, let alone the community standards. The current levels of staffing,
19   including the type of staff, are far from adequate to meet constitutional requirements.
20   Defendants’ insufficient hiring and retention of qualified staff create a substantial risk of
21   serious harm to all class members, which affects every aspect of health care delivery
22   because there is simply not enough time to provide the level of care that is necessary. The
23   broken electronic health record, the lack of time to employ differential diagnoses to
24   properly evaluate prisoners’ conditions, and nurses’ failure to refer prisoners to providers
25   are all predictable effects of a lack of staff.
26   II. ADCRR does not provide mentally ill prisoners with medically necessary mental
27   health treatment and suicidal and self-harming prisoners with basic mental health
28   care.


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 1          ADCRR and Centurion employees also confirmed insufficient staffing extends to
 2   the provision of mental health care. The lack of staff—specifically, again, licensed staff
 3   with the training to treat prisoners with serious mental health needs—impacts every aspect
 4   of the provision of mental health care treatment. The evidence reflects the prisoners with
 5   the highest acuity and most serious needs are not provided the medically appropriate level
 6   of treatment. Inpatient units remain unfilled, and Centurion’s own officials confirmed the
 7   reason was a lack of staffing. Defendants’ mental health care expert’s chart reviews
 8   confirmed a lack of access to medically acceptable mental health care. And, again,
 9   psychological autopsies reflect systemic deficiencies, but no follow up action was taken to
10   prevent such harm from reoccurring.
11   III. Defendants Are Deliberately Indifferent
12          The testimony from Dr. Wilcox and Dr. Stewart was credible while the testimony
13   from Dr. Murray and Dr. Penn was not. Therefore, as detailed above, the medical and
14   mental care available at ADCRR complexes presents a substantial risk of serious harm to
15   every prisoner. Therefore, the “objective prong” of the Eighth Amendment analysis is met.
16   The only remaining question is whether Defendants have acted, and continue to act, with
17   deliberate indifference to that risk.
18          The overwhelming evidence demonstrates Defendants Shinn and Gann are both
19   aware of insufficient staffing and the other conditions that present a substantial risk of
20   serious harm to prisoners. Defendants, however, have not taken effective actions to remedy
21   those conditions. Despite years of knowledge, driven by this litigation and Defendants’
22   monitoring of their private healthcare contractors’ performance, Defendants have in fact
23   made no significant attempts to substantively change the health care system and compel
24   sufficient staffing.36 Thus, Defendants are acting with deliberate indifference to Plaintiff’s
25
     36
        Defendant Shinn, as ADCCR Director, is legally responsible for providing a
26   constitutionally adequate health care system. Ariz. Rev. Stat. § 31-201.01(D); West v.
     Atkins, 487 U.S. 42, 56 (1988) (“Contracting out prison medical care does not relieve the
27   State of its constitutional duty to provide adequate medical treatment to those in its custody,
     and it does not deprive the State’s prisoners of the means to vindicate their Eighth
28   Amendment rights.”). As the Court noted in Doc. 3940, when Defendant Shinn believes


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 1   serious medical and mental health care needs. The testimony from Defendants Shinn and
 2   Gann provides compelling evidence of knowledge of the failures but a refusal to take
 3   meaningful measures to correct systemic flaws.
 4          During his testimony Defendant Shinn was asked about a letter he sent to the Chief
 5   Executive Officer of Centurion on February 14, 2020. (Ex. 2165). That letter was
 6   prompted by a Court Order that had threatened Defendants with contempt if they did not
 7   perform their obligations under the Stipulation.      Defendant Shinn’s letter informed
 8   Centurion of that Order and he identified the particular performance measures that were
 9   the subject of possible contempt fines. Defendant Shinn explained ADCRR was facing
10   fines of up to $14.6 million per month if Centurion did not improve. The letter then stated
11   “ADCRR expects and demands Centurion to immediately commit all necessary resources
12   to achieve and maintain compliance on every Performance Measure at every specific
13   location addressed in [the Court Order].” The letter further demanded Centurion “take all
14   reasonable steps to substantially comply” with the Court Order and it listed ten specific
15   steps Centurion had to take. Those steps included the relocation of existing “Arizona
16   healthcare personnel to locations that face challenges in achieving compliance,” temporary
17   transfer of Centurion personnel from other states, scheduling additional meetings, filling
18   all vacant positions, and drafting “remedial plans for root causes that hinder compliance.”
19   Defendant Shinn was asked about his actions after sending this letter.
20          When asked at trial if he knew “how many health care personnel Centurion
21   reallocated from one facility to another” following his letter, Defendant Shinn responded
22   “No, we were focused on outcomes.” (Doc. 4274 at 90). And he failed to elaborate on
23   which specific outcomes were his focus and were achieved. He was then asked if he knew
24   “from which Arizona facilities Centurion reallocated health care staff” or “to which
25   facilities Centurion reallocated health care staff within Arizona.” Defendant Shinn knew
26   neither. In fact, Defendant Shinn did not know if any health care staff had been reallocated
27   within Arizona. Defendant Shinn was asked if he knew of any health care staff transferred
28   his chosen vendor must provide health care in a different manner, he must enforce his rights
     under the vendor contract.

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 1   to Arizona from other states. Defendant Shinn did not know. When asked if he knew
 2   where Centurion had increased telemedicine availability, Defendant Shinn did not know.
 3   On this point, Defendant Shinn volunteered his “expectation was [Centurion] get to 100
 4   percent staffing across the board. I wasn’t concerned with individual pockets.” (Doc. 4274
 5   at 93). When asked if he knew what actions Centurion had taken to recruit additional staff,
 6   Defendant Shinn deflected:
 7                  What I am looking at is outcomes and are we moving the
                    needle forward. That’s exactly what I'm looking at, health care
 8                  delivery. I’m not necessarily looking at, did you move one
                    from this location to that location? I’m simply asking, provide
 9                  the services that were asked for and contracted and the Court
                    has demanded as well.
10
11   (Doc. 4274 at 94). When pressed, Defendant Shinn admitted he did not know of any efforts
12   to recruit more staff, nor did he know how many vacancies Centurion filled as a result of
13   his letter.
14           Based on Defendant Shinn’s testimony, he somehow determined he had no
15   obligation to follow-up with the demands he made in his letter. The only possible
16   conclusion to draw is that Defendant Shinn had little interest in changing the underlying
17   reality. Rather, his letter appears to have been nothing more than a half-hearted effort to
18   generate a piece of paper he could cite to avoid contempt. Obviously, the Court expected
19   Defendant Shinn to take more direct action than signing a letter. Defendant Shinn’s
20   disinterest in Centurion’s response to his letter shows he is knowingly ignoring the reality
21   of the fundamental problems with ADCRR’s health care system.
22           Defendant Shinn also evidenced little curiosity about the conditions at issue in this
23   case. Defendant Shinn agreed that if there were problems in ADCRR, he would want to
24   know of them. (Doc. 4274 at 100). But Defendant Shinn admitted he had not read any of
25   the expert declarations in this case. (Doc. 4274 at 100). There was no explanation why
26   Defendant Shinn, if he was interested in potential problems, chose to make no effort to
27   familiarize himself with Plaintiffs’ factual contentions.
28           Another crucial aspect of Defendant Shinn’s testimony that proved his knowledge


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 1   of ongoing systemic failures is found in the negotiation of an extension to Centurion’s
 2   contract. In June 2021, ADCRR negotiated an extension with Centurion for another year.
 3   As part of that contract, ADCRR “agreed to cap the indemnification of Centurion at $2
 4   million for court ordered sanction and fees related to [this case].” (Doc. 4274 at 97). That
 5   meant Centurion would be liable for no more than $2 million in Court-ordered fines and
 6   any amounts beyond that would be borne by ADCRR.
 7          As explained by Defendant Gann, that indemnification cap was something
 8   Centurion “wanted in the contract.” (Doc. 4275 at 144). Accordingly, it can only be
 9   assumed that it was clear to Defendant Shinn at the time of the contract renewal that
10   Centurion had significant concerns regarding its performance.           More specifically,
11   Centurion apparently realized it would not be able to perform adequately and significant
12   contempt fines were likely. To avoid catastrophic liability, Centurion ensured ADCRR
13   would bear the brunt of nonperformance. Instead of looking into why Centurion was so
14   concerned with additional sanctions, and taking action to address the potential for
15   continued nonperformance, Defendant Shinn simply agreed to limit Centurion’s liability
16   and insulated it from meaningful consequences for its failures.
17          Defendant Shinn’s testimony also made clear he has adopted a strategy of
18   pretending the problems he knows about do not exist. According to Defendant Shinn,
19   Centurion has “done some great work” and in the 24 months leading up to trial, Centurion
20   “produced some extraordinary results.” (Doc. 4274 at 101-02). When asked if “Centurion
21   has done extraordinary work,” Defendant Shinn responded “Absolutely.” (Doc. 4274 at
22   102). And despite his February 2020 letter, and his ignorance regarding any responsive
23   actions to that letter, Defendant Shinn was “overall” satisfied with Centurion’s
24   performance under the contract. (Doc. 4274 at 102). In other words, “overall,” Defendant
25   Shinn is satisfied with a system that presents a substantial risk of serious harm. That is
26   almost a perfect illustration of “deliberate indifference.”
27          The Court pressed Defendant Shinn on his strange nonchalance regarding his 2020
28   letter to Centurion and Centurion’s response. The Court asked him if he thought the


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 1   demands in the letter were “necessary in order to comply with the court order at that time.”
 2   Defendant Shinn stated he believed the demands were necessary. (Doc. 4274 at 111). But
 3   the Court then asked him about his testimony that he was only concerned with outcomes,
 4   not performance of his demands. Defendant Shinn agreed he was primarily concerned with
 5   outcomes, but he stated Centurion had experienced some limited success:
 6                  [Centurion] experienced success in a number of -- in a number
                   of performance measures at many locations throughout our
 7                 system. Have they failed at certain locations? There’s no
                   question about that. That’s not debatable. It’s just math, and
 8                 we are looking at that on a monthly basis. That’s what I’m
                   looking for, is for them to ultimately be 100 percent across the
 9                 board with all measures. But we’re looking in reductions of
                   failure as well as moving the needle from a systemic
10                 perspective.
11
     (Doc. 4274 at 112). That did not answer whether he continued to believe Centurion must
12
     perform the demands in his letter. Thus, the Court asked Defendant Shinn if he was still
13
     demanding Centurion perform. He responded “we are still asking for them to complete
14
     [the letter’s demands].” When asked to clarify, Defendant Shinn admitted he “was less
15
     concerned about how they do this and more concerned about the results that they produce,
16
     in terms of delivery of health care.” (Doc. 4274 at 113). In sum, Defendant Shinn believed
17
     the demands in his letter were important, except when that required him to follow up or
18
     take additional action. He further believed the demands were still in effect, except he
19
     actually only cared about “results.” Defendant Shinn’s actions are not the type of actions
20
     a concerned administrator would have taken if he was actually interested in ensuring the
21
     undisputed failures were being resolved.
22
            Defendant Shinn’s state of mind is further illustrated by testimony that can only be
23
     described as shocking.
24
                   Question: And you believe that the health care that’s currently
25                 provided to the ADCRR prisoner population meets and often
                   exceeds the community standard of care?
26
                   Defendant Shinn: In some aspects, yes.
27
                   Question: And you believe that has been the case continuously
28                 since your arrival at the Department two years ago?


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 1                 Defendant Shinn: Yes.
 2                 Question: Okay. And you believe that the access to care for
                   Arizona prisoners exceeds access to care for people in the
 3                 community?
 4                 Defendant Shinn: In terms of timeliness and immediate access
                   in person, I know that from a personal perspective with my
 5                 provider. It is not even close as a private citizen.
 6                 Question: You believe that in an overall sense, access to care
                   for Arizona prisoners exceeds access to care for people in the
 7                 community, correct?
 8                 Defendant Shinn: I know it exceeds my personal experience
                   in Arizona, yes, sir.
 9
                   Question: You believe that in an overall sense, access to care
10                 for Arizona prisoners exceeds access to care for people in the
                   community, correct?
11
                   Defendant Shinn: I know it exceeds my personal experience
12                 in Arizona, yes, sir.
13
     (Doc. 4274 at 102-03).
14
            The claim that prisoners’ access to care “exceeds” the access to care enjoyed by
15
     people in the community is completely detached from reality. Given the overwhelming
16
     evidence and repeated instances of insufficient care leading to suffering and death,
17
     Defendant Shinn could not possibly believe prisoners have the same access to care as
18
     people in the community.37 Defendant Shinn is acting with deliberate indifference to the
19
     substantial risk of serious harm posed by ADCRR’s health care system.
20
            Defendant Gann’s testimony also contains overwhelming evidence he knows of
21
     ongoing systemic failures but refuses to take adequate remedial action. Defendant Gann
22
23   37
       There is no evidence of what medical conditions, if any, Defendant Shinn had at the time
     he testified. Charitably, Defendant Shinn’s opinion would have modest validity if his
24   assessment of ADCRR medical care was based on Dr. Murray’s simplistic and incredible
     theory that the alleged periodic testing at ADCRR of blood pressure and sugar levels is
25   adequate medical care. But Defendant Shinn’s opinion would have overlooked the
     overwhelming evidence of prisoners suffering from disabling psychosis, fatal cancers, fatal
26   bleeding ulcers, multiple sclerosis, fatal Hepatitis C, and severe drug addiction. Because
     Defendant Shinn was aware of this evidence when he gave his opinion, he could not have
27   plausibly believed Arizona prisoners’ access to care exceeds his own experience. And
     because he is responsible for ADCRR’s grossly inadequate health care system, his answer
28   was a blatant admission of his flagrant dereliction of responsibilities as the Director of the
     Arizona prison system.

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 1   testified he had “prepared numerous staffing plans in [his] career.” (Doc. 4275 at 45). He
 2   stated those plans are “extremely complicated” and require detailed analysis of each
 3   facility, including physical layout, as well as determining the scope of services to be
 4   provided and the attributes of the prisoner population. (Doc. 4275 at 48-60). He further
 5   stated it is “impossible” to use a staffing analysis prepared for a particular facility and then
 6   “overlay that” analysis to another facility. (Doc. 4275 at 53). In brief, Defendant Gann
 7   testified that determining the health care needs of a particular prisoner population requires
 8   a tremendous effort, including application of specialized knowledge.
 9          Despite knowing a valid staffing analysis is critical for the delivery of health care,
10   Defendant Gann has not prepared any staffing analysis for the Arizona system as a whole
11   or for any individual complex. (Doc. 4275 at 124). Instead, Defendant Gann and ADCRR
12   have simply relied on Centurion to determine the appropriate staffing levels. (Doc. 4275
13   at 92). Defendant Gann admitted he did not know how Centurion “arrived at the current
14   staffing levels that they needed.” (Doc. 4275 at 92). Thus, there is no way Defendant
15   Gann could have a meaningful understanding of how the staffing numbers were originally
16   devised or why they were deemed sufficient. Despite his own knowledge that staffing
17   analyses are crucial, Defendant Gann has been uninterested in assessing the adequacy of
18   the current staffing levels.
19          Defendant Gann admitted ADCRR does not have any policies or procedures
20   “regarding the number of needed healthcare staff at each prison.” (Doc. 4275 at 92).
21   Defendant Gann further admitted he knew Centurion was not paying its employees what
22   they could command elsewhere. (Doc. 4275 at 97). But, at the same time, Defendant Gann
23   professed he had “no idea” what Centurion was paying its employees. When asked if he
24   had demanded Centurion increase employee pay, Defendant Gann responded “That’s a no.
25   That’s their business.” (Doc. 4275 at 97).
26          Defendant Gann testified insufficient staffing was not a “barrier” to complying with
27   the Stipulation. (Doc. 4275 at 98). But he then agreed insufficient staffing often leads to
28   cutting corners and inadequate documentation. He also agreed the complexes at Eyman,


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 1   Florence, Lewis, Tucson, and Yuma all had “compliance problems” with the Stipulation.
 2   (Doc. 4275 at 101). Tucson in particular had canceled the nurse line many days, had a
 3   backlog of HNRs, and was not delivering insulin to diabetics in a timely fashion.
 4   Defendant Gann admitted these issues “seem to be related to staffing.” (Doc. 4275 at 109).
 5   Defendant Gann also identified other failures, such as “pre-pouring medications.”38
 6   According to Defendant Gann, pre-pouring medications could be due to insufficient staff,
 7   “laziness or poor culture.” (Doc. 4275 at 103-04). Given his acknowledgment that
 8   inadequate staffing can lead to cutting corners, the lack of adequate staffing is the most
 9   likely explanation for the pre-pouring problem.
10          When asked about specific staffing levels reported by Centurion, Defendant Gann
11   offered some revealing testimony. The Court asked Defendant Gann whether it was within
12   Centurion’s discretion to hire more individuals in a certain position than what the contract
13   specified. (Doc. 4275 at 115). Defendant Gann responded with a general overview of his
14   approach to staffing:
15                 I think that [Centurion] really got into this contract in their best
                   and final offer and they came back six months later and
16                 requested more staff. But you can’t come back six months later
                   and tell me – I’m just speaking --I wasn’t here. But you can’t
17                 tell me six months later you need more staff, and much of it’s
                   clerical related, not clinical . . . and expect the taxpayers to just
18                 go back and alter the contract by over 100 positions.
19
     (Doc. 4275 at 115). In other words, Defendant Gann views the number of contracted
20
     positions as an absolute upper limit. If Centurion determines it needs more staff to provide
21
     adequate care, Defendant Gann is not interested. Rather than looking to the adequacy of
22
     care being provided, Defendant Gann is interested in ensuring the contracted-for staffing
23
     is not exceeded.
24
              In addition to the testimony by Defendants Shinn and Gann, the undisputed
25
     evidence from the time the Stipulation was in effect establishes officials had no interest in
26
27
     38
       This refers to a practice of staff removing medications “from the blister pack” and putting
     them into envelopes for delivery to prisoners in the housing units. (Doc. 4275 at 103).
28   Defendant Gann agreed this was not an acceptable method of medication delivery.


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 1   taking sufficient actions to remedy known problems. During the Stipulation’s life and
 2   beyond (discovery for trial went through September 2021), prison officials repeatedly
 3   claimed they could improve performance on their own. As explained by Dr. Wilcox,
 4   ADCRR identifies Corrective Action Plans allegedly as a mechanism to remedy
 5   deficiencies in health care. But Dr. Wilcox identified CAPs that repeated for months or
 6   years on end without improvement at Eyman (PM 13, PM 40, PM 44, PM 47, PM 52),
 7   Florence (PM 44, PM 50), Lewis (PM 44), Perryville (PM 13, PM 44, PM 51), Tucson
 8   (PM 37, PM 44, PM 47, PM 50, PM 51), Winslow (PM 44), and Yuma (PM 13, PM 37,
 9   PM 40, PM 51). In other words, ADCRR identified problems and identified solutions, but
10   those solutions failed. Instead of trying different solutions, ADCRR simply repeated the
11   already-failed “solutions” for months or years. This is evidence Defendants knew of
12   failures but refused to take meaningful steps to those failures, often for years.
13          The foregoing evidence that Defendants Shinn and Gann knew of significant
14   failures in the health care system builds on a unique aspect of this case involving the
15   Stipulation. Defendants’ failures during the Stipulation are undisputed. After all, the
16   failures were based on Defendants’ own records. Given that, Defendants cannot credibly
17   claim they were unaware of the problems. Thus, Defendants only credible defense is to
18   rely on legal, rather than factual, arguments. Those arguments fail.
19   IV. Defendants’ Legal Arguments are Unavailing
20          One of Defendants’ main arguments against a finding of liability is their belief that
21   the “individual claims” brought by each of the named Plaintiffs fails. (Doc. 4309 at 98).
22   Defendants do not provide a coherent explanation for this approach. In fact, Defendants
23   even argue the named Plaintiffs’ “allegations were not raised in the Complaint.” (Doc.
24   4309 at 98). Defendants seem to believe this litigation consists of determining whether the
25   medical care provided to the named Plaintiffs was constitutional. But this case raises the
26   question of whether Defendants’ policies and practices create a substantial risk of harm to
27   all prisoners. As the Ninth Circuit stated when affirming class certification:
28                  The cases cited in the defendants’ briefs, many of which
                    involve individuals challenging particular instances of medical


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 1                 treatment or conditions of confinement, confirm that they
 2                 (erroneously) view the plaintiffs’ claims as ultimately little
                   more than a conglomeration of many such individual claims,
 3                 rather than as a claim that central policies expose all inmates
                   to a risk of harm.
 4
     Parsons v. Ryan, 754 F. 3d 657, 675 n.17 (9th Cir. 2014). The Supreme Court has also
 5
     stated cases raising “systemwide deficiencies” do not turn on the care provided to a single
 6
     prisoner on any particular occasion.
 7
            In Brown v. Plata, the Supreme Court explained:
 8
                   Because plaintiffs do not base their case on deficiencies in care
 9                 provided on any one occasion, this Court has no occasion to
10                 consider whether these instances of delay-or any other
                   particular deficiency in medical care complained of by the
11                 plaintiffs-would violate the Constitution under Estelle v.
12                 Gamble, if considered in isolation. Plaintiffs rely on
                   systemwide deficiencies in the provision of medical and
13                 mental health care that, taken as a whole, subject sick and
14                 mentally ill prisoners in California to “substantial risk of
                   serious harm” and cause the delivery of care in the prisons to
15                 fall below the evolving standards of decency that mark the
16                 progress of a maturing society.

17   Brown v. Plata, 563 U.S. 493, 505 n.3 (2011). Defendants’ insistence that discrete care
18   provided to particular prisoners forecloses their liability is misplaced. This case is not
19   about the care provided to, for example, Kendall Johnson. While Defendants maintain,
20   absurdly, that the care provided to her did not violate the Eighth Amendment, this case
21   does not turn on whether Ms. Johnson was mistreated. Rather, the question is whether the
22   policies and practices create a risk of harm to Ms. Johnson and all other prisoners. There
23   is no question they do.
24          Defendants also attempt to rely on the Ninth Circuit’s recent decision in Balla v.
25   Idaho, 29 F.4th 1019 (9th Cir. 2022). There, the district court had terminated an injunction
26   that was ongoing since 1984 requiring the Idaho State Correctional Institution to make
27   changes in the areas of food preparation, medical facilities, safety, and many other aspects
28   of prison operations. In the years following the injunction’s issuance, there was lengthy


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 1   litigation over Idaho officials’ compliance with the district court’s orders and an increased
 2   focus on medical care and overcrowding. In 2020, Idaho officials moved to terminate the
 3   injunction, maintaining there was insufficient evidence they remained deliberately
 4   indifferent to the prisoners’ serious medical needs. The district court “found no current
 5   and ongoing constitutional violations” and terminated the injunction.           The plaintiff
 6   appealed, arguing violations were continuing and the injunction should not have been
 7   terminated. The Ninth Circuit affirmed termination of the injunction.
 8          Balla is distinguishable from the present case. Of significance, the plaintiffs’ expert
 9   in Balla was asked by the district judge whether the existing medical care resulted in injury
10   or the unnecessary and wanton infliction of pain. The expert answered, “I don’t know if I
11   can answer that.” Balla v. Idaho State Board of Correction, 2020 WL 2812564, at * 16
12   (D. Idaho May 30, 2020). Here, the evidence of constitutional violations is substantial.
13   Both Dr. Wilcox and Dr. Stewart made clear the current system for the provision of medical
14   and mental health care exposes all prisoners to a substantial risk of serious harm. Their
15   testimony was corroborated by chart reviews by Dr. Murray and Dr. Penn demonstrating
16   systemic deficiencies. Balla does not help Defendants.
17          Defendants offer a case from the Seventh Circuit, Rasho v. Jeffreys, 22 F.4th 703
18   (7th Cir. 2022), where an injunction regarding mental health care in the Illinois Department
19   of Corrections was vacated. The Seventh Circuit found the prison officials did not have
20   the required mental state to show they had acted with “deliberate indifference.” Id. at 710.
21   The Seventh Circuit concluded the prison officials “made reasonable efforts to cure the
22   deficiencies identified” by the plaintiffs.” Id. While those “efforts fell short” of actually
23   correcting the constitutional violation, the Seventh Circuit concluded “reasonable
24   measures,” even if “ultimately unsuccessful,” meant the officials had not acted with
25   deliberate indifference. Id. at 711.
26          It is important to note the extent of the “reasonable measures” undertaken in Rasho.
27   After the suit was filed, prison officials “spent $45 million to build new residential
28   treatment units at several facilities and $75 million to develop a new data system for intake


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 1   assessments; [they] procured another $150 million to construct a new inpatient facility;
 2   [they] delivered mental-health training to [their] entire staff; and [they] hired administrative
 3   personnel to coordinate inmate care.” Id. at 707. There is nothing remotely similar in the
 4   present suit. Defendants did not present evidence of new units being built or of requests to
 5   the legislature for additional funding to ensure better medical and mental health care.
 6   Defendants cannot be viewed as pursuing “reasonable measures” to correct the known
 7   problems.
 8          An additional reason to doubt the applicability of Rasho is that it adopts a view of
 9   prison officials’ obligations that cannot be squared with existing Ninth Circuit law. In
10   Peralta v. Dillard, 744 F.3d 1076, 1083 (9th Cir. 2014), the en banc majority held a prison
11   dentist could not be held responsible for money damages in his individual capacity for
12   staffing conditions over which he had no control. But in prohibiting the award of money
13   damages, Peralta made clear “[l]ack of resources is not a defense to a claim for prospective
14   relief because prison officials may be compelled to expand the pool of existing resources
15   in order to remedy continuing Eighth Amendment violations.” Id. Accordingly, contrary
16   to Rasho’s analysis that ineffective remedies may suffice, Peralta holds that in a suit for
17   injunctive relief prison officials must remedy ongoing constitutional violations of which
18   they are aware. Peralta is binding and it ensures adherence to constitutional standards. In
19   the Ninth Circuit, state officials are not free to engage in ongoing violations of prisoner’s
20   constitutional rights merely because of policy decisions within the state officials’ control,
21   such as funding.
22          To be clear, the Court does not take issue with the uncontroversial principle that
23   prison officials can avoid liability by responding reasonably to a risk, even if the harm is
24   not ultimately averted. But that principle is primarily aimed at situations where the claim
25   is being viewed retrospectively and there is no ongoing constitutional violation to remedy.
26   In injunctive relief suits, it often will not be enough for prison officials to attempt to remedy
27   constitutional violations. They must actually do so.
28          Defendants also rely on Fraihat v. ICE, 16 F.4th 613 (9th Cir. 2021). In Fraihat,


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 1   five immigration detainees with serious underlying medical conditions filed suit claiming
 2   ICE was acting with deliberate indifference to their medical needs and reckless disregard
 3   of known health risks. The plaintiffs claimed they were at increased risk if they contracted
 4   Covid-19 and they sought a nationwide preliminary injunction requiring ICE take actions
 5   to protect them from infection. Id. at 618. The district court certified two nationwide
 6   classes and issued a preliminary injunction that applied to all immigration detention
 7   facilities nationwide. Id. The injunction required ICE identify and track detainees with
 8   certain risk factors, required ICE issue a comprehensive performance standard regarding
 9   Covid-19 issues, and promulgate directives for release of detainees. The court later
10   amended the preliminary injunction to impose more detailed requirements and procedures
11   designed to result in the release of “substantial numbers of detainees from ICE custody.
12   Id. The government appealed.
13          The Ninth Circuit set aside the injunction and held the plaintiffs had failed to
14   demonstrate a likelihood of success on the merits of their claims. Id. It noted the plaintiffs
15   had not sought individualized injunctive relief or relief specific to the conditions where
16   they were housed but had instead challenged ICE’s nationwide Covid-19 directives and
17   essentially asked the district court “to assume control of top-level policies governing ICE’s
18   efforts” to combat the pandemic. Id. The plaintiffs had failed to present evidence of
19   constitutional and statutory violations on a “programmatic, nationwide level.” Id. The
20   Ninth Circuit concluded “the slew of national guidance, directives, and mandatory
21   requirements that [ICE] issued and then frequently updated in the spring of 2020” belied
22   the notion that ICE had acted with “reckless disregard” necessary to support a finding of
23   unconstitutional, system-wide deliberate indifference.
24          Defendants’ reliance on Fraihat is misplaced. The ICE facilities in that case
25   consisted of “a nationwide network of over 250 detention facilities.” Id. at 620. Those
26   facilities differed dramatically from each other:
27          These facilities differ in various ways. ICE owns some of the detention
            facilities; others are operated under contract with state or local agencies or
28
            government contractors. Some of the centers are “dedicated” facilities,


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 1          which hold only ICE detainees, whereas others are “non-dedicated” facilities,
 2          which also hold non-ICE detainees. … Facilities also vary based on who
            provides medical care. Government employees, as part of the ICE Health
 3          Services Corps (IHSC), provide direct medical care at twenty facilities,
            which together hold about 13,500 detainees. The remaining facilities employ
 4
            medical staff that the federal government does not directly employ.
 5
     Id. at 620. This type of analysis does not apply to the present case involving facilities
 6
     owned and operated by ADCRR.
 7
            Prisoners incarcerated in ADCRR’s ten complexes are subject to the same failed
 8
     practices, which expose all of them to a substantial risk of serious harm. Understaffing is
 9
     pervasive at every complex and the manner in which prisoners are assessed is common
10
     systemwide. Moreover, prisoners are routinely transferred between ADCRR’s complexes.
11
     A healthy prisoner at one location might be transferred to another location when he is
12
     diagnosed with an illness or when he needs specialty care. Unlike Fraihat, ADCRR’s
13
     complexes cannot be viewed as meaningfully distinct from each other.
14
            Defendants’ legal arguments are no more persuasive than their factual arguments.
15
     Defendants know prisoners face a substantial risk of serious harm due to the policies and
16
     practices yet Defendants have refused for ten years to take the actions necessary to alleviate
17
     that risk.
18
                              CONCLUSION ON HEALTH CARE
19
            The current policies and practices, of which Defendants are aware, require prisoners
20
     to repeatedly submit requests for treatment, with the response they will be seen on the nurse
21
     line. And while nurses are a vital component of any health care system, they are not
22
     substitutes for physicians, particularly for prisoners who develop serious conditions or
23
     sustain serious injuries (which could be any of them, at any time, in any location). Yet,
24
     despite these risks, Defendants provide no substantial explanation detailing why they have
25
     persisted in pursuing the same policies and practices regarding staffing. In particular,
26
     Defendants have not explained why they refuse to renegotiate the staffing matrix and,
27
     inexplicably, Defendants did not even explain how the staffing numbers were derived in
28
     the first instance.

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 1          Dr. Murray emphasized there is no evidence of indifference from individual health
 2   care staff, and Defendant Shinn noted their “tremendous will to succeed.” (Doc. 4274 at
 3   21:22-22:5). But this case is not about each individual health care provider’s will to
 4   succeed. They are part of a system that is doomed to fail because, from the beginning, it
 5   was not designed to succeed. This case is about whether Defendants have a willingness to
 6   succeed. And Defendants remain deliberately indifferent not because they know about
 7   individual deficiencies in treatment but because they know of the widespread failures to
 8   provide care and still fail to take significant action. This has been evident since the
 9   inception of this action. Defendants’ failure to comply with the Stipulation, failure to
10   undertake meaningful remedial action when their own mortality reviews reflect
11   preventable deaths, and failure to take any meaningful follow up actions to ensure
12   Centurion’s compliance is what transforms their knowledge into conscious disregard of the
13   risk of harm prisoners face.39
14          The fundamental conclusion is that ADCRR prisoners who develop life-threatening
15   medical and mental health conditions are at a significant risk of serious harm. The ones
16   that do develop such conditions may die prematurely, suffer prolonged pain or symptoms,
17   or survive with lifelong disabilities. This risk is applicable to all prisoners because anyone
18   is susceptible to serious injury or illness at any time. Moreover, the medical and mental
19   health care systems are treated as interconnected such that prisoners housed at one location
20   often are transferred to other locations for treatment. No prisoner, at any location, is safe.
21          Defendants’ refusal to acknowledge any shortcomings is foundational to these
22   findings. If Defendants had admitted their obvious errors but attempted to demonstrate
23   that, despite those errors, they were still capable of providing constitutionally adequate
24   health care, that would have required a different analysis. If Defendants had acknowledged
25   deficient care and attempted to demonstrate those were violations of existing policies, that
26
27   39
       Notably, the evidence demonstrates that the individual cases before the Court were the
     product of deliberate indifference to serious medical needs and the root cause of the
28   deliberate indifference were the policies that prevented any substantive treatment of the
     serious medical needs of the individuals.

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 1   would have required a different analysis. Instead, Defendants stubbornly maintain that
 2   there is nothing amiss (other than the need for a new EHR). In a system that produces this
 3   many catastrophic outcomes, where its own health care expert’s chart reviews reflect care
 4   that meets the definition of deliberate indifference, when its mental health care expert’s
 5   chart reviews reflected at least 23.8% of charts reviewed showed seriously deficient or an
 6   outright denial of care, when not one witness could validate the existing staffing allocation,
 7   and when nearly everyone agrees that ADCRR is critically understaffed, it is simply not
 8   possible to draw any other conclusion than the health care delivery system poses a
 9   substantial risk of serious harm to all prisoners. These issues are pervasive at all 10
10   ADCRR complexes. The overarching policies of critical understaffing, nurse-led health
11   care, lack of adequate interpretation services, and a disastrous EHR are system-wide.
12                                   MAXIMUM CUSTODY
13   I.     Subclass Definition and Admissibility of Expert Testimony
14          The Court certified a subclass defined as:
15                 All prisoners who are now, or will in the future be, subjected
                   by the ADC to isolation, defined as confinement in a cell for
16                 22 hours or more each day or confinement in the following
                   housing units: Eyman–SMU 1; Eyman–Browning Unit;
17                 Florence–Central Unit; Florence–Kasson Unit; or Perryville–
                   Lumley Special Management Area.
18   Two aspects of this class definition were subsequently addressed by the Ninth Circuit.
19   First, the definition’s reference to particular locations did not mean all prisoners housed at
20   those locations were automatically members of the subclass. As explained by the Ninth
21   Circuit, “[t]he touchstone for inclusion in the subclass is . . . the amount of isolation
22   experienced by inmates.” Parsons v. Ryan, 912 F.3d 486, 503 (9th Cir. 2018). Thus, the
23   crucial aspect is “the amount of time an inmate is ‘confine[d] in a cell’ each day,” not where
24   the prisoner is housed. Id. Those prisoners “who are confined in a cell for 22 hours or
25   more each day (i.e., inmates who receive less than 14 hours of out-of-cell time each week)”
26   are members of the subclass. Id. This clarification by the Ninth Circuit was important
27   because some of the listed locations, such as Florence-Central and Eyman-SMU I, may
28   house prisoners who receive offers to spend substantially more than 14 hours per week out


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 1   of their cells at varying levels of restrictive housing. Id. at 502.
 2          The second aspect of the subclass definition addressed by the Ninth Circuit was a
 3   prisoner’s choice whether to leave his cell did not dictate membership in the subclass. In
 4   the Ninth Circuit’s view, “[c]onfinement . . . connotes a lack of control whether to leave a
 5   particular place.” Id. Thus, if an inmate is “given an opportunity to participate in out-of-
 6   cell activities,” he “cannot be considered ‘confined’ in a cell during that time even if the
 7   inmate may theoretically decide not to take advantage of the opportunity.” Id. For
 8   example, if a prisoner were “offered 15 hours of out-of-cell time per week for education,
 9   but turn[ed] it down,” he would be excluded from the subclass. Id. This clarification was
10   useful to focus the subclass issues on whether prisoners were being “offered” out-of-cell
11   time. It is “offers,” not whether prisoners accept those “offers,” that matter for determining
12   out-of-cell time.
13          When the Ninth Circuit addressed “offers” for out-of-cell time, it was not asked to
14   address, and did not address, what this Court has previously described as “unreasonable
15   and unattainable offers” for out-of-cell time. (Doc. 3359 at 10). Offers for out-of-cell time
16   conveyed in unreasonable ways or accompanied by unreasonable conditions or
17   consequences could render such offers unavailable such that they cannot be used when
18   determining membership in the subclass; nor can they be used when calculating how much
19   out-of-cell time was available to prisoners. (Doc. 3359 at 9). For example, if a prisoner is
20   offered fifteen hours of out-of-cell time in a given week, but all of the offers are
21   accompanied by unreasonable consequences, the prisoner must be deemed as not being
22   offered any out-of-cell time. Therefore, while recognizing it is “offered” out-of-cell time
23   that matters, “offers” must be reasonable or else the offers are deemed not to have occurred.
24          Understanding the current conditions of confinement experienced by the subclass
25   requires examining Defendants’ numerous policies regarding prisoner classification and
26   placement.    Unfortunately, those policies are complex and difficult to understand.
27   Moreover, those policies routinely bear little resemblance to actual practices. Before
28   considering those policies, however, the Court must address the admissibility and


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 1   reliability of the testimony offered by two of Plaintiffs’ experts.40 Those experts, Martin
 2   Horn and Dr. Craig Haney, testified extensively regarding the policies, practices, and other
 3   conditions of confinement relevant to the subclass. Thus, it is essential to ensure the
 4   admissibility of the experts’ testimony before making factual findings regarding the
 5   subclass.
 6            A. Martin Horn
 7            Martin Horn earned a bachelor’s degree in government from Franklin & Marshall
 8   College in 1969 and a master’s degree in Criminal Justice from John Jay College in 1974.
 9   In 1969, Horn began his career as a New York State Parole Officer. He worked in that
10   position for six years. From 1975 to 1977 he worked as an assistant professor of criminal
11   justice at the State University College in Utica, New York. From 1978 to 1985 he held
12   various positions in the New York State Department of Correctional Services, including
13   serving as Superintendent of the Hudson Correctional Facility. He then became the
14   Director of Parole Operations for the New York State Division of Parole where he served
15   from 1985 to 1991. He was that entity’s Executive Director from 1991 to 1995. He then
16   became Pennsylvania’s Secretary of Corrections until 2000.
17            As of January 1, 2002, Horn became Commissioner of the New York City
18   Department of Probation and, one year later, he became the Commissioner of the New
19   York City Department of Corrections. In that role he was responsible for “literally
20   everything that happened in the agency.” (Doc. 4266 at 135). He was responsible for “the
21   health, safety and welfare of the inmates [and] for the security of the city jails.” (Doc. 4266
22   at 135). He held the two New York City positions until July 31, 2009. Over the course of
23   his career, Horn has published articles, delivered lectures, and testified before state and
24   federal legislative bodies as well as state and federal courts. (Doc. 4166 at 4-6).
25            In preparation for his testimony, Horn visited ADCRR facilities at Eyman and
26   Lewis, and interviewed more than 60 prisoners. (Doc. 4166 at 4). He took photographs to
27   document the conditions. Plaintiffs offered Horn as an expert regarding the conditions of
28
     40
          Defendants did not offer any controverting expert testimony.

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 1   confinement and the operation of prisons. In particular, Horn was offered as an expert in
 2   the appropriate classification and housing of prisoners, including the impact of isolation on
 3   prisoners.
 4          In their post-trial submissions, Defendants summarily argue “Horn does not have
 5   the requisite background, knowledge, or experience to provide opinions regarding the
 6   effects of isolation or other conditions of confinement on ADCRR inmates.” (Doc. 4309).
 7   Without meaningful elaboration Defendants state only that Horn’s “knowledge, skill,
 8   experience, training, or education” are insufficient to provide the opinions he offers.41
 9   Pursuant to Federal Rule of Evidence 702, Horn is qualified because he has sufficient
10   knowledge, training, and experience such that his opinions are admissible. The Court may
11   or may not credit those opinions, but that is irrelevant to the admissibility issue. See
12   Primiano, 598 F.3d 558, 564-65 (9th Cir. 2010) (“Under Daubert, the district judge is a
13   gatekeeper, not a fact finder.”).
14          B. Dr. Craig Haney
15          Craig Haney, Ph.D., is a Professor of Psychology at the University of California,
16   Santa Cruz. (Doc. 4122 at 3). He has a bachelor’s degree in psychology from the
17   University of Pennsylvania, an M.A. and Ph.D. in psychology and a J.D. degree from
18   Stanford University. Dr. Haney describes his area of specialization as “psychology and
19   law” which he defines as “the application of psychological data and principles to legal
20   issues.” (Doc. 4122 at 3). He has published numerous articles and book chapters in law
21   and psychology, with some emphasis on “the nature and consequences of solitary or
22   ‘supermax’-type confinement.” (Doc. 4122 at 3). Dr. Haney has served as a consultant to
23   police departments, the California legislature, and the United States Department of Justice.
24          A special focus of his career has been “the psychological effects of living and
25   working in real (as opposed to simulated) institutional environments, including juvenile
26   41
        Defendants also request the Court make strange findings regarding Horn’s testimony.
     For example, Defendants request the Court find “Horn admits that per ADCRR’s DO 812
27   governing maximum custody management, ADCRR maximum custody inmates are
     offered 7.5 hours a week of outdoor recreation.” (Doc. 4309 at 340). There is no dispute
28   what DO 812 clearly states and it is simply not true that Horn “admitted” prisoners in
     maximum custody were always being offered 7.5 hours each week of outdoor recreation.

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 1   facilities, mainline adult prison and jail settings, and specialized correctional housing units
 2   (such as solitary and ‘supermax’-type confinement).” (Doc. 4122 at 5). In performing his
 3   professional work, he has toured state prison facilities in twenty-nine states, multiple
 4   federal facilities, and international facilities in eight other countries. He has been qualified
 5   as an expert and testified in many state and federal courts. His work has been cited
 6   approvingly by the United States Supreme Court. Brown v. Plata, 563 U.S. 493, 518
 7   (2011).
 8          Dr. Haney has been involved in this case since 2012. Over the years, he has toured
 9   Arizona facilities multiple times and spoken with many prisoners. He often selected
10   prisoners at random but, over the years, he has made efforts to interview the same prisoners
11   previously interviewed if they were still housed in facilities he visits. (Doc. 4122 at 9). He
12   also reviewed medical and mental health records of the prisoners he interviewed. Finally,
13   during his tours he took photographs. During this case, Dr. Haney filed numerous
14   declarations containing his opinions regarding Arizona’s policies and practices. (Doc.
15   4122 at 7).
16          In September 2021, Dr. Haney toured the following housing units: Eyman-SMU I,
17   Eyman-Browning, Lewis-Rast Max, Lewis-Barchey and Morey (medium security units),
18   Lewis-Stiner detention, and Lewis-Sunrise. During these tours, Dr. Haney interviewed
19   approximately 75 prisoners.       Dr. Haney attempted to re-interview prisoners he had
20   previously interviewed but his selection of other prisoners to interview was “quasi
21   random.” (Doc. 4306 at 58). Those interviews did not follow a rigid structure. Rather,
22   Dr. Haney asked each prisoner “what your life is like and how you feel you’re being
23   affected by the conditions and the procedures and your treatment.” (Doc. 4306 at 121).
24   Plaintiffs offered Dr. Haney as an expert regarding the subclass’s conditions of
25   confinement and, in particular, whether those conditions present a substantial risk of
26   serious harm to the subclass members’ mental health.
27          As for Dr. Haney, Defendants again offered the summary argument that he “does
28   not have the requisite background, knowledge, or experience to provide opinions regarding


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 1   the psychological effects of isolation,” without any meaningful detail. (Doc. 4309 at 327).
 2   Given Dr. Haney’s knowledge, training, and experience, this argument is preposterous.
 3   Pursuant to Federal Rule of Civil Procedure 702, Dr. Haney has precisely the qualifications
 4   to testify to the exact subject matter in which he offers his opinions.
 5          Further, Defendants did not bring timely motions to exclude Horn or Dr. Haney and,
 6   therefore, they have waived such challenges. See Skydive Arizona, Inc. v. Quattrocchi, 673
 7   F.3d 1105, 1113 (9th Cir. 2012). The Court finds both Horn and Haney were credible. As
 8   appropriate, the Court will rely on Horn and Haney’s testimony to describe the policies and
 9   conditions of confinement imposed on the subclass.
10   II.    Policies Applied to Subclass
11          Defendants choose where to house prisoners, and the conditions at those locations,
12   using five policies known as “Department Orders” (“DOs”). The five DOs relevant to the
13   subclass issues are DO 801, DO 804, DO 807, DO 812, and DO 813.
14          A. DO 801
15          DO 801 sets forth Defendants’ “Classification Policy.” (Ex. 1309). As explained
16   by Horn, “classification is a term that is used very widely in prisons and jails all over the
17   country” and it is “a fundamental building block of operating prisons and jails that are safe
18   and secure.” (Doc. 4266 at 159). The underlying premise of classification is to identify
19   prisoners who can be placed in “the least restrictive situations” versus those prisoners who
20   must be housed in more restrictive environments. (Doc. 4266 at 159-160). DO 801
21   requires each prisoner be assigned two scores, known as a “Custody Level” and an
22   “Internal Risk Level.” In general, the “Custody Level” “refers to that sort of gross
23   discrimination between minimum custody and maximum custody and gradations in
24   between.” (Doc. 4266 at 163). The “Internal Risk Level” refers to “when an inmate is at
25   a prison, how much independence of movement the inmate can have within that particular
26   [prison].” (Doc. 4266 at 163).
27                     1. Custody Classification
28          DO 801 outlines “four custody levels”: Maximum Custody; Close Custody;


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 1   Medium Custody; and Minimum Custody. (Ex. 1309 at 5). Determining a prisoner’s
 2   custody level requires an individualized analysis using a document titled “Objective
 3   Classification: Custody & Internal Risk Technical Manual.” (Ex. 1310). The criteria used
 4   in this process are:
 5                 (i)      Most serious current offense;
 6                 (ii)     Most serious prior/other offense;
                   (iii)    Escape History;
 7                 (iv)     History Institutional Violence;
 8                 (v)      Gang Affiliation Status; and
                   (vi)     Current Age.
 9
10   (Ex. 1310 at 12). The technical manual assigns numeric “points” for gradations within
11   each of the six criteria. The total number of points is then used to determine the appropriate
12   custody level. For example, an inmate who scores a total of thirty-eight points under the
13   six criteria likely will be assigned to maximum custody while an inmate who scores zero
14   to nine points likely will be assigned to minimum custody. (Ex. 1310 at 60).
15                     2. Internal Risk Level
16          A prisoner’s “Internal Risk Level” is determined based on a process very similar to
17   that regarding custody classification. The same six criteria used to determine the custody
18   level are also used to determine the internal risk level. (Ex. 1309 at 15). And using those
19   criteria, each inmate is assigned one of five risk levels. A score of 5 represents the highest
20   risk and a score of 1 the lowest. (Ex. 1309 at 14-15). There are certain guidelines, however,
21   that impose a particular internal risk level regardless of how the inmate otherwise scores.
22   For example, a minimum custody inmate that has “a current or prior conviction for Murder
23   or Kidnapping” must receive an internal risk level of no lower than 3. (Ex. 1309 at 15).
24          The custody classification and internal risk level scores are meant to address slightly
25   different aspects of each prisoner’s appropriate housing location but, given that they are
26   using some of the same characteristics of each prisoner, the scores often overlap.
27   Moreover, the internal risk level is secondary to the custody level in that a prisoner placed
28   in maximum custody will have his movement drastically limited regardless of his internal


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 1   risk level. (Doc. 4266 at 164).
 2                     3. Overrides
 3          The custody classification and internal risk level scores are both subject to
 4   “overrides.”42 “[O]verrides are basically exceptions,” meant to address situations where
 5   the classification scheme may not be reliable. (Doc. 4266 at 165). For example, there may
 6   be “confidential information that is not reflected in the criminal history or in the crime
 7   itself” that should be considered when deciding how to classify a prisoner. (Doc. 4266 at
 8   165). Overrides are either “discretionary” or “non-discretionary.”
 9          Discretionary overrides that increase custody level are appropriate “whenever the
10   inmate’s behavior or new information indicates increased security measures are
11   appropriate to ensure the safety of the public, staff, and/or other inmates.” (Ex. 1309 at
12   11). Discretionary overrides may be appropriate if an inmate is a high-profile individual,
13   his crimes were “depicted as heinous,” or if there is some “other major reason.” (Ex. 1309
14   at 12). There was no testimony or evidence offered at trial how these determinations are
15   made. For example, there was no explanation which crimes will be deemed “heinous” for
16   purposes of a discretionary override.
17          In addition to discretionary overrides, DO 801 provides for “non-discretionary
18   overrides.” (Ex. 1309 at 6). The non-discretionary overrides impose simple bright-line
19   rules based on particular characteristics. Thus, regardless of how the technical manual
20   would score a death-sentenced prisoner, he must always be classified as either maximum
21   or close custody. (Ex. 1309 at 6). Another non-discretionary override is that an adult male,
22   regardless of crime, who is serving a life sentence must always serve the first two years in
23   maximum custody. This is the default starting point, but reduction to close custody is,
24   allegedly, possible “on a case-by-case basis.” (Ex. 1309 at 6). However, it was undisputed
25   at trial that as a matter of practice, prisoners beginning a life sentence are never eligible to
26   be reclassified until they have served two years in maximum custody. (Doc. 4268 at 49).
27          Defendants’ approach to overrides creates the possibility prisoners will be
28   42
        Pursuant to policy, internal risk level overrides may decrease, but not increase, a
     prisoner’s internal risk level. (Ex. 1310 at 45).

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 1   “overclassifie[d] . . . based on who he or she is or who he or she harmed.” (Doc. 4266 at
 2   169). The classification and override processes also create the situation where a single
 3   characteristic is used repeatedly. For example, escape history is used when calculating a
 4   prisoner’s custody classification as well as his internal risk level. But escape history can
 5   also be used to determine if an override is appropriate. (Doc. 4267 at 8). Defendants
 6   offered no evidence at trial explaining the reason their classification policies use the same
 7   characteristics over and over again. Overall, DO 801 is drafted and implemented with a
 8   strong predisposition towards housing prisoners in very restrictive housing.
 9            B. DO 804
10            DO 804 sets forth Defendants’ “Inmate Behavior Control” policy. (Ex. 1312). DO
11   804 “describes the operation of prison Detention Units as a means to temporarily or
12   permanently separate inmates from the general population to preserve the safe, secure and
13   orderly operation of an institution.” (Ex. 1312 at 3). The policy allows for an inmate to be
14   placed “in detention status” if certain criteria are met.43 There was no evidence offered at
15   trial to explain the exact meaning behind each of the seven criteria for placement in
16   detention status. A Deputy Warden testified DO 804’s reference to “observation status” is
17   implicated when a prisoner is acting strange “but mental health does not place them on a
18   mental health watch.” (Doc. 4273 at 53). That Deputy Warden did not know, however,
19   what “to fulfill disciplinary sanctions” meant because ADCRR allegedly does not have
20
21   43
          Detention may be merited:
22         1. To ensure the safe, secure and orderly operation of the institution/facility.
           2. To ensure the integrity, and pending completion, of an ongoing investigation.
23
           3. While determining eligibility for Protective Custody.
24         4. For observation status, to identify, minimize and intervene in the possibility of self-
              destructive behaviors.
25
           5. Pending institutional review and classification placement, such as pending transfer
26            to a higher custody level.
           6. Pending revocation of parole, work furlough, home arrest, or temporary, mandatory
27            or provisional release.
28         7. To fulfill disciplinary sanctions. (Ex. 1312 at 4).


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 1   “disciplinary detention.” (Doc. 4273 at 54).
 2          Detention status pursuant to DO 804 is technically distinct from being classified as
 3   maximum custody. However, they are very similar in practice. As explained by a Deputy
 4   Warden, “[p]eople who are in detention are treated like they’re in max custody.” (Doc.
 5   4264 at 184-185). In fact, prisoners in detention are treated as having the highest possible
 6   custody classification as well as the highest internal risk level. (Doc. 4264 at 185).
 7          Significantly, pursuant to DO 804, meals for prisoners in detention units should be
 8   provided at the same time, and of the same quality, as meals provided to prisoners in
 9   general population. In addition, DO 804 states prisoners in detention will be given the
10   opportunity to shower three times per week and the opportunity to exercise outside of their
11   cell for two hours on three different days each week. (Ex. 1312 at 5). Thus, if DO 804
12   were followed, prisoners in detention would be offered three showers and no less than six
13   hours of out-of-cell recreation per week.
14          C. DO 807
15          DO 807 is the policy regarding “Inmate Suicide Prevention, Mental Health Watches,
16   and Progressive Mental Health Restraints.” (Ex. 1315). DO 807 sets forth the training
17   requirements for correctional officials regarding suicide prevention and outlines the
18   various types of “Mental Health Watches” an at-risk prisoner may be subjected to when
19   appropriate. For example, depending on a prisoner’s needs, he or she may be placed on
20   “Continuous Mental Health Watch,” “10-Minute Mental Health Watch,” or “30-Minute
21   Mental Health Watch.” (Ex. 1315 at 12-15). Those watches require observation by a
22   correctional officer either continuously or at the specified intervals (i.e., ten or thirty
23   minutes).
24          DO 807 states all prisoners on a mental health watch should be served meals “of the
25   same quantity and nutritional quality as meals served to the general population.” (Ex. 1315
26   at 11). And, “[u]nless determined contraindicated by a licensed mental health professional;
27   [sic] showers, telephone privileges, recreation, and visitation shall be made available to the
28   inmate.” (Ex. 1315 at 12). DO 807 does not state the amount of recreation that should be


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 1   provided to prisoners on a mental health watch.44
 2          D. DO 812
 3          DO 812 is the “Inmate Maximum Custody Management and Incentive System.”
 4   (Ex. 1318). It establishes “a system that requires inmates in Maximum Custody to work
 5   through a program, utilizing a step incentive system, providing the opportunity to
 6   participate in jobs, programs, and other out of cell activities.” (Ex. 1318 at 3). Prisoners
 7   in maximum custody “begin the program in Step I, with Step I being the most restrictive,
 8   and Step III being the least.” (Ex. 1318 at 5). There are many different varieties of
 9   “maximum custody” and some varieties are subject to different limitations.45 For the most
10   common type of maximum custody, a prisoner must spend a minimum of 30 calendar days
11   at Steps I or II before being eligible for advancement to the next step. And prisoners who
12   maintain “Step III for a minimum of 30 consecutive days, without incident, are eligible for
13   consideration for placement in a Close Custody housing location.” (Ex. 1318 at 6). DO
14   812 is effectively a program whereby prisoners in maximum custody are told they can earn
15   their way into more privileges and, eventually, be placed in less-restrictive housing
16   settings.
17          DO 812 specifies the exact privileges for prisoners at each step and those privileges
18   vary slightly based on location. For example, prisoners in the Eyman-Browning unit who
19   are at Step I are allowed one phone call per week as well as one non-contact visit. Prisoners
20   at Step III at the same location are allowed three phone calls per week as well as three non-
21   contacts visits. (Ex. 1318 at 11). The same limits apply to prisoners in the Lewis-Rast unit
22   with the exception that Rast prisoners at Step III are allowed a weekly contact visit. (Ex.
23   1318 at 13). For present purposes, the most relevant aspect of DO 812 involves the amount
24   44
        Prisoners often “go back and forth between [mental health] watch and their maximum
25   custody location.” Those prisoners are called “frequent fliers.” (Doc. 4273 at 110). One
     Deputy Warden knew of “between five and ten” prisoners who have gone back and forth
26   between maximum custody and mental health watch. (Doc. 4261 at 114).
     45
        DO 812 identifies one set of procedures and benefits for the “maximum custody
27   population” and different procedures and benefits for prisoners in “restrictive/enhanced
     status housing program.” (Ex. 1318 at 5). Because the vast majority of prisoners in
28   maximum custody are not in the “restrictive/enhanced status housing program,” the Court
     will focus on the policy’s application to “maximum custody.”

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 1   and type of recreation opportunities each prisoner is supposed to be provided. Pursuant to
 2   DO 812, the table at Appendix 6 identifies the recreation that should be offered to a
 3   maximum custody prisoner at a particular location and at a particular step. The most crucial
 4   aspect of DO 812 is that no prisoner in maximum custody should be offered less than 7.5
 5   hours of recreation per week while prisoners may, some weeks, receive up to 12.5 hours of
 6   recreation in a single week.
 7          When asked at trial about DO 812’s requirements, a Deputy Warden stated, with the
 8   exception of Step II prisoners at Browning, recreation opportunities must be in the
 9   enclosures of the size specified.46 (Doc. 4259 at 104-05). Thus, if DO 812 were being
10   faithfully applied, a general population Step III prisoner at Browning would receive one
11   2.5-hour block in a 20x40 enclosure every month as well as, each week, one 2.5-hour block
12   in a 10x10 enclosure and two other blocks in the standard enclosure or larger. (Doc. 4259
13   at 105). That would mean at least 7.5 hours of out-of-cell recreation every week, some of
14   which would be with other inmates to allow for socialization.
15          DO 812 contemplates “periodic classification reviews of inmates . . . every 180
16   calendar days or less.” (Ex. 1318 at 10). There was testimony explaining how these
17   periodic reviews are conducted at Eyman-Browning as well as Eyman-SMU. At both
18   locations, prisoners have their progression reviewed each month. To accomplish this,
19   officials at both locations hold weekly meetings. (Doc. 4259 at 114, 117; 4273 at 22).
20   Those meetings involve the deputy warden or the associate deputy warden, as well as other
21   correctional officers. (Doc. 4264 at 150; 4273 at 22). Those officials review each prisoner,
22   including that prisoner’s “behavior, their participation in programming, their disciplinary
23   and their overall interactions with staff.” (Doc. 4264 at 150; Doc. 4273 at 22-23). At
24   Eyman-Browning, each meeting lasts approximately 90 minutes, meaning approximately
25   360 minutes are spent on step reviews each month. (Doc. 4259 at 117). That means,
26   because there are 700 maximum custody prisoners at Browning, on average each prisoner
27   is reviewed for approximately thirty seconds each month. At Eyman-SMU, each meeting
28   46
       The Court reached the same conclusion regarding the mandatory nature of the enclosure
     sizes while the Stipulation was in effect. (Doc. 3861 at 10).

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 1   lasts between 30 and 60 minutes, meaning each month there is approximately 240 minutes
 2   spent on reviews. (Doc. 4273 at 23). Again that means, on average, each prisoner is
 3   reviewed for approximately 30 seconds each month.
 4          Given the number of prisoners, the length of meetings, and that the relevant records
 5   can be incomplete and hard to read, it is not possible officials are conducting a careful and
 6   meaningful review of each prisoner each month. DO 812 contemplates step progression
 7   and eventual release from maximum custody but the evidence shows actual operation
 8   establishes DO 812 is not being applied in a systematic and consistent way. Prisoners
 9   sometimes change step levels or are reclassified to lower custody levels but those actions
10   occur almost at random. Prisoners may remain at certain steps for lengthy periods, even
11   though they have not been subject to any disciplinary actions. Prisoners also attain Step
12   III and remain at that step for years. For an egregious example, one prisoner attained Step
13   III in October 2015 and remained in maximum custody, at Step III at least through August
14   2020. (Ex. 1220 at 33).
15          DO 812 contemplates step progression but ADCRR does not calculate how long
16   prisoners spend in maximum custody or how long prisoners spend at each step. (Doc. 4259
17   at 120). A Deputy Warden testified ADCRR does not track these figures, but ADCRR
18   does maintain an electronic database containing information on when a prisoner entered
19   maximum custody, when a prisoner had a change in his step level, and when officials
20   conducted a review of his current step level. (Ex. 1220). The evidence indicates that
21   database is used solely to record relevant dates and events, but ADCRR does not use that
22   data to calculate the amount of time spent in maximum custody or at a particular step level
23   for each prisoner. A conscientious effort to follow DO 812 would, at the very least, require
24   ADCRR have a way of ensuring prisoners progressed through the steps on a timely basis.
25          E. DO 813
26          DO 813 outlines ADCRR’s “Close Management” process.47 (Ex. 1319). When a
27   prisoner participates in one of five identified behaviors, such as being an active participant
28   47
        “Close management” is different from “close custody,” one of the four custody
     classifications.

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 1   in a riot, he may be placed in “Close Management status.” That status is designed for
 2   prisoners “unable to live in general population” but who do not merit “Maximum Custody
 3   placement.” (Ex. 1319 at 3). DO 813 establishes three “phase levels” that prisoners may
 4   advance through but there was no evidence explaining how these phases work. All
 5   prisoners in close management status are eligible for six hours per week of outdoor
 6   exercise. (Ex. 1319 at 11).
 7          F. Summary of Restrictive Housing Policies
 8          Based on Defendants’ classification and housing practices proven at trial, the
 9   following prisoners qualify as subclass members:
10                 (a)    Formally classified as “maximum custody” pursuant to
                          DO 801;
11
                   (b)    Housed in a detention unit pursuant to DO 804;
12
                   (c)    Placed on mental health watch pursuant to DO 807; and
13
                   (d)    Placed in close management status pursuant to DO 813.
14
     III.   Subclass Population
15
            In their post-trial submissions, the parties agree these four classifications cover the
16
     subclass population. Using these four classifications, and the population figures contained
17
     in Exhibit 1304, the subclass consists of the 2,667 individuals reflected in Appendix 7.48
18
     That number is slightly larger than either side offers but it is important to note the exact
19
     number is not crucial. Defendants concede the subclass consists of at least 2,472 prisoners
20
     and that number undoubtedly undercounts to some extent. Moreover, the subclass size
21
     fluctuates as prisoners move in and out of particular classifications or are released from
22
     custody. Thus, the Court will establish 2,667 as the subclass population while recognizing
23
24
     48
        While both parties rely on Exhibit 1304 to calculate the size of the subclass, they have
25   inexplicable disputes regarding the total numbers calculated from that exhibit. According
     to Defendants, Exhibit 1304 establishes there were 1,636 prisoners in maximum custody,
26   750 prisoners on detention status, 81 prisoners on mental health watch status, and 7
     prisoners on close management status. (Doc. 4309 at 346). Thus, Defendants argue there
27   were a total of 2,474 subclass members as of September 30, 2021. Plaintiffs counter that
     Exhibit 1304 shows 1,801 prisoners in maximum custody, 750 in detention, and 22 in close
28   management for a total of 2,573 subclass members. (Doc. 4314 at 90). Plaintiffs do not
     reference prisoners on mental health watch and do not explain the omission.

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 1   the exact number on any given date might be slightly higher or lower.
 2          Beyond disputing the precise number of subclass members, the parties disagree on
 3   the relevant total number of ADCRR prisoners to use when comparing the subclass
 4   population to the entire prison population. Defendants argue the Court should consider all
 5   prisoners “housed in both ADCRR-operated and contract prison complexes.” (Doc. 4315
 6   at 102). Doing so would mean a total prison population of 35,410. Plaintiffs argue the
 7   Court should consider only prisoners in the ten ADCRR-operated facilities, which would
 8   mean a total prison population of 27,794. (Doc. 4314 at 89). Given that this lawsuit
 9   challenges conditions in ADCRR-operated facilities, the population in those facilities will
10   be used. In addition, using the population in ADCRR-operated facilities allows for a
11   helpful comparison between Arizona and other states using one of Defendants’ trial
12   exhibits.
13          Defense exhibit 3530 is a report titled Time-In-Cell 2019: A Snapshot of Restrictive
14   Housing based on a Nationwide Survey of U.S. Prison Systems. The report was published
15   by The Correctional Leaders Association & The Arthur Liman Center for Public Interest
16   Law at Yale Law School. The drafters of that report aimed to provide a statistical overview
17   of the number of prisoners in each state’s prison facilities and the number of those prisoners
18   subject to “restrictive housing,” defined as “in a cell for an average of twenty-two hours or
19   more per day for fifteen days or more.” (Ex. 3530 at ADCRR00231467). The drafters
20   provided a definition for survey respondents to use that excluded individuals in privately
21   run prisons. (Ex. 3530 at ADCRR00231472). At the time of the study, the average
22   percentage of the prison population in restrictive housing across all responding states was
23   3.8%. As for Arizona, it reported a total prison population of 42,312 with 1,934 (4.6%) in
24   restrictive housing. Arkansas reported the highest percentage in restrictive housing of 11%
25   while Colorado, Delaware, North Dakota, and Vermont the lowest percentage of 0%.
26   Arizona’s percentage of 4.6% was the 14th highest. (Id. at ADCRR00231475).
27          Arizona’s prison population decreased significantly since the 2019 report. Now,
28   using the definitions provided by the study’s authors, Arizona has 27,794 total prisoners.


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 1   However, as of 2021 there are more prisoners in restrictive housing (i.e., 2,667) than what
 2   Arizona reported for the 2019 study. Using the current number of prisoners in restrictive
 3   housing and the number of prisoners in ADCRR-operated facilities means Arizona now
 4   has 9.5% of its prisoners in restrictive housing which is over double the 2019 national
 5   average. Because of the high percentage of its prisoners in restrictive housing the Court
 6   agrees with Horn that “the ADCRR overuses isolation. There are more inmates held in
 7   restrictive housing than are necessary.” (Doc. 4166 at 101).
 8          The number of prisoners in maximum custody (1849) and detention (746) dwarf the
 9   number of prisoners on mental health watch (50)49 and close management status (22).
10   Thus, the Court’s findings and analysis will focus on maximum custody and detention. For
11   those two statuses, the manner in which activities are tracked is different and the out-of-
12   cell offers are quite different. The Court will analyze the treatment of these two statuses
13   separately.
14          A.     Maximum Custody50
15                 1.     Classification Policies and Practices Lead to Overclassification
16          Before examining the conditions in maximum custody, it is important to understand
17   how prisoners are classified to see how classification procedures impact operations. As set
18   forth earlier, DO 801 and its related practices and policies are designed such that large
19   numbers of prisoners are classified as maximum custody, even when the prisoner’s
20   characteristics would support a lower custody level. Horn provided examples of the
21   “overclassification” produced by DO 801 and related practices. These examples show how
22   Defendants’ policies and practices result in a large maximum custody population even
23   when officials believe there is no penological justification that supports keeping certain
24   prisoners at that custody level.
25
26   49
        Based on the evidence presented at trial, there likely are even more prisoners who should
     be on mental health watch.
27   50
        Maximum custody and close management are, in effect, the same. The trial evidence
     focused on the manner in which the activities of prisoners in maximum custody were
28   tracked. But it is unclear whether the activities of the prisoners in close management are
     tracked using the same form.

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 1         Prisoner S.C. entered Defendants’ custody on April 1, 2019, to begin serving a life
 2   sentence. (Doc. 4166 at 30). S.C. “scored” for placement in medium custody but,
 3   employing an override, S.C. was recommended to be placed in maximum custody because
 4   he had “currently served less than 2 years on a Life Sentence.” (Doc. 4166 at 31; Exhibit
 5   3611 at 3). S.C.’s placement was reviewed in October 2019. His classification score
 6   recommended minimum custody but he remained in maximum custody because he was
 7   “serving first two years in max.” (Ex. 3611 at 19). S.C.’s placement was reviewed in
 8   March 2020 with identical results. (Ex. 3611 at 17).
 9         S.C.’s placement was reviewed again in October 2020. At that time, an official
10   erroneously stated S.C. had served two years. Based on that, and the lack of any
11   disciplinary history, the official recommended S.C. be reclassified to the lower level of
12   “close custody.” (Ex. 3611 at 15). Two deputy wardens agreed S.C. could be managed at
13   close custody.   The “Classification Administrator,” however, disagreed and, without
14   explanation, decided S.C. was to remain in maximum custody. (Ex. 3611 at 14). For
15   unknown reasons, officials completed forms on May 3, 2021, May 17, 2021, and June 16,
16   2021, recommending S.C. be reclassified to close custody based on his custody score and
17   lack of disciplinary history. (Ex. 3611 at 8-12). All those recommendations were rejected.
18   At some unknown time past the two-year period, S.C. was eventually reclassified to a lower
19   custody level and left maximum custody. Overall, S.C. spent a significant amount of time
20   in maximum custody despite multiple prison officials repeatedly recognizing a maximum
21   custody placement was unnecessary.
22         Another prisoner, S.M., had a similar experience with the classification system.
23   S.M. entered custody on June 14, 2019, to begin serving a life term. He was placed in
24   maximum custody despite his custody scores showing he was eligible for medium custody.
25   (Doc. 4166 at 34). His maximum custody placement was reviewed over the following
26   years, with his custody score not changing, but S.M. remained in maximum custody
27   because of his “sentence structure.” (Doc. 4166 at 34). In June 2021, his placement was
28   reviewed, and his scores justified minimum custody placement.               But officials


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 1   recommended he be transferred to close custody which occurred on July 15, 2021. (Doc.
 2   4166 at 35).
 3             Regarding S.C. and S.M., Horn stated “there was no penological justification” for
 4   keeping both in maximum custody for two or more years. (Doc. 4166 at 33, 35). Horn
 5   further opined, in his “experience and [] opinion,” there was no penological justification
 6   for the policy that all life-sentenced prisoners spend the first two years in maximum
 7   custody. (Doc. 4267 at 26). Horn was unaware of any prison system that has a similar
 8   requirement. (Doc. 4267 at 27). The only penological justification offered by Defendants
 9   for this policy was from Director Shinn who testified, without elaboration, the policy was
10   “[t]o prevent harm in our facilities.” (Doc. 4274 at 69). And when Director Shinn had
11   been asked for the penological justification behind the policy at his deposition, he
12   responded “I don’t have that information with me.” (Doc. 4274 at 70). Director Shinn’s
13   attempted justification was not credible given the documented instances of other
14   correctional officials concluding individuals subject to the policy could safely be housed
15   at lower custody levels (even minimum custody). In other words, officials with actual
16   knowledge of the prisoners’ behavior and risks believed the prisoners could be housed at
17   lower custody levels without presenting a risk of harm.
18             Horn highlighted problems with other classification policies of Defendants. A
19   prisoner, V.S., entered custody in August 2018, but the records regarding him were
20   incomplete and reflected he was reclassified (maximum, close, medium) over a three-year
21   period. (Doc. 4166 at 40). In July 2020, V.S.’s custody scores reflected medium custody
22   and medium risk. But in September 2020 V.S. told officials he “did not feel safe” in the
23   housing unit where he was living. (Doc. 4166 at 40). V.S. was then “approved for
24   maximum custody because of ‘exhausting all other housing options.’” (Doc. 4166 at 41).
25   As correctly observed by Horn, “[n]ot being able to figure out how to keep a medium
26   security inmate safe is not a justification for placing that person into isolation.” (Doc. 4166
27   at 41).
28             Horn also referenced an inmate, J.J., who in 2012 committed a serious violation by


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 1   kidnapping an individual working at the prison for a private contractor and holding her
 2   hostage for 30-40 minutes. (Doc. 4166 at 36). As a result, J.J. was placed in maximum
 3   custody. His file included a note that he was “not to be removed from max custody without
 4   approval from the [Offender Standards Bureau Administrator].” (Doc. 4166 at 36). Over
 5   the following years, J.J.’s placement was reviewed and, while his scores reflected “medium
 6   custody and medium internal risk,” he remained in maximum custody. Based on how
 7   Defendants’ policies operate, despite that the 2012 kidnapping offense was included when
 8   calculating J.J.’s custody scores, he still scored the lower medium custody. (Doc. 4267 at
 9   39). In April 2018, a classification officer stated J.J. had remained “disciplinary free since
10   2012” and he had “shown the ability to be managed at a lower custody unit.” (Ex. 3616 at
11   64). J.J.’s custody scores at that time reflected medium custody and medium internal risk.
12   The officer recommended J.J. be transferred to close custody. That recommendation was
13   rejected, J.J. remained in maximum custody, and, at the time of trial, J.J. was still in
14   maximum custody.51
15          While acknowledging the seriousness of J.J.’s 2012 offense, Horn stated there was
16   “no rational basis for keeping [J.J.] in maximum custody” given the nine subsequent years
17   of good behavior. (Doc. 4166 at 38). Defendants offered no evidence of a penological
18   justification for keeping J.J. in maximum custody despite his custody scores and the
19   recommendation by officials to reclassify him. Instead, Defendants merely stated, without
20   record citation, that “J.J. poses a substantial risk of harm to staff and thus his classification
21   is justified” despite their own internal seemingly valid recommendation that J.J. could be
22   reclassified. (Doc. 4315 at 144).
23          Horn cited a similar situation involving inmate T.A. While in a lower custody level,
24   T.A. received six disciplinary tickets and, in June 2019, he was reclassified to maximum
25   custody. (Doc. 4166 at 38-39). In June 2020, a classification officer stated T.A. had
26   “shown great improve[ment,] he can be managed at close custody.” (Ex. 3671 at 14). T.A.
27   51
        The records indicate J.J.’s offense was sometimes noted as having occurred in 2015
     instead of 2012. Horn noted the failure to keep accurate records could lead to
28   overclassification because offenses may appear more recent than the reality. (Doc. 4267
     at 33-34).

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 1   was approved to be reclassified as close custody on July 15, 2020. (Ex. 3671 at 14).
 2   Despite the reclassification, T.A. remained in maximum custody. T.A. subsequently
 3   committed another violation in April 2021 that again triggered maximum custody status.
 4   That violation was based on an incident where T.A. refused to return handcuffs after he
 5   was in his cell. (Ex. 3671 at 30). If T.A. had been treated according to his classification
 6   in “close custody,” he would not have been restrained and the disciplinary incident would
 7   not have occurred.
 8          Regardless of the April 2021 disciplinary charge, T.A. was meant to leave maximum
 9   custody in July 2020 but, inexplicably, he remained in maximum custody for the following
10   nine months. Horn accurately described this situation as “evidence of the irrationality and
11   unfairness of maximum custody in ADCRR.”              (Doc. 4166 at 39).      During cross-
12   examination, defense counsel asked Horn if he was aware that, as of the time of this trial,
13   T.A. had been classified and was being housed in a close custody unit. (Doc. 4268 at 59).
14   Why defense counsel thought it helpful that T.A.’s placement as of November 2021 had
15   changed was not explained. Horn’s point was that T.A. had remained in maximum custody
16   for months after being reclassified. The reclassification of T.A. just in time for trial shows
17   consciousness of guilt.
18          A final aspect of how DO 801 is being implemented involves prisoners who are
19   classified as maximum custody, and subsequently classified to a lower level, but remain
20   housed in maximum custody. The Deputy Warden at Eyman SMU, Lori Stickley, testified
21   there are many prisoners currently housed in maximum custody at that location who have
22   already been reclassified to a lower level and were merely waiting for “beds [to] become
23   available.” (Doc. 4264 at 192). At trial, Stickley testified there were approximately 150
24   prisoners in maximum custody at Eyman SMU who had not been classified as maximum
25   custody. (Doc. 4264 at 193). Stickley did not know how long those prisoners had been
26   waiting to be moved. The Deputy Warden at Eyman Browning, Travis Scott, testified there
27   were 44 prisoners at that location “that were currently waiting to go to a close custody unit”
28   but space was unavailable. (Doc. 4264 at 148-149). Scott did not know how long those


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 1   prisoners had been waiting. (Doc. 4264 at 172). Added together, Eyman SMU and Eyman
 2   Browning established approximately 200 prisoners being held in maximum custody despite
 3   officials conceding they should not be there.
 4          Overall, DO 801 and its related policies and practices provide a mechanism for the
 5   classification of prisoners as maximum custody and housed in these restrictive settings
 6   without penological justification and even when DO 801 is correctly implemented and
 7   prisoners are reclassified to lower custody levels, they may well not leave maximum
 8   custody. In short, Defendants keep hundreds of prisoners in maximum custody housing
 9   despite all prison officials admitting there is no penological justification for doing so.
10          The Court does not question the wisdom or lawfulness of Defendants’ policies
11   regarding classification of prisoners and where prisoners are housed. Defendants may well
12   have the authority to automatically place prisoners in maximum custody for the first two
13   years of a life sentence, regardless of that prisoner’s custody score. The basic wisdom of
14   such a policy is not before the Court. However, the specific operation of the policies
15   regarding who is placed in restricted housing are crucial to assessing the conditions
16   imposed on the subclass. In particular, the policies and implementation of them regarding
17   the subclass population establish the subclass does not consist solely of uniquely dangerous
18   individuals. At trial, defense counsel suggested prisoners in maximum custody or other
19   restrictive housing units are there because they were too dangerous to house anywhere else.
20   (See Doc. 4263 at 41; Doc. 4268 at 54). That is simply not true for all subclass members.
21   Defendants’ own policies show many subclass members do not present such dangers. In
22   fact, many subclass members are not even formally classified as “maximum custody”
23   prisoners. Yet these subclass members remain in restrictive housing.
24                 2.     Subclass Custody Conditions
25          The two maximum custody housing locations with the largest populations are
26   Eyman-SMU I (“SMU”) and Eyman-Browning (“Browning”). Altogether, SMU and
27   Browning house approximately 1,300 members of the 2,667 subclass members.52 Plaintiffs
28   52
         At trial, Deputy Wardens testified Browning usually houses approximately 700
     prisoners while SMU houses over 500. (Doc. 4259 at 92; 4264 at 179).

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 1   provided significant detail regarding these units. The descriptions of other facilities was
 2   not as detailed. Thus, the most detailed factual findings regarding physical conditions and
 3   general practices relate to SMU and Browning. There is sufficient evidence to make
 4   limited factual findings regarding other locations.
 5                        (a)    SMU and Browning
 6          Plaintiffs’ experts testified there may be “subtle differences” between SMU and
 7   Browning but, in general, “[t]hey feel the same when you enter them.” (Doc. 4306 at 43).
 8   SMU and Browning are “very severe, dehumanizing units.” (Doc. 4306 at 42). The units
 9   were “designed to be maximally controlling” and are “maximally depriving” in practice.
10   (Doc. 4306 at 42).
11          The cells in these units are “less than 8 feet by 12 feet” and do not have windows.53
12   (Doc. 4306 at 42; 4122 at 61). Inside the cells are “a bare concrete box with a metal stool,
13   shelf, toilet/sink and either a single or double slab for a bed.” “The doors to the cells have
14   no windows but are made of perforated steel.” (Doc. 4122 at 61). Thus, the only natural
15   light in the units comes from “gritty skylights in the ceiling outside the cells.” (Doc. 4122
16   at 60). The cells “have 24-hour illumination” and prisoners often cover the light. (Doc.
17   4122 at 52). The constant illumination makes it “difficult to sleep.” (Doc. 4263 at 44).
18   The lack of natural light, combined with the constant illumination, “adds to [the]
19   disorienting nature of the conditions.” (Doc. 4122 at 52).
20          Evidence was not offered regarding the limitations on personal property for
21   prisoners in these units other than that, when they are brought to the Browning “intake”
22   unit, prisoners initially do not have any property. Officials “try” to get prisoners their
23   property “in the first week” of arriving. (Doc. 4264 at 139).
24          The cells in these units are “infested with insects, roaches and crickets, and infested
25   also with rodents.” (Doc. 4306 at 44). During his visit, a prisoner showed Dr. Haney a
26   rodent the prisoner had captured. (Doc. 4306 at 44). There is also mold growing on the
27   53
       The cells for subclass members were estimated at trial to be approximately 80 square
     feet. (Doc. 4268 at 90). Defense counsel hinted the cells are between 88 and 89 square
28   feet. (Doc. 4268 at 90). It is undisputed the cells are somewhere between 80 and 90 square
     feet.

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 1   walls throughout the SMU unit.54 Dr. Haney encountered “a large puddle of musty-
 2   smelling and moldy water outside one person’s cell that came from a leak inside.” (Doc.
 3   4122 at 60). Overall, the “cells give a sense of being entombed in a small, concrete box”
 4   and are “barren, stark, and . . . dehumanizing.” (Doc. 4122 at 61; Doc. 4306 at 42).
 5          The cells have slots through which food trays are passed. Those food trays are
 6   “worn and dirty.” (Doc. 4122 at 59). Prisoners are supposed to be fed twice per day. (Doc.
 7   4273 at 55-56). This is not consistent with general industry practice, which suggests
 8   prisoners should receive three meals a day, at “regular mealtimes,” including two hot
 9   meals. (Doc. 4166 at 77). Around 4 or 5 in the morning, prisoners receive a “mega sack”
10   containing breakfast and lunch. (Doc. 4273 at 64-65). A mega sack is “mostly bread and
11   served cold.” (Doc. 4166 at 77). A mega sack may also contain milk, but if it is not
12   consumed immediately, the milk will likely curdle. (Doc. 4166 at 77). Prisoners are
13   supposed to receive a “hot dinner.” (Doc. 4273 at 64); (Doc. 4278 at 29). The meals are
14   “repetitive, unappetizing, and insufficient.” (Doc. 4166 at 77). Prisoners “remain hungry
15   most of the time.” (Doc. 4122 at 52); (Doc. 4263 at 65) (prisoner testified he did not receive
16   enough food while at SMU I). Prisoners often must supplement their meals by purchasing
17   food, if they have funds to do so.55 (Doc. 4166 at 77). The Warden of one complex, who
18   had years of experience in maximum custody units, testified the “top complaint” made by
19   prisoners was about “food, commissary.” (Doc. 4278 at 36). In particular, prisoners
20   complain “they’re not getting the portions of food they’re supposed to be getting.” (Doc.
21   4278 at 36).
22          Prisoners in these units must be strip searched each time they leave their cells. (Doc.
23   4259 at 100). When out of their cells, most of the prisoners in Browning (and presumably
24   SMU as well) must be handcuffed behind their backs and escorted by one officer. (Doc.
25   4259 at 99). However, if the prisoner is housed in a cell with another prisoner, two officers
26   are required to remove the prisoner from the cell and to return him to the cell. (Doc. 4259
27   54
        The showers at both units also have mold growing in them and are in a state of
     “disrepair.” (Doc. 4306 at 46).
28   55
        One prisoner testified he was unable to buy additional food because he could not afford
     to do so. (Doc. 4263 at 65-66).

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 1   at 99). Some prisoners must be escorted by three officers and wear leg irons and handcuffs
 2   in back. (Doc. 4259 at 100).
 3          Prisoners in these units have effectively no regular social contact. The only “regular
 4   contact” prisoners have are “the brief, routinized ‘interactions’ that occur twice a day, when
 5   they receive their meals,” assuming prisoners are fed that day. (Doc. 4165 at 53). Prisoners
 6   may have some contact with mental health staff, but that contact is rare. (Doc. 4165 at 53).
 7   For prisoners who are visited by mental health staff, those visits may occur through “cell-
 8   front encounters.”     Such encounters are not confidential and prisoners are often
 9   uncomfortable talking about their issues. (Doc. 4306 at 74). If a prisoner requests a
10   “confidential, private setting,” he will be taken to a small room and placed in a “small
11   telephone booth-like cage, still in restraints.” (Doc. 4122 at 47). Maximum custody
12   prisoners are reluctant to request these individual sessions because they must be strip
13   searched before leaving their cells, placed in restraints, and placed in the cage, still in
14   restraints. The treatment cage is “obviously inhospitable” and it makes it “difficult” for a
15   prisoner to “relax and develop rapport or express their . . . deep psychological concerns or
16   fears or issues.” (Doc. 4306 at 73).
17          In these units, a housing area, also known as a “pod” or “run,” refers to an area
18   comprised of “10 cells, five stacked on top of five.”56 (Doc. 4259 at 90-91). The term
19   “cluster” refers to a group of pods. (Doc. 4259 at 91). Browning has six pods in each
20   cluster and there are twelve clusters. (Doc. 4259 at 91). Each cluster has a “control room”
21   that is intended to be staffed by an officer. Officers in control rooms are responsible for
22   opening the doors in the cluster and documenting when certain activities occur. (Doc. 4261
23   at 120).
24          At the end of each pod is a recreation enclosure known as “the chute.” (Doc. 4259
25   at 96). Each chute is “approximately 11 feet by 24 feet, with solid concrete enclosure walls
26   approximately 15 feet high with a covering of metal mesh over the top.” 57 (Doc. 4122 at
27
     56
        Some pods may have eight cells “four on the lower tier, four on the top tier.” (Doc. 4273
28   at 95).
     57
        Chutes are “probably the size of at least two cells, maybe larger.” (Doc. 4267 at 46).

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 1   62; Doc. 4259 at 96). A chute has “no exercise equipment in it, it’s just sort of a barren
 2   area that [the prisoners] are allowed to go out in.”58 (Doc. 4306 at 42). There is very little
 3   breeze and, during warmer months, entering the chute “feels like stepping into an extremely
 4   hot sauna” and the chutes have insects in them. (Doc. 4122 at 62; Doc. 4306 at 45).
 5            In addition to the chutes, there are recreation areas known as the “10 by 10s,” a “20
 6   by 40” enclosure, and a “50 by 90” enclosure. (Doc. 4264 at 152). The 10 by 10s are
 7   approximately ten “individual recreation cages.” (Doc. 4122 at 63). Those cages are
 8   roughly the same size as a cell. (Doc. 4306 at 76). The cages have shaded portions and
 9   there is a misting system. (Doc. 4264 at 153). When viewed shortly before trial, the cages
10   appeared to have been unused for a lengthy period, with some doors open and “rusted in
11   place.” (Doc. 4122 at 63). During four days of touring units in 2021, Dr. Haney did not
12   observe the outdoor exercise cages being used. (Doc. 4264 at 57). Prisoners prefer the 10
13   by 10 enclosures to the chute because the 10 by 10s allow them to socialize.
14            The 20 by 40 enclosure has a basketball hoop and the 50 by 90 enclosure has a
15   basketball hoop, a table, and an area for exercises such as pull-ups and push-ups. (Doc.
16   4264 at 152). There are water jugs available at some of the enclosures. (Doc. 4264 at 153).
17            Per ADCRR policy, officers are required to conduct periodic health and welfare
18   checks, also known as “security checks” or “living, breath flesh checks” when prisoners
19   are in their cells.59 Those checks require an officer to walk through a pod to determine if
20   there are problems with the facilities (e.g., doors working) and to ensure the safety of the
21   prisoners. (Doc. 4273 at 33). As explained by one Deputy Warden, these checks require
22   an officer “look inside of a cell” and determine if the prisoner is “alive” and “breathing.”
23   (Doc. 4265 at 29). Current policy requires these checks be performed every 30 to 59
24   minutes, at irregular intervals. (Doc. 4273 at 34). Previously, these checks were required
25   to be performed every 30 minutes, but because of low staffing it has been reduced. (Doc.
26   4273 at 34-35). The industry standard is that prisoners in housing of this sort be observed
27   twice per hour. (Doc. 4166 at 81).
28   58
          Dr. Haney did observe “a small, blue handball” in one enclosure. (Doc. 4122 at 62).
     59
          The phrase “living, breathing flesh” is used in the formal policy. (Ex. 1742 at 1).

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 1          In addition to ADCRR adopting a policy permitting checks far less often than
 2   industry standards, records establish that when the checks do occur, they are often
 3   performed in remarkably little time. For example, a security check in a pod consisting of
 4   8 or 10 cells may take only one minute. (Doc. 4273 at 38). According to one Deputy
 5   Warden, an officer spending only one minute on a security check was not cause for
 6   concern. (Doc. 4273 at 95). However, given the need to stop at eight or ten cells to
 7   determine the status of each prisoner and the need to climb the stairs to the upper tier, a
 8   one-minute status check would be exceptionally cursory.
 9          The staffing levels at SMU and Browning are far below what prison officials
10   acknowledge as necessary to operate the units safely. The Deputy Warden for Browning
11   stated Browning has about 60% of the staff it needs. (Doc. 4261 at 115). The Deputy
12   Warden for SMU agreed that some necessary positions and tasks are performed only
13   because existing staff are willing to work overtime. (Doc. 4273 at 33). Plaintiffs cited the
14   “Daily Post Sheet” for Browning on July 30, 2021, to illustrate staffing levels. Based on
15   the Deputy Warden for Browning’s reaction to this record, the day did not reflect an
16   unusual level of staffing.
17          The “Daily Post Sheet” identifies each “required post” where a single officer should
18   have been assigned. (Ex. 2131). The Deputy Warden for Browning described each of
19   these posts as “critical.” (Doc. 4261 at 117). On July 30, 2021, there was a total of “33
20   posts collapsed.” “Collapsed means that the post wasn’t staffed by a single person . . . or
21   there wasn’t one person assigned to that post.” (Doc. 4261 at 123). The sheet shows no
22   officer was assigned to a variety of positions. Four officers should have been assigned as
23   “Recreation Escort.” There were none. Seven officers should have been assigned as
24   “Mental Health/Medical Programs.” There was one. Four officers should have been
25   assigned to “Recreation Officer.” There was one. Six officers should have been assigned
26   to “Rover.” There was one. Finally, there was supposed to be an officer assigned to each
27   of the twelve control rooms. (Ex. 2131). There were seven officers assigned to control
28   rooms, leaving five control rooms unstaffed. But according to Defendants the control


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 1   rooms were not actually unstaffed because officers are assigned to multiple control rooms
 2   at once. (Doc. 4264 at 162). A single officer may be assigned to two control rooms during
 3   the day, and, at night, a single officer may be assigned to six control rooms at the same
 4   time. (Doc. 4264 at 176). With a control room in each cluster, and each cluster including
 5   six pods of 10 cells each, an officer in a control room is intended to be responsible for the
 6   housing area of 60 prisoners. When a single officer is assigned to six control rooms, that
 7   officer is responsible for the housing area of 360 prisoners. Inadequate staffing of control
 8   rooms happens “every day.” (Doc. 4264 at 162).
 9                        (b)    Lewis
10          Dr. Haney visited the Lewis complex which houses approximately five hundred
11   subclass members. While there, he toured the Rast unit (maximum custody), the Barchey
12   and Morey units (not maximum custody), the Stiner detention unit (maximum custody),
13   and the Sunrise unit (juveniles). (Doc. 4306 at 41). The cells in the Rast unit are similar
14   to those found at SMU and Browning. That is, the cells are “stark and largely barren,”
15   with no window. (Doc. 4306 at 47). Similar to SMU and Browning, being housed in the
16   Rast unit subjects prisoners “to profound levels of deprivation.” (Doc. 4122 at 65).
17          The Stiner detention unit is “a very stark, oppressive environment.” (Doc. 4306 at
18   47). Unlike many other prisons, the Stiner detention unit does not have a day room or a
19   common area where prisoners are allowed out of their cells to socialize. (Doc. 4306 at 47-
20   48). However, at least some of the cells in this unit have a window. (Doc. 4122 at 67).
21   The cells have a single or double bunk. (Doc. 4306 at 49).
22          The Sunrise unit houses juveniles. That unit consists of “windowless cells built of
23   concrete blocks, with solid doors with one small window in the door.” (Doc. 4122 at 67).
24   One cell photographed by Dr. Haney shows a bunkbed, a sink, a toilet, and a small seat
25   which is bolted to the ground. The hallway has no natural light. Instead, it is lit only by
26   fluorescent lights. (Doc. 4122 at 67).
27                        (c)    Other Locations
28          Plaintiffs’ experts toured the locations housing approximately 1800 subclass


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 1   members. Those experts did not tour the other locations housing the remaining subclass
 2   members,60 most of which consisted of the mental health watch or detention units at smaller
 3   facilities. (Doc. 4315 at 104). Defendants argue the failure to tour, and present evidence
 4   describing, every location means Plaintiffs have “provided no evidence regarding
 5   conditions of confinement at” the facilities not toured. (Doc. 4315 at 104). Defendants
 6   even seem to fault Plaintiffs’ experts for not touring and interviewing subclass members at
 7   locations such as the Florence Globe Unit and the Winslow Apache Unit. (Doc. 4315 at
 8   104). But as of September 30, 2021, those units were empty. Complaining that the experts
 9   did not tour empty units is not the only problem with Defendants’ argument regarding the
10   conditions of confinement at every location.
11          Class actions often involve, to some degree, an amount of “representative
12   evidence.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 455 (2016). Here, there is no
13   evidence regarding the precise physical layout of cells at some of the facilities nor is there
14   evidence regarding the exact recreation enclosures at those facilities. However, the precise
15   physical layout or exact recreation enclosures are not the core issues in this case. Rather,
16   it is the amount of out-of-cell time offered to subclass members and whether the amount
17   of isolation experienced by subclass members creates a substantial risk of harm. Resolving
18   those issues will require examining the policies and practices applied to all subclass
19   members. The evidence at trial established that, as a matter of systemwide practice,
20   subclass members are treated the same regardless of exact location. That is, the policies
21   and practices applied to subclass members are the same at the toured facilities as well as
22   the facilities not toured. To satisfy their burden of proof, Plaintiffs were not required to
23   present evidence and proof of every cell and every prisoner. Instead, Plaintiffs established
24   through testimony and corroborating evidence the same practices apply throughout the
25   system.   In fact, Defendants did not even dispute this point during trial nor offer
26   countervailing evidence. For example, Defendants did not present evidence the policies
27   and practices differed across facilities.     Accordingly, less evidence regarding some
28   60
        The eight facilities that house subclass members but were not toured immediately prior
     to trial are Douglas, Florence, Perryville, Phoenix, Safford, Tucson, Winslow, and Yuma.

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 1   locations does not overcome the preponderance of evidence establishing subclass members
 2   are treated the same.
 3                 3.        Maximum Custody Tracking
 4          The activities of prisoners in all maximum custody units are tracked using a form
 5   titled “Maximum Custody Daily Out-of-Cell Time Tracking.” (Ex. 1290). That form is
 6   meant to reflect a prisoner’s activities on a weekly basis. It requires officers fill in when a
 7   prisoner is offered recreation, the size of the enclosure where the recreation would take
 8   place, if the prisoner refused the offer, and, if the prisoner accepted the offer, the time spent
 9   at recreation. The form also requires officers document if the prisoner was offered and
10   attended other out-of-cell programs or classes. Finally, if the prisoner was categorized as
11   Seriously Mentally Ill, the form requires officers track any additional hours of out-of-cell
12   time. (Ex. 1290). During the life of the Stipulation, the forms for twenty randomly selected
13   prisoners in maximum custody units were compiled monthly into what the parties refer to
14   as “maximum custody notebooks.”61 (Doc. 4264 at 126).
15          The forms purport to indicate the total amount of out-of-cell time offered to each
16   inmate. But they do not. The form requires officers track all out-of-cell time that was
17   offered, accepted, refused, or canceled. The out-of-cell time that was canceled, however,
18   was still counted when determining the total amount of time offered to inmates. For
19   example, the form found at page 112 in Exhibit 1681 identifies the prisoner as having been
20   “offered” four, three-hour recreation periods during that week. Two of those offers
21   allegedly were made but refused by the prisoner. The other two offers, however, were
22   accompanied by a “C” notation, indicating those recreation periods were canceled. A
23   separate form indicates those recreation periods were canceled “due to staff shortage.” (Ex.
24   1681 at 41). Despite those cancelations, the bottom of the form states the prisoner was
25   offered a total of 12 hours of out-of-cell time. This consciously-adopted practice of
26   counting out-of-cell time that was not offered was the result of Defendants’ inexplicable
27   61
       Those notebooks contained a variety of other documents as well, such as reports
     explaining which activities were canceled. (Ex. 1681 at 2). Each notebook contains
28   hundreds of pages. For example, the June 2021 notebook for Eyman-Browning contains
     302 pages. (Ex. 1681).

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 1   interpretation of the Stipulation.
 2          The Stipulation required Defendants provide specific amounts of out-of-cell time.
 3   The Stipulation also provided:
 4                   If out of cell time . . . is limited or cancelled for legitimate
                     operational or safety and security reasons such as an
 5                   unexpected staffing shortage, inclement weather or facility
                     emergency lockdown, Defendants shall make every reasonable
 6                   effort to ensure that amount of out of cell time shall be made
                     up for those prisoners who missed out of cell time.
 7
 8   (Doc. 1185 at 10). Defendants unilaterally, without Court authorization, interpreted this
 9   provision favorably as allowing them to include out-of-cell time canceled because of
10   chronic staffing shortages when determining the total amount of out-of-cell time offered to
11   inmates. In other words, a prisoner such as that found at page 112 of Exhibit 1681 was
12   documented as being offered 12 hours of out-of-cell time, even though it is undisputed the
13   prisoner was offered, at most, 6 hours. At trial a Warden explained ADCRR interpreted
14   the Stipulation such that if a particular “cancelation was because of poor staffing that day
15   and they did not have the staff to complete that class,” it was to be included in the total
16   recorded out-of-cell time offered. (Doc. 4277 at 132). If, however, the “staff just didn’t
17   want to do [the class or activity], that’s not acceptable,” and the time could not be included
18   as out-of-cell time.62 (Doc. 4277 at 132).
19          In February 2021, the Court by Order made clear Defendants could not rely on
20   chronic “staff shortages” to justify cancellations of out-of-cell time. (Doc. 3861 at 9-10).
21   However, as of June 2021 just prior to the repudiation of the Stipulation, Defendants were
22   still invoking longstanding staff shortages as the reason for cancellation of some recreation
23   and still counting non-existent recreation offers when determining the total amount of out-
24   of-cell time.    The fact that Defendants unilaterally decided indisputably unavailable
25   recreation time should be counted as “offered,” is a blatant illustration of how, throughout
26
     62
       Deputy Warden Stickley also testified about the practice of counting out-of-cell time that
27   was canceled. (Doc. 4273 at 48). She explained such time “counted” because it was not
     ADCRR that decided to cancel the class. Instead, “Centurion did not have the staff
28   available to teach the class.” (Doc. 4273 at 94). But Centurion is ADCRR’s chosen agent
     to uphold ADCRR’s commitments.

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 1   the ten years this case has been pending Defendants have not in good faith undertaken their
 2   obligations under the Stipulation, or compliance with Court Orders.
 3             Given the manner in which Defendants calculated out-of-cell time, the numbers
 4   reflected on the maximum custody records for total out-of-cell time are inaccurate. To
 5   correct for Defendants’ obvious miscalculation regarding the amount of out-of-cell time
 6   offered, Plaintiffs presented a summary document that compiled the information contained
 7   in maximum custody notebooks from four locations from 2019 through 2021.63 (Ex. 1980).
 8   That document calculated the amount of recreation allegedly offered to prisoners, i.e.,
 9   canceled recreation was excluded. This summary document establishes a few critical
10   points.
11             First, it establishes the total amount of weekly recreation allegedly offered to
12   prisoners at the summarized locations from 2019 through 2021 varied from zero to over
13   twelve hours.64 For the most part, however, the total recreation allegedly offered to
14   prisoners was between five and ten hours.
15             Second, the summary establishes recreation was routinely offered only in the
16   “chute” or standard enclosure. For example, in Browning and SMU for the monitored
17   week in January 2021, the only recreation offered was in the chute. (Ex. 1980 at 4-5).
18   Thus, even before any Covid-based limitations, the chute was offered most of the time.65
19             Third, the rate at which prisoners were recorded as refusing offers for recreation
20   was high, often so high as to render it impossible the recreation offers were legitimate. The
21   table below shows the total recreation refusal rates at four units across ten points in time
22
23
     63
        One of the locations included in the summary, Florence-Kasson, was closed in September
24   2021. (Doc. 4277 at 113). While the conditions at Florence-Kasson are no longer at issue,
     the information regarding conditions in that unit are included to provide additional
25   evidence that practices are similar across multiple facilities.
     64
26      Eyman-Browning shows multiple inmates were offered no recreation in the monitored
     week for April 2020. (Ex. 1980 at 16). But the records for Eyman-Browning during the
27   monitored week in October 2019 show one prisoner was offered over twelve hours of
     recreation. (Ex. 1980 at 24).
28   65
        Browning and SMU in January 2019 indicate the chute was the offered location well
     over 75% of the time. (Ex. 1980 at 36-37).

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 1   from 2019 through 2021.66 The table shows the refusal rates were routinely above 80%
 2   and often above 90%.
 3                                 Recreation Refusal Rate Table
 4                    Month         Lewis     Florence Eyman              Eyman
                     and Year        Rast      Kasson      SMU           Browning
 5                    Jan-19          46         80         73              83
 6                    Apr-19          38         71         80              84
                      Jul-19          67         58         83              80
 7                    Oct-19          78         63         86              93
 8                    Jan-20          68         90         84              62
                      Apr-20          80         87         95              68
 9                    Jul-20          64         92         92              61
10                    Oct-20          70         73         90              56
                      Jan-21          80         77         93              46
11                    Apr-21          n/a        63         90              29
12          As stated by Horn, recreation refusal rates over 80% are “striking.” (Doc. 4166 ¶
13   149). Based on Horn’s expertise and pure common sense,
14                 inmates like the opportunity to get out in the fresh air. They
                   like the opportunity and there are some circumstances which
15                 they have the opportunity to at least socialize with other
                   inmates if they use what we refer to as the 10-by-10 enclosures.
16                 And people generally need fresh air and sunshine and a change
                   of scenery and the opportunity to get out of their cell.
17
18   (Doc. 4267 at 44-45). Thus, refusal rates as high as reflected in the records indicate officers
19   either did not actually make the offers or officers used “any excuse to record a refusal to
20   take advantage of outdoor exercise.” (Doc. 4166 ¶ 146). The tactic of interpreting certain
21   behavior as a refusal of a recreation offer was explained by a sign posted in a maximum
22   custody unit. It reads:
23                 Beginning 06-01-2020, All inmates and their Cells shall be in
                   704 Compliance before inmates will be allowed to go to
24                 Recreation. Also, the Inmates will be awake and ready to exit
25   66
       Allegedly due to Covid, at Browning “all programming, class group education, outside
     recreation, SMI classes, and education were cancelled . . . from March, 2020, through June,
26   2021.” (Doc. 4261 at 115). During that time, the only recreation offered was in the chute
     and even that recreation was canceled at times. (Doc. 4261 at 116). As of June 2021,
27   ADCRR started its “phase reopening” to restart some officer-led “programming and mental
     health programming” after Covid. (Doc. 4264 at 161). Despite reopening, the “SMI
28   classes were canceled for July, August,” and part of September 2021 because Centurion
     did not have sufficient staff available. (Doc. 4264 at 161).

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 1                 the cell when the officers arrive. Failure to be in compliance,
                   or failure to be ready to submit to the strip search or any
 2                 unreasonable delay once the officer arrives will be considered
                   a refusal of Recreation and will be documented on the DO812
 3                 forms as such.
 4
     (Doc. 4166 ¶ 147). The term “704 Compliance” refers to Department Order 704 which is
 5
     “essentially the rules of inmate behavior,” such as personal grooming and cell cleanliness.
 6
     (Doc. 4267 at 43-44). This policy is enforced such that a prisoner is documented as having
 7
     “refused” recreation if, for example, the prisoner is not fully dressed or otherwise not
 8
     “ready on the spot” when offered recreation. (Doc. 4267 at 43). Similarly, if a prisoner is
 9
     asleep, that is documented as having refused recreation. (Doc. 4267 at 41). In short,
10
     “[o]fficers record things as refusals when inmates do not intend to refuse.” (Doc. 4267 at
11
     44).
12
            While many offers for recreation may not actually be made or a prisoner is
13
     interpreted, inaccurately, as rejecting the offer, many offers are also accompanied by
14
     unreasonable consequences. Prisoners who accept an offer for recreation may be left in
15
     the recreation area for hours. (Doc. 4166 ¶ 148). That may happen even during hot
16
     temperatures in the recreation areas where prisoners lack access to water. (Doc. 4166 ¶¶
17
     148, 160). In addition, if a prisoner needs to use the restroom during the recreation time,
18
     officers may not take him to the restroom. Alternatively, the prisoner may be taken back
19
     to his cell, forfeiting the rest of the recreation time. (Doc. 4166 ¶¶ 148, 160).
20
            Horn’s testimony that the records do not indicate legitimate offers for recreation is
21
     credible and comports with common sense. Understandably at times, prisoners may have
22
     idiosyncratic reasons to decline recreation offers. But refusal rates of 80 to 95%—
23
     calculated based on Defendants’ own documents—make it more likely than not the
24
     recreation offers were never given or offered on unacceptable terms. For example, it is not
25
     plausible that in April 2020, the monitored prisoners in SMU received 42 legitimate offers
26
     for recreation but only two prisoners accepted, and those prisoners accepted only one
27
     recreation period each. Put in terms of a refusal rate, it is not plausible these prisoners
28
     received legitimate offers for recreation but refused 95% of those offers.          Equally


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 1   problematic is Defendants’ failure to question refusal rates of 95%, strongly suggesting
 2   they are aware legitimate offers are not conveyed. In short, recreation offers recorded on
 3   the Maximum Custody Daily Out-of-Cell Time Tracking forms are not made, are not
 4   legitimate, or are accompanied by unreasonable consequences (i.e., being left outside in
 5   the heat for 6 hours without water and/or restroom access).
 6                 4.     Detention Records
 7          Defendants do not track how long inmates remain in detention units. Some inmates
 8   spend less than a month in a detention unit while others may spend six months or more in
 9   a detention unit. The detention records in Exhibit 1694 establish many inmates remained
10   in detention from February 2021 through August 2021. (Doc. 4308 at 130 n.60). Detention
11   is not necessarily a short-term placement.
12          ADCRR uses a form titled “Individual Inmate Detention Record” to “document out-
13   of-cell time and activities for people in detention.” (Doc. 4273 at 56). Officers are
14   expected to document when inmates in detention receive meals, are allowed to shower, or
15   are offered recreation. (Doc. 4273 at 57). The form is the only way ADCRR tracks
16   recreation offers to inmates in detention. (Doc. 4273 at 58). During trial, the Deputy
17   Warden at SMU was asked about the contents of particular detention records. She
18   conceded that “according to the sheet,” one prisoner did not receive dinner on four nights
19   from February 15, 2021, through February 22, 2021. (Doc. 4273 at 66; Exhibit 1694 at
20   539). During that same week, the record shows the prisoner was not offered any showers
21   or any recreation time. (Doc. 4273 at 66-67). The records for two other prisoners, in the
22   same cluster of cells for the same week, also showed no dinner for four nights, no showers,
23   and no recreation offers. (Ex. 1694 at 541, 545). The record for yet another prisoner in
24   the same cluster for the same week indicates no dinner on four nights but he was offered
25   one shower and one recreation period. (Ex. 1694 at 547). Records for even more prisoners
26   indicate a similar pattern of missed meals and, at most, one offer for shower and one offer
27   for recreation. (Ex. 1694 at 551-570).
28          Another record for a prisoner in that cluster of cells contained a notation that the


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 1   prisoner “moved out,” presumably meaning he left the detention unit in the middle of that
 2   week. However, the record also indicates this prisoner received meals in the detention unit,
 3   and also exchanged his laundry and linens, for two days after he left the unit. (Ex. 1694 at
 4   583). Another form does not have a prisoner name or any other identifying information
 5   filled in but that form indicates two meals were delivered on all seven days, dinner was
 6   delivered on two days, and the inmate had laundry and linen exchanges multiple times.
 7   When asked if this particular record “could have just been filled out for no one,” Stickley
 8   responded “I don’t know.” (Doc. 4273 at 79). Overall, the evidence establishes the
 9   detention forms often are pre-filled for the entire week and do not indicate what truly
10   happened. (Ex. 1694 at 593).
11          In an attempt to summarize the conditions recorded by the forms at various
12   locations, Horn analyzed 125 detention records at SMU detention unit for a week in
13   February 2021. (Doc. 4166 ¶¶ 190-191). Based on his expert review, “fewer than half
14   reflect 2 offers of recreation, about half reflect a single offer of recreation, and about a tenth
15   reflect no offers of recreation.” (Doc. 4166 ¶ 191). Those records do not “reflect[] any
16   person actually went to recreation” at this location during this week. (Doc. 4166 ¶ 191).
17   The records regarding showers were similar, with the majority of prisoners offered showers
18   one or two times but a few prisoners were not offered any showers. While there was a high
19   rate of purported refusal of showers, the records indicate that if prisoners accepted, they
20   would be left in the shower for approximately an hour. (Doc. 4166 ¶ 192).
21          After the Stipulation was repudiated and during preparation for trial, the September
22   2021 records for SMU showed some improvement but still “not a single person went to
23   recreation.” (Doc. 4166 ¶ 196). In addition, the records again had entries for a prisoner
24   who left the unit midweek, indicating the records are pre-filled. (Doc. 4166 ¶ 197).
25          The records for the Yuma Cheyenne detention unit for a week in February 2021
26   show prisoners were given three offers to shower and either two or three offers for
27   recreation. However, not a single prisoner went to recreation that week. (Doc. 4166 ¶ 199).
28   The records for this location in July 2021 indicate about half of the prisoners were offered


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 1   two recreation periods, but not a single prisoner went to recreation. (Ex. 1700-2 at 2234-
 2   2283).
 3            The records for the Lewis Morey detention unit in July 2021 show approximately
 4   half of the prisoners received either no or one offer for recreation, and about half received
 5   two offers, with a few prisoners receiving three offers. (Doc. 4166 ¶ 204). Three prisoners
 6   went to recreation during this week and the recreation time is listed as less than one hour.
 7   (Doc. 4166 ¶¶ 207-208). The prisoners were offered two or three showers. (Doc. 4166
 8   ¶ 204). And the records show some prisoners did not receive three meals every day,
 9   including one prisoner who was documented as receiving no meals on one day, one meal
10   on one day, and two meals on two days. (Doc. 4166 ¶ 205). The September 2021 records
11   for this location show most prisoners received two shower offers and most prisoners were
12   offered recreation twice but almost all offers were recorded as refused. The two prisoners
13   who accepted recreation offers received 45 minutes of recreation. (Ex. 1697 at 1773,
14   1775).
15            The records for the Lewis Bachman detention unit for July 2021 are, as
16   characterized by Horn, “alarming.” (Doc. 4166 ¶ 215). The records document profoundly
17   cruel treatment of prisoners this week. The weekly record for one prisoner indicates he
18   was offered a shower once, which he accepted, as well as recreation once, which he refused.
19   But for the seven-day period, this prisoner allegedly received only nine meals. (Ex. 1697
20   at 1275). But that prisoner was one of the lucky ones. A different prisoner that week was
21   not offered a shower, not offered recreation, and received only seven meals. (Ex. 1697 at
22   1277). Other prisoners received no offers for out-of-cell time and only received one or two
23   meals for the entire week.      (Ex. 1697 at 1315-1319).        Thus, officials at this unit
24   affirmatively documented they confined many prisoners in their cells for 168 straight hours
25   and provided them with only a few meals for the entire week.               That affirmative
26   acknowledgment is shocking enough. But the fact that no supervisory official took any
27   action in response to this level of inhumane disregard for even feeding the prisoners
28   indicates a profound disinterest in caring for the prisoners.


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 1          The records for the Lewis Bachman detention unit for August 2021, which was
 2   during trial preparation, are mildly better than for July 2021. Again, many prisoners were
 3   not offered any out-of-cell time. (Doc. 4166 ¶ 219). The records also indicate the prisoners
 4   routinely did not receive three meals per day. Many records show days prisoners had no
 5   meals. (Doc. 4166 ¶ 220). It is incomprehensible that prison officials were not concerned
 6   when their own records admitted at trial established blatant violations of policy regarding
 7   recreation and nutrition.67
 8          Based on the evidence presented at trial, the treatment of prisoners in detention units
 9   is shocking. According to Defendants’ own records, prisoners in detention units are
10   routinely offered no out-of-cell time and are routinely denied meals. In their post-trial
11   briefing, Defendants argue the detention records simply reflect “deficient documentation,”
12   and the prisoners must have at least been fed.68 (Doc. 4315 at 130). Defendants even
13   steadfastly claim if officials had “determined that inmates actually were not fed or that
14   there was a pattern of deficient completion of paperwork by a particular officer, corrective
15   action would be taken.” (Doc. 4315 at 129-130). Defendants offered no explanation,
16   however, how the records recounted above do not reflect either a pattern of not feeding
17   prisoners or a “pattern of deficient completion of paperwork.” Defendants did not present
18   any evidence they took corrective action in response to their own unrefuted documentation,
19   which reflected weeks of denying prisoners in detention units any out-of-cell time and
20   adequate nutrition.
21                 5.      Mental Health Watch
22          When a prisoner is placed on mental health watch, all his or her activities are tracked
23   on a form known as an “Observation Record.” When Plaintiffs’ expert reviewed the
24
     67
25      The records for other locations and other time periods establish it was commonplace for
     prisoners to not receive three meals per day. (Exhibits 1696, 1697, 1699, 1700). Plaintiffs
26   accurately summarize this information. (Doc. 4308, pages 85-87).
     68
        Defendants blithely also argue “Plaintiffs’ reliance on cherry picked detention records
27   for only seven out of seventeen detention units across the state proves nothing.” (Doc.
     4315 at 123). Records showing Defendants, across multiple locations, deprive prisoners
28   of recreation and food certainly prove more than “nothing.” It establishes their
     constitutional rights are being violated.

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 1   Observation Records for the mental health watch unit at SMU, he noted none of the forms
 2   reflected the prisoners were receiving recreation. (Doc. 4166 at 51). The Deputy Warden
 3   at Browning testified that individuals on mental health watch at that location are supposed
 4   to be provided recreation opportunities but there are no facilities at Browning that would
 5   allow for recreation. (Doc. 4261 at 114).
 6                 6.     Expert Opinion Regarding Subclass Conditions
 7          Plaintiffs offered the expert opinions of Horn and Dr. Haney that the conditions
 8   imposed on the subclass members lack a penological purpose and present a substantial risk
 9   of serious harm. Defendants did not offer their own experts. Nor did they offer any
10   remotely credible lay opinions contradicting Plaintiffs’ expert opinions. Thus, the Court
11   did not have the opportunity to critically examine competing views from qualified experts
12   and then determine which view is more credible. Rather, the Court was left with either
13   crediting Plaintiffs’ experts who have spent their entire careers studying these issues, or
14   rejecting those experts based solely on the unsubstantiated arguments presented by defense
15   counsel. Based on careful review of written testimony, as well as in-court observation of
16   direct and cross-examination, the opinions offered by Horn and Dr. Haney are credible.
17                        (a)    Horn
18          Horn credibly testified ADCRR “overuses isolation.” (Doc. 4166 at 101). ADCRR
19   keeps more prisoners in isolation than almost any other state and often there is no rational
20   basis supporting placement of a particular prisoner in isolation. For example, ADCRR
21   places numerous prisoners in isolation who, according to ADCRR’s own policies, merit a
22   lower level of custody placement. ADCRR has promulgated policies that purport to
23   provide a path for prisoners to earn their way out of isolation. However, those policies are
24   “unusually and unnecessarily complicated,” leaving prisoners and officials confused
25   regarding their implementation. (Doc. 4166 at 102). Indeed, the evidence reflects that
26   ADCRR houses prisoners in isolation because it lacks lower custody cells and staff as
27   evidenced by the hundreds of prisoners awaiting transfer out of maximum custody.
28          ADCRR keeps prisoners in isolation for years, including prisoners who have “been


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 1   free of any discipline for years.” (Doc. 4166 at 103). ADCRR claims to review the
 2   isolation placement for many prisoners on a monthly basis but those “reviews are brief to
 3   the point of perfunctory.” (Doc. 4166 at 104). Prisoners are not involved in the review
 4   process and do not receive information regarding what he should do in the future to merit
 5   a lower classification. (Doc. 4166 at 104). The step-progression system contained in DO
 6   812 “offers inmates the promise of advancement if they maintain a good disciplinary record
 7   and participate in prescribed programs, and [officials] do not meet that promise. [Officials]
 8   do not fulfill that promise” because prisoners have no way of knowing when, or if, they
 9   will be able to advance. (Doc. 4268 at 68).
10          The units housing subclass members do not have sufficient staff to operate in a safe
11   manner. Staff are not available to conduct sufficient security checks “to properly determine
12   whether an inmate is in distress or not.” (Doc. 4166 at 104). The staffing shortage is
13   exacerbated by the physical layout of the many units which preclude staff from having
14   adequate “sight lines” or the “ability to hear inmates.” (Doc. 4166 at 104). On cross-
15   examination, defense counsel asked Horn whether New York and Pennsylvania had “the
16   staffing luxury” such that sufficient staff could respond to an emergency without leaving
17   critical posts vacant. (Doc. 4268 at 104). No doubt to defense counsel’s surprise, Horn
18   responded he “wouldn’t call it a luxury” for the prison to have adequate staff to handle
19   emergencies without leaving critical posts abandoned. (Doc. 4268 at 104). When pressed
20   on this point by defense counsel, Horn explained other systems ensure sufficient staffing
21   so any emergency response will not require staff involved in “direct supervision of
22   inmates” abandon their posts. (Doc. 4268 at 105).
23          The lack of staff is also the obvious explanation for why prisoners do not receive
24   the out-of-cell time promised by ADCRR policy. Based on the “actual practices,” prisoners
25   “do not get to leave their cells for the one hour per day five days a week recommended by
26   the profession” nor do they get the hours promised by ADCRR policy. (Doc. 4166 at 105).
27   Staff use “a variety of means to obscure the reality of what is happening.” (Doc. 4166 at
28   105). Despite what may be indicated on the forms, prisoners “are often recorded as


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 1   refusing recreation when they have not” and, in any event, out-of-cell time is “often
 2   cancelled.” (Doc. 4166 at 105). On cross-examination, Horn explained prisoners should
 3   be allowed outside recreation even if they “are not following the rules and don’t have their
 4   cells in compliance.” (Doc. 4268 at 109). When asked whether staff should accommodate
 5   any prisoner who is not immediately ready to accept an offer for recreation, Horn stated
 6   “outside exercise, the ability to get fresh air when you’re confined in these conditions, is
 7   so important that it is worth some level of effort” by the staff. (Doc. 4268 at 111).
 8          In contrast, Defendants did not present any meaningful evidence or testimony
 9   casting doubt on Horn’s conclusions. Defendants did not justify why they keep prisoners
10   in isolation who, by their own policy and their own admission, should be housed elsewhere.
11   Defendants did not explain why the policy regarding step-progression is implemented in a
12   random and chaotic way nor did Defendants explain why individuals may remain at
13   particular steps for years on end. In addition, Defendants concede they lack sufficient staff
14   to operate the facilities as contemplated by ADCRR’s own policies. Defendants’ own
15   deputy wardens acknowledged they lack sufficient staff to have officers posted at all
16   “critical” locations and rely on existing staff who agree to volunteer to work overtime shifts
17   even to meet the present staffing levels. (Doc. 4261 at 117). And Defendants did not
18   dispute that out-of-cell time is routinely canceled because of staffing shortages nor did
19   Defendants offer evidence that the out-of-cell offers are, in fact, legitimate ones that
20   prisoners in isolation can accept. Horn’s testimony and opinions were credible and
21   incontestable.
22                         (b)   Dr. Haney
23          Based on his training and experience, Dr. Haney explained “we now know that
24   isolated confinement is painful. People who are exposed to it suffer when they experience
25   it.” (Doc. 4306 at 18). The amount of suffering, however, “[d]epends upon the conditions
26   and the length of time that people are [in isolated confinement].” (Doc. 4306 at 18). And
27   while some people experience harm that appears “to be reversible,” others experience “very
28   severe” harm that “can be life threatening.” (Doc. 4306 at 18).


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 1          In Dr. Haney’s view, the most “widespread” reaction to isolated confinement is
 2   “depression.   People become despondent.”        (Doc. 4306 at 21).     This is especially
 3   pronounced when prisoners are placed in isolated confinement for an indeterminate amount
 4   of time. (Doc. 4306 at 21). In addition to depression, prisoners placed in isolated
 5   confinement may become “unpredictably and inexplicably anxious, nervous, on edge.”69
 6   (Doc. 4306 at 21). Alternatively, prisoners may get “angry and irritable,” sometimes
 7   leading to “explosive behavior.” (Doc. 4306 at 22). Isolated confinement may lead “to
 8   self-harm and it can lead to suicide.” (Doc. 4306 at 23).
 9          “Social contact and social interaction are essential components in the creation and
10   maintenance of normal social identity and social reality.” (Doc. 4122 at 26). Deprivation
11   of social contact “is psychologically destabilizing” and “[i]t undermines a person’s sense
12   of self or social identity and erodes his connection to a shared social reality.” (Doc. 4122
13   at 26). Individuals deprived of social contact “are apt to confuse reality with their
14   idiosyncratic beliefs and fantasies and likely to act upon such fantasies, including violent
15   ones.” (Doc. 4122 at 26).
16          While Dr. Haney believes isolated confinement presents a substantial risk of harm
17   to all prisoners, those prisoners with mental illness “are more vulnerable to the pains and
18   stresses of solitary confinement.” (Doc. 4306 at 25). Dr. Haney further opined prisoners
19   under the age of 18 are especially susceptible to harm from being placed in isolated
20   confinement. (Doc. 4306 at 25). Dr. Haney believes that even during the time the present
21   litigation has been pending, there has developed a “broader and deeper consensus,
22   scientific consensus,” that isolated confinement is harmful. (Doc. 4306 at 26).
23          The American Psychiatric Association believes “[p]rolonged segregation of adult
24   inmates with serious mental illness, with rare exceptions, should be avoided due to the
25
     69
       Travis Scott, a Deputy Warden with twenty years’ experience, was asked whether out-
26   of-cell time was important. He responded “Yes. Very important.” (Doc. 4264 at 151).
     The Deputy Warden then went on to explain “When inmates are occupied or have out-of-
27   cell time or classroom, it helps decrease tension amongst the inmates. It makes the unit a
     safer place to work. The inmates are less agitated. It makes it safer for the staff for when
28   they’re interacting with those inmates. We want them to be able to get out to do their
     exercises or to go to class. Keeps them occupied.” (Doc. 4264 at 151).

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 1   potential for harm to such inmates.” (Doc. 4306 at 28). The American Psychiatric
 2   Association takes a similar position regarding solitary confinement of juveniles. (Doc.
 3   4306 at 31). The National Commission on Correctional Health Care takes the position:
 4                 (i)    Prolonged, greater than 15 consecutive days, solitary
                          confinement is cruel, inhuman, and degrading treatment
 5                        and harmful to an individual’s health.
 6                 (ii)   Juveniles, mentally ill individuals, and pregnant women
                          should be excluded from solitary confinement of any
 7                        duration.
 8   (Doc. 4306 at 36).
 9          Based on his experience studying approximately 29 state prison systems, Dr. Haney
10   credibly testified Arizona’s system is “among the most severe and the most depriving
11   solitary confinement units that [he has] encountered.” (Doc. 4306 at 56; Doc. 4264 at 65).
12   The conditions in Arizona “place[] the mental health of even psychologically strong
13   incarcerated persons in jeopardy and creates especially high risks of harm for those whose
14   mental illness makes them especially vulnerable.” (Doc. 4122 at 67). He stressed this
15   opinion was taking “into account not what the regulations provide for, but what [he] learned
16   is actually being delivered” in Arizona.      (Doc. 4306 at 56). Dr. Haney found the
17   requirements of DO 812, in particular the amount of out-of-cell time set out in that policy,
18   were not being followed. (Doc. 4263 at 31).
19          The physical attributes of the units combine with the “deprivation of social contact”
20   to impose “severe” limitations. And “[t]he amount of out-of-cell time the prisoners are
21   getting is severe by any measure.”        (Doc. 4306 at 56).         While there were a few
22   improvements shortly after the parties entered into the Stipulation, those improvements
23   began to disappear “within a year or two.” (Doc. 4122 at 91). The conditions are now the
24   same, or worse, than the conditions present at the outset of this litigation in 2013. (Doc.
25   4122 at 91). The only exception is that prisoners now have tablets, which they still have
26   to pay to send emails from. (Doc. 4306 at 78). Even then, not every prisoner is entitled to
27   a tablet and use of the tablets is not free. (Doc. 4264 at 51-52).
28          On cross, Dr. Haney noted the better state systems provide “at least two hours a


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 1   day” out-of-cell time. (Doc. 4306 at 99). When pressed on how long would be “too long”
 2   to spend in maximum custody, Dr. Haney noted the United Nations believes 15 days is the
 3   limit. He did not agree with that specific limit, but he noted a “month or years” is “too
 4   long.” (Doc. 4263 at 16). Defense counsel asked if keeping someone in isolation longer
 5   than 15 days would mean “there is going to be psychological harm to that person.” (Doc.
 6   4263 at 17). Dr. Haney explained that causation is not that simple. Rather, when keeping
 7   individuals in isolation, “[t]here’s risk of harm. There is risk of harm. So all of this is
 8   about risk of harm. And the longer somebody’s exposed to these kind of conditions, the
 9   greater the risk of harm.” (Doc. 4263 at 17).
10          Of particular concern to Dr. Haney is the Sunrise unit which houses “juveniles who
11   have been committed to the adult prison system.” (Doc. 4306 at 50). On the day of his
12   visit, the unit contained one girl and approximately twelve boys. (Doc. 4306 at 50). Dr.
13   Haney opined, in extremely strong terms, that the conditions in this unit were intolerable
14   for juveniles. Dr. Haney was “shocked” that Defendants would house juveniles “in such
15   gratuitously harsh” and “abominable” conditions. (Doc. 4122 at 67). Doing so “is
16   singularly inappropriate and highly dangerous.” (Doc. 4122 at 67). Dr. Haney noted
17   Defendants had “learned nothing” from a previous tragic suicide with which he was
18   personally involved.70 (Doc. 4122 at 68). Dr. Haney opined that continuing to subject
19   juveniles to harsh isolation practices is “playing with fire.” (Doc. 4122 at 69). And the
20   conditions in the Sunrise unit “create[] a very substantial risk of harm.” (Doc. 4306 at 81).
21          Defendants offered no contrary opinions or testimony. Defendants did not offer an
22   expert stating isolated confinement creates no concerns. Nor did Defendants even proffer
23   a penological purpose for keeping many prisoners in isolated conditions. Thus, for
24   purposes of this case, it is undisputed isolated confinement is harmful for all subclass
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     70
        During a visit in 2016, Dr. Haney noted a 17-year-old girl had been held in solitary
26   confinement for more than two months. (Doc. 4122 at 68). Dr. Haney requested defense
     counsel be informed that this girl was at “serious risk of self-harm due to the prolonged
27   period of time she was held in solitary.” (Doc. 4122 at 68). Shortly after his visit, the girl
     turned 18 and was transferred to a different maximum custody unit. The girl committed
28   suicide a few weeks later. (Doc. 4122 at 68). Dr. Haney believes Defendants’ “learned
     nothing from that young woman’s tragic and preventable death.” (Doc. 4122 at 68).

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 1   members. The conditions specific to this case, both the physical layout of the cells and the
 2   amount of out-of-cell time actually available to subclass members, present a substantial
 3   risk of serious harm to the mental health of every subclass member.
 4          If ADCRR were following its own policies, including the amount of out-of-cell time
 5   promised and required by DO 812 and the chance to leave isolated confinement, the
 6   situation might be different. Dr. Haney’s testimony cannot be read as prohibiting isolated
 7   confinement regardless of the circumstances. And the Court recognizes the need and value
 8   of isolated confinement in some circumstances. However, the actual practices imposed on
 9   the subclass and analyzed by Dr. Haney present a substantial risk of harm. That risk of
10   harm is elevated for prisoners with a mental illness. And the risk of harm is extremely high
11   for juveniles.
12   IV.    Legal Standard for Subclass
13          The legal standard and inquiry applicable to subclass members is somewhat
14   different from that applicable to the class. “The Eighth Amendment’s prohibition against
15   cruel and unusual punishment protects prisoners not only from inhumane methods of
16   punishment but also from inhumane conditions of confinement.” Morgan v. Morgensen,
17   465 F.3d 1041, 1045 (9th Cir. 2006). See also Farmer v. Brennan, 511 U.S. 825, 832
18   (1994) (noting “[t]he Constitution does not mandate comfortable prisons, but neither does
19   it permit inhumane ones”). “[W]hile conditions of confinement may be, and often are,
20   restrictive and harsh, they ‘must not involve the wanton and unnecessary infliction of
21   pain.’” Morgan, 465 F.3d at 1045 (quoting Rhodes v. Chapman, 452 U.S. 337, 347
22   (1981)). Under this standard, the conditions of confinement “must not be devoid of
23   legitimate penological purpose, or contrary to evolving standards of decency that mark the
24   progress of a maturing society.” Id. (citation and quotation marks omitted).
25          “Where the conditions of confinement are challenged rather than the confinement
26   itself, a plaintiff must make two showings. First, the plaintiff must make an objective
27   showing that the deprivation was sufficiently serious to form the basis for an Eighth
28   Amendment violation. Second, the plaintiff must make a subjective showing that the


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 1   prison official acted with a sufficiently culpable state of mind.” Johnson v. Lewis, 217
 2   F.3d 726, 731 (9th Cir. 2000).
 3          A. Objective Prong
 4          Restrictions or deprivations “inherent in the prison setting” cannot “satisfy the
 5   objective prong of an Eighth Amendment inquiry.” Johnson, 217 F.3d at 731. Only
 6   restrictions or deprivations of “the minimal civilized measure of life’s necessities are
 7   sufficiently grave to form the basis of an Eighth Amendment violation.” Id. (quotation
 8   marks and citation omitted). The “life’s necessities” include, among others, “adequate
 9   shelter, food, clothing, sanitation, medical care, and personal safety.” Id. When a prisoner
10   is denied a necessity, “[t]he circumstances, nature, and duration of [the] deprivation . . .
11   must be considered in determining whether a constitutional violation has occurred.” Id. In
12   general, “[t]he more basic the particular need, the shorter the time it can be withheld.” Id.
13   (quoting Hoptowit v. Ray, 682 F.2d 1237, 1259 (9th Cir. 1982), overruled on other grounds
14   by Sandin v. Connor, 515 U.S. 472 (1995)). For example, forcing prisoners to lie
15   “motionless in the dirt in subfreezing temperatures for five to nine hours” could be
16   sufficient to establish a deprivation of the “basic human need[]” for shelter. Johnson, 217
17   F.3d at 732. But housing prisoners for “short periods of time” in a padded cell that was
18   “dark, scary, and smelled bad” containing a “pit toilet encrusted with excrement and urine”
19   will not qualify as deprivation of the basic human need for shelter or sanitation. Anderson
20   v. Cty. of Kern, 45 F.3d 1310, 1313 (9th Cir. 1995). See also Hutto v. Finney, 437 U.S.
21   678, 686–87 (1978) (“[T]he length of confinement cannot be ignored in deciding whether
22   the confinement meets constitutional standards. A filthy, overcrowded cell and a diet of
23   ‘grue’71 might be tolerable for a few days and intolerably cruel for weeks or months.”).
24          B. Subjective Prong
25          Conditions of confinement such as those challenged here require Plaintiffs establish
26   the deprivations “occurred with deliberate indifference to [their] health or safety.” Foster
27
     71
       “Grue” was described as “a substance created by mashing meat, potatoes, oleo, syrup,
28   vegetables, eggs, and seasoning into a paste and baking the mixture in a pan.” Hutto, 437
     U.S. at 683.

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 1   v. Runnels, 554 F.3d 807, 812 (9th Cir. 2009). This “involves a two part inquiry.” The
 2   first part requires Plaintiffs show Defendants “were aware of a substantial risk of serious
 3   harm to [their] health or safety.” Thomas v. Ponder, 611 F.3d 1144, 1150 (9th Cir. 2010).
 4   Whether Defendants “had the requisite knowledge of a substantial risk is a question of fact
 5   subject to demonstration in the usual ways, including inference from circumstantial
 6   evidence.” Farmer, 511 U.S. at 842. And Defendants’ knowledge of a substantial risk
 7   may be established “from the very fact that the risk was obvious.” Id.
 8   V.     Conditions Imposed on the Subclass
 9          In the class certification order, the Court identified the seven practices subclass
10   members were allegedly being subjected to contrary to constitutional requirements. Those
11   seven practices were:
12                 (i)     Inadequate psychiatric monitoring because of chronic
13                         understaffing;
                   (ii)    Use of chemical agents against inmates on psychotropic
14                         medications;
15                 (iii)   Lack of recreation;
                   (iv)    Extreme social isolation;
16                 (v)     Constant cell illumination;
17                 (vi)    Limited property; and
                   (vii)   Insufficient nutrition.
18
19          When assessing whether Plaintiffs have carried their burden of proof regarding these
20   practices, the Court cannot combine various practices to conclude the “overall conditions”
21   violate the Eighth Amendment. Wilson v. Seiter, 501 U.S. 294, 305 (1991). As explained
22   by the Supreme Court, “[s]ome conditions of confinement may establish an Eighth
23   Amendment violation in combination when each would not do so alone, but only when
24   they have a mutually enforcing effect that produces the deprivation of a single, identifiable
25   human need such as food, warmth, or exercise—for example, a low cell temperature at
26   night combined with a failure to issue blankets.” Id. at 304. Thus, the Court can only
27   combine various conditions when, together, they deprive prisoners of a “single, identifiable
28   human need.” Id. The challenged practices involve some well-established “human needs”


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 1   such as the need for exercise, ability to sleep, and sufficient food. But the subclass also
 2   challenges practices involving matters that have not yet been widely recognized as “human
 3   needs,” such as extreme limitations on social contact or limited property.
 4          It is important to note Defendants admit keeping all subclass members in the
 5   restrictive environments at issue is not justified. There are approximately 200 subclass
 6   members who Defendants’ employees admitted at trial should no longer be held in
 7   maximum custody units. In other words, there simply is no penological justification for
 8   holding those subclass members under harsh and restrictive conditions. Defendants’
 9   concession they house prisoners in these restrictive conditions without penological
10   justification means Defendants should have remedied it long ago. See Wood v. Beauclair,
11   692 F.3d 1041, 1050 (9th Cir. 2012) (finding conduct “totally without penological
12   justification” satisfies the objective prong of the Eighth Amendment analysis).
13          Further, policies allow prisoners to be placed in isolated confinement without
14   penological justification. As recounted earlier, the policy requiring prisoners start serving
15   life sentences in maximum custody is not supported by a valid penological interest. In
16   addition, Defendants’ policies that some prisoners must remain in maximum custody
17   because of misconduct years ago is not supported by a legitimate penological interest.
18          Despite the subclass including many prisoners who obviously should not be housed
19   in isolated confinement, the Court will conduct the practice-by-practice analysis on the
20   subclass as a whole. Thus, the Court will not analyze separately the practices and policies
21   as applied to prisoners who everyone agree do not merit isolated confinement. The Court
22   will assess whether Plaintiffs have carried their burden of proving certain policies or
23   practices, as applied to members of the subclass Defendants believe should be in isolated
24   confinement, violate the Eighth Amendment.
25                    1. Defendants do not have a policy or practice of using chemical
                         agents against inmates on psychotropic medications.
26
27          Neither at trial nor in their post-trial submissions did Plaintiffs identify the exact

28   contours of the practice they were attempting to prove. While the class certification order



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 1   described the practice as use of chemical agents against prisoners on particular medication,
 2   Plaintiffs’ response to Defendants’ proposed findings of fact describes the challenged
 3   practice as “widespread and indiscriminate use of force on people who engage in self-
 4   harm.” (Doc. 4314 at 109). That was not the practice certified. Plaintiffs have not proven
 5   Defendants have a policy or practice of using chemical agents against inmates on
 6   psychotropic medications that violates the Eighth Amendment.
 7          In reaching this conclusion, the Court notes Plaintiffs presented disturbing evidence
 8   of the use, and overuse, of chemical agents against prisoners with obvious mental health
 9   needs. For example, the February 12, 2020, email between medical providers quoted
10   earlier involved I.C., a “mental health patient” at the Phoenix facility, who had been “self
11   harming by banging his head for the past several days resulting in . . . the use of OC
12   [pepper] spray.”    (Doc. 4109 at 79).      The “Regional Director of Mental Health”
13   recommended officials “continue using OC spray as needed while the on site mental health
14   team comes up with a treatment plan.” (Doc. 4109 at 79). Using pepper spray in lieu of
15   immediate psychiatric treatment was obviously inappropriate. And this was not the only
16   evidence of such practices.
17          During trial, as discussed above, Plaintiffs presented multiple videos and other
18   evidence that Rahim Muhammed was repeatedly subjected to OC spray when he was
19   experiencing mental health crises. The evidence established prison officers did not know
20   how to handle Muhammed and they were unable to convince him to stop his self-harming
21   behaviors. Given Muhammed’s behavior, it was obvious prison officials should have
22   arranged for much more attention from mental health providers.72 Once Muhammed
23
     72
        During trial, the Court asked the Deputy Warden about the failure to obtain additional
24   mental health care for Muhammad. (Doc. 4279 33-36). The Deputy Warden claimed
     “mental health” personnel were involved with Muhammad “every single time” Muhammad
25   was subjected to OC spray. (Doc. 4279 at 33). But there was no evidence establishing
     such interventions. The Deputy Warden stated Muhammad first had an “issue”
26   approximately “three or four weeks” after he arrived. (Doc. 4279 at 36). After repeated
     instances of self-harm and OC spray, the Deputy Warden reported to the “mental health
27   lead” that Muhammad needed “more care than what” was available at his location. (Doc.
     4279 at 34). Muhammad was transferred “shortly thereafter.” (Doc. 4279 at 34).
28   Muhammad was at that location for approximately seven months. (Doc. 4279 at 37). Thus,


                                               - 170 -
 1   received additional mental health care, and was transferred to a more suitable location, he
 2   was able to function at a much higher level as shown by his trial testimony being coherent
 3   and convincing. The treatment of Muhammed might have violated the Eighth Amendment,
 4   but that treatment does not prove the existence of a general policy regarding using OC
 5   spray against prisoners on medication.
 6          The evidence regarding I.C. and Muhammed make it more likely than not that prison
 7   officers overuse chemical agents. Those chemical agents are used because adequate mental
 8   health care is not available. With appropriate mental health care, the need for chemical
 9   agents would be significantly reduced. Accordingly, remedying the patently insufficient
10   mental health resources will reduce the need for interventions by officers involving
11   chemical agents and likely provide the relief Plaintiffs sought regarding the use of chemical
12   agents.
13                    2. Subclass members do not receive adequate recreation and
                         exercise opportunities.
14
            The Ninth Circuit has recognized, repeatedly, “exercise is one of the basic human
15
     necessities protected by the Eighth Amendment.” Norbert v. City & Cty. of San Francisco,
16
     10 F.4th 918, 929 (9th Cir. 2021). The amount of exercise that must be offered to prisoners,
17
     as well as whether that exercise may be indoors or outside, “must be evaluated on the full
18
     extent of the available recreational opportunities.”       Id. at 930.     In other words,
19
     “[d]etermining what constitutes adequate exercise requires consideration of the physical
20
     characteristics of the cell and [prison] and the average length of stay of the inmates.”
21
     Pierce v. Cty. of Orange, 526 F.3d 1190, 1212 (9th Cir. 2008) (quotation marks and citation
22
     omitted). For example, in a case where prisoners were held in “continuous segregation,
23
     spending virtually 24 hours every day in their cells with only meager out-of-cell
24
     movements and corridor exercise,” they were entitled to “one hour per day, five days a
25
     week” of outdoor exercise. Spain v. Procunier, 600 F.2d 189, 199 (9th Cir. 1979). By
26
27
     the Deputy Warden knew of Muhammad’s difficulties after approximately one month, but
28   waited five or six months to speak to the “mental health lead” about arranging additional
     services.

                                                - 171 -
 1   contrast, prisoners were not entitled to outdoor exercise when they were held in a far less
 2   restrictive setting that allowed out-of-cell “recreation time” of at least one hour every day.
 3   Norbert v. City and County of San Francisco, 10 F.4th 918, 934 (9th Cir. 2021).
 4          In general, prisoners must be provided sufficient time and access to locations such
 5   that they enjoy “meaningful” recreation opportunities. Shorter v. Baca, 895 F.3d 1176,
 6   1185 (9th Cir. 2018). The Ninth Circuit has noted offers for recreation in a room with
 7   “space constraints” that lacks “appropriate equipment” may not “constitute an exercise
 8   opportunity.” Pierce v. Cty. of Orange, 526 F.3d 1190, 1212 n.22 (9th Cir. 2008).
 9          The Court is not assessing the constitutionality of the amounts of recreation set forth
10   in DO 812. If subclass members were receiving legitimate offers for recreation in the
11   amount and locations set forth in DO 812, and prisoners were able to progress through the
12   step program set forth in DO 812, it is unlikely prisoners would have a viable claim based
13   on inadequate recreation. A minimum of 7.5 hours of recreation per week, with the promise
14   that additional and better recreation offers could be earned, would present a very different
15   situation from what is presented here. Instead, the actual practice is that DO 812 is not
16   followed. Subclass members are routinely denied recreation of even 7.5 hours per week
17   and, even when prisoners should be provided recreation in different enclosures, recreation
18   is routinely offered in the chute which is only marginally better than their cells.
19          The tracking forms for individuals in maximum custody establish it is more
20   probable than not the subclass members are routinely receiving legitimate offers for five
21   hours or less of recreation per week. Even five hours is an overstatement based on the
22   implausibly high refusal rates and the practice to interpret, whenever possible, responses
23   to offers as denials. The detention forms establish it is more probable than not that
24   prisoners in detention units routinely receive no recreation offers. While the forms
25   sometimes indicate recreation offers, every single prisoner is often recorded as refusing
26   recreation. That indicates it is more probable than not the offers for recreation, even if
27   documented on the form, are overstating the offers actually made.
28          Beyond the insufficient amount of recreation time actually offered to subclass


                                                - 172 -
 1   members, the offered location is insufficient under the particular facts of this case. Here,
 2   maximum custody units are “barren, stark, and . . . dehumanizing.” (Doc. 4122 at 61; 4306
 3   at 42). When allegedly given the opportunity to leave their cells, the offer is merely to be
 4   placed in one of the chutes for a potentially extended period. The chutes are only
 5   marginally larger than the cells, contain no exercise equipment, and have no toilet. The
 6   chutes are open to the sky, meaning they are stifling in the summer and attract insects. And
 7   prisoners are taken to the chute one at a time, precluding any socialization. Accordingly,
 8   the chutes are a better location for prisoners to obtain some amount of exercise, but exercise
 9   in the chute is not sufficiently “meaningful” on a long-term basis.
10          Prisoners often spend years or decades in maximum custody. Prisoners may spend
11   months in detention units.      Given the length of time prisoners remain in isolated
12   confinement, the physical conditions of the cells (i.e., cell size and pest infestations), and
13   the stark conditions of the chute, the amount of recreation offered to subclass members
14   deprives them of the essential human need to exercise. See Pierce v. Cty. of Orange, 526
15   F.3d 1190, 1212 (9th Cir. 2008) (noting courts have held prisoners “are ordinarily entitled
16   to daily exercise, or five to seven hours of exercise per week, outside their cells”). The
17   objective prong of the Eighth Amendment test is met.
18          The subjective prong is easily met. It is undisputed the records for maximum
19   custody as well as detention establish subclass members routinely receive few, if any,
20   recreation offers. Even if accurate, the records show prisoners refusing recreation at
21   implausibly high rates. Officials must have known prisoners were not being offered
22   legitimate opportunities to exercise. And because it has been established for decades that
23   prisoners in long-term housing must be provided some meaningful amount of recreation,
24   the failure to provide that exercise must have been done with deliberate indifference to the
25   subclass members’ rights. Shorter v. Baca, 895 F.3d 1176, 1185 (9th Cir. 2018).
26                     3. Subclass members are subject to unconstitutional amounts of
                          social isolation.
27
28          Plaintiffs claim that subclass members are subject to profound levels of social



                                                - 173 -
 1   isolation. The evidence established prisoners are subject to “extreme social isolation”
 2   creating a substantial risk of serious harm. (Doc. 4165 at 93). No other conclusion is
 3   possible.
 4          Subclass members may be celled individually or with one other person.73 Beyond
 5   a cellmate, subclass members often have effectively zero social contact. For many, the
 6   only interactions that might be described as social contacts are when meals are delivered.
 7   (Doc. 4165 at 53). Beyond meal delivery, subclass members may remain in their cells with
 8   absolutely no interaction with another human for days at a time.          Some additional
 9   interaction may occur on the days when subclass members are offered showers or
10   recreation. But even if those offers are accepted, there likely will be no opportunity for
11   meaningful social interaction.
12          Individuals who accept an offer to shower or to go to recreation will have brief
13   interactions with one officer while the prisoner is searched, handcuffed, and escorted to
14   and from the shower or recreation enclosure.74 Both showers and recreation, if offered in
15   the chute, are done alone. The amount of social isolation that may be enforced on subclass
16   members is illustrated by a Detention Record covering the week beginning July 11, 2021.
17   (Doc. 1697 at 1277). During that seven-day period, prisoner M.H. received only seven
18   meals. Thus, M.H. interacted with prison staff for a few seconds, seven times, when
19   receiving his meals. That was the entirety of M.H.’s social contact that week. M.H. did
20   not receive a single offer to shower nor did he receive a single offer for recreation. M.H.
21   was kept in his cell for at least the seven straight days reflected in the record, receiving
22   minimal food, and experiencing no contact with another person.
23          The record for M.H. is on the extreme end of the conditions experienced by subclass
24
     73
        As noted by Dr. Haney, having a cellmate “does not mitigate, and indeed may exacerbate,
25   the psychological impact of” living in a maximum custody unit. (Doc. 4165 at 54). Living
     in such close proximity to a single other individual is not “meaningful social contact” and
26   “may become an additional stressor” because those relationships may create “tension and
     even conflict” between prisoners. (Doc. 4165 at 54). “[C]onstant, forced, inescapable, and
27   unremitting contact with another person in such a small and enclosed space” can become
     “intolerable.” (Doc. 4165 at 55).
28   74
        Some prisoners might require more than one officer be present during this process. But,
     at most, there will be three officers.

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 1   members. But all subclass members are subjected to profound deprivations of social
 2   interaction. Subclass members have interactions when they receive meals and when they
 3   receive offers for showers or recreation. But those interactions are with one or two staff
 4   members. And because recreation is often offered in the chute, no social interactions will
 5   occur during the recreation beyond the interaction with the staff member while being
 6   transported to and from the chute.
 7          The deprivation of social contact imposed on subclass members places all subclass
 8   members “at significant risk of serious psychological harm.”            (Doc. 4165 at 50).
 9   Defendants did not present any evidence, expert or otherwise, questioning this conclusion.
10   Presumably because it has been established for decades that profound levels of social
11   isolation are harmful. As one court noted almost thirty-five years ago, it “seems pretty
12   obvious . . . that isolating a human being from other human beings year after year or even
13   month after month can cause substantial psychological damage, even if the isolation is not
14   total.” Davenport v. DeRobertis, 844 F.2d 1310, 1313 (7th Cir. 1988). Another court noted
15   in 1995 that “conditions of extreme social isolation and reduced environmental stimulation
16   . . . will likely inflict some degree of psychological trauma upon most inmates confined
17   there for more than brief periods.”75 Madrid v. Gomez, 889 F. Supp. 1146, 1265 (N.D. Cal.
18   1995). And yet another court noted, in 2020, “the substantial risks of prolonged solitary
19   confinement are obvious, longstanding, pervasive, well-documented, [and] expressly noted
20   by prison officials in the past.” Porter v. Pennsylvania Dep’t of Corr., 974 F.3d 431, 445
21   (3d Cir. 2020) (quotation marks and citation omitted). In reaching that conclusion, the
22   Third Circuit quoted approvingly from an earlier case that had concluded prolonged
23   deprivation of social contact creates a situation where a prisoner’s “very identity is at risk
24   of disintegration.” Id. (quoting Williams v. Sec’y Pennsylvania Dep’t of Corr., 848 F.3d
25   549, 566 (3d Cir. 2017).
26   75
       The Madrid court found the lack of social isolation and environmental stimulation were
     not “per se violative of the Eighth Amendment.” Id. Instead, those conditions violated the
27   Eighth Amendment rights of only those prisoners with existing mental illness or similar
     conditions. The conditions in Madrid, however, differed from those here. For example,
28   prisoners in Madrid were entitled to “an exercise period five times each week” and were
     generally out of their cells for 90 minutes every day. 889 F. Supp. at 1156, 1230.

                                                - 175 -
 1          Social contact is a need protected by the Eighth Amendment. That does not mean
 2   the same amount of social contact is required for all prisoners or that, in some
 3   circumstances, it cannot be denied for periods of time. For purposes of the subclass, the
 4   only issue is whether all prisoners in isolated confinement can be deprived of effectively
 5   all social contact for an indeterminate amount of time, up to years and decades. Requiring
 6   subclass members go decades without meaningful social contact presents a substantial risk
 7   of serious psychological harm. The objective prong is satisfied.
 8          The subjective prong is also satisfied given the decades-long recognition by
 9   academics, prison administrators, and courts that social isolation of the sort imposed on the
10   subclass creates a significant risk of serious harm. The risk is so obvious that Defendants
11   must have known their practices were creating a risk of harm.
12                     4. Subclass members are not subjected to unconstitutional cell
                          illumination practices.
13
14          “Adequate lighting is one of the fundamental attributes of ‘adequate shelter’

15   required by the Eighth Amendment.” Keenan v. Hall, 83 F.3d 1083, 1090 (9th Cir. 1996)

16   (quotation marks and citation omitted). Requiring prisoners live “in constant illumination”

17   can be unconstitutional. Id. Existing caselaw links excessive lighting to sleep deprivation.

18   See, e.g., id. at 1091 (holding excessive cell lighting allegedly caused “grave sleeping

19   problem”). The Court will assume Plaintiffs challenge the cell illumination practices as a

20   deprivation of their right to adequate shelter or sleep.76

21          Plaintiffs presented very little evidence regarding the cell illumination experienced

22   by subclass members. Dr. Haney stated there was constant illumination in certain cells.

23   (Doc. 4122 at 52). And one prisoner testified that, while on mental health watch, his cell

24   was illuminated “24/7” that made him feel “insane.” (Doc. 4263 at 89). But Dr. Haney

25   noted prisoners often cover the lights in their cells, presumably reducing the amount of

26   light to at least some degree. (Doc. 4122 at 52).

27   76
       Plaintiffs repeatedly reference that subclass members do not experience “natural light.”
     (Doc. 4308 at 38). If Plaintiffs’ theory was the deprivation of natural light, that theory fails
28   because Plaintiffs did not prove deprivation of “natural light” violates the objective prong
     of the Eighth Amendment.

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 1          Plaintiffs presented no evidence regarding how bright the lighting in the cells
 2   actually is nor did they present evidence establishing subclass members, in general,
 3   experience negative effects such as sleeping problems because of the lighting.           See
 4   Grenning v. Miller-Stout, 739 F.3d 1235, 1240 (9th Cir. 2014) (reversing grant of summary
 5   judgment because record did not indicate how bright the lighting in cells was). In addition,
 6   it is undisputed Defendants have a legitimate penological interest in lighting the subclass
 7   members’ cells so officers “can actually look in the cell and make sure that the inmate is
 8   alive and okay.” (Doc. 4263 at 46).
 9          Without evidence regarding how bright each cell is, the impact of lighting on
10   subclass members, and the existence of a penological purpose for some amount of lighting,
11   Plaintiffs have not carried their burden of providing the current cell illumination practices
12   violate the objective prong of the Eighth Amendment. See Chappell v. Mandeville, 706
13   F.3d 1052, 1058 (9th Cir. 2013) (holding cell illumination claim failed because there was
14   undisputed penological purpose).
15                      5. Subclass members are not subjected to unconstitutional
                           limitations on their property.
16
17          Plaintiffs did not present evidence regarding the exact limitations on property they

18   are challenging.     At trial, there was evidence that entitlement to property varies

19   significantly across the subclass. For example, subclass members in detention, close

20   management, and in an intake facility are permitted very little, if any, property. (Doc. 4264

21   at 139; Doc. 4165 at 52). Similarly, subclass members in a mental health watch unit are

22   not entitled to any “personal property.” (Doc. 4122 at 72). But there is no evidence

23   regarding deprivation of property in the general maximum custody units. Plaintiffs have

24   not established, on a subclass-wide basis, any practice or policy regarding property that

25   violates a basic human need.

26                      6. Subclass members are subjected to practices resulting in
                           inadequate nutrition.
27
            “Adequate food is a basic human need protected by the Eighth Amendment,” but
28


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 1   that “food need not be tasty or aesthetically pleasing.” Keenan v. Hall, 83 F.3d 1083, 1091
 2   (9th Cir. 1996) (quotation marks and citations omitted). In one case, the Ninth Circuit
 3   addressed an Eighth Amendment claim by an inmate who alleged he had been “denied 16
 4   meals in 23 days.” Foster v. Runnels, 554 F.3d 807, 812 (9th Cir. 2009). The Ninth Circuit
 5   concluded that, if true, that was a sufficiently serious deprivation of a life necessity. Id. at
 6   813. Moreover, the knowing denial of food easily meets the subjective prong because
 7   “[t]he risk that an inmate might suffer harm as a result of the repeated denial of meals is
 8   obvious.” Id. at 814.
 9          As with other aspects of the subclass’s claims, the issue is not whether Defendants’
10   policies require prisoners receive nutritionally adequate food. It is undisputed the menus
11   and policies contemplate the delivery of meals that would be nutritionally adequate. (Ex.
12   4406). In other words, if Defendants implemented their own policies, there would likely
13   be no plausible claim for relief. But the evidence establishes Defendants’ actual practices
14   differ dramatically from its policies.
15          Subclass members routinely receive less food than policy requires and less food
16   than appropriate. Subclass members routinely report they are receiving insufficient food.
17   The “top complaint” by prisoners regarding their conditions of confinement is that they do
18   not receive the portions of food outlined in Defendants’ policies and menus. (Doc. 4278
19   at 36). In addition, the detention records show prisoners are routinely denied meals. Some
20   of those records establish prisoners were denied far more than the “16 meals in 23 days”
21   the Ninth Circuit found to be an obvious constitutional violation. Foster v. Runnels, 554
22   F.3d 807, 812 (9th Cir. 2009). For example, one prisoner received nine meals over a seven-
23   day period. (Ex. 1697 at 1275). Another prisoner received only seven meals over a seven-
24   day period. (Ex. 1697 at 1277).
25          Defendants claim the records are inaccurate. Defendants argue they are not correct
26   because prisoners would “report if they were not being fed.” (Doc. 4315 at 129). But they
27   do and the “top complaint” from prisoners regarding their conditions of confinement was
28   insufficient food. Next, Defendants argue Plaintiffs merely “cherry picked examples of


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 1   deficient documentation” of meals. (Doc. 4315 at 130). According to Defendants, there
 2   are “thousands of pages” showing prisoners received their meals and only some records
 3   establish prisoners were fed the appropriate number of meals. (Doc. 4315 at 130).
 4   However, the records across locations proved subclass members, as a matter of practice,
 5   routinely do not receive adequate meals. At the very least, the records show every subclass
 6   member is subject to food practices that create a substantial risk of harm. And because the
 7   failure to deliver adequate food is so obvious in the records, Defendants are deliberately
 8   indifferent in denying prisoners a basic human need.
 9     INJUNCTIVE RELIEF UNDER THE PRISON LITIGATION REFORM
10                                               ACT
11          Because the Court has determined by a preponderance of the evidence that
12   Defendants are deliberately indifferent to a substantial risk of serious harm, it must fashion
13   an appropriate remedy. As noted at the beginning of its decision, the Court is mindful of
14   its responsibilities in light of the PLRA’s requirements, namely that “[t]he court shall not
15   grant or approve any prospective relief unless the court finds that such relief is narrowly
16   drawn, extends no further than necessary to correct the violation of the Federal right, and
17   is the least intrusive means necessary to correct the violation of the Federal right.” 18
18   U.S.C. § 3626(a)(1)(A).
19          In this case, there is no question remedial measures are necessary to correct
20   constitutional deficiencies and the Court will meet its constitutional obligations. Thus, the
21   Court will employ an expert to assist with crafting an injunction that remedies the
22   constitutional violations—no more and no less.
23          IT IS THEREFORE ORDERED that the Court finds in favor of Plaintiffs and
24   against Defendants as to their claims in Counts One, Count Two, Count Four, and Count
25   Five. Count Three is dismissed.
26          IT IS FURTHER ORDERED that the Court finds in favor of Plaintiffs and against
27   Defendants as to the following certified class practices:
28          • Failure to provide timely access to health care;


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 1          • Failure to provide timely emergency treatment;
 2          • Failure to (timely) provide necessary medication;
 3          • Insufficient health care staffing;
 4          • Failure to provide care for chronic diseases;
 5          • Failure to provide timely access to medically necessary specialty care;
 6          • Failure to provide mentally ill prisoners medically necessary mental health
 7             treatment (i.e., psychotropic medication, therapy, and inpatient treatment); and
 8          • Failure to provide suicidal and self-harming prisoners basic mental health care.
 9          IT IS FURTHER ORDERED that the Court finds in favor of Plaintiffs and against
10   Defendants as to the following certified subclass practices:
11          • Inadequate psychiatric monitoring because of chronic understaffing;
12          • Lack of recreation;
13          • Extreme social isolation; and
14          • Insufficient nutrition.
15          IT IS FURTHER ORDERED within 14 days of this Order the parties are invited
16   to nominate proposed experts to assist the Court with crafting an injunction that complies
17   with 18 U.S.C. § 3626(a)(1)(A). The Court will consider the proposals and will appoint a
18   qualified expert on or before August 15, 2022.
19   …
20   …
21   …
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28   …


                                               - 180 -
 1             IT IS FURTHER ORDERED Plaintiffs’ Motion to Exclude Evidence Due to Rule
 2   30(b)(6) Designee’s Lack of Knowledge (Doc. 4163) is denied as moot; Plaintiffs’ Motion
 3   in Limine Re: Admission of Exhibits (Doc. 4215) is denied except as explained herein;
 4   Defendants’ Motion to Strike Portions of Plaintiffs’ Experts’ Declarations (Doc. 4219) is
 5   denied; the parties’ Joint Motion to Admit Exhibits (Doc. 4224) is granted; and Plaintiffs’
 6   Motion in Limine to Admit Exhibits 556 and 941 (Doc. 4225) is denied except as explained
 7   herein.
 8                   Dated this 30th day of June, 2022.
 9
10
11                                                        Honorable Roslyn O. Silver
12                                                        Senior United States District Judge

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                                                - 181 -
 1                                          Appendix 1
 2   Medical Staffing
 3
 4                                      Douglas Complex77
 5                                      Population: 1,524
                                                         CONTRACT       HIRED        FTE
 6                      POSITION
                                                            FTE          FTE       VARIANCE
 7    Assistant Director of Nursing                         1.00         1.00
      Director of Nursing                                   1.00         1.00
 8
      Licensed Practical Nurse/Medical Assistant            4.00         4.00
 9    Medical Assistant                                       -          0.00
10    Medical Director                                      1.00         1.00
      Midlevel Practitioner                                 1.50         2.00          0.50
11    Nursing Assistant/Patient Care Technician             4.00         4.00
12    Registered Nurse                                      8.00         7.30         (0.70)
      Staff Physician                                       N/A          N/A
13                                          TOTAL          20.50        20.30         (0.20)
14
15                                       Eyman Complex
                                         Population: 5,219
16
                                                         CONTRACT      HIRED         FTE
                        POSITION
17                                                          FTE         FTE        VARIANCE

18    Assistant Director of Nursing                        6.00         3.00         (3.00)
      Director of Nursing                                  1.00         1.00
19    Licensed Practical Nurse/Medical Assistant           30.00        19.70        (10.30)
20    Medical Assistant                                      -          3.00          3.00
      Medical Director                                     1.00         1.00
21    Midlevel Practitioner                                5.50         5.00          (0.50)
22    Nursing Assistant/Patient Care Technician            9.00         9.35           0.35
      Registered Nurse                                     20.00        9.90         (10.10)
23    Staff Physician                                      1.00         1.00
24                                          TOTAL          73.50        52.95        (20.55)

25   77
        Does not include Administrative Assistant, Assistant Facility Health Administrator,
     Clinical Coordinator, Facility Health Administrator, Healthcare Delivery Facilitator,
26   Inventory Coordinator, Lab Technician, Lead Inventory Coordinator, Medical Records
     Clerk and Supervisor, Physical Therapist, Release/Discharge Planner, Scheduler, X-Ray
27   Technician, Mental Health care staff (addressed in Part Two), or Dental staff. “N/A”
     means the position does not exist at the facility. Medical Assistant, Education Coordinator,
28   Physical Therapist, Clinical Coordinator, and Recreation Therapist positions exist in excess
     of the staffing allocation, even though they may not be filled.

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 1
 2                                   Florence Complex
 3                                    Population: 2,534
                                                     CONTRACT   HIRED     FTE
 4                   POSITION
                                                        FTE      FTE    VARIANCE
 5   Assistant Director of Nursing                     6.00      4.00     (2.00)
     Director of Nursing                               1.00      0.00     (1.00)
 6   Licensed Practical Nurse/Medical Assistant       30.00     15.90    (14.10)
 7   Medical Assistant                                   -       0.00
     Medical Director                                  1.00      1.00
 8   Midlevel Practitioner                             6.00      6.75      0.75
 9   Nursing Assistant/Patient Care Technician        20.00     14.90     (5.10)
     Registered Nurse                                 36.00     20.25    (15.75)
10   Staff Physician                                   2.00      1.25     (0.75)
11                                      TOTAL        102.00     64.05    (37.95)
                                       Lewis Complex
12
                                      Population: 4,220
13
                                                     CONTRACT   HIRED     FTE
                     POSITION
14                                                      FTE      FTE    VARIANCE
     Assistant Director of Nursing                      6.00     2.00    (4.00)
15
     Director of Nursing                                1.00     1.00
16   Licensed Practical Nurse/Medical Assistant        34.00    17.30    (16.70)
     Medical Assistant                                    -      0.90     0.90
17
     Medical Director                                   1.00     1.00
18   Midlevel Practitioner                              6.00     5.50     (0.50)
     Nursing Assistant/Patient Care Technician         14.00    12.70     (1.30)
19
     Registered Nurse                                  30.00    24.35     (5.65)
20   Staff Physician                                    2.00     0.00     (2.00)
                                        TOTAL          94.00    64.75    (29.25)
21
22
                                     Perryville Complex
23
                                      Population: 3,318
24                                                   CONTRACT   HIRED     FTE
                     POSITION
25                                                      FTE      FTE    VARIANCE
     Assistant Director of Nursing                      6.00     2.00    (4.00)
26   Director of Nursing                                1.00     1.00
27   Licensed Practical Nurse/Medical Assistant        24.00    18.50    (5.50)
     Medical Assistant                                    -      0.00
28
     Medical Director                                   0.80     1.00     0.20


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 1   Midlevel Practitioner                              5.00     6.00      1.00
 2   Nursing Assistant/Patient Care Technician         14.00    12.60     (1.40)
     Registered Nurse                                  30.00    15.10    (14.90)
 3   Staff Physician                                    1.20     1.50      0.30
 4                                      TOTAL          82.00    57.70    (24.30)

 5
                                      Phoenix Complex
 6
                                      Population: 468
 7
                                                     CONTRACT   HIRED     FTE
                     POSITION
 8                                                      FTE      FTE    VARIANCE
     Assistant Director of Nursing                      3.00     0.00     (3.00)
 9
     Director of Nursing                                1.00     1.00
10   Licensed Practical Nurse/Medical Assistant         3.00     4.80     1.80
     Medical Assistant                                    -      0.00
11
     Medical Director                                   1.00     1.00
12   Midlevel Practitioner                              4.00     5.00      1.00
     Nursing Assistant/Patient Care Technician          5.75     1.90     (3.85)
13
     Registered Nurse                                  12.00     9.65     (2.35)
14   Staff Physician                                    1.00     0.00     (1.00)
15                                      TOTAL          30.75    23.35     (7.40)

16
                                      Safford Complex
17
                                     Population: 1,035
18
                                                     CONTRACT   HIRED     FTE
                     POSITION
19                                                      FTE      FTE    VARIANCE
     Assistant Director of Nursing                 2.00          2.00
20
     Director of Nursing                           1.00          1.00
21   Licensed Practical Nurse/Medical Assistant    6.00          2.80    (3.20)
22   Medical Assistant                               -           0.00
     Medical Director                              1.00          1.00
23   Midlevel Practitioner                         1.00          2.00     1.00
24   Nursing Assistant/Patient Care Technician     4.00          4.00
     Registered Nurse                              8.00         12.80     4.80
25   Staff Physician                               N/A           N/A
26                                     TOTAL      23.00         25.60     2.60
                                     Tucson Complex
27
                                     Population: 4,420
28


                                           - 184 -
 1                                                   CONTRACT   HIRED      FTE
                     POSITION
                                                        FTE      FTE     VARIANCE
 2
     Assistant Director of Nursing                     8.00       4.00     (4.00)
 3   Director of Nursing                               1.00       1.00
 4   Licensed Practical Nurse/Medical Assistant        40.00     24.30    (15.70)
     Medical Assistant                                   -        0.00
 5   Medical Director                                  1.00       1.00
 6   Midlevel Practitioner                             8.00       7.00     (1.00)
     Nursing Assistant/Patient Care Technician         19.00     16.80     (2.20)
 7
     Registered Nurse                                  36.00     18.30    (17.70)
 8   Staff Physician                                   2.00       0.75     (1.25)
                                        TOTAL         115.00     73.15    (41.85)
 9
10
                                     Winslow Complex
11                                   Population: 1,481
12                                                   CONTRACT   HIRED      FTE
                     POSITION
                                                        FTE      FTE     VARIANCE
13
     Assistant Director of Nursing                      2.00      1.00     (1.00)
14   Director of Nursing                                1.00      1.00
15   Licensed Practical Nurse/Medical Assistant         4.00      1.90     (2.10)
     Medical Assistant                                    -       1.00      1.00
16   Medical Director                                   1.00      1.00
17   Midlevel Practitioner                              2.00      2.00
     Nursing Assistant/Patient Care Technician          3.00      5.60     2.60
18   Registered Nurse                                   6.00     11.10     5.10
19   Staff Physician                                    N/A       N/A
                                        TOTAL          19.00     24.60     5.40
20
21
                                      Yuma Complex
22
                                     Population: 3,374
23                                              CONTRACT        HIRED       FTE
                    POSITION
24                                                 FTE           FTE     VARIANCE
     Assistant Director of Nursing                 5.00           4.80     (0.20)
25
     Director of Nursing                           1.00           1.00
26   Licensed Practical Nurse/Medical Assistant   10.00          12.00     2.00
27   Medical Assistant                               -            2.00     2.00
     Medical Director                              1.00           1.00
28   Midlevel Practitioner                         4.00           5.90     1.90


                                           - 185 -
 1   Nursing Assistant/Patient Care Technician        6.00   14.75   8.75
 2   Registered Nurse                                14.00   16.55   2.55
     Staff Physician                                  1.00    1.00
 3                                     TOTAL         42.00   59.00   17.00
 4
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                                           - 186 -
 1                                         Appendix 2
 2   Dr. Murray’s Scale
 3         A rating of 5—Excellent was assigned to care that was timely and reflected
           good decision-making. The care may not have been perfect in all instances,
 4
           but the imperfections found did not affect the outcomes. This rating may
 5         allow for a lack of preventive health care. Regarding documentation, this
           rating was used if the notes were clear and comprehensive (usually free-typed
 6         instead of utilizing the template).
 7         A rating of 4—Very Good may represent care that was mostly solid, but
 8         there may be some important care that was delayed slightly or a decision that
           should have been made a bit earlier eventually got made and there was no
 9         harm to the patient by the delay.
10         A rating of 3—Good may represent a mix of care that was sometimes poor
           and sometimes great. However, if there was a problem with care that
11
           markedly increased risk to a patient, a lower score was assigned, since it does
12         not help to provide excellent care for some problems and to not address a
           problem that had a significant risk of causing an adverse outcome.
13
           A rating of 2—Fair would be assigned if the decision-making represented a
14         lack of basic practice rules or put the patient at some risk. It may represent
15         good decision-making regarding referrals, with delay in the referral. Often
           this rating reflected that there was some good care, but it was overshadowed
16         by the presence of care that put the patient at risk and could not be
17         overlooked. Using this rating for documentation would represent incomplete
           notes where the reader cannot follow the care very easily at all.
18
           A rating of 1—Poor represents care that cannot be excused or overlooked. It
19         represents risk to patients, lack of basic knowledge or follow through, or a
           timeline that does not realistically apply to the patient’s problem. In
20
           documentation, this rating might be used when the patient’s care was
21         fragmented, to a point where one cannot follow what should happen. This
           may be due to the shortcomings of eOMIS or may be due to a lack of
22         comprehensive documentation by the provider.
23
     (Doc. 4206 ¶¶ 209-213).
24
25
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                                               - 187 -
 1                                           Appendix 3
 2   Mental Health Staffing

 3                                       Douglas Complex78
 4                                                        CONTRACT        HIRED        FTE
                        POSITION
                                                             FTE           FTE       VARIANCE
 5
      Behavioral Health Technician                          N/A            N/A
 6    Behavioral Specialist                                 N/A            N/A
      Mental Health Lead                                    N/A            N/A
 7
      Mental Health Clerk                                   N/A            N/A
 8    Mental Health Midlevel (NP/PA)                        N/A            N/A
      Mental Health Registered Nurse                        N/A            N/A
 9
      Psychiatrist                                          N/A            N/A
10    Psychologist                                          N/A            N/A
11    Psychology Associate                                  1.00           0.00         (1.00)
                                             TOTAL          1.00           0.00         (1.00)
12
13                                         Eyman Complex
14                      POSITION
                                                          CONTRACT       HIRED         FTE
                                                             FTE          FTE        VARIANCE
15
      Behavioral Health Technician                          4.00           7.00          3.00
16    Behavioral Specialist                                  N/A           N/A
      Mental Health Lead                                    1.00           1.00
17
      Mental Health Clerk                                   1.00           0.00         (1.00)
18    Mental Health Midlevel (NP/PA)                        3.50           4.00          0.50
      Mental Health Registered Nurse                        2.00           0.90         (1.10)
19
      Psychiatrist                                          1.00           1.00
20    Psychologist                                          3.00           2.00         (1.00)
      Psychology Associate                                  13.00          8.00         (5.00)
21
                                             TOTAL          28.5           23.9         (4.60)
22
23                                        Florence Complex
24                                                        CONTRACT        HIRED        FTE
                        POSITION
                                                             FTE           FTE       VARIANCE
25    Behavioral Health Technician                          4.00           0.00         (4.00)
26
27   78
       Does not include Administrative staff, Health Care staff, or Dental staff. “N/A” means
     the position does not exist at the facility. Behavioral Specialist positions exist in excess of
28   the staffing allocation, even though they may not be filled.


                                                - 188 -
 1   Behavioral Specialist                            0.00    0.00
 2   Mental Health Lead                               1.00    0.00     (1.00)
     Mental Health Clerk                              1.00    1.00
 3   Mental Health Midlevel (NP/PA)                   3.50    3.00     (0.50)
 4   Mental Health Registered Nurse                   1.00    0.00     (1.00)
     Psychiatrist                                     1.00    1.00
 5   Psychologist                                     3.00    0.90      (2.10)
 6   Psychology Associate                             8.00    2.00      (6.00)
                                       TOTAL         22.50    7.90     (14.60)
 7
 8                                    Lewis Complex
 9                                                 CONTRACT   HIRED     FTE
                   POSITION
                                                      FTE      FTE    VARIANCE
10
     Behavioral Health Technician                     4.00     3.00    (1.00)
11   Behavioral Specialist                            N/A      N/A
12   Mental Health Lead                               1.00     0.00    (1.00)
     Mental Health Clerk                              1.00     1.00
13   Mental Health Midlevel (NP/PA)                   3.50     3.00    (0.50)
14   Mental Health Registered Nurse                   2.00     1.00    (1.00)
     Psychiatrist                                     1.00     1.00
15   Psychologist                                     3.00     2.00    (1.00)
16   Psychology Associate                            12.00    10.25    (1.75)
                                       TOTAL         27.50    21.25    (6.25)
17
18                               Perryville Complex
19                                                 CONTRACT   HIRED     FTE
                   POSITION
                                                      FTE      FTE    VARIANCE
20
     Behavioral Health Technician               3.00           2.00    (1.00)
21   Behavioral Specialist                      N/A            N/A
22   Mental Health Lead                         1.00           1.00
     Mental Health Clerk                        1.00           0.00    (1.00)
23   Mental Health Midlevel (NP/PA)             3.50           3.20    (0.30)
24   Mental Health Registered Nurse             5.20           4.70    (0.50)
     Psychiatrist                               1.00           1.00
25   Psychologist                               2.00           1.75    (0.25)
26   Psychology Associate                      10.00           9.00    (1.00)
                                    TOTAL      26.70          22.65    (4.05)
27
                                  Phoenix Complex
28


                                         - 189 -
 1                                                CONTRACT   HIRED     FTE
                   POSITION
                                                     FTE      FTE    VARIANCE
 2
     Behavioral Health Technician                    5.00     2.00     (3.00)
 3   Behavioral Specialist                           N/A      N/A
 4   Mental Health Lead                              N/A      N/A
     Mental Health Clerk                             N/A      N/A
 5   Mental Health Midlevel (NP/PA)                  3.50     3.50
 6   Mental Health Registered Nurse                 15.80     8.80     (7.00)
     Mental Health Registered Nurse Charge           1.00     0.90     (0.10)
 7   Psychiatrist                                    1.00     1.00
 8   Psychologist                                    4.00     2.50     (1.50)
     Psychology Associate                           11.00     9.00     (2.00)
 9                                    TOTAL         41.30    27.70    (13.60)
10
11                                Safford Complex
12                                                CONTRACT   HIRED     FTE
                   POSITION
                                                     FTE      FTE    VARIANCE
13   Behavioral Health Technician                   N/A      N/A
14   Behavioral Specialist                          N/A      N/A
     Mental Health Lead                             N/A      N/A
15   Mental Health Clerk                            N/A      N/A
16   Mental Health Midlevel (NP/PA)                 N/A      N/A
     Mental Health Registered Nurse                 N/A      N/A
17   Psychiatrist                                   N/A      N/A
18   Psychologist                                   N/A      N/A
     Psychology Associate                           1.00     1.00
19
                                      TOTAL         1.00     1.00      0.00
20
21                                Tucson Complex
22                 POSITION
                                                  CONTRACT   HIRED     FTE
                                                     FTE      FTE    VARIANCE
23
     Behavioral Health Technician                   6.00      4.00    (2.00)
24   Behavioral Specialist                          0.00      0.00
     Mental Health Lead                             1.00      1.00
25
     Mental Health Clerk                            1.00      1.00
26   Mental Health Midlevel (NP/PA)                 3.50      4.50     1.00
27   Mental Health Registered Nurse                 2.00      2.00
     Psychiatrist                                   1.00      0.00    (1.00)
28   Psychologist                                   4.00      3.90    (0.10)


                                        - 190 -
 1   Psychology Associate                           14.00     11.00     (3.00)
 2                                    TOTAL         32.50     27.40     (5.10)

 3
                                 Winslow Complex
 4
                                                  CONTRACT   HIRED      FTE
                    POSITION
 5                                                   FTE      FTE     VARIANCE

 6   Behavioral Health Technician                   N/A       N/A
     Behavioral Specialist                          N/A       N/A
 7   Mental Health Lead                             N/A       N/A
 8   Mental Health Clerk                            N/A       N/A
     Mental Health Midlevel (NP/PA)                 N/A       N/A
 9   Mental Health Registered Nurse                 N/A       N/A
10   Psychiatrist                                   N/A       N/A
     Psychologist                                   N/A       N/A
11   Psychology Associate                           1.00      1.00
12                                    TOTAL         1.00      1.00      0.00

13
                                    Yuma Complex
14
                                           CONTRACT          HIRED      FTE
15                 POSITION
                                               FTE            FTE     VARIANCE
16   Behavioral Health Technician               3.00           3.00
     Behavioral Specialist                      N/A            N/A
17   Mental Health Lead                         1.00           1.00
18   Mental Health Clerk                        1.00           1.00
     Mental Health Midlevel (NP/PA)             3.00           3.00
19   Mental Health Registered Nurse             1.00           1.00
20   Psychiatrist                               1.00           1.00
     Psychologist                               1.00           0.00     (1.00)
21   Psychology Associate                       9.00           6.75     (2.25)
22                                   TOTAL     17.00          16.75     (3.25)
23
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                                        - 191 -
 1                                    Appendix 4
 2                             Pennington-Stallcup’s Email
                                    Eyman Complex
 3                                                 CONTRACT   HIRED     FTE
                    POSITION
 4                                                    FTE      FTE    VARIANCE
     Psychology Associate                       13.00          7.5      (5.50)
 5
                                   Florence Complex
 6                                                 CONTRACT   HIRED     FTE
                    POSITION
                                                      FTE      FTE    VARIANCE
 7
     Psychologist                                    3.00      0.90     (2.10)
 8   Psychology Associate                            8.00      3.00     (6.00)
 9
10                                   Lewis Complex
                                                   CONTRACT   HIRED     FTE
11                  POSITION
                                                      FTE      FTE    VARIANCE
12   Psychologist                                     3.00     2.00     (1.00)
     Psychology Associate                            12.00      9.0     (3.00)
13
14
                                   Perryville Complex
15
                                                   CONTRACT   HIRED     FTE
                    POSITION
16                                                    FTE      FTE    VARIANCE
     Psychologist                                     2.00     1.75     (0.25)
17
     Psychology Associate                            10.00     8.00     (2.00)
18
19                                  Phoenix Complex
20                  POSITION
                                                   CONTRACT   HIRED     FTE
                                                      FTE      FTE    VARIANCE
21
     Psychologist                                     4.00     1.50     (2.50)
22   Psychology Associate                            11.00    10.00     (1.00)
23
24                                  Tucson Complex
                                                   CONTRACT   HIRED     FTE
25                  POSITION
                                                      FTE      FTE    VARIANCE
26   Psychologist                                    4.00      2.0     (2.00)
     Psychology Associate                            14.00    11.00    (3.00)
27
28


                                         - 192 -
 1
                               Yuma Complex
 2                                    CONTRACT   HIRED      FTE
                    POSITION
 3                                        FTE     FTE    VARIANCE
      Psychologist                        1.00    0.00     (1.00)
 4    Psychology Associate                9.00    7.50     (1.50)
 5   (Ex. 2141).
 6
 7
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                                  - 193 -
 1                                            Appendix 5
 2   Dr. Penn’s Chart Reviews
 3                Patient Access to                                          Trial Tr.
                                                        Notes
                    No.       Care?                                           Page
 4                   1         No                                              3102
 5                   6         No                                              3102
                    11         No                                              3103
 6                                           “death by probable suicide,
 7                                              possible problems with
                                             medical access to care’”;79
                        12         Yes                                         3103
 8                                           patient submitted HSRs on
                                               9/2 and 9/12 but was not
 9
                                                     seen until 9/16
10                                             patient died by hanging
                                                 while in segregation;
11
                                             “many late entries but seen
12                      13         Yes       regularly by mental health        3103
                                              for . . . health and welfare
13                                           rounds”; “possible medical
14                                             access to care problem”
                       14           No                                         3104
15                     16           No                                         3104
16                     17           No                                         3104
                     21/2280        No                                         3104
17                     27           No                                         3104
18                     28           No                                         3105
                       29           No                                         3105
19                     30           No                                         3105
20                     34           No                                         3105
                       38           No                                         3106
21
                       49           No                                         3106
22                                           died by suicide by hanging;
                                             “ambulance team refused to
23                                            go to the patient’s location
                        52         Yes                                       3106-07
24                                            due to their policy and he
                                              was brought to medical on
25                                                     a gurney”
26                      55          No                                        3106
                        56          No                                       3107-08
27
28   79
          Direct citations to Exhibit 3 to the Penn Report appear in quotation marks.
     80
          “Patient 21” and “Patient 22” referred to the same individual.

                                                 - 194 -
 1   61    No                                     3108
 2   62    No                                     3108
     72    No                                     3108
 3   80    No                                     3108
 4   81    No                                    3109-10
     82    No                                    3109-10
 5                 “two weeks on [suicide]
 6   86    Yes       watch but didn’t see         3110
                    psychiatric clinician”
 7   87    No                                    3109-10
 8   90    No                                     3110
     92    No                                     3110
 9               patient waited almost three
10   95    No     weeks to have psychotic         3111
                    complaints addressed
11   97    No                                     3110
12               “‘on [suicide] watch 6-21-
                 19 through 7-8-19 but saw
13                 no psychiatric provider        3111,
     98    Yes
14                under 7-18-19’”; patient        3114
                 was on olanzapine, an anti-
15                  psychotic medication
16   100   No                                     3111
                 “Depakote prescribed at too
17   114   Yes    low a dose as revealed by       3116
                  disturbed behavior in lab.”
18
                  patient committed suicide
19                 on a date early in 2021;
     115   Yes       “[patient] might have        3116
20
                    benefited from a prison
21                      inpatient unit”
     118   No                                     3116
22
                  patient had died by suicide
23               before the relevant time for
     120   Yes    this review; “answered yes      3117
24                 only so I could submit the
25                           review”
                   “lithium continued at low
26                 600 milligram daily dose
27   129   Yes   despite low level of .3 and a   3122-23
                     suicide attempt on this
28                            dose”


                     - 195 -
 1               “health care request written
 2               in Spanish, yet most mental
                    health meetings say no
 3   131   Yes                                  3123
                 interpreter was used and do
 4               not state whether interview
                 was conducted in Spanish”
 5                  “has inexplicably been
     136   Yes     prescribed clonidine for     3123
 6
                     depression[/]anxiety”
 7   140   No                                   3122
                     “low dose of Risperdal
 8
                 consta 12.5 mg [every two]
     145   Yes                                  3126
 9                   weeks despite chronic
                    auditory hallucinations”
10
                   “patient was taken off of
11                  Risperdal but had to be
                   returned due to resurgent
12   146   Yes      psychosis”; “decision to    3126
13                     stop Risperdal was
                  probably a mistake, but the
14               reasoning was documented”
15   147   No                                   3122
     148   No
16   151   No                                   3128
17                “low dose haloperidol, 1
                  milligram [twice daily] by
18               psych APN is inadequate as
19                evidenced by symptoms.
     152   Yes                                  3128
                 May have catatonia, which
20                would benefit from benzo
21                  or [electro-convulsive
                           therapy].”
22   153   No                                   3128
23                 “lithium was increased
                  prescribed once daily at
24                   night, which is not
     155   Yes                                  3129
25                 optimal”; diagnosis of
                   bipolar I was not well
26                       substantiated
27   156   Yes   “marginally adequate care”     3129
     158   No                                   3130
28   159   Yes    “marginal adequate [sic]      3130


                     - 196 -
 1                      access to care”
 2                     “concerns about
                      polypharmacy and
 3   160   Yes                                   3130
                   combining Cogentin with
 4                        Zyprexa”
                 “access to care adequate but
 5   167   Yes    concerns about medication      3132
 6                        decisions”
                 “access to care adequate but
 7   168   Yes     concerns about decision-      3132
                           making”
 8
     169   No                                    3135
 9                  AIMS examination (a
                  physical examination for
10
                 possible neurological side
     179   Yes                                   3135
11                 effects of psychotropic
                 medications) is performed
12
                       only once a year
13   228   No       patient died by suicide      3137
                     “It is concerning that
14
                 patient is not on meds and
15                   carries a diagnosis of
                  schizophrenia or bipolar
16               DO”; patient has been on
     235   Yes                                   3137
17               involuntary medication in
                   the past; “unmedicated,
18               [patient] is likely going to
19                      have difficulties
                          functioning”
20   252   Yes    “documentation is poor”       3141-42
21   258   No                                    3142
     259   No                                    3142
22                 “admission in 2006 but
23               encounters only go back to
     271   Yes                                   3143
                    January 2020, limited
24                documentation available”
25               “no scheduled visit with the
     272   Yes    psychiatric midlevel since     3143
26                      August 2020”
27
28


                     - 197 -
 1                                         Appendix 6
 2                                 Recreation per Step/Location
 3                        Step I              Step II                    Step III
 4        Browning    Three, 2.5-hour     Three, 2.5-hour       For GP – One, 2.5-hour
                     blocks per week     blocks per week,      block per month in 20x40
 5                   in the standard81   one of which can      basketball enclosure (up to
 6                       enclosure        be in the 10x10            eight inmates)
                                             enclosure
 7                                                               For GP and STG - Three,
 8                                                             2.5-hour blocks per week, to
                                                                include one-time per week,
 9                                                                in the 10x10 enclosures
10
                                                                 For Condemned Row –
11                                                              Four, 2.5-hour blocks per
12                                                             week of outdoor recreation -
                                                                 All can be in the 10x10
13                                                                interactive enclosures
14
                                                                 For all inmates: In pod
15                                                            recreation;82 Recreation with
                                                              another inmate in accordance
16
                                                              with Department Order #704,
17                                                                 Inmate Regulations
          SMU I /     Three, 2.5-hour     Three, 2.5-hour      Three, 2.5-hour blocks per
18
           Rast      blocks per week      blocks per week     week to include one-time per
19                   to include 10x10     10x10 enclosure       month in 10x10 enclosure
                      enclosure (two       (two inmates),             (two inmates),
20                        inmates)              and;                       and;
21
                                           One, 2.5-hour         One, 2.5-hour block per
22                                       block per month in     month in 20x40 basketball
23                                        20x40 basketball        enclosure (up to eight
                                          enclosure (up to           inmates), and;
24                                         eight inmates)
25                                                              One, 2.5-hour block per
                                                                month in 50x90 (up to 32
26                                                                      inmates)
27
      The “standard enclosure” is also referred to as the “chute.” (Doc. 4259 at 104).
     81

28   82
       “In pod recreation” refers to time when prisoners may be out of their cells in their pods
     without restraints. (Doc. 4259 at 105-106).

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 1                                       Appendix 7
 2
     Maximum Custody Population
 3
 4
                                                      M/H       Close
                 Location           Max Detention
 5                                                    Watch   Management
 6         Douglas
           Complex Detention                  31
 7         Eyman
 8         Rynning Detention                  25
           Rynning Close Mgt.                                     15
 9         SMU I                    350
10         SMU I SO                 130
           SMU I P.C.                16
11         SMU I Detention                    153
12         SMU I M/H Watch                             13
           Browning Intake           31
13         Browning Unit            435
14         Browning STG             144
           Browning D/Row            15
15         Browning M/H Watch                           3
16         Browning BMU             11
           Browning Enhanced        31
17         Browning RSHP            6
18         Browning Close
                                                                  0
           Management
19         Florence
20         Housing Unit 8           36
           Health Unit              12
21         Globe Detention                     0
22         Perryville
           Perryville Watch Cells                       7
23         Santa Maria Detention               9
24         Phoenix
           Reception                212
25         B-Ward                    32
26         Flamenco Ida Watch M                         0
           Lewis
27
           Morey Detention                    73
28         Rast PC                  311


                                           - 199 -
 1   Rast Close
                                                  7
 2   Management
     Stiner Detention                 64
 3
     Bachman Detention                67
 4   Safford
 5   Miles Detention                  18
     Tonto Detention                  0
 6   Tucson
 7   Cimarron Detention               77
     Rincon MH Watch                         27
 8
     Rincon MH Program II    77
 9   Rincon MH Watch II                      0
     Manzanita Detention              3
10
     Winchester Detention             22
11   Complex Detention                69
     Winslow
12
     Complex Detention                23
13   Apache Detention                 0
     Yuma
14
     Cheyenne Detention                52
15   Dakota Detention                  60
     TOTALS                 1849      746    50   22
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